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            STATE    VS.    MARK   ANTHONY       SOLIZ                              JANUARY    30      2012



      1                                         REPORTERS              RECORD

      2                                      VOLUME    20    OF    75    VOLUMES

      3                                 TRIAL    COURT      CAUSE       NO.     F45059

      4                     COURT       OF    CRIMINAL       APPEALS          NO.    AP-76768

      5     STATE    OF    TEXAS                                         IN    THE     DISTRICT        COURT

      6     VS.                                                          JOHNSON        COUNTY       TEXAS

      7     MARK    ANTHONY        SOLIZ                                 413TH        JUDICIAL      DISTRICT

      8




      9


     ----------------------------------------------------------10
                               INDIVIDUAL  VOIR DIRE

     11                                           JURY      SELECTION

     12


     ----------------------------------------------------------13


     14


     15                            On    the    30th     day      of    January        2012      the

     16     following       proceedings           came      on    to    be    heard     in    the

     17     above-entitled           and       numbered cause            before        the   Honorable

     18     Phillip       Vick      Judge       presiding          held       in    Cleburne        Johnson

     19     County         Texas

     20                            Proceedings           reported        by     Machine       Shorthand        and

     21     Computer-Aided           Transcription.

     22

                                                  FILED     IN

     23                                  COURT OF CRIMINAL APPEALS


is   24
                                                 JAN 222013                            ORIGINAL
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                                                                                                          2




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24


25
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 9     TRACEY    NICKELS           NO.       55             --                      --                       20
       Venireperson           Excused         by   Agreement ...........                        5            20
10

       KAYE    BEALL        NO.    53                       8                       --                       20
11     Venireperson           Excused         by   Agreement ...........                       14            20


12     HUNTER    CONNELL           NO.       52             18                      --                       20
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13

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14     Venireperson Accepted .......................                                          144            20


15     CHERRY    ALLEN         NO.      61                  150                     169                      20
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 4     KAYE BEALL  NO.         53                     8             --                      20
       HUNTER CONNELL          NO.       52           18            --                      20
 5     TRACEY    MICKELS       NO.       55           --            --                      20
       RICKARD    NICKELL          NO.    50          --            --                      20
 6     MARY  WHITWORTH         NO.       56           176           184                     20
       WILLIAM WOOLF          NO.    54               42            97                      20
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                                           STATE                  VS.              MARK               ANTHONY                 SSO.TZ                       JANUARY                               3Q                 2012
                                                                                                                         .                                                                                                                                                                7

1                                          PROCEEDING                                                                         1    Mr. Michael                       Heiskell.


2                     Defendant not present.                                                                                  2                                  MR.            HEISKELL                           Morning.

3                    THE COURT                        On    the record.                  Okay.         Let       me           3                                  VENIREPERSON                                         Morning.

4    see theres been an agreement                                  regarding              two      different                  4                                  THE COURT                                 And Mr. Greg Westfall.

5    jurors.                                                                                                                  5                                   MR.           WESTFALL                            Morning.

6                     MR. HEISKELL                         Yes Your               Honor.           Juror No.                  6                                  THE COURT                                 And seated with them                                     at   the

7    51    Mr.    Richard        Nickell        --                                                                            7    counsel                     table       is   the        Defendant                      Mark Anthony                         Soliz.


8                     MR.    WESTFALL                   50.                                                                   8                                  THE DEFENDANT                                            Morning             maam.

9                     MR.     HEISKELL 50 excuse me.                                           Sorry.                         9                                  THE COURT                                 Theyll have questions                                     for
                                                                                                                                                                                                                                                                              you
10                    MR.     WESTFALL                          And      55.                                                  10   but    Ill        ask a couple                          first.         Is    there        anything              we          should

11                    MR.     HEISKELL And                          --
                                                                           50     Richard            Nickell                  11   know about you                               that            we    didnt           ask      on the questionnaire

12   and 55 Tracey            --                                                                                              12                                 VENIREPERSON                                         Pardon            me
13                    MR.     WESTFALL                          Tracey         Mickels.                                       13                                 THE COURT                                 Is   there          anything            we          should              know

14                    MR.     HEISKELL                     --   Mickels           to     excuse both               of         14   about             you         that          we        didnt        ask
15   those    jurors.      And      I
                                        have         just   conferred              with our           client                  15                                 VENIREPERSON                                         No       sir.



16   Mr. Soliz       and hes agreed                   to    that         excusing          50 and 55.                         16                                 THE COURT                                 Okay.           Youre going                         to    be asked a

17                    MR.     STRAHAN                      Thats the agreement                              of   the          17   lot   of questions                           I

                                                                                                                                                                                     suspect.                   Its   not a       test.        Theres no

18   State Judge.                                                                                                             18   right or           wrong                answers.                       The only           thing       we        require               is    that

19                   THE COURT                        Okay.         Then          Ill
                                                                                         approve            the               19   you be             truthful.                 You need                   to       say    yes          and        no               when you

20   agreement.           Well excuse Jurors No. 50 and                                        55.                            20   can.          If
                                                                                                                                                      you say                   maybe                     or   I    think       so       that        will       create

21                    Recess taken.                                                                                           21   about three other                                 questions                  figuring         out         why you didnt

22                    Defendant present.                                                                                      22   say        yes               or      no          instead               of    I   think       so.           Also dont

23                    Venireperson                    Beall       present.                                                    23   answer a question                                     unless            youre sure you understand                                               it.




24                    THE COURT                       Come on up                  this    way.         If   youll             24   If
                                                                                                                                        you dont understand                                          it    get      them        to     restate            it    or

25   raise    your   right    hand.                                                                                           25   explain                it    or something.



                                                                                                                         6                                                                                                                                                                8

1                     Juror        sworn.                                                                                      1                                 VENIREPERSON                                         Okay            sir.



2                     THE COURT                       Thank you maam.                            If   youll       go          2                                  THE COURT                                 We         think     this     trial       is        going          to


3    and have a seat               in   the     second           chair      in    the     front       row of                  3    begin the                    end of February maybe the                                              last      week               in


4    the   jury   box.                                                                                                        4    February.                     When               it    does start we                        think     it   will     last          about

5                     Okay.         Would            you        state      your         name.                                 5    three         days             --
                                                                                                                                                                         no         three        weeks.                   Im   sorry.          And there                      is   a

6                     VENIREPERSON                               Kaye Beall B-E-A-L-L.                                        6    chance                  the Jury             will        be sequestered                        during           that             period           of

7                    THE COURT                        Okay.         Ms. Beall              you        filled      out         7    time.             So are you okay on those dates or                                                        is   there             anything

8    a   juror   questionnaire             a while back.                   Were          the    answers            you        8    happening                      in      your           life   that       we need              to     know about                        that


9    put on there         true     and correct                                                                                9    would interfere

10                   VENIREPERSON                                Yes       sir.                                               10                                 VENIREPERSON                                         I   have a dental                        appointment

11                    THE COURT                       Since       that         time has anything                              11   but    I     --    it       could probably                         be changed.

12   happened        in
                          your      life   that       would        change any of those                                        12                                 THE COURT                                 Okay.           Okay.              Good enough                          then.

13   answers                                                                                                                  13                                  Ill     recognize                   the       State.


14                   VENIREPERSON                                No      sir.                                                 14                                                                     KAYE BEALL

15                    THE COURT                       My name              is    Phillip       Vick.        Im     the        15                                 Venireperson No.                                   53     testified          as follows

16   Judge presiding             of this        proceeding.                 Judge William                                     16                                                    VOIR DIRE EXAMINATION

17   Bosworth Judge                of   the 413th               District        Court       will      be                      17   BY MR.             HANNA
18   trying   this   case when             it
                                                goes        to    trial.                                                      18          Q.          Good morning                               to       you maam.
19                   The attorneys                   representing                 the State are                               19          A.          Morning.

20   Mr. Dale      Hanna and Ms. Christy Jack.                                                                                20          Q.          I        was reading the questionnaire                                             you       filled            out

21                    MS. JACK                  Good morning.                                                                 21   the other                    day.           Do you remember that

22                    THE COURT                       Also       helping          them and not here                      in   22          A.          Yes               sir.



23   the courtroom           right      now are Larry Chambless and Martin                                                    23          Q.          26 pages                      of     questions                  that     you hadnt thought

24   Strahan.                                                                                                                 24   about             before              you walked                       in    the courtroom                  that            morning.

25                   The attorneys                   representing                 the Defendant                   are         25          A.          Right.
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                                                                    STATE                                 VS.                   MARK                  ANTHONY                           SO
                                                                                                                                                                                                                                                                                                                                                                         11
                                                                                                                                                                                   9

1              Q.         Filled that                         out along                    with           300.       of         your closest                                            1            Q.         And                    that       youre not necessarily a regular

                                    does give us an idea of whats going on.                                                                                                             2     attender                     but             that              --
                                                                                                                                                                                                                                                                       they are                 opposed              to   the death
2    friends.                 It                                                                                                                                   It                                                                                   is




3    looks           like          you were born and                                            --    kind of born                      and raised                        in            3     penalty                kind                  of.      And            I
                                                                                                                                                                                                                                                                       guess what Im trying                                      to figure



4                  Worth so                                                                                                                                                             4     out           could                      you be a                   fair           and                                           on a death
                                                             speak                    that                                                                                                           is                                                                                     impartial juror
     Fort                                         to                            is                    --




5              A.         No         I   was born and raised                                                in       Kansas.                                                            5     penalty            case

6              Q.         Kansas.                            Okay.            All      right.               And             I   was     trying to                                       6                                      And                let        me         before                  you answer                that             let       me

7    --   are you a                      retired                  pharmacist                          or                                                                                7     just     give           you a                   brief           little         synopsis.                    The State                   is




8              A.         Yes            but             I   also        retired                from Pier                       One.         I
                                                                                                                                                     got out                            8     seeking                the death penalty.                                               When               the Jury          goes back                          to



9    of       the pharmacy.                                                                                                                                                             9     determine the                                   punishment                              if
                                                                                                                                                                                                                                                                                           they have found the person

10             Q.                                                                                                               And you              retired                            10    guilty Ms. Beall they                                                dont                          go back there and say
                          Okay.                   Okay.             Okay.                       All       right.                                                                                                                                                                      just


                                   One                                                                                                                                                                                                                                                                                    Theres
11   from          Pier                           in         08     correct                                                                                                             11    life   or death.                              Thats             not the                 way           it   works.


12             A.         Yes.                                                                                                                                                          12    three         questions                             they         answer                      about future                dangerousness

13             Q.         Okay.                   And your husband                                          is   also               retired           correct                           .1    was the person                                      the        trigger              man            or      accomplice did he

                                                                                                                                                                                                                                                                                                 be                       and                  there
14             A.         Yes            sir.                                                                                                                                           14    actually               intend                   for        the person                         to            killed                          is




15             Q.         A        couple                    things           jumped                      off   the.page                    at       me.                                15    some          reason                          to    spare                his       life.          Were           going        to        go over

16   Were you aware of the fact                                                             I
                                                                                                 guess you were when you                                                                16    those         a        little                later.            Does            that           make sense

17   filled         the questionnaire                                         out          that           this       is         a   capital                                             17           A.         Yes                        sir.




18   murder case                                                                                                                                                                        18           Q.         All            right.               Now                the question                           is could           you             with

                                                                                                                                                                                        19                                                                                                                       and then decide
19             A.         Yes                sir.
                                                                                                                                                                                              11     other jurors                                 listen           to this                 evidence


20             Q.         And the death penalty                                                      is    the penalty                      that       is                               20    the issues.                              And          I    also got                 on the back page where                                             it




                                                                                                                                                                                        21    asked a question do you want                                                                               do this                 words               to       that
     being sought by the State                                                                  Texas.                                                                                                                                                                                          to                        or
21                                                                                   of


                                                                                                                                                                                        22                   and                                        you said you would                                      rather           not
22             A.         Yes                sir.                                                                                                                                             effect                               I   think                                                                                                   sit   in


                                                                                                                                                                                        23                                                                                                                You know
                              guess you knew that
23             Q.         I
                                                                                                                                                                                              judgment                         of          another             persons                      life.                                     I
                                                                                                                                                                                                                                                                                                                                           totally


24             A.         Yes.                                                                                                                                                          24    get    that.                 I   understand                              that           completely.                    And         I
                                                                                                                                                                                                                                                                                                                                     just


25             Q.         All right.                         Now         first        thing                weve                 got    to        I                                      25    expect            that                   whoever                    11     other people                          we     get are probably



                                                                                                                                                                                   10                                                                                                                                                                                    12

                                                                                                                                                                                                                      have                                        views                          nobody                                   wants           to    do
     guess get out on the table                                                                  your views                           about the death                                                       to                                similar                                 that
 1                                                                                         is                                                                                            1
                                                                                                                                                                                              going                                                                                                                  really


2                                                                                                                                                                                        2    this     necessarily.
     penalty.


3              A.         Yes.                                                                                                                                                           3                                         But            now Ive been                              talking            too    much and                       I




4              Q.         And            I    kind            of think               when you                        fill        these things                                            4    havent                 let       you                talk       much.                    So the question                       is could                      you

                                                                                                                                                                                                                                                  murder case and                                                                    evidence
     out you know                                                                                                                   and you                                                          on a
5                                                                                                                                                                                        5                                                                                                           listen      to    the
                                                    you walk                    in off               the        street                                 fill                                   sit                    capital


     them out youve not thought                                                                  about                                                                                   6                                                                        and make the decisions                                              about
                                                                                                                                      years or days.
                                                                                                                                                                                              listen        to
6                                                                                                                this in                                                                                              it       impartially


 7   All      the         sudden youve got                                            to        answer                 these            questions.                        And            7    guilty         not               guilty                   capital          murder and then                                  life        or


                                                             weve                                                                                                                                           based                           on the                               and the evidence                           thats
                                                                                                                                                          you be                         8    death                                                           facts
 8   I

          guess the                      thing                                 got         to figure                 out is could

 9   a    fair           and        impartial juror                             on the                    capital               murder case.                                             9    presented                        to           you
10   Thats where were heading.                                                                   What            I    want             to   do        is      to        see             10             A.        I    have been thinking                                                   about          this   since the


11   about your views                                         and see                 if    we can                   think            through              some               of        11    questionnaire.

12   these               issues               and see                    if
                                                                               you can.                                                                                                 12             Q.        I
                                                                                                                                                                                                                      figured                      you had.

13                                       Now                 on    the         one hand you checked                                                   a       box        that           13             A.        And                   I    dont             think       I       --    no        sir      I    could      not.



     said                the person                                convicted                         of     murder and                       the death                                  14             Q.        Okay.                        And can you kind                                       of   expand on                       that       just      a
14                  if                                        is



15                                  requested                                         always                    vote             to   impose                                            15    little
         penalty              is                                              will                                                                         it
                                                                     I




16                                       of       the         facts           and the law                        in         the case.                 Then               at             16             A.            Ive decided                              that               just           would          not   feel            right
         regardless
                                                                                                                                                                                                                                                                             I




17       another              place                 it       asks the question                                   about                views           on        life      in             17   going         that               much                     against                  church             teachings              and the things                            I




18       prison without                           the          possibility of                             parole                 and you said                                            18   was brought                                   up     to        believe.



19   that          should                be         assessed                         in    all        cases             where               someone                      has             19            Q.        Okay.                            Now          thats the Disciples                                   of   Christ


20       been murdered as opposed                                                               to    the death penalty.                                        Im       kind           20     Church

                                                                                                                                                                                                                 Yes                               Christian                      Church                      how     its        known.
21       of   --    both           ways.                     You see what                                 Im saying                                                                     21             A.                                  sir                                                           is




22             A.             Yes            sir.                                                                                                                                       22             Q.            Christian                          Church okay.

                                                                                                you are a member of the
23                 Q.         Then            I   saw also                      that                                                                                                    23             A.        Yeah.

                                                                                                                                                                                        24                                                                   murder case the                                                         the       case
24       Disciples                 of        Christ               Church                                                                                                                               Q.            In        a       capital                                                                 facts      of



25                 A.         Yes            sir.                                                                                                                                        25    might show                                  that         in   any type                      of   situation             somebody                           is   the
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                                                             STATE                   VS.                MARK               ANTHONY                SO    TZ             JANUARY                     30          2012
                                                                                                                                             13                                                                                                                             15

1    actual        trigger            man and somebody                                  can be the helper                                         1                              MS.    JACK Oh             Hunter.


2    accomplice                      so     to      speak.                                                                                        2                          THE COURT                   Oh       its    Connell.            Mr. Connell.

3            A.    Right.                                                                                                                         3    Okay.

4            Q.    Does              that          make sense                                                                                     4                              Venireperson            Connell         present.

5            A.    Yes              sir.                                                                                                          5                          THE COURT                   Come on up               here.         If    youll raise

6            Q.    All         right.             In    other       words and then the decision                                                   6    your     right       hand.

7    would         be     made               if    the person               was        guilty of capital                     murder               7                              Juror sworn.

8    whether            his participation                           in   the crime called                      for      the                       8                          THE COURT                   Have a seat              in   the     second             chair

9    death penalty                        or      whether           or     not       his history called                      for his              9    of     that jury          box.

10   life    to   be spared                       that       kind     of thing.             Question                is could                      10                             Okay.      Sir would          you      state     your       name.

11   you     sit   in     and             listen        to this       and decide                   it   impartially                               11                             VENIREPERSON                      Hunter Connell.

12           A.    I    dont              think         --
                                                             no     sir.                                                                          12                         THE COURT                   Okay.          You pronounce                   your        name

13           Q.    The Judge when he gave you                                                      that    little       spiel      at             13   Connell

14   the front            he said                  if
                                                        you    say       I dont             think        so    its                                14                         VENIREPERSON                          Yes     sir.




15   going        to call            for        about a           umpteen other questions.                                                        15                         THE         COURT           Mr. Connell              you        filled    out a


16           A.    Yes              sir.                                                                                                          16   juror      questionnaire                a while      back.        Were      the       answers              you

17           Q.    Okay.                  And           this   is   something                youve thought                      about             17   put     on   there         true    and correct

18   for    the past                week or ten days                                                                                              18                         VENIREPERSON                          Yes     sir.



19           A.    Yes               sir.                                                                                                         19                         THE COURT                   Has anything              happened                  in   your

20           Q.        If --        have you talked                        to   your        husband            about           this               20   life    since        you    filled   that    out     that    would change                   any of

21   at     all    How does he                               feel    do you            know                                                       21   the     answers

22           A.    He believes                          in   the death penalty                           but   hes never                          22                             VENIREPERSON                      Ive    kind     of   read online                 how

23   actually           said         if    he would                 want        to   sit    on     this    kind         of                        23   many people                 are    in   prison and          stuff    and theyre                full    but

24   Jury.                                                                                                                                        24   not     really       anything        else.


25                              MR.          HANNA                  Okay.             Give         me     just      a   half    second            25                         THE COURT                   You read how many people are                                     in




                                                                                                                                             14                                                                                                                               16

 1   here Judge.                                                                                                                                  1
                                                                                                                                                       prison

2                               I   think          weve         reached               an agreement Judge.                                         2                              VENIREPERSON                      Yeah and             like       people         that are

3                              THE COURT                             Ms. Beall               Ill        ask you         to    step                3    waiting         to   be murdered             or   whatever or              to    --    on death row

4    outside           for just             a minute.                                                                                             4    so     many          of   them.

5                              VENIREPERSON                                      Okay.             Back out             that    way               5                          THE COURT                   Okay.          Youve read              that     since           you

6                              THE COURT                             Yeah            just right           outside.                                6    were       in   court

7                               Venireperson                         Beall           not present.                                                 7                          VENIREPERSON                          Yes     sir.



8                              THE COURT                             Okay.            Is    there         an agreement                  as        8                          THE COURT                   Okay.          Okay.          My name           is       Phillip


9    to     Kaye Beall Number                                  --                                                                                 9    Vick.        Im the Judge                presiding       at this     proceeding.                  When

10                              MS.         JACK Yes                       Your Honor.                                                            10   this     case goes              to trial    Judge William Bosworth Judge                                      of

11                              THE COURT                            What            is that        agreement                                     11   the 413th            District      Court      will    be    trying       the case.

12                              MR.          HEISKELL Yes Your Honor we                                                      agree      that      12                         The attorneys             representing               the State are

13   Ms.     Beall         should                 be     excused            in light         of         her opinion            that               13   Mr.     Dale         Hanna        Ms.      Christy Jack.

14   she could not                        sit     on a case              of this           magnitude.                                             14                             MS.    JACK        Good morning.

15                              MR.          HANNA                  Thats correct Judge.                                                          15                             THE COURT               And sometimes                  in     and out            will   be

16                             THE COURT                             Okay.            Ill
                                                                                            approve            the                                16   Larry Chambless and Martin Strahan.

17   agreement.                      Well excuse Ms.                            Beall.         You can              tell     her                  17                             The attorneys         representing               the    Defendant                 are

18   shes excused.                              Thank you.                                                                                        18   Mr.     Michael            Heiskell.


19                              Venireperson                         Beall           excused.                                                     19                             MR.    HEISKELL             Morning.

20                              Off the record.                                                                                                   20                         THE COURT                   Mr.   Greg Westfall.

21                              THE COURT                            Okay.            Were              ready       to talk        to             21                             MR.    WESTFALL               Morning.

22   Mr.     Hunt.                                                                                                                                22                             THE COURT               Seated          with   them          at     counsel         table

23                              MS.         JACK               Mr.       Hunt                                                                     23   is   the     Defendant               Mark Anthony             Soliz.


24                              THE COURT                            Hunter.                                                                      24                             THE DEFENDANT                      Morning.

25                              MR.          WESTFALL                           Hunter Connell.                                                   25                             THE COURT               And      theyll    have questions                        for
      Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                       Page 8 of 112 PageID 4253
                                                            STATE                      VS.                      MARK                           ANTHONY                  SO        Z                 JANUARY                             30                   2012
                                                                                                                                                                   17                                                                                                                                                 19

 1   you but           Ill    ask            first.       Is    there        anything                         we          should                know                    1             A.        Morning.                     Pretty          good.

 2   about you               that       we         didnt ask                 on the questionnaire                                                                       2             Q.        All       right.         My name                    is      Christy Jack.              And Im

 3                            VENIREPERSON                                        No             sir.                                                                   3    going         to visit            with you                 this        morning on behalf                       of    the

 4                            THE COURT                               Okay.             Youll                   need               to     answer                        4    State.             All       right.         And were going                             to talk   about your

 5   yes          or   no.              This lady                has        to write                   down everything                                you               5    feelings                   talk   about the Constitution                                     and were going                      to


 6   say and she cant get a nod.                                                  So        if    youll               answer                   loud                     6    talk     about the law                          that applies.                     Okay.         And        I   want        to


 7   enough            that        she         can        hear you.                                                                                                     7    begin         where the Judge                                   left    off      and     that    is   your          job.        All


 8                            VENIREPERSON                                        Okay.                                                                                 8    right

 9                            THE COURT                               Youre going                              to         be       asked a            lot     of        9             A.        Yes maam.

10   questions.                   Its    not a         test.           Theres no                          right            or      wrong                                10            Q.        And while                    ordinarily               somebody not being paid or

11   answers.                We         only          require              that       you be                   truthful.                   You need                     11   someone                     who       it
                                                                                                                                                                                                                         might inconvenience                               a job or your                 ability


12   to   say      yes             and         no           when you can.                                 If
                                                                                                                you say things                                          12   to   go       to       a    job thats not a                            disqualification.                  But       if   you

13   like   I think                or    maybe                    youre going                            to         get other                                           13   say       for          instance                 that       you would                   be unable          to    give        this


14   questions               asking             to     explain              that those                         answers.                         So dont                 14   trial
                                                                                                                                                                                      your              full   attention                because                you would           be missing

15   answer            a question                     unless          you are sure you understand                                                           it.         15   work          because you would                                        be missing your paycheck                                   that

16   And     if
                  you        dont             just        get the lawyers                               to      explain                   it   to                       16   kind of thing                     then           that       can be a way                     that     you would                 not

17   you or        restate              it    or   tell     them you                   --        tell     them you dont                                                 17   have          to       serve.          All       right.           So           lets talk     about your                  job.


18   understand.                                                                                                                                                        18   Okay
19                            We         think         trial      is
                                                                           going           to start                   probably                                          19            A.        Okay.

20   last   week             in
                                   February.                    We         think        it       will          last        about three                                  20            Q.        All       right.         And Im going                          to    ask you       to       speak up

21   weeks when                    it   does           start.          When                it     does              start            we         --                      21   real      loudly              and      clearly.                 Can you do                that      for    me
22   theres a           good chance                             that       the Jury                    may be                  sequestered                              22            A.        Yes maam.
23   during        that       period             of time.                  That        means you wont be going                                                          23            Q.        All       right.         Thank you.                         Okay.         Are you paid

24   home         or    anything                 else.           You would be                                  in    a     hotel               with other               24   hourly or are                     you paid salary

25   jurors for          those               three weeks.                                                                                                               25            A.        Hourly.



                                                                                                                                                                   18                                                                                                                                                 20
 1                            VENIREPERSON                                        Yes                  sir.                                                             1             Q.        Hourly.                 How much do you                              get paid          an hour

 2                            THE COURT                               Were             not             sure about that                                but               2             A.        12.


 3   that   could happen.                              Is   there anything                               in
                                                                                                                your               life        that                     3             Q.            12    dollars            an hour

 4   would        interfere                  with      you        being a              juror              during               that            period                   4             A.        Yes maam.
 5   of   time                                                                                                                                                          5             Q.        How            long          have you been                          at this   company
 6                            VENIREPERSON                                        Just work.                                                                            6             A.        Started             in
                                                                                                                                                                                                                             July or the                    end of June.




--18
 7                            THE COURT                               Okay.                                                                                             7             Q.        Okay.            So youve been there a matter of months

 8                            VENIREPERSON                                        I

                                                                                      guess                    that        wouldnt matter.                              8             A.        Uh-huh.

 9                            THE COURT                               It    probably                     doesnt                    matter.            Do                9             Q.        Less than a year

10   you get paid when youre off                                                                                                                                        10            A.        Yes maam.
11                            VENIREPERSON                                        No              sir.                                                                  11            Q.        Do you have any                                vacation              saved       up
12                            THE COURT                               Okay.                                                                                             12            A.        I    dont get vacation                               till    after    a year.

13                            VENIREPERSON                                        I   dont               think.                I    havent            ever              13            Q.        So you dont have any vacation                                                 saved          up
14   been on           jury        duty but                 I   dont know                         if    they              pay me                if   Im                 14            A.        No maam.
15   up here or               not.                                                                                                                                      15            Q.        So you couldnt even take vacation

16                            THE COURT                               Who             do         you work for                                                           16            A.        No maam.
17                            VENIREPERSON                                        Buffalo                      Oil Field                   Supply.                      17            Q.        All       right.         And        I    dont mean                   to   be impersonal

                              THE COURT                               Okay.                Okay.                    Ill
                                                                                                                           recognize                  the               18   or   I   dont mean                         to   get        in
                                                                                                                                                                                                                                              your personal                  business but do

19   State.                                                                                                                                                             19   you       live         by yourself

.2                            MS. JACK                          Thank you very much.                                                                                    20            A.        No maam.
21                                                     HUNTER CONNELL                                                                                                   21            Q.        Okay.            The person with whom you                                          live      --       who do
22                           Venireperson                         No.        52        testified                      as follows                                        22   you       live         with

23                                              VOIR DIRE EXAMINATION                                                                                                   23            A.        My         parents.

24   BY MS. JACK                                                                                                                                                        24            Q.        Your parents.                           Okay.               And do you help contribute

25          Q.     Good morning                                 Mr.        Connell.                     How               are       you doing                           25   or help                pay anything                   to        your parents                 while    you stay there
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                                                               STATE                    VS.           MARK                 ANTHONY               SSO.TZ                     JANUARY                                  30                2012
                                                                                                                                            21                                                                                                                                                              23
1    with    them                                                                                                                                 1          Q.        At a           minimum.                        Okay.                And you              just             put a   bunch         of

2           A.         No maam.                                                                                                                  2    money            in to          your        truck

3           Q.         Okay.                   So while youre serving on                                  jury    duty       if                  3           A.        Yes maam.
4    youre paid hourly youre probably                                                      not going             to    get                       4           Q.        All       right.        Now                   there        --       did     you see how many

5    paid.                                                                                                                                       5    people           we had                in         here the other                           day
6           A.         No maam.                                                                                                                  6           A.        Yes maam.
7           Q.         Okay.                   And so           that       would         be three weeks                    without               7           Q.        Why            do you               think           we have                  that        many people
8    pay.         Have        you thought                            about        that                                                           8           A.        Because theres a                                     lot      of people                  that             cant miss

9           A.         Yes maam.                               Its   not going            to        be good because                     I        9    work.

10   just    --    I   dont have any money now.                                                My     pickup          was    --
                                                                                                                                    my           10          Q.        Exactly.               Theres a                         lot     of    people              who have                 no

11   tire   fell       off.      I    had            to   buy a            lot   of stuff for         that       so.                             11   issue           with the death                        penalty theyre                               fine         with the death

12          Q.         Okay.                   So youve              got a             pickup                                                    12   penalty.              They understand                                    its         appropriate                        in   some cases

13          A.         Yes maam.                                                                                                                 13   not appropriate                         in        other             cases.             There             are            lots   of people

14          Q.         Got a car and you pay                                      for    the        car                                          14   who        are salary workers.                                       You know what                                  I
                                                                                                                                                                                                                                                                              mean       by   that

15          A.         Yes maam.                                                                                                                 15          A.        Yes maam.

16          Q.         Your parents dont pay                                       for    the       car                                          16          Q.        In        other       words theyre going                                          to     get            paid.


17          A.         No maam.                                                                                                                  17          A.        No            matter what.

18          Q.         Im guessing                         you pay               for    your        insurance                                    18          Q.        No            matter what.                         And        it     is   not      any kind of

19          A.         Uh-huh.                                                                                                                   19   financial             hardship                    for     them            to     come              in    and give                this    trial



20          Q.         Youve                   got    to       say out loud               yes         or   no.                                   20   the    full      attention                  unlike              yourself.


21          A.         Yes maam.                               Sorry.                                                                            21          A.        Yes maam.
22          Q.         You make payments                                         on your truck                                                   22          Q.        Because                 it       would              be a            sacrifice            for           you wouldnt
23          A.         Yes maam.                                                                                                                 23   it

24          Q.         You didnt buy                            it   outright                                                                    24          A.        Yes maam.
25          A.         No maam.                                                                                                                  25          Q.        You would                         be missing almost                                $3000                       Is that




                                                                                                                                            22                                                                                                                                                              24
I           Q.         How much                       are your               payments                                                             1
                                                                                                                                                      right

2           A.         Theyre 218 a month.                                                                                                       2           A.        Yes maam.
3           Q.         218 a month.                             How much do you                        get paid a            week                3           Q.        Okay.             Because                      you         shook your head                                    yes       and     I




4           A.         Without                  --   without           call        I
                                                                                       get about           a grand.                              4    can see that but Pam here shes got                                                                      to      type           down what

5           Q.         Get a grand a                           week                                                                               5   you say.                   Okay
6           A.         Yes maam.                                                                                                                 6           A.        Yes maam.
7           Q.         Okay.                   How much                    of that      do you get           to   take       home                 7          Q.        And so                for        those             people             who          are         sitting         there

8           A.         About               nine       --   about 900.                                                                             8   thinking              Ive         got             bills        to   pay          I    have responsibilities

9           Q.         So about 900 youre                                        talking       about       basically                             9    I    have a car and                           I    cant give                   this        trial    my              full



10   missing out                     on 2700               dollars.                                                                              10   attention              knowing                    Im      not        gonna be able                             to          make    those

11          A.         Yes maam.                                                                                                                 11   payments.

12          Q.         At your                 job        is   that        right                                                                 12          A.        Yes maam.
13          A.         Yes maam.                                                                                                                 13          Q.        Is that          you                 Is that             how you feel

14          Q.         Okay.                   And youre paying your                                truck.       What else                       14          A.        Urn Im going                             to        be pressed but                              I       could     probably

15   do you pay for                                                                                                                              15   do    it   if   --    if   I
                                                                                                                                                                                     got picked.

16          A.         Just food                     and other               stuff      that    I   want.        Basically                       16          Q.        Okay.             I   want you                      to think              about               that.         Okay.

17   it.                                                                                                                                         17   Because youve also said a couple                                                               of       other things                in    the

18          Q.         Okay.                   So about how much do you spend on                                                  all            18   questionnaire                     about               kind           of    how you personally                                    feel    about

19   that                                                                                                                                        19   the death                  penalty.

20          A.         Depends on what                                 I   want         that   month.                                            20          A.        Yes maam.

21          0.         I
                           get       it.        If
                                                     youre going out depends                                 on       if                         21          Q.        All       right.       And               if
                                                                                                                                                                                                                     your job or missing your job

22   youre staying                             home        with your parents.                                                                    22   makes            it   difficult         to          give            this    trial
                                                                                                                                                                                                                                                 your         full        attention

23          A.         Yeah                I   dont hardly stay home.                                                                            23   youre            not going              to          have            to     put yourself                        in       the position


24          Q.         So you would                            be missing out on 2700 dollars                                                    24   of   even making                        a decision                       on the death penalty.

25          A.         Yes maam.                                                                                                                 25          A.        Yes maam.
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                                                                STATE                              VS               MARK               ANTHONY                 SSOLTZ                          JANUARY                                               30                        2012
                                                                                                                                                          25                                                                                                                                                                                                       27

1            Q.     See how                   that          works                                                                                               1              A.          Yes maam.                                                           i




                                                                                                                                                                                                                                   Have you thought                                              about                 what                    would
2            A.     Yes maam.                                                                                                                                  2               Q.          All              right.                                                                                                                        it




3            Q.     You follow                      me                                                                                                          3       feel    like               to        serve                 on a Jury                        like        this

4            A.     Yes maam.                                                                                                                                  4               A.          Yes maam.                                                       1




5            Q.     All         you would                       have             to          do    is
                                                                                                         say        You       know what                         5              Q.          Okay.                             And          I    understand                            you               did            some reading.                           I




6     I   cant give              this       trial
                                                           my full                   attention.                    Im not     like                              6       want you                        to            tell    me              about the reading                                         you                did.



                                                                                                                            them a cent                         7              A.                                     was          just that                                 and Ive been hearing
                                 200 people.                                                                       cost                                                                                --                                                      --
7     those        other                                                  It         isnt         gonna                                                                                    I                 it




                                                                                                                                                                8                over the                                  years not                                           paying                   attention                             but     you
8     to    serve on the Jury.                                                                                                                                          like                                                                              really


                                                                                                                                                                                                                                                                               crowded.                               And                            dont
9            A.     Yes maam.                                                                                                                                   9       can     just                   --
                                                                                                                                                                                                             prisons are                             getting                                                                         like       I




                                                                                                                                                                        want                                                                                                              didnt                  do                   dont
                    Youre not gonna have                                                                                                                       10                                                      say somebody                                          that
10           Q.                                                                               to    put yourself                  in   a                                             --        like               I                                                                                                        it    I




                                                                                                                                                                                                            they should                              be up                                 die                              you know.
                                      Have you ever had                                                      do something                                      11                                                                                                            for    --                  for
                                                                                                                                           you                          think        that                                                                                                                             it
11                       of     --                                                                 to
      position

                                                                                                                                                                                                                                                                                                                       and
12    didnt        think         was right                                                                                                                     12       But     if
                                                                                                                                                                                          somebody                                 that          you know                           that              did        it                   stuff


                                                                                                                                                                                                                                                 them                          be
                    Yes maam.                                                                                                                                                              no reason                                                                                                                            in
13           A.                                                                                                                                                13       theres                                                       for                            to                    just sitting                                prison


14           Q.     How               did    you           feel           about               that                                                             14       you know.

15           A.     I     didnt         want               to        do        it.                                                                             15              Q.          What do you mean                                                                  Tell         me what youre                                             thinking.


                                                                                                                                                                                                                                                                                row and
                                                                                                             good inside
                                        Did                make you                                                                                            16              A.              Like                         theyre                   on    death                                                       takes                  years
16           Q.                                                                               feel                                                                                                                    if                                                                                         it

                    Okay.                             it




                                                                                                                                                                                                                              20 years before they                                                               sentenced.
                    No maam.                                                                                                                                   17                                           there                                                                                      --
17           A.                                                                                                                                                         theyre                 in


                                      make you                                                                                                                                                 Uh-huh.




--7
18            Q.        Did      it                                   feel             bad inside                                                              18               Q.

                                                                                                                                                                                                                                                      be                     they shouldnt take
                    Yes maam.                                                                                                                                  19              A.          They                            shouldnt                                --                                                                          that
19           A.

20            Q.        Did                                     about                                                       that                               20       long you know what                                                           mean.
                                 you        think                                            for   days            after                                                                                                                         I

                                                                                      it




                                                                                                                                                                                               So you                                                                          take less                         time
21            A.    Yes maam.                                                                                                                                  21               Q.                                            think            it    should


22            Q.    And Im not going                                           to       ask        you what                that   was            but           22               A.             Yes maam.

23        do you        still    know            --        do you                    still    think           about        that                                23               Q.             Okay.                         How does Texas                                          carry                  out the death


24        occasionally                when you                       did             something                     that    wasnt right                         24       penalty                             Do you know that                                                   Do you know how they do it

25            A.        Yes maam.                                                                                                                              25               A.             Lethal                        injection.




                                                                                                                                                          26                                                                                                                                                                                                       28

 1            Q.        Did      it    bother              your conscience
                                                                                                                                                                    1           Q.             Thats                         right.            How do you                                 feel          about                   that

 2            A.        Yes maam.                                                                                                                               2               A.             It           kind             of    depends                         on          to         me           what they did you


                                            go against how you personally                                                                                       3       know.




--10
 3            Q.        Kind of                                                                                                   feel          about


 4        whats     right             and whats wrong                                                                                                           4               Q.             Okay.

                                                                                                                                                                                                        mean                                                                                                                    no
                        Yes maam.                                                                                                                                                                                                                          capital then                                          like
 5            A.                                                                                                                                                5               A.             I                              if    its       just                                                      --



                                                                                                                                                                                                                                                                                           think                 they should
                                        Now                      dont know what                                            was         but                      6       reason                 for                         then               think        they                --
 6            Q.        Okay.                                                                                       that                                                                                      it
                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                      I

                                                            I




                                                                                                                    about     the death                             7                                       electric                chair             like                   used               to      be.
          thats                  of the          way                                          you        feel                                                           probably
                                                                                                                                                                                                                                                                        it
                   kind                                          I
                                                                     gather

 8        penalty.
                                                                                                                                                                    8           Q.             Oh                     so you                  actually                    think           lethal                 injection                     is




 9            A.        Yes maam.                                                                                                                                   9   too


                        Thats how you                                                  about                  isnt    it                                        10              A.                 Is       too easy.
              Q.                                                     feel                               it




11            A.        Yes maam.                                                                                                                               11              Q.             Too easy.                                  Youd             prefer                   it     to         be the                electric



12            Q.        Well and                    if     your feelings about doing                                              whats                         12       chair                 Actually                            some               states they                                do         that.



13                 and whats wrong kind of who you are what makes                                                                                               13              A.                 I    think                they should                            pay         for             it.     I    think              they
          right

                                                                                                             You       know what                                14       should                pay for                                                however they                                     did            that           to       somebody
14        you who you are are the kind that
                                                                                                                                                   I
                                                                                                                                                                                                                                   really


                                                                                     on a Jury and decide whether                                               15       they should                                   have the same                                                       done                  to        them.
15        cant ever             sit    in    a      position                                                                                                                                                                                                                 thing


                                                                                                                             how you                                                                                                                                                Then                     want you                                 be
                                                           dies you know
                                                                                                                                                                                                                                                                                                                                               to
16                                                                                                                 thats                           feel         16              Q.                 Okay.                      Okay.                  All   right.
          somebody               lives         or
                                                                                                                                                                                                                                                                                                        I

                                                                                                              if




          then you              dont have                            do                                                                                         17       thinking                       about                 that.                  want you                       to          be thinking                           how you
17                                                              to               that.                                                                                                                                                           I




                                                                                                                                                                                                                                                                                                      decision                        because
                        Yes maam.                                                                                                                               18                        you serve on a Jury
                                                                                                                                                                         feel                                                                                       with            that
18            A.                                                                                                                                                                     if




                                                                                                                                                                19                        now as you                                           here we have                                           lots       of        people                   who     will
                                            But the time                                                           decide                                                                                                           sit
19            Q.         Okay.                                                         for     you           to               that          is                           right


20        right    now.          Okay                                                                                                                           20       come              in and some                                         will
                                                                                                                                                                                                                                                          say I have no problem with the

                                                                                                                                                                                           penalty others may say I dont want                                                                                                                  do this
                         Yes maam.                                                                                                                                       death                                                                                                                                                        to
21            A.                                                                                                                                                21

                                                                                                                                                                22           dont agree                                              the death                                                               And theyre
22            Q.         Do we understand                                                                                                                                I                                                 with                                              penalty.

                                                                                                                                                                                                                                                                                                                                So             want you
23                       Yes maam.                                                                                                                              23       excused.                            They dont have                                               to   do         it.          Okay.                              I



              A.


                                            Because                       make                 no mistake                  about                 thats          24       to    be                                          there thinking                                as    we go                   through                       this           kind of
 24           Q.         Okay.                                                                                                             it                                             sitting


 25                      what Im going                                          be asking you                         to    do.                                 25       which             --           You know what                                               mean when                                I

                                                                                                                                                                                                                                                                                                                  say which                          camp you
          exactly                                                    to
                                                                                                                                                                                                                                                           I
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                                                                                                                                                 29                                                                                                                                                            31

1    fall    into                                                                                                                                       1            Q.      I
                                                                                                                                                                                  mean youre                    19 years old arent                                     you
2            A.           Yes maam.                                                                                                                    2             A.      Yes maam.
3               Q.        Okay.                                                                                                                        3             Q.      Do you          feel        like      youre             old        enough                 to    do

4            A.           I        feel    like    I    couldnt              --    I   feel    I   couldnt be                                          4    something               like     that        or     do you think                        that        maybe people                      a

5    part       of       somebody                       actually             dying.                                                                    5    little    bit        older ought             to     do that

6               Q.        Okay.                                                                                                                        6             A.      People          little      bit    older ought                         to    do         that.


7            A.           I
                                   think    they should                      pay        for   what they did but                          I             7             Q.      Maybe people                       that          have a            little         more          life     behind

8    just       dont know                        that        I   could          be the deciding                    factor       --                     8    them
9               Q.        Okay.                                                                                                                        9             A.      Yes maam.
10           A.           --       that     they        --       to   be sentenced.                                                                    10            Q.      People        with gray                     hair       and wrinkles                       maybe                  Just

11              Q.        Okay.                 You dont                   think        you    could          participate            in      a         11   kidding.              But    youre           relatively                 young.

12   Jury        in       deciding                whether                  or    not     somebody                  lives   or    dies                  12            A.      Yes maam.
13           A.           No maam.                                                                                                                     13            Q.      Agree with                 me
14              Q.        Okay.              And you know how the Judge said                                                at       the               14            A.      Yes maam.
15   beginning                       if   you say things                        like     I think or I believe                                          15            Q.      And you dont want                                 that        kind           of   decision              on you

16   or     I    dont believe how many more questions                                                                     do you get                   16   as a 19-year-old

17           A.           More.                                                                                                                        17            A.      No maam.
18              Q.        More.              Exactly.                 So the easiest way through                                     this              18            Q.      Okay.         And youre not going                                       to        sit    in
                                                                                                                                                                                                                                                                           judgment of

19   is     when               I    ask     you a question                             about your feelings                  about the                  19   someone                else    and decide whether                                       or not they                     live   or   die

20   death penalty                          --                                                                                                         20            A.      Yes maam.
21           A.           Yes               and no.                                                                                                    21            Q.      All    right.        And as                 --   and      I

                                                                                                                                                                                                                                           just           want        to     tell
                                                                                                                                                                                                                                                                                      you

22              Q.        Yes               or no.                                                                                                     22   something               else       because                    I   want         to       be completely                      fair     with

23           A.           Yes maam.                                                                                                                    23   you.          Do you want me                        to       be     fair       with           you
24              Q.        And the same                            thing          is    true    when they ask you                                       24            A.      Yes maam.
25   questions                           because theyre going                                 to    have questions                       right         25            Q.      Tell    you what might happen                                           if
                                                                                                                                                                                                                                                           you change                      your



                                                                                                                                                  30                                                                                                                                                           32
1    behind               me.             And      if   you change                       your       mind       or    if   youre                         1   mind             Not only might                     you           sit   on the Jury but you might

2    wishy-washy                           --    You know what                           it   means when somebody                                is    2    be elected              foreman.                  Doyou know what                                        that    means
3    wishy-washy                                 They go back and                             forth.                                                   3             A.      No maam.                                1




4            A.           Yes             maam                   back and               forth.                                                         4             Q.      You might                  potentially                 be the leader of the                               Jury.


5               Q.        You get a whole                              lot      more questions.                                                        5    And you               just   made            a look with your                            face.            Im guessing                    you

6            A.           Yes maam.                                                                                                                    6    dont you want                    to    do      that          even less

7               Q.        So         I    want you               to    really           be thinking                because           I
                                                                                                                                                       7             A.      Yes maam.
8    think           I
                         know how you                            feel       looking           at    your questionnaire                                 8             Q.      As the leader                    of   the         Jury as the foreman

9    and youre kind                              of     repeating                 that to          me   this        morning.                           9    whatever               decision             that       Jury         makes you have                                 to     sign      your

10   Lets         try to                 stick    with           yes         or        no          provided         thats.                             10   name          to.      You     all     the        sudden                got very serious.                                And Im

11   really              how you                feel.                                                                                                  11   guessing               you    would           never               be able               to     sign your                 name       to         a

12              A.        Yes maam.                                                                                                                    12   Jury decision                 that          calls      to         take     someones                        life

13              Q.        Okay.                 So while youre okay with the death                                                                     13            A.      No maam.
14   penalty                  as long as                 someone                   else       does       it   --                                       14            Q.      You could never do that could                                                     you
15           A.           Yes maam.                                                                                                                    15            A.      No maam.
16              Q.        Is        that     right                                                                                                     16            Q.      And you know what Mr. Connell theres nothing

17              A.        Yes maam.                                                                                                                    17   wrong           with     that.        Ill    tell      you         at    19         I   couldnt                have

18              Q.        You dont want                               to    be    one         of   those       people       that                       18   either.              Okay.

19   does it                                                                                                                                           19            A.      Yes maam.
20           A.           No maam.                                                                                                                     20            Q.      So we kind of understand                                           what were                    talking


21              Q.        You dont want                               to    participate                                                                21   about.               And when you were asked these questions                                                                    about the

22              A.        No maam.                                                                                                                     22   death         penalty          you           indicated                  several               different            ways how

23              Q.        In        a Jury        that           decides               whether          or    not    somebody                          23   you      felt.        You said              that       you didnt know                               if
                                                                                                                                                                                                                                                                     you could

24   lives        or          dies                                                                                                                     24   sentence               someone               to     death and youve thought                                                about          it




25              A.        No maam.                                                                                                                     25   since         then       right
        Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                              Page 12 of 112 PageID 4257
                                               sTATF                      yS.          MARK            ANTHONY                      So      TZ            JANUARY                               30                   2012
                                                                                                                           33                                                                                                                                                   35

1             A.     Yes maam.                                                                                                      1             Q.      Okay.

                                                                                                                                                          Theyve been                                school             since                 were
                     And you cant do                                 you                                                            2             A.                                           to                                   they                      little
2             Q.                                     it    can

3             A.     No maam.                                                                                                       3       kids.


                                                                                                                                    4             Q.      Theyve gone                                school             since                 were
                     And you were asked the question are your views                                                                                                                            to                                   yall                      little
4             Q.

5       about the death                              so strong              that       they     would    prevent                    5       kids
                                        penalty

6                             or interfere        with     your                        to   do your job                             6             A.      Yes maam.
        your    ability                                                   ability




--17
                                                                                                                                    7             Q.      Okay.                So     your          girlfriend           and Riley have been
7       as a   juror.

                                                                                                                                                                       friends
8             A.     Yes maam.                                                                                                      8       childhood


9              Q.    And you said yes.                         Do you remember that                            In                   9             A.      Yes maam.

                                                                               about        the death                               10            Q.      And you know Riley
10      other       words your personal                    beliefs                                           penalty

11      would       make        it   impossible           for   you        to    serve       on a     Jury.                         11            A.      Yes maam.

12            A.     Yes maam.                                                                                                      12            Q.      Youve known him                                     for    years

13                   And thats how you feel                               isnt   it                                                 13            A.      Not           years          but      two two years or                          so.
               Q.

                                                                                                                                                          Youve known him                                            two years.               Have you seen
                     Yes maam.                                                                                                      14            Q.                                                           for
14             A.

                     And then you asked                                                                                                     him out and about                                  town
                                                                    you were asked about
15             Q.                                              --                                              life                 15                                                    in



16      without       parole.          And you said                 that    should          be the answer             in            16            A.      Yes            maam                  basketball               games and

        all   cases         where somebody                     has been murdered or committed                                   a   17              Q.    Okay.


18      capital      murder                                                                                                         18            A.      --       football           games and                      stuff.


                                                                                                                                                                                     events
19             A.    Yes maam.                                                                                                      19              Q.    Sporting


20             Q.    And thats how you feel                               isnt    it                                                20              A.    Yes maam.
                                                                                                                                                          How                          do you                           you see           him
                     Yes maam.                                                                                                      21              Q.                   often                                think
21             A.

                                                                                                      someone                       22              A.                 here                         havent been going                           to       any of
22                   And youre always going                                     vote so                                                                           --
               Q.                                                         to                   that                                                                                 lately      I
                                                                                                                                                          I




                                                                                                                                    23                                                                         seen him                          once a week.
23      gets a       life    sentence          rather      than the death                     penalty                                       the     games               but         last   year           I                     at least


                                                                                                                                                          And your                                                  very fond            of   him
24             A.     Yes maam.                                                                                                     24              Q.                               girlfriend                is




25             Q.     And      theres nothing                  wrong           with    that.     Do you                             25              A.    Yes maam.


                                                                                                                           34                                                                                                                                                   36

    1   understand             theres nothing                  wrong           with    that        Theres                               1           Q.    As a           friend            would              be
 2      nothing            wrong      with you saying                 that      today.         Okay                                  2              A.    Yeah.

                                                                                                                                                                                    Shes                              eyes
                      Yes maam.                                                                                                      3              0.                                          only got                        for      you.             get
 3                                                                                                                                                                get    it.                                                                         I



               A.                                                                                                                                         I




 4             Q.     Dont           put yourself         in   that       position          where      you end                       4      that.        Okay.                                        ý




    5   up on a            Jury.
                                                                                                                                        5           A.    Yes maam.
                                                                                                                                                                                                                friend
    6          A.     Yes maam.                                                                                                         6           Q.    But as a childhood


    7          Q.     And as long as your answers                                   remain the          same and                        7           A.    Yes maam.
                                                                                                                                                          Shes been                        friends with                 him since she was                              little
        you dont change your mind you wont have
    8                                                                                            to   serve     on    the               8           Q.


    9   Jury.        Okay                                                                                                               9           A.    Yes maam.

10             A.     Yes maam.                                                                                                      10             Q.        Okay.             And obviously                         you would            know theres a

                                                                                                                                                                                                                                              case
                                         And then the other thing was you were                                                               good chance                       hes going                  to testify          in this
                                                                                                                                     11
11             Q.     All     right.


12       asked       at     the very         end about serving on the Jury and was                                                   12             A.    Yes maam.

13       there anything                that   prevented              it    your       ability    to   serve    on                    13             Q.        Did       you know that

                                                                                                                                     14             A.            didnt         know that                      but...
14       the   Jury.         And you brought up again your feelings about                                                                                     I




                                                                                                                                                              Thats okay.                      Thats okay.                     And another                     way       that
15       the death penalty                   and sentencing                    someone           to   die.                           15             Q.


                                                                                                                                             somebody would not be on a Jury                                                                                  you know a
                      Yes maam.                                                                                                                                                                                                          you    --
 16            A.                                                                                                                    16                                                                                        is   if                   if




                       And                                                                                                                   witness.
                                                     you know the grandsons
 17            Q.               I    think    also                                                      in this                      17


 18      case dont             you                                                                                                   18             A.        Yes maam.

 19            A.      I    know Riley Davis.                                                                                        19             Q.        And because                       of        your relationship                   with that



                                                     Davis                                                                           20      witness              or    because                of your              girlfriends          relationship
 20            Q.      You know              Riley

                                                                                                                                                                                                              witness           hes going                     to   be
                       Yes maam.
                                                                                                                                                                                               that                       --
 21            A.                                                                                                                    21      youre        going                to   give


                       And how do you know Riley                                                                                     22      more important than                                other witnesses                          because              you know
 22             Q.

                                                                                                                                     23      him outside                  of        the    courtroom
 23            A.      My     girlfriend       goes        to       school with             him.


 24             Q.     Your          girlfriend   goes          to   school            with    him                                   24             A.            Yes maam.

                                                                                                                                     25                           And thats how you feel                                  isnt      it
 25             A.     Yes maam.                                                                                                                     Q.
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                                                    STATE                       VS.                   MARK                 ANTHONY                   SSOTZ                    JANUARY                         30              2012
                                                                                                                                                37                                                                                                                                                39
1           A.     Yes maam.                                                                                                                         1                              THE COURT                        Mr.       Woolf         Ill     ask the           first




2           Q.     And because                      you       know how fond your                                    girlfriend             is        2    questions.                 You      filled      out a          juror   questionnaire                       a while


3    of   him                                                                                                                                        3    back.          Were          the     answers               you put on there                     true        and

4           A.     Yes maam.                                                                                                                         4    correct

5           Q.     Okay.       All        right.             Now          Im         --    when you                 filled                           5                              VENIREPERSON                               Yes       sir.




6    out    this   questionnaire                     I       would           imagine                 that         you     filled    it               6                              THE COURT                        Thats been a couple weeks

7    out    thinking      when we were                                 talking            about            capital        murder           in        7    several             weeks.          Is    there        anything             thats         changed                 in   your

8    the context         --   Do you know what                                   I
                                                                                         mean when                   I

                                                                                                                          say in the                 8    life   that         would          change           any        of   those     answers

9    context             You were               thinking                 of    someone                     that     was         actually             9                              VENIREPERSON                                No     sir.



10   the    killer                                                                                                                                   10                             THE COURT                        First      off thanks                for    coming

11          A.     Yes maam.                                                                                                                         11   early.         We         kind of         piled       up     this     afternoon so                    you         let       us

12          Q.     Okay.       Well             actually                when we                     talk    about          capital                   12   get a quick                start.


13   murder when we                       talk      about               capital               murder              did     you      know              13                             VENIREPERSON                               Yes       sir.



14   that    someone who                       is   not the              trigger              man          could         actually         get        14                             THE COURT                        My name             is       Phillip       Vick.            Im        the


15   the death        penalty                                                                                                                        15   Judge          presiding of                this       proceeding.                  When          this       case            goes

16          A.     Not   really.           I    didnt             know         that.                                                                 16   to trial            Judge          William          Bosworth Judge                         of   the 413th


17          Q.     Okay.       So when you were thinking                                                    about the death                          17   District            Court      of   Johnson                County           will     be the one                   trying


18   penalty you were simply                                  thinking                   of    --                                                    18   the case.

19          A.     Just the          --                                                                                                              19                             The attorneys                    representing                  the State               in this


20          Q.     --just     the killer                                                                                                             20   case are Mr. Dale Hanna Ms. Christy Jack.

21          A.     Yes maam.                                                                                                                         21                             MS.       JACK              Good afternoon.

22                       MS.         JACK                Okay.               Now              --                                                     22                             VENIREPERSON                               Afternoon.

23                       Okay.             Judge              I
                                                                       believe            weve             reached           an                      23                             THE COURT                        With        them        at     some             points           will   be

24   agreement.                                                                                                                                      24   maybe Larry Chambless and Martin Strahan.

25                       MR.         WESTFALL                             Mercy.                                                                     25                             The attorneys                    representing                  the    Defendant                     are



                                                                                                                                                38                                                                                                                                                40
1                        MR.         HEISKELL                           Yes.                                                                          1   Mr.     Michael             Heiskell.


2                        THE COURT                                Okay.              Mr.           Connell          if
                                                                                                                          youll                      2                              MR.       HEISKEIt               L        Good afternoon.

3    step outside             for just          a minute.                                                                                            3                              VENIREPERSON                                Good afternoon.

4                        Venireperson                         Connell                    not present.                                                4                              THE COURT                         Mr.      Greg Westfall.

5                        THE COURT                                Okay.              What agreement do                                   yall        5                              MR.       WESTFALL                        Hello.


6    have          Just take him.                                                                                                                    6                              THE COURT                         Seated with them                         at    the counsel

7                        MS.         JACK                I   believe            weve agreed                          to     excuse                   7    table         is    the    Defendant Mark Anthony                                    Soliz.


8    Mr. Connell.                                                                                                                                    8                              THE DEFENDANT                                Good afternoon.

9                        MR.         HEISKELL Thats                                        correct Your Honor.                                       9                              THE COURT                        Theyll       have questions                            for       you
10   Weve          agreed       to        excuse              him        in light              of     his    responses               to              10   but     Ill    ask        first.     Is   there anything                    we     should            know

11   the questions              and also Ive conferred                                              with      my         client                      11   about          you    that         we     didnt        ask on the questionnaire

12   Mr.    Soliz.       Hes         agreed              as       well.                                                                              12                             VENIREPERSON                                No      sir.



13                       THE COURT                                Okay.              I    will
                                                                                                    approve              that                        13                             THE COURT                         Okay.       I   will        tell
                                                                                                                                                                                                                                                          you        its        not a

14   agreement.               Well excuse                         him Hunter Connell                                      Juror No.                  14   test.         You are going                    to     be   asked a           lot     of questions.

15   52.     You can          tell    him           hes excused.                                                                                     15   Theres no                 right      or   wrong answers.                       The only thing you can

16                       Venireperson                             Connell                excused.                                                    16   do     --     we     require         of   you         is   that      you be         truthful.


17                       Off the record.                                                                                                             17                             VENIREPERSON                                Yes      sir.




18                       Venireperson Woolf                                      present.                                                            18                             THE COURT                        You need                to    say     yes             or     no         if




19                       THE COURT                                If   youll             raise        your        right      hand.                   19   you possibly can.                         If   you say things                  like        perhaps                    or    I

20                       Juror sworn.                                                                                                                20   think         so     or something                     like     that youll get several

21                       THE COURT                            Thank you                             sir.     If   youll      have a                  21   questions             asking            to     explain          that   answer.                  So    it   will
                                                                                                                                                                                                                                                                                 go

22   seat    in    the   second                chair         in        the    first        row        of    the     jury                             22   faster         if
                                                                                                                                                                              you can say                yes           or     no.

23   box.                                                                                                                                            23                             VENIREPERSON                                Okay.

24                       Would            you        state              your name.                                                                   24                             THE COURT                         Also dont answer a question                                            if




25                       VENIREPERSON                                         William Franklin                            Woolf           Jr.        25   you         dont understand                     it.        Make sure they explain                                it    to   you
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                          Page 14 of 112 PageID 4259
                                                                     STATE                    VS.                   MARK                    ANTHONY             SS0T7                      JANUARY                                 30                  2012
                                                                                                                                                           41                                                                                                                                                        43




--10
 1   or rephrase                     it    or        tell
                                                                you        what theyre looking                                    for.                          1           A.     Yes                sir.



2                            VENIREPERSON                                                Yes             sir.                                                   2           Q.     Youre going                            to       Las Vegas                           for          your    company
3                            THE COURT                                         We        think      this            trial     is    going        to             3           A.     Yes.

4    start   probably                      the            last           week     in
                                                                                         February.                     When              it   does              4           Q.     All right.                  And the March                                     12th

5    start       we   think                    it    will       last       about three                   weeks.               Theres                            5           A.     12th.


6    even a chance the Jury would                                                        be sequestered                                 during those            6           Q.     Is       just        a vacation                        day          for       you
7    three weeks.                          That               means put up                     in        a fancy             hotel            with    good      7           A.     Correct.                    Ive            got
                                                                                                                                                                                                                                         --       also         have some other




--18
8    food    and        --
                                 hopefully.                              And the question                           is      do you have                         8    personal              things            that         I    have               to   take care of pertaining                                  to


9    anything         happening                                     in
                                                                         your     life       that    would                 interfere                            9    one     of   the questions                               in
                                                                                                                                                                                                                                     my
     with    that     period                        of    time                                                                                                  10          Q.     Okay.                 Okay.                Well                I

                                                                                                                                                                                                                                                      guess we need                           to talk      about


11                           VENIREPERSON                                                I    have a vacation                               going     to        11   that    first.         I    read the questionnaire.

12   Vegas        for    my company on                                          February                  24th.                                                 12          A.     Yes                sir.



13                           THE COURT                                         For       how long                                                               13          Q.     And            I    kind         of think                  I   know a                lot         about     it.    What

14                           VENIREPERSON                                                Its    for        four days.                                           14   is   that    on the 12th                       now
15                           THE COURT                                         Well          that        might             interfere.            We             15          A.     Its          my birthday.
16   dont know.                                                                                                                                                 16          Q.     Yes                sir.



17                           VENIREPERSON                                                And         I    also             have some vacation                   17          A.     And thats the day                                          that         I     have

     coming up on March 12th on my birthday                                                                                that    we were            going     18          Q.     The            registration                       thing

19   out    of   town            that               weekend                    so    that      would                 be      within           the               19          A.     Yes.


20   three       weeks                    also            I   would            think.                                                                           20          Q.     Okay.                 So youve got                                 to register                    on     that     day
21                           THE COURT                                         Do you have                          plane         tickets        already        21          A.     Yeah                 thats             the        end of                it.        Actually             thats the

22   purchased                   that                kind            of   thing                                                                                 22   end of       it.       Im done                       completely                           done             with       that     at that


23                           VENIREPERSON                                                Yes             sir        my company                       has        23   point.


24   already purchased                                        the         tickets.                                                                              24          Q.     Is       there            something                            you have                  to       do that        day
25                           THE COURT                                         Okay.           Okay.                 Ill    let    the                          25          A.     No            that        is     what             I    have             to     do.           I    have     to    go see


                                                                                                                                                           42                                                                                                                                                        44
 1   lawyers          talk to                   you           about            that then.                                                                       1    Detective                  K.D.         Wrenn.

2                                                                                             the                                                               2           Q.                           With             the Sheriffs                           Department
                             I

                                     guess                    Ill        recognize                       State.                                                                    Okay.

3                            MR.                    HANNA                   Thank you Judge.                                                                    3           A.     With               the Sheriffs                        Department.

4                                                                    WILLIAM             WOOLF                                                                  4           Q.     Okay.

5                            Venireperson                                   No.     54        testified                as follows                               5           A.     At 9 a.m.

6                                                         VOIR DIRE EXAMINATION                                                                                 6           Q.     Okay.                 All      right.                 But thats                    all
                                                                                                                                                                                                                                                                                you have            to   do

7    BY MR. HANNA                                                                                                                                               7    that    day




--15
8           Q.    Well                    that            kind           of thing        threw            me         for     a loop                             8           A.     Yes                thats         it.




9    Mr. Woolf.                  I        read your questionnaire.                                              I
                                                                                                                    saw you had some                            9           Q.     Okay.                 Well             all      right.              I   think            I
                                                                                                                                                                                                                                                                                get    that.        And

10   vacation         for            February                            and   April.                                                                           10   the other vacation                             is        in   April

                  Yes                                                                                                                                                              Yes                                         would                                                would




--18
11          A.                        sir.                                                                                                                      11          A.                        sir.     That                                   not        --    this                       not

12          Q.    But            that               has changed                      evidently                                                                  12   affect       that          whatsoever.

13          A.    Yes                 sir.            I

                                                          actually              had one             of      the            days added                           13          Q.     Okay.                 So       that          --       that visit                   with          Detective           Wrenn

14   for   the    12th.                                                                                                                                         14   on the 12th

            Q.    Of March                                                                                                                                      15          A.     Uh-huh.

16          A.    Yes                 sir.                                                                                                                      16          Q.     --      would              likely           be a               relatively                short          visit


17          Q.    Now                     is        that        a    company                 vacation                or      is    it   a                       17   Im

     personal                                                                                                                                                   18          A.     Yes.

19          A.    No             sir                its       a personal               vacation.                                                                19          Q.     Okay.

20          Q.                                 Are            you going somewhere                                                                               20                                       and get my release and everything                                                               like
                  Okay.                                                                                                                                                     A.     I

                                                                                                                                                                                           go     in



21          A.    No             I
                                      was staying                           in    town.                                                                         21   that.


22          Q.    Okay.                                                                                                                                         22           Q.    Okay.                 And              of    course what were                                           talking       about


23          A.    Okay.                                                                                                                                         23   on    this    situation                   is
                                                                                                                                                                                                                    you were on                                juvenile               probation

24          Q.    Well okay.                                    Thats why Im                        trying            to find            out.                   24          A.     Yes                sir.



25   The February from the 24th                                                     to       the    28th                                                        25           Q.        I   think         for like
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                                                               STATE                      VS.                     MARK                   ANTHONY                       SSO.T7.                     JANUARY                                      30                           2012
                                                                                                                                                                  45                                                                                                                                                                                   47
1           A.     Till            I   was 18 years                    old.                                                                                             1          A.          I
                                                                                                                                                                                                    swear                to    you.

2           Q.     Okay.                                                                                                                                                2          Q.      Good enough.                                          What                    I   was         fixing              to point          out   is



3           A.      Once                  I   was 18 years old                            I       had         to register for                                           3   this    questionnaire                                  you               can            learn            a    lot       about            people.

4    ten years                after that              till      I   was 28 years                         old.                                                           4   First     of       all         I    was disappointed                                              to    see         that              when you

5           Q.     Yes                  sir.      Youll be             28       so        this           is       fixing          to    be                              5   said    what you thought                                             about                   District              Attorney                 it    was




--16
6    behind         you                                                                                                                                                 6   theyre not always                                      honest but then                                         I
                                                                                                                                                                                                                                                                                               was heartened                         to


7           A.      It       will        be       behind            me.                                                                                                 7   see     that            defense                   attorneys                             you            said theyre not always

8           Q.      Okay.                     Now             as the      Judge                   told    you my name                               is                  8   truthful.


9    Dale Hanna.                              Im the           District        Attorney                   here.                                                         9          A.      Right.


10          A.     Yes                  sir.                                                                                                                           10          Q.      So          I       kind           of   felt              like       I
                                                                                                                                                                                                                                                                    was             in    a equal

11          Q.      This                is    what        I    need       to    know               just right                     off   the                            11   situation.


12   bat.     Is    there anything                                  about      that       situation                      thats going                                   12          A.          It   is.




13                                                                                                case                 you were                                        13                                               And Im making                                                                        because           we    kind
                         your deliberations                               on                                                                                                       Q.
     to affect                                                                   this                                                                                                                                                                                                     of
                                                                                                                  if
                                                                                                                                                                                           Okay.                                                                              light                 it




14   selected                                                                                                                                                          14   of   do     that         in         a serious situation                                                but     what               I   need        to


15          A.      No                 sir.                                                                                                                            15   know         defense                         attorneys                      at that                    table


            Q.      Okay.                     You understand                     why                I    would               ask that                                  16          A.      Youre equal.

17          A.      Yes                 sir.                                                                                                                           17          Q.          District                 Attorney                       at this                table            were equal

18          Q.      Okay.                     And youre                telling            me             absolutely                     would                          18          A.      Yes                  sir.



19   not                                                                                                                                                               19          Q.          Neither                   one           of       us leaning                           one way or the other

20          A.      It       would                not.                                                                                                                 20          A.          No              sir.



21          Q.      Okay.                     And     I       was looking                 at        your questionnaire                                                 21          Q.          Okay.                    And        I   also             saw                  that        Tombstone Wyatt                                  Earp

22   and    its         amazing                    what you            find      out reading                                this.                                      22   is   one of your heroes

23          A.      Right.                                                                                                                                             23          A.      Yes                  sir.



24          Q.      Couple things                              that    jumped                     off    the           page             at   me.         I
                                                                                                                                                                       24          Q.      You ever seen                                         that           Tombstone                                movie

25   was     --    if    I    can             find   this.                                                                                                             25          A.      Yes                  sir.




                                                                                                                                                                  46                                                                                                                                                                                   48
1                                  THE COURT                           Let      me                ask you.                   If
                                                                                                                                   you       didnt                      1          Q.          I    bet         you have.

2    get    to    make                  that       trip       to    Las   Vegas what does                                           that      do     to                 2          A.          My son                    is   named                     after                Wyatt             Earp.

3    you                                                                                                                                                                3          Q.          Really

4                                      VENIREPERSON                              It           I

                                                                                                   mean                it
                                                                                                                             just affects                    my         4          A.      Yes                  sir.



5    company.                                                                                                                                                           5          Q.      Whats                        his        name
6                                  THE COURT                           Okay.                                                                                            6          A.      Wyatt.                        Wyatt              Lee.

7                                      VENIREPERSON                              The money theyve already                                                               7          Q.          Hes                  1
                                                                                                                                                                                                                        year
                                                                                                                                                                                                                                   old

8    spent so                  I
                                       mean           to       me      either         I
                                                                                              go        or    I    dont.                                                8          A.      Yes                  sir       hes a                  little             over            1    now.

9                                  THE COURT                           Okay.                  So you could serve as a                                                   9                                  THE COURT                                      Did                you         think               he was named                         Earp
10   juror                                                                                                                                                             10                                  VENIREPERSON                                                       I    tried       that.               My   wife

11                                 VENIREPERSON                                  Yes.                                                                                  11   wouldnt                 let        me do               the middle                                name              Earp.

12                                 THE COURT                           Okay.                  Wrong                    answer                now.                      12          Q.      That                 just lets               you go so                                 far.



13                                 VENIREPERSON                                  Im               willing              to.                                             13          A.      Yes                  sir.



14                                     THE COURT                       Good enough.                                                                                    14          0.          All     right.                 Well               I

                                                                                                                                                                                                                                                       guess the long and short                                                of


15          Q.      BY                 MR.        HANNA                And back                         to this              other thing                     we        15   what Im asking are you                                                     willing to                        serve               on    this      Jury    if




16   started            out about                    this      probation.                                                                                              16   selected

17          A.      Yes                  sir.                                                                                                                          17          A.          Yes              sir.          Yes               sir.        The               --    and         I

                                                                                                                                                                                                                                                                                                        guess my only

18          Q.      That                wasnt             in this      county was it                                                                                   18   question                to          I

                                                                                                                                                                                                                        mean            either                  of           you guys and                          maam             is    I       do

19          A.          No             sir.                                                                                                                            19   not    want my                          situation               that            I       had when                        I    was a          kid    to


20          Q.      Okay.                     And you wouldnt hold                                       that          against                the                      20   affect      any           of            the       outcome whether                                             it    be one way or the

21   State on                this         case        would            you                                                                                             21   other.         I        dont want the other                                              half           to     be           --   or able          to


22          A.          No             sir.                                                                                                                            22   come back and say                                           you             know                      Well              this          person           was on

23          Q.      Nor my table here                                                                                                                                  23   here because                                  I   dont               think              that           would                 be       fair to     the


24          A.          No             sir.                                                                                                                            24   Defendant                          nor       would              I    think              it       would             be        fair to        you.

25          Q.      Okay.                     I   can be assured                      of          that            cant             I                                   25          Q.          Couldnt agree with you any more.                                                                                    Absolutely                 I
         Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                   Page 16 of 112 PageID 4261
                                                                       STATE                VS                MARK                            ANTHONY                       SSOTZ                     JANUARY                         301-           2012
                                                                                                                                                                       49                                                                                                                                      51

                                                                                                        And                                                                               Q.      You understand                         what Im saying
1       could         not           agree with                         you any more.                                     I   think          theyll                          1




2       say the            same                  thing.                Youve        brought             it   out.                 Its     here             on               2             A.      Yes         sir.



                                                                                                                                                                            3             Q.      Okay.              All    right.       Lets        go through                this.   This
3       the     table.


                                                                                                                                                                            4            the State                   Texas versus                Mark Anthony                     Soliz.      This     is
4               A.     Yes                 sir.
                                                                                                                                                                                    is                        of



                Q.                                             knows about                          Youre                                        us        its              5       the   title       of the case.                 You know               its   a   capital          murder
5                      Everybody                                                            it.                              telling


                                                                                                                                                                            6       case.
6       not going                   to affect                  anything

7               A.     No                 sir.
                                                                                                                                                                            7             A.      Yes         sir.




8               Q.     Were                      starting               out    even both sides                                                                              8             Q.      I
                                                                                                                                                                                                       figure that               you know from the tenor of the

                                                                                                                                                                            9                                                         murder cases                  are only           two
9               A.     Yes                 sir.                                                                                                                                     questions               that     capital


                Q.     Youre not going                                             hold                                      the        District                            10      punishments
10                                                                           to             it
                                                                                                  against

11      Attorneys                     Office               in this          county because                          it       was          in     a                          11            A.      Yes          sir.




12                                                                                                                                                                          12            Q.      Only         two          life   without       parole death by                       lethal
        different                  county

13              A.         Right.                    I   wouldnt hold                 it
                                                                                           against             them                  either.                                13      injection.


14      That         was            so...                                                                                                                                   14            A.      Yes          sir.




15              Q.         Sure.                                       Now         one      last thing                       before              we        get              15            Q.      Youre aware of that
                                                 Okay.

16      to    the issues                        involved.                   You said you were generally                                                     in              16            A.      Yes          sir.




                                                                                                                                                                            17            Q.          Mark Anthony                    Soliz     is    the Defendant.                   Hes          here
17      favor         of       the death                       penalty            but your decision                                to     impose                  it




18      would          be           based                 strictly          on the         facts        and the law                                                         18      in   the courtroom.                         He was        pointed           out       to   you today and               I




                           Yes.                                                                                                                                             19      think      the other              day        also.        Right
19              A.


20              Q.         Is       that         true                                                                                                                       20            A.      Yes          sir.



                                                                                                                                                                                           Q.                              Lets               about            youve never served
21              A.         Yes              sir.                                                                                                                            21                        All   right.                    talk



22              Q.                                   And you believe                        that       the death                         penalty                 is         22      on a criminal Jury before have                                        you
                           Okay.

23      good only                     if    the crime                   is   proven           beyond a shadow                                         of     a              23             A.         No      sir.



                                                                                                                                                                            24             Q.         Never served on a Jury                              at    all
24      doubt right

25              A.         Yes              sir.
                                                                                                                                                                            25             A.         No      sir.




                                                                                                                                                                       50                                                                                                                                      52

    1            Q.        Okay.                     And you                 talking        about            life            in    prison
                                                                                                                                                                                1           Q.        You      live        in   the   Godley Joshua                       area dont            you

 2      without                parole                    youre opposed                      to    it    at    every possible
                                                                                                                                                                             2             A.         Yes      sir.



                                                                                                                                                                                                                                      where               it
                                                         murder and you wrote down there                                                                    a                3              Q.        Generally                                      is
    3   case          of           capital
                                                                                                                                                      if                                                                    just


                                                                                                                                          the death                          4                        Its    where          2331              and Sky Sky Road.
 4       party        is       found                 guilty            he    or she should                    receive                                                                       A.                                           is


                                            bet                                                                                                                                 5           Q.
                                                          you youve never given a                                                    of    thought                                                    Okay.
    5    penalty.                   Ill                                                                                      lot



                                                                                                             murder                                                                         A.               Godley              school                         Joshua           address.
    6   to    the procedure                                in         Texas        for capital                                       trials           before                    6                     Its                                     district



    7                               this out.                                                                                                                                   7           Q.        How       long have you                   lived          up there
         you     filled


                                                                                                                                                                                                                                              three             four years now.
                           No                                                                                                                                                   8           A.        Ive                  there
                                                                                                                                                                                                              lived                   for                  or
    8            A.                        sir.



                                                                                                                                                 one                            9           Q.        Thats with your wife and shes a massage
    9            Q.        I       didnt                 figure        you had.             Nobody              has.                    Its


10       thing to                  go      in    and           fill    out    this    26-page                 questionnaire                                                  10      therapist


11       with        300            of     your closest                       friends.            Im being a                            little                               11             A.        Therapist                 yes    sir.




                                                                                                                                                                             12             Q.        Her views are about                        like          yours
12       sarcastic.


13               A.            I   know.                                                                                                                                     13             A.        Yes       sir.



                                                                                                                                                                             14             Q.        And youve got a 1-year-old                                    son named Wyatt.
14               Q.            But they ask                            you what you                    think         about                things.


 15      Its     one               thing         to think               this      way       but        its    something                           else                       15             A.        Yes       sir.




                                                                                                                                         you You                             16             Q.                                     Lets               about                                 Jury
 16      to     get    in          the       jury          box and have the Judge                                             tell                                                                    Pretty         cool.                    talk                  principles.



 17      will    go        by these                        rules        and you            will     follow                   this       law.               Do                17      service            Judge             told     you about the length                         of   the   trial.




 18                                                                                                                                                                          18      And we talked about you can have                                               all   the strong          feelings
         you see the difference

                                                                                                                                                                                               you want and you put those down on
                                                                                                                                                                             19                                                                                                      the
 19              A.            Yes              sir.
                                                                                                                                                                                     that


                                                                                                                                                                             20                                            But     when you walk                    in that jury           box youve
 20              Q.            You may                     think            this   about the death                                 penalty but                                       questionnaire.

                                                                            box and                           the law                     and then                           21      got    to    follow           the      law right
 21      can         you get                    in       the     jury                         follow


 22      call    it    like           you see                     it   based on the evidence                                                                                 22             A.        Yes          sir.



                                                                                                                                                                             23             Q.         You can do that
 23              A.            Yes              sir.




 24              Q.                Can you do that                                                                                                                           24             A.         Yes         sir.



                                                                                                                                                                             25             Q.                        You watch much television CSI those
 25              A.            Yes              sir.                                                                                                                                                   Okay.
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                                                          STATE                            VS.                  MARK               ANTHONY                           SSO.T7              JANUARY                               30             2012
                                                                                                                                                               53                                                                                                                                              55

     kinds                                                                                                                                                                 that    a    case should                  be      indicted             or true           billed            goes out
                            things                                                                                                                                    1                                                                                                          it
1                  of


2            A.        Dont         watch            CSI.             I        watch            the two crime                    shows                               2     into    one        of    the     trial    courts            for    a    trial.          Does not have

3    that    I
                   put on         there.             One was                      Justified.                                                                         3     to   be unanimous.

4            Q.        Okay.                                                                                                                                         4            A.     Okay.

                                                                               dont remember what the other                                                                              And the defense                                                      are not      entitled                   go
5            A.        And dog-gone                         it        I
                                                                                                                                                                     5            Q.                                               attorneys                                                 to



6                                                                                                                                                                    6             the        Grand                         Its        simply a procedure                          to   decide
     one         is.                                                                                                                                                       in to                                Jury.


                       Watch a western movie ever now and then                                                                                                        7    was a crime committed                                   did       this      person do            it        does       it

7            Q.

8            A.        Oh        yeah when                       I
                                                                     get a chance.                                                                                    8    warrant           a    full    blown          trial.        Not unanimous.


9                                                                                                                                                                     9           A.
             Q.        All    right.           This        criminal trials                               are not                                                                         Okay.

                                                                                                                You know                                                                                    Thats what comes                                out an indictment.                           The
10   necessarily                  like     they are                  on          television.                                                you                      10           Q.     Okay.

11   dont get DNA                         in   an hour-and-a-half                                        like    they       do         in   60                       11    charging               instrument               the     Judge               will    charge       you he                will




12   minutes                on    television.               In                            to      determine                                 can                      12    instruct      you an indictment                              is   no evidence                  of guilt.          Just
                                                                          trying                                            if
                                                                                                                                 you

13                                                                                                                                                                   13    because                a person          has been charged                                does not mean theyre
     sit   on       this      Jury a couple                          of         key       things.


14           A.         Okay.                                                                                                                                        14    guilty.      You can                  identify         with that              cant        you
15           Q.         Follow the law the                                 Judge                gives you.                  And nothing                              15           A.     Yes             sir.




16   is    automatic.                                                                                                                                                16           Q.     You could abide                           by that             couldnt            you
17           A.         Okay.
                                                                                                                                                                     17           A.     Yes             sir.




                        Does                       make sense                                                                                                        18           Q.     All                      Presumption                     of    innocence.                 And Im up
18           Q.                     that                                                                                                                                                           right.


                                                                                                                                                                                                                    kind                                                  because                  know
19           A.         Yes        sir.                                                                                                                              19    here on the board                                      of   looking              at that                          I




20                                                                                                                                                                   20    whats coming.                                                                presumed             to       be innocent              in
                        The Judge                                              you a set                                                                                                                         Every person                     is
             Q.                                    will    give                                           of written


21   instructions the                                                the         end                 each phase                   of        the                      21    the United States                        of America.
                                               Jury        at                                   of


22   trial        Guilt/Innocence                         and Punishment.                                       Those            written                             22           A.     Yes             sir.




23   instructions                 will         have       all        the law                that         will    guide           you        in                       23           Q.     And you even wrote on one                                             of   your questionnaires

24   your         deliberations.                     It   will            tell
                                                                                  you what you can                                                                   24    that    you had kind                     of    a doubt            or    you         didnt      like        the    way

                                                                                                                                                                                   was because                                                                                                   be
     consider what you cant consider what                                                                              do here what                                  25
25                                                                                                               to                                                        that                                     a    lot      of   people            are perceived                  to




                                                                                                                                                                54                                                                                                                                             56

 1   to    do       there.          Does           that      make sense                                                                                               1
                                                                                                                                                                           guilty.


 2           A.         Yes        sir.                                                                                                                               2           A.     Yes             sir.




                        Do you                                                                                                                                                                    understand                           because                of           situation.                 But
                                                          you can do that
 3           Q.                            think                                                                                                                      3            Q.    I
                                                                                                                                                                                                                          that                                     your


 4           A.         Yes        sir.                                                                                                                               4    you wouldnt                    let    that     affect        this       case would                 you
 5           Q.         All      right.        Lets        talk                about            constitutional                                                        5            A.    No          sir.




 6                                These are the                                principles that                       apply       in     every                         6            Q.    And             that    presumption of innocence                                    applies               in
     principles.


 7   criminal               case      in       the United States.                                    I    dont care               if    its                           7    every
                                                                                                                                                                                        case

 8   a     shoplifting              at     Walmart                        if   its    a         capital         murder case                                           8            A.    Yes             sir.




 9   an indictment                        is   no evidence                           of guilt.             An indictment                         is   a               9            Q.    You agree with that dont                                           you
10                     of                      Its   a piece of paper                                    that        the    Grand Jury                                10           A.             sure do.
     piece                  paper.
                                                                                                                                                                                         I




11   foreman                                                                     the person                     with a                                                11           Q.    You would                   give the Defendant                              the presumption of
                             signs         that      charges                                                                     particular


12   crime             and sets out exactly                                    what they                  did.        Does         that          make                 12   innocence                the law          entitles           them to wouldnt                           you

13   sense                                                                                                                                                            13           A.    Yes             sir.




14           A.         Yes         sir.                                                                                                                              14           Q.    And as Mr.                     Soliz sits           over there               right       now he                is




15           Q.         Okay.             If   I   confuse                     you        in     any of this                I    want                                 15   innocent he                    is     presumed               to    be innocent                 by the        law.            Now

16                                                                                                                                                                    16        doesnt mean                      that     he      actually             is     because         the       facts           may
     you         to    stop me.
                                                                                                                                                                           it




17           A.         No.                                                                                                                                           17   change             that       when theyre presented but hes                                                entitled           to



18           Q.         Make me go back over                                              it.                                                                         18   that     presumption                     of    innocence.                    Right

19           A.         I   sure      will.                                                                                                                           19           A.    Yes             sir.




20           Q.         Can you do that                                                                                                                               20           Q.        If
                                                                                                                                                                                                  you had           to    go back             in that              jury   room        right           now

21           A.         Yes         sir.
                                                                                                                                                                      21   and vote you would have                                      to    vote not              guilty       wouldnt                you

22               Q.     I   dont know what you know about Grand Juries                                                                                    in          22           A.        Yes          sir.



                                                                                                                                                                      23                     Because              hes presumed                                 be innocent              and you
23   Texas.                 Grand Jury                in    Texas                    is    a     body           of    12 people that                       is                      Q.                                                                   to



24    selected               by the            District              Judge                that       goes            into   a room and                                24    havent            heard             anything.


                                                     And                                                  12                                                          25           A.        Thats          correct.
25    listen           to   evidence.                                if        9 of those                        people agree
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                                                              STATE                            VS.                MARK             ANTHONY                        SO   TZ                    JANUARY                          30               2012
                                                                                                                                                             57                                                                                                                                           59

1               Q.    Just           because                  hes here doesnt mean hes a                                                  little                  1          A.          Right.


2    bit       guilty.              Means hes presumed                                          to      be innocent right                                         2          Q.          Beyond a reasonable                                   doubt

3               A.    Yes             sir.                                                                                                                        3          A.          Beyond                     a reasonable.


4               Q.    Youre going                          to    wait           to        see what happens                                                        4          Q.          That           burden Mr. Woolf                            is      at this    table     right


5               A.    Yes                 sir.                                                                                                                    5    here.        It           never          leaves       this table.                We     have      to     prove    guilt


                      Youre going                                                                                                                                                                                             doubt State does.
                                                                 keep an open mind about it
6               Q.                                         to                                                                                                     6    beyond a reasonable

7               A.    Yes                 sir.                                                                                                                    7          A.          Yes            sir.




8               Q.    Burden                      of proof           in    the            state         on     --   is    on the                                  8          Q.          Youll               buy that wont                    you
9    State           of    Texas.                     That    means                  at this             table.                                                   9          A.          Yes            sir.




10              A.    Yes                 sir.                                                                                                                    10         Q.          Youll hold us                       to    that       wont          you
11              Q.        Proof            beyond a reasonable                                          doubt.                                                    11         A.          I       sure         will.




12              A.    Yes                 sir.                                                                                                                    12         Q.          If      we dont do                  it    youre going                 to    go back there

13              Q.    And you wrote something                                                       I   think            on your                                  13   with your                  11         other     jurors       and say not guilty

14   information                     sheet             that      said           if   it    was proved beyond a                                                    14         A.          Correct.


15   shadow                    of   a doubt.                                                                                                                      15         Q.          Because                      we dont           prove the case.                      Thats the way

16              A.    Yes                 sir.                                                                                                                    16   the   system works.

17              Q.    And             I    understand                     that.            Those are words                         that     we                    17         A.          Yes             sir.




18   use out               in       general             society              about proving                          somebody              guilty                  18         Q.          Fifth          Amendment                   of    the United                 States


                                                                                                                                                                  19                                         ever      heardof somebody taking the Fifth
19   beyond a shadow                                    of a doubt.                       But the burden                     of    proof       is       to             Constitution


20   prove            beyond a reasonable                                            doubt.                                                                       20         A.          Yes             sir.




21              A.        Yes             sir.                                                                                                                    21         Q.          That            means              that    a person                does not have           to   give


22                        Those are                                                                          my mind How                  could                   22   testimony against                               themselves                  at   a   trial.
                Q.                                     different                things              to


23              how        could                                                                                                                                  23         A.          Correct.
     I
          --
                                             somebody                      prove               to   your          satisfaction         that         I




24   had on a pink                                                                                                                                                24         Q.          They have a                                          remain         silent.          The other
                                             tie       today               Lets            think             through       this    a                                                                                        right   to


25   minute.                   If
                                    you          saw     it   with your                    own eyes you would                               know                  25   table      over there                          those       gentlemen they do not have                                   to   say


                                                                                                                                                             58                                                                                                                                           60

 1   it    wouldnt                   you                                                                                                                           1   one word.                       Mr.      Soliz       does not have                    to   say one word the

 2              A.        Yes             sir.                                                                                                                     2   whole        trial.
                                                                                                                                                                                                       They dont have                         to    ask a question.                They

 3              Q.        If
                                you         didnt        see         it    with           your own eyes you
                                                                                                                                                                   3   dont have                    to        do anything.                They have a                  right to    remain


 4   wouldnt know                                it   beyond              all    doubt.                                                                            4   silent.


 5              A.        Yes             sir.                                                                                                                     5         A.          Yes             sir.




 6              Q.        Do you see what Im                                         getting                 at     If
                                                                                                                         you saw       it                          6         Q.              Mr.       Soliz          has    that       right.          Okay
 7   with your                      own eyes you would                                         be a witness.                                                       7         A.              Yes             sir.




 8              A.                                                                                                                                                 8         Q.          The reason that                           is    is   because             we have         the    burden
                          Right.


 9              Q.        You wouldnt be on a Jury would                                                             you                                           9   to    prove               guilt        beyond          a reasonable                   doubt           this table.



10              A.        Correct.                                                                                                                                10         A.              Correct.


11              Q.        Illustrates                  the      point           perhaps                      proving       guilt                                  11         Q.              Never changes does it

12       beyond a reasonable                                     doubt.                                                                                           12         A.              No        sir.




13              A.                                                                                                                                                13         Q.              Never leaves
                          Right.


14               Q.       But        if
                                           youre going                      to       prove              it   beyond         all    doubt                          14         A.              No.

                                                                                                                                                                                                                            here.        Thats why our system works.
         you saw
15                             it   yourself.                                                                                                                     15          Q.             Always                 right


16              A.        Correct.                                                                                                                                16   Can you abide by that

17               Q.       Thats the way                          I   would                 be.          Would            you agree with                           17         A.              Yes             sir.




18       that                                                                                                                                                     18          Q.             Would              you require              us    to       prove        guilt    beyond       a


19               A.       Yes             sir.                                                                                                                    19   reasonable                       doubt

20               Q.       You would require                                     us        to   prove           guilt      beyond a                                20          A.             I   sure would.

                                                                                                                                                                                             And                                                                                                    of
21       reasonable                   doubt wouldnt                                  you                                                                          21          Q.                         I

                                                                                                                                                                                                              expect         before           you found somebody                     guilty


                                                                                                                                                                  22                              murder case you would require                                               and demand
22                        Yes                                                                                                                                          a                                                                                                 it                          it
                 A.                       sir.                                                                                                                              capital


23               Q.       Not        beyond a shadow                                      of    a       doubt                                                     23   from our side                            wouldnt            you
24               A.                                                                                                                                               24          A.             Yes             sir.
                          Right.


                                                                 doubt                                                                                            25           Q.                Because youre not taking a death penalty                                                case
25               Q.       Not         beyond               all
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                                                           STATE                  VS.                MARK                   ANTHONY                      SO      TZ              JANUARY                                     30                 2012
                                                                                                                                                61                                                                                                                                                                        63
                                                                                                                                                                                 Yeah.                             murder plus something                                            isnt it
1
     lightly      are        you                                                                                                                         1               Q.                          Its



2          A.     No no                     sir      not    at    all.                                                                                   2               A.      Correct.


                                                                                                                                                                                                 murder committed
                                                                      you would go back there and
                                                                                                                                                                                                                                                               the course                  of another
3          Q.     If    we dont                      prove       it
                                                                                                                                                         3               Q.      Its    a                                                               in


                                                                                                                                                         4                     such as robbery murder kidnapping
4    say    not guilty wouldnt                                    you                                                                                            felony                                                                                                                   aggravated

                                                                                                                                                         5       sexual          assault                that            kind      of          thing           murder of a police
5          A.     That               is   correct.


                  See what                        Im                     at                                                                              6       officer         murder of a                            child      under             10           several            ways you can
6          Q.                                             getting


7          A.     Yes                sir.                                                                                                                7       commit          capital                murder.


8          Q.     All        right.             Lets        talk      about        murder not                        capital                             8               A.      Yes         sir.




                                                                                       Murder.                                                           9               Q.      But the                one were dealing                                     with         is   murder         in     the
9    murder murder.                               Capital         murder.

                                                                                                                                                                                                                                                         Thats whats called
10         A.     Yes                sir.                                                                                                                10      course          of    robbery or a                           burglary.


                                                                                                                                                                                                  Thats what makes                                                                  murder as
           Q.     Capital                   murder we know theres only two                                                                               11      murder          plus.                                                                            capital
                                                                                                                                                                                                                                                             it
11


12   punishments dont                                 we                                                                                                 12      opposed               to    murder.                     Do you                understand                       that

13         A.     Yes                sir.
                                                                                                                                                         13              A.      Yes             sir.




                  What                                                                                                                                                           Punishment                                   murder again were back                                               at
14         Q.                         are        they                                                                                                    14               Q.                                            for



15         A.     Thats the death penalty                                         and         life        in   prison                                    15      ordinary              murder with me turned                                            around                 and shooting                 my

16   without       the                                      of                                                                                           16      trial    partner                5   to       99 years or                       life.             One example seems
                                 possibility                      parole.


                                                Murder                from                                         about                                 17      like     a                  aggravated                           situation                       maybe a            life    sentence
17         Q.     Exactly.                                       is               --   lets talk                                                                               pretty


18   this but                                             on murder 5                         99 years or                                                18      would         be called                  for for             me. Now you                             contrast              that    with a
                       punishment                                                       to                                      life.



                                                                                                                                                         19                            where                       man and                    wife      have been married                                        50
19         A.     Yes                sir.                                                                                                                        situation                               a                                                                                               for


                                                                                                                                                         20                shes dying                                                                                                    death
                                                                                         murder                                                                  years and                                                         cancer agonizing
                                                                                                                                                                                                                             of
20          Q.    Thats                   different            than      capital


21                                                    You see what Im saying                                                                             21      horrible painful                             month             after           month.                She wants               her         life
     punishment-wise.

                                                                                                                                                         22                       She begs her husband Take                                                                my                        me        out of
22          A.    Yes                sir.                                                                                                                        ended.                                                                                                             life    get


23          Q.     Because                       this      punishment                  for    murder 5                     to    99 years                23      this     misery.                    He wont do                         it.     One               morning            she     is
                                                                                                                                                                                                                                                                                                   really


24   or life      that        is       subject             to    parole.                                                                                 24      having a bad day.                                      He    just        succumbs                        to   the temptation                    and

25          A.     Correct.                                                                                                                              25      gives         her     an extra shot of morphine and she                                                                  dies.         Well          I




                                                                                                                                                    62                                                                                                                                                                    64

 1          Q.     Death                  penalty           is    not     is     it                                                                          1   think        you would                      agree with                       me        a person                    commits the

                                                                                                                                                                                            murder                       he                                         causes the death of
2           A.     No            sir.                                                                                                                     2      offense          of                               if           intentionally


3           Q.                              Lets                 about           definition               of       murder.                                3      another           individual.                          Thats murder                               isnt        it
                   Okay.                                  talk


4    Person            commits the offense                                  of    murder             if    he       intentionally                         4               A.     Yes             sir.



                                                                                                                                                             5            Q.                         But                                         be a 5-year case as opposed
 5   causes the death                                of   an     individual.                                                                                                     Okay.                             that       might

6           A.     Yes               sir.                                                                                                                 6      to   a   life    case               punishment-wise.                                        Does          that          make sense

 7          Q.         Not       capital              murder but murder.                                  If   I    turn    around                           7            A.     Yes             sir.




 8              now         in       this       courtroom                and Ive got a gun                            in    my                               8            Q.     Do you                 agree
                                                                                                                                                                                                                           with          that
     right


 9    pocket       and           I    turn           around           and    I

                                                                                 put a hole                    in   Christys                                 9            A.     Yes             sir.




10    head because                              dont                  the                                  are       going              that             10               Q.     Okay.                  In     other          words the                           legislature in this
                                            I               like            way things

                                 Ive                                     caused               the death                of another                        11      state         Mr.      Woolf                      has given a                   real             wide range from 5 years
11    is   murder.                              intentionally


12    individual.                                                                                                                                        12      to      99.     Thats a wide range.

13          A.     Yes               sir.
                                                                                                                                                         13               A.     Yes             sir.




14          Q.         Do you see that                                                                                                                   14               Q.     And then you set the punishment                                                                    in   there


15          A.         Yes           sir.
                                                                                                                                                         15      according                  to    the         crime               let         the    facts          fit    the      crime          let




                       That                 5         99 years.                  Can          do you see that                                            16      the      punishment                         fit    the crime.                      Could you do that
16          Q.                        is         to                                      --




17          A.         Yes            sir.                                                                                                               17               A.      Yessir.

                                                                                                                                                                                  Could              you consider                             the       minimum
                                                          go ahead and                               about the
18           Q.        Okay.                Lets                                        talk                                                              18              Q.


19    difference              between                     murder and                  capital         murder. Capital                                     19              A.      Yes            sir.




20    murder           is    murder plus something murder committed during                                                                               20               Q.      Could              you consider                             the       maximum

21    the course                 of       the        commission or attempted                                        commission                 of        21               A.      Yes            sir.




22                                                         Now do you see                        the difference                                          22               Q.           would                 depend               on what
      robbery or
                                                                                                                                                                                  It
                                 burglary.

                                                                                                                                                         23                       The evidence                               thats             shown.
23           A.        Yes            sir.                                                                                                                                A.

                                                                                                                                                         24               Q.                                  Depends                     on the facts wouldnt it
24           Q.        What               is    it                                                                                                                                Exactly.


25           A.        Its    a       second               act.                                                                                           25              A.      Yes             sir.
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                                                               STATE                                  VS.                  MARK                   ANTHONY                     SSOTZ                        JANUARY                                   30                2012
                                                                                                                                                                         65                                                                                                                                                                             67
1           Q.    All     right.                All       right.               Weve                    talked              about                                              1             Q.         Wouldnt                          like    it    would            you
2    capital      murder murder                                      plus.                 Weve                  talked               about theres                            2             A.         No             sir.



3    only two punishments                                       in
                                                                      capital                      murder case and thats                                                      3             Q.         I
                                                                                                                                                                                                               imagine you                      would             have some words                                 to     say                to    the

4    what      this     is.         Elements                         of     a    crime                      these               are the things                                4    Prosecutor                         wouldnt                   you
5    that   are up there                         with these                       little              bullet           points.                  Those                         5             A.         Yes             sir.



6    are the elements                            that          are contained                                     in   the indictment.                                         6             Q.         There you                         go.         All    right.               Lets          talk.    about

7    These are the things                                     we          this             table             the State                      of   Texas                        7    intent              because                      one        of     the elements                        up      here       is



8    at this     table the                      District              Attorneys                             Office              and the                                       8    intentionally                         isnt it

9    Assistant D.A.s                            have           to    prove each element beyond a                                                                              9             A.         Yes             sir.



10   reasonable                    doubt.                 Right                                                                                                               10            Q.         This            is    what           intentionally                        is     A       person           acts

11          A.    Correct.                                                                                                                                                    11   intentionally                       with respect                        Ito   the         result of his                   conduct

12          Q.    You would require                                            that          wouldnt                       you                                                12   when           it       is    his     conscious                         objective                or desire               to   cause the

13          A.    Yes              sir.                                                                                                                                       13   result.             Seems                      like     a    pretty           common                   sense             definition of


14          Q.    Youre not about                                     to        take               somebodys                               capital                            14   intentionally to                               me.

15   murder case and                             let          us     off        with anything                                   less than proof                               15            A.         Yes             sir.



16   beyond        a     reasonable                            doubt              on every element correct                                                                    16            Q.         You dont have                                  to    memorize                    that           because               Ill
                                                                                                                                                                                                                                                                                                                                            get

17          A.    That             is    correct.                                                                                                                             17   back          to        what          I    told        you         earlier.              The Judge would                               give               you

18          Q.    Lets             talk         about these                                elements.                            Weve             got    to                    18   a set         of written                       instructions                   for        the Jury              to    take      back                  to


19   prove       that       the          Defendant                             Mr. Soliz                     on or about June                                                 19   guide          their              deliberations                          and        it    would              have terms

20   29th 2010                     in    Johnson                     County Texas                                          intentionally                     caused           20   defined.                     And          it    would             have        all        these          elements and                                it




21   the death of                  an       individual                         by a          manner and means such as                                                         21   would          tell
                                                                                                                                                                                                                 you what                   intentionally                        is.    But       we would have
22   beating       with            a     tire     tool          or beating                                 with a 2-by-4                         running                      22   to       prove the person                                   intentionally                       caused              the death                of

23   over    with       a         car or whatever                                 the                 --   a firearm or                         knife        or               23   another                     individual                  intended               to        kill       them.

24   something                like        that.               Thats manner and means.                                                              Does           that        24            A.         Yes             sir.



25   make sense                                                                                                                                                               25            Q.             In   the course                      of     a robbery                    or   burglary.                And              if




                                                                                                                                                                         66                                                                                                                                                                             68
1           A.    Yes              sir.                                                                                                                                       1    we       prove that                            all    the elements                        beyond a reasonable                                            doubt

2           Q.    Weve                   got      to          prove             that             it    was        in        the course                   of                   2    we would                      expect                 your         verdict        to           be what

3    committing                   or attempting                            to     commit a robbery or a                                                                       3             A.         Guilty.


4    burglary.           If        we dont                    prove one of those elements not                                                                                 4             Q.         Okay.                  Intent             many            people                think           intent     has              to        be

5    guilty.                                                                                                                                                                  5    plotted             out           and planned                           out but thats                        really


6           A.    Correct.                                                                                                                                                    6    premeditation.                                  Thats something                                 different            than       intent.


7           Q.    Okay.                  Now              I    want             to         use one of these elements                                                          7    If   I   turn           around                 right        now and take a gun out and shoot my

8    to   illustrate              a point                 to    make sure you                                         if
                                                                                                                            you were on                                       8    trial
                                                                                                                                                                                             partner                    Ive             got the            intent           to     do    it.      Bang.           And              I




9    this   Jury could do the hard and the                                                                   difficult                    thing.        If                    9    might          have formed                              that        intent          in        three          seconds            five


10   we dont          prove               one of these elements youve got                                                                          to        say              10   seconds.                      See that

11   what                                                                                                                                                                     11            A.         Correct.

12          A.    Not             guilty.                                                                                                                                     12             Q.        And            intent              can be            inferred                from the actions                                   does

13          Q.    Not             guilty.         If
                                                          you             hear the evidence                                               and the                             13   not       have               to    be planned                       or premeditated.                                 Now        in        certain


14   evidence           does not show you                                              it    happened                                in   Johnson             County          14   crimes                  I    think         you could see how they may plan                                                           it     out

15   it   shows you                 it    happened and                                      it        shows you                           that    the                         15            A.         Yes             sir.



16   Defendant                did         it.    He            did        it    on          or        about.                He                                                16             Q.            But thats                     not something                           we have               to    prove do                        we
17   intentionally                 caused the death by the manner and means                                                                                          in       17   because                      its    not          one        of     those            elements                    is   it

18   the course               of         robbery               and everything                                     else.                   But    we      leave                18            A.             No         sir         its     not.


19   out    Johnson                 County.                    We              didnt prove                            it    was            in    Johnson                      19             Q.            Have          to        prove             its    intentionally                       but      we dont

20   County or                it    happened                         500 yards                             in to           Tarrant               County.                      20   have          to        prove             its         planned             or    premeditated                             do    we
21          A.    Not             guilty.                                                                                                                                     21            A.         Thats                 correct.


22          Q.    Not             guilty.             I   would                 grit        my teeth                       if    I    was on a                                22             Q.            Could             you hold us                     to   that

23   Jury    and        that             happened                     and              I    had             to   come                     out    and say not                  23            A.         Yes             sir.



24   guilty       but         I    would do                    it.        Can you do it                                                                                       24             Q.            Okay.                  Now          you are going                           to find          each one of

25          A.    Yes              sir.                                                                                                                                       25   these things                         we go through                             Mr.            Woolf            it   gets a          little
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                                                             STATE                        VS.                   MARK                    ANTHONY                       SSOJ7                            JANUARY                                         301                 2012
                                                                                                                                                             69                                                                                                                                                                               71

                                                                                     As you look down                                            the                          agreement                           to          commit a crime.
        more complicated                                                                                                                    at                        1
1                                                     every         time.


2       bottom              of this particular                      slide           it   talks            about           or        is      a                         2                  A.            Yes             sir.




                                                                                                                                                     word                                Q.            Ms.        Jacks and                                    have an agreement                               to    go     in    and
3       party          to   a    capital           murder.                Have            you ever                    heard the                                       3                                                                                I




                                                                                                                                                                      4       rob the                  7-Eleven were                                           in   a conspiracy.
4       accomplice
5                A.         Yes         sir.                                                                                                                          5                  A.            Yes             sir.




6                Q.         Kind        of       a helper so                  to    speak.                     Christy Jacks                      and                 6                  Q.            Does                  that        make sense

7       I   decide              to   rob the 7-Eleven                          down here.                        And           I

                                                                                                                                   go       in    with                7                  A.            Yes             sir.




                                rob              and shes                     the                                                  She drives                         8                  Q.            Shes                  going         to          be the getaway                          driver.              Im gonna
8       a    gun       to               it                           in                  getaway                 car.


                                      Shes got the engine warmed                                                                                                      9       go in do the robbing.                                                    Weve                got an agreement                                to   commit a
9       a    fast      car.                                                                                       up        ready                to    go.

                                                                                                                                                                                                                                    there and she knows                                        Ive got a                   gun
                                       come                                              She                                             the                          10                                          go          in                                                                                                  in
        Im going                                                                                               a party             to                                                                  If
10                               to                     running           out.                           is                                                                   felony.                         I




--21
                                                                                                                                                                                                                               when                                       she can be                                of the crime
11      crime.                                                                                                                                                        11      my         waistband                                             I

                                                                                                                                                                                                                                                   go           in                                   guilty


                                                                                                                                                                      12      that             commit even though                                                    she had no actual                              intent       to
12                A.        Correct.                                                                                                                                                      I




                                                                                                          word                                                        13      commit                                     my         actions                     my        offense             inside       that        store
13                Q.        Party sounds                                  a strange                                       but thats                                                                               If
                                                                like                                                                                                                                   it.




14      what the law                     calls                            to       a crime.                    Lets       talk          about                         14                 was committed                                    in       furtherance                     of    the unlawful
                                                             party
                                                                                                                                                                              if    it
                                                        it



                                                                                                                          of another                                  15                                                                                   the robbery                        the store                and
15      this.          Person              is    responsible                  for        the conduct                                                   --                     purpose                        that             is being                                               of



16                                   back                    Person                                                   for          an offense                         16      down there                               at      the       bottom and was one                                           that      should             have
        Well           lets                       up.                          is    responsible

                                                                                                                                                                      17      been anticipated                                           as a          result             of the carrying                      out of the
17          committed                 by another               if   acting               with the               intent             to   promote

                                        commission                            the offense                        he       solicits               or                   18      conspiracy.                                     If    she saw me with a                               pistol            stuck          in     my
18          or   assist          the                                     of


                                                                     aids                                             to aid            the other                     19      waistband                           when                   got outof
                                                                                                                                                                                                                                                   the car                              to     walk            in   there         to
19          encourages                  or directs             or                   or    attempts
                                                                                                                                                                                                                                     I




20          person          to       commit the offense.                                 Thats kind of our                                  little                    20      rob        it        maybe she should have anticipated

                                                                                                                                                                      21                 A.            Correct.
            example.

                                                                                                                                                                      22                 Q.                                   a                            murder could occur.                                  Does            that
22                A.        Yes         sir.
                                                                                                                                                                                                       --    that                   capital


23                Q.        Im going               in to       rob       it    shes the getaway                                                                       23      make sense

24          driver.                                                                                                                                                   24                 A.            Yes               sir.




25                A.        Yes         sir.
                                                                                                                                                                      25                 Q.            Do you                      agree           with              that


                                                                                                                                                             70                                                                                                                                                                               72

    1             Q.        Shes             a    party      because                     she    is        acting          with the                                     1                 A.            Yes               sir.




                                                                          the            commission of the offense                                                     2                 Q.            Could                   you abide by                            that       law          the        Judge
2                                promote              or assist
                                                                                                                                                                                                                                                                                         if
            intent      to


    3       the robbery                  and shes encouraging                                             soliciting                 aiding                            3       instructed                         you
4                                                  Shes a                                                                                                              4                 A.            Yes               sir.
            attempts             to     aid.                             party.

                                                                                                                                                                                                       Because                           she could be responsible                                          for       the
    5             A.        Yes         sir.                                                                                                                           5                 Q.                                                                                                                                     capital


                                                                                                                                                                       6       murder                                         commit                                      that    store              she should                   have
                            See                    shes a helper                                                                                                                                       that                                            inside                                   if

    6             Q.                    that                                                                                                                                                                             I




    7             A.        Yes.                                                                                                                                          7    anticipated                             it.




    8             0.        I    like    that      word helper because                                            its      a       little                                 8              A.            Yes                   sir.




                                                                                               makes                                     more                             9              Q.                                        This    talks                    about       basically             what were
    9       more down                   to       earth than              party.           It                          a   little                                                                       Okay.

                                                                                                                                                                       10                                                                                                  an agreement                        to    commit a
            sense                 me.            Can you see how somebody                                                 can be a party                     to   a                                    about.                      Conspiracy                        is
10                          to                                                                                                                                                 talking


                                                                                                                                                                                                                                                   a       murder                 committed                     the        murder was
11          crime       even though they didnt go                                              in        to    the    store                                            11          robbery                   or burglary                                                     is



                                                                                                                                                                                   committed                                  furtherance                           of the unlawful                       purpose               and was
12                A.        Yes          sir.                                                                                                                          12                                              in


                                                                                                                                                                                                                                                                                                          want you
13                Q.            Okay.            Thats something                           you could abide                                  by                         13          one        that           should                  have been                            anticipated.                I
                                                                                                                                                                                                                                                                                                                                  to   look


                                                                                                                                                                       14                              word should.                                        See that                 Because thats going                                 to
14                A.        Yes          sir.
                                                                                                                                                                                   at that


                                                                                                                                                                                                                                                                                                               we go             the
                                                 Now                                                                                                 can be a                                                                                                              you     the        further
                                                             theres another                                                                                            15          be                                         later       on.                   told
15                Q.            Okay.                                                                    way somebody                                                                    important                                                         I




                                                                                                                                                                                   more complicated                                                                        she sees             that       gun         in       my
                                                      Lets read                            because                                                                     16                                                                          gets.             If

16                               a crime.                                      this                                   this thing                  is                                                                                      it
                       to
            party

17          really      a       pretty           convoluted               definition.                     If     in   the attempt                                      17          waistband                           maybe she should have                                              anticipated.                          Right

18          to   carry           out a conspiracy                        to    commit one felony another                                                               18                 A.           Yes                   sir.




                                                                                                                                                                                                       Maybe she should maybe she shouldnt
                                                                                                                                                                       19                 Q.                                                                                                                                    but thats
19          felony          is   committed                   by     one of the conspirators                                             all      the

                                                                                                                                                                       20                                              a Jury could look                                   at     and    determine                          she should
                                                                                                                            committed                                              something
                                                                                                                                                                                                                                                                                                                      if

20          conspirators                     are      guilty        of   the felony                      actually

                                                                                                                                                                                   be held responsible                                                         the                      murder                  committed
21                                               no                  to       commit                            the offense                      was                   21                                                                          for                    capital                          I




            though              having                   intent                                     it    if




                                                                                                                                                       and             22          when                went                  in that           store                 even though                     shes the getaway
22          committed                        the furtherance                        of    the unlawful                             purpose
                                                                                                                                                                                                   I


                                      in



23          was one               that       should           have been anticipated                                        as a             result of                  23          driver.              See that

                                                                                                                            an agreement                               24                     A.       Yes
24                               out the conspiracy.                                                                                                                                                                         sir.
            carrying                                                                     Conspiracy                   is




25          to   commit a crime.                             Fancy word fancy                                   legal          word                                    25                     Q.        That brings                            me              to    something                else.            In    your
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                                                                                                                                                          73                                                                                                                                                       75

1    questionnaire                     that       you        filled        out before                 you got                    into                           1
                                                                                                                                                                     something we have                              to      prove.           Dont have                    to         prove


2    this jury        box you was                            talking        about your views                                     on                             2    premeditation.                        We       talked             about       that       earlier                didnt          we
3    capital      punishment                       in        general.            You said Well                                     if                           3           A.         Yes       sir.




4    somebody                is    guilty         of     a crime                beyond a shadow                                    of       a   doubt           4           Q.         Scientific            evidence we might have                                             it    we       might


5                                                                                               But                                                             5                      we didnt you would                                                    based on what
     they should               get the death                        penalty.                           in        this                                                not.                                                               judge           it
                                                                                                                                                                                 If




6    situation Ms. Jacks would                                        be the              getaway                    driver.                Shes                6           A.         The      facts.



7    the non-trigger                     man.            Maybe she should get the death                                                                         7           Q.         Yeah.           What you                  did     have.


8                                                                                     would                                       on the                        8           A.         Correct.
     penalty           maybe she shouldnt.                                       It                    depend

9    what                                                                                                                                                       9           Q.         Okay.           Now           you remember us                              talking              about the


10          A.     The        facts.                                                                                                                           10    manner and means back here one                                                          of   the elements                             Down

11          Q.     There            you          go.         Do you see that                                                                                   11    there            the     manner and means we talked about could be with

12          A.     Yes            sir.                                                                                                                         12    a    tire        iron    or 2-by-4 or car or                        knife          or a gun.


13          Q.     In      other words you cant                                       just      cover                everything                                13           A.         Yes       sir.




14   with    a blanket                 and say Well                             this       is   the     way                it    all                           14           Q.         We       have         to     prove          how        it   was committed but we

15   ought       to     be          because every one                                     of   these             things                is                      15    dont have                 to    prove          or     we dont have                       to   show you the

16   different             isnt        it                                                                                                                      16    murder weapon.                              Now we may know how                                           it    was committed

17          A.     Yes            sir.                                                                                                                         17    with a           knife     or a         gun          but     we may                not       have              that   murder

18          Q.     Facts are always                              different.                    Have      I       lost           you up                         18    weapon.                 The criminal may have thrown                                            it
                                                                                                                                                                                                                                                                               away.                We   may       not


19   to this      point                                                                                                                                        19    ever get            it    but      we        still     have        to    prove           how         it        was done.

20          A.        Not                                                                                                                                      20    But we may not have the murder weapon                                                                      but    we dont have
                              yet.


21          Q.     Okay.                Lets       keep going.                        I   want         to        point            out           one            21    to    show you physically the murder weapon.                                                                    Does           that   make

22   more time               that        should have been anticipated.                                                             This              is        22    sense

23   the Guilt/Innocence                               part     of the           trial.         And          I   should                     have               23           A.          Yes         sir.




24   brought           this to           your      attention                    earlier.          I   think            I        kind of                        24           Q.          Who         would have.                  control           over           what happened                          to   the


25   did.        Each        criminal             trial        in   Texas                 Mr.    Woolf                 has two                                 25    murder weapon


                                                                                                                                                          74                                                                                                                                                       76

                                                  two halves kind                                                                                                           A.          The Defendant.
     parts two
                                                                                               of like           a    football
                             stages
 1                                                                                                                                                              1




 2   game.                                                                                                                                                      2           Q.          Yeah.           May have thrown                            it
                                                                                                                                                                                                                                                        away or something.                                    We
 3          A.        Yes         sir.                                                                                                                          3    dont know do                          we
 4          Q.        First       half       is   Guilt/Innocence.                              The Jurys                                                       4           A.          No      sir.




 5   function           is   to     look          at   what happened                             on    this           offense                                   5            Q.         May      not ever get                    it.




 6                not        guilty.             Second             half         is   Punishment                                                                6           A.          Correct.
     guilty


 7   determine               --
                                  capital              murder case we know theres only two                                                                      7            Q.         Some           of those             crime        shows               you watch                     I

                                                                                                                                                                                                                                                                                                guess

                                                                                                                                                                     sometimes they have                                         sometimes they dont
 8   ways        to    go         right                                                                                                                         8                                                          it




 9          A.        Correct.                                                                                                                                  9           A.          Correct.


10          Q.        So      its      a two-stage                    trial       first         stage                                                           10           Q.         Okay.           Eyewitness                     testimony                  may have                     it   may

                                             second                                                                             Sound okay                                       You                             these           crimes are committed                                      on the
                                                                    stage Punishment.                                                                           11   not.                     think        all
11   Guilt/Innocence

12          A.        Yes         sir.                                                                                                                          12   courthouse                 steps

13          Q.        All    right.          You notice                    in    these           elements over                                                  13           A.         No      sir.




14   here Im going                          to    back up             if    I
                                                                                can those elements                                                              14           Q.         There you go.                       If   you didnt have an eyewitness

                                                                                                                                                                           a case you would judge the case                                                    based on what
15   doesnt say anything about motive does it                                                                                                                   15   to


16          A.        No       sir.                                                                                                                             16           A.         Facts         presented.

                                                                                                                                                                                        What you                           have presented.                                                     Maybe
                                                             may be                                          thats obvious.                                     17           Q.                                  did
17          Q.        Okay.              Motive                                 something                                                                                                                                                                          Exactly.


                                                                                                                                                                                        an eyewitness maybe theres                                                                  You agree
                                                       example Im going                                                    rob the                              18   theres                                                                                       not.
18   In   my      little      7-Eleven                                                                  in to


19   place         money                 thats the motive.                                Pretty       obvious                         from the                 19           A.         Yes         sir.



                                                                                                                                                                20                                                                                           Witnesses are going
20   facts.        Do you see that                                                                                                                                           Q.         Lets        talk         about witnesses.

                                                                                                                                                                                                                          chair        next                  between                  the       Judge
21          A.        Yes         sir.
                                                                                                                                                                21   to    sit        right    up      in that                                 to       --




                                                                                                                                                                22   and the Court Reporter.                                      See that
22          Q.        But     we dont have                            to    prove necessarily                                    what           it




23   was.         Have            to    prove           it    was a robbery                                                                                     23           A.         Yes         sir.




24          A.        Right.
                                                                                                                                                                24           Q.         We      call        that      the witness                  chair           the witness                      box.


25          Q.        But the motive                          for     a                               crime           is         not                            25   And         its     close         to that            jury     box so the Jury can hear every
                                                                           particular
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                          Page 23 of 112 PageID 4268
                                                  STATE                         VS.           MARK                  ANTHONY                    SSO.T7.                 JANUARY                            30                   2012
                                                                                                                                          77                                                                                                                                                   79

1    word they           say.          Thats the reason                              its   set     up       like   that.                        1    made         her a          deal which we are                                  entitled            to   do under the

2           A.     Yes         sir.
                                                                                                                                                2    law      District           Attorneys Imtalking                                     about.              Were          entitled



3           Q.     People             would       get on the witness                              stand they would                              3    to   make somebody                            a deal                if   they give testimony.                              Maybe she

4    be sworn in they would                                give       evidence testimony.                                Some         of        4    gets a deal                 made and                 she            testifies.              And maybe shes got a

5    those witnesses                                                                                    a                                       5             record              and         that      comes                 out well you wouldnt
                                          might be              police          officers          in         criminal                                prior


6    case.        Thats no shock.                                                                                                               6    automatically disbelieve                                  her.            You would wait and see what

7           A.     Right.                                                                                                                       7    she said and then decide wouldnt                                                            you
8           Q.     Some             of   them         might be criminals people                                         with                    8            A.      Yes          sir.




9    criminal         records.             Do you see that                                                                                      9            Q.      Could          you do that

10          A.     Yes         sir.
                                                                                                                                               10            A.      Yes          sir.




11          Q.     Okay.             Some        of        the witnesses                    you might               like   and                 11            Q.      The Judge                    would         instruct                 you       that      the      12       jurors



12   some        of     them you might not                            like      if
                                                                                      you were on the                     Jury.                12    are the exclusive                         judges of the                        credibility              of the


     Do you see that                                                                                                                           13    witnesses.                  Exclusive                                         Nobody                                  to
13                                                                                                                                                                                                       judges.                                        is
                                                                                                                                                                                                                                                             going              tell




14          A.     Yes         sir.                                                                                                            14    you     who          to     believe             who        not           to    believe.             Youre going                   to



15          Q.     But        its     not a matter                   of   whether            you        like       or                          15    listen       to      them and decide                           if
                                                                                                                                                                                                                              you       believe          them.            Could        you

                                                                                                                                                     do that
                                                                     you keep an open mind and
16   dislike.         Its     a matter            could                                                                                        16


17   judge       what they say and how they say                                              it   and then decide                              17            A.      Yes          sir.




18   whether                    believe                or   not                                                                                18            Q.      Whether                  they       were a                police            officer      or   whether
                        you                      it




                                                                                                                                                              were a person                          with a criminal record                                   or   whoever
19          A.     Yes         sir.                                                                                                            19    they                                                                                                                               they


20          Q.     See that                                                                                                                    20    were youre going                              to    wait       and see what they say and then

21          A.     Yes         sir.                                                                                                            21    decide          if
                                                                                                                                                                          you believe them.                                   Right

22          Q.     Weve              had    jurors          in       the past              that    says you              know                  22            A.      Yes          sir.




23   If a                     officer                      on    that                       on the stand and                                   23            Q.      Then judge the case and base your decision                                                                        on the
                police                     gets                            --
                                                                                gets

24   hes got            his    uniform         on hes                 looking               you know                pretty                     24    facts        of the         case as presented                                  to    you       right


25                                                                                     he says because hes a                                   25            A.      Yes
     sharp Im gonna believe whatever                                                                                                                                              sir.




                                                                                                                                          78                                                                                                                                                    80

1    police        officer          and Ive got a high regard                                     for   the law.                                1            Q.        Okay.           Now           again were                          still     in



2    But the          truth of           the matter is Mr.                           Woolf we got bad                                           2    Guilt/innocence.                          Remember                        that        one      half      and second                    half

3    police        officers           and we got good ones.                                                                                     3            A.      Yes          sir.




4           A.     That         is    correct.                                                                                                  4            Q.      Were             still     in      Guilt/innocence                            which        is        the


5           Q.     You know we                         got       good       --
                                                                                     youre not an                                               5    first    half        of    the      trial.
                                                                                                                                                                                                        Okay
6                                            a                                                                                                  6            A.        Yes
                                youre                                                                                                                                             sir.
     investigator                                     --



7                                                                                                                                               7            Q.                                                 about               accomplice                 testimony
            A.        Safety coordinator.                                                                                                                            All        right.        Talking

8           Q.     Coordinator.                   We            got       good safety coordinators                                  and         8    we      talked             about Christy                  Jacks shes going                                to         get a deal

                                                                                                                                                                                                                                                                me         as    an
                 you we got bad ones.
9    I    bet                                                                                                                                   9    from the             District            Attorneys                  to testify              against

                                                                                                                                                                                  because                shes my                                        She was the getaway
10          A.     Yes          sir.                                                                                                            10   accomplice                                                                     helper.


11          Q.        Depends on what they say and how they say                                                                it   and         11   driver          right

12   not    who they                are.    Do you               agree           with       that                                                12           A.        Yes         sir.




                                                                                                                                                13           Q.        The law says accomplice                                           testimony                 which         would        be
13          A.        Correct            yes     sir.



14          Q.     You would wait and judge                                          their    testimony                 based        on         14   what she gave must be corroborated                                                             by evidence                  that       tends

                                                                                                                                                                                                                                                         Thats me.
15   what they said wouldnt                                 you                                                                                 15   to   connect                the Defendant                      to         the crime.                                          Just


16          A.        Yes       sir.                                                                                                            16   because                she gets up and says Dale Hanna                                                        robbed          that      store


17          Q.        Not     who         they        are                                                                                       17   that     will        not cut the muster.                                 That        will     not get          it.




18          A.        No      sir.                                                                                                              18           A.        Correct                yes       sir.




                      Youre not automatically                                                          a                                        19           Q.        Do you see that                              Got            to    be what               Corroborated
19          Q.                                                                  believing                   police


20       officer      are     you                                                                                                               20   by evidence                   that        tends           to   connect.


21          A.        No       sir.                                                                                                             21           A.        Yes         sir.




22           Q.                                                                             end of the                                          22           Q.        They got               to     have some other evidence                                             to    connect
                      Likewise             lets        go       to   the other

23       spectrum.            You get a person up there thats maybe an                                                                          23   me      with         it.




24       accomplice.                You know                in   our       little
                                                                                       example maybe Christy                                    24           A.        Yes         sir.




25       Jacks     is   going          to testify           against             me.         Maybe the State has
                                                                                                                                                25           Q.        Does         that        make sense
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                Page 24 of 112 PageID 4269
                                                   STATE                            VS.                  MARK                      ANTHONY               SSOLTZ               JANUARY                                30                 2012
                                                                                                                                                    81                                                                                                                                                        83
                                                                                                                                                                              remain                          and not make any statement                                                          not
                  Yes                                                                                                                                                   to                         silent                                                                                    --
1          A.                 sir.                                                                                                                        1    right


2          Q.     Thats a                pretty     good way                        to   run a lawsuit                              dont                 2     make any             statement                 at      all.



                                                                                                                                                                                    MR.              HANNA                        know Im                                 too                     Im
     you think
3                                                                                                                                                         3                                                                  I
                                                                                                                                                                                                                                                        talking                       fast.



4          A.     Yes         sir.                                                                                                                       4     sorry        Pam.

5          Q.     Just       because               one person says                                      it    if   theyve got                             5          Q.       And he has the                         right         to    terminate              that               interview


6    something           to     gain          or   lose             youve got                       to       connect               the                    6    at    any time he gets ready.                                      And        if   they     dont               tell    him

                                                                                                                                                                                         and they get a statement
7    person       being         tried         with       other           evidence                        dont            you                              7    those        rights                                                                        from           him           that



8          A.     Yes         sir.                                                                                                                        8    statement            is        not worth              a plug             nickel.



9          Q.     Sound okay                                                                                                                              9          A.       Thats             correct.


                                                                                                                                                                              Cant be used.                          Cannot               be considered                              by the Jury
10         A.     Yes         sir.                                                                                                                       10            Q.


11         Q.     Okay.            We         talked               earlier          --   Im         talking              while                           11    as    any      evidence                 of his guilt                for    any purpose                         if    we dont

12                                       read.      Thats not                                                                                            12                 and convince                      you beyond a reasonable                                                doubt that the
     youre       trying       to                                                    right.                                                                     prove

13         A.     No         no.                                                                                                                         13    police        went by             all     the rules they                           warned him he knew

14         Q.     Go     ahead.                Lets           do that because thats a bad                                                                14    what         his rights             were he              intelligently                   and    voluntarily


                                                                                                                                                               waived                                        and gave                                                                Does
                                                                                             you get a chance
15   habit      Ive                      start                        before                                                                             15                   those            rights                                   that        statement.                                    that
                       got.                        talking
                                     I




16   to   read.                                                                                                                                          16    make sense

17                           Statements the Judges instruction beyond                                                                           a        17          A.       Yes         sir.




18   reasonable              doubt Miranda                           Warnings knowing                                              intelligent           18            Q.     And        if    they         dont warn him and we dont prove

19                      waiver.                                          the statement                                   not                             19    beyond             a reasonable                  doubt              that       all      those        rules             were
     voluntary                                Disregard                                                            if




20   convinced                                                                                                                                           20                                        the Jury cannot                        consider                  and they cant
                         beyond a reasonable                                         doubt.                                                                    complied            with                                                                        it




21                           Let         me see          if    I   can         illustrate                this.           In    a                         21    use     that       as   any           evidence                    of his   guilt.
                                                                                                                                                                                                                                                         And you would                                 have

22                                                                                                                                                       22          judge the            case then based                               on        what
                               you would                                        maybe
     criminal trial                                                                                                          officers      to                  to
                                                              expect                                    police


23   testify      at   some point                                                                                                                        23            A.     The      facts           that     are presented.


24                                                                                                                                                       24                                            That statement might                                be presented
           A.     Yes         sir.                                                                                                                                     Q.     Exactly.


                                                                                                                                                                                                                         he              maybe he said he
25                                                                   investigation you would                                                             25          you and even though                                                                                                  did
           Q.     Okay.              In   a   criminal                                                                                                         to                                                                  --                                                             it




                                                                                                                                                    82                                                                                                                                                        84

1
     expect       maybe              police        officers               to     investigate                       what they                do            1    if
                                                                                                                                                                    they didnt                go     by the rules                   you cant use                         it        can

2          A.     Yes.                                                                                                                                    2    you
3           Q.     Investigate                what happened.                                       In    some            of these                         3            A.     No       sir.




4    criminal          cases             police         will       talk        to    the person                         that        is                    4            Q.     And        that          gets    back               to that          in   the   wrong                  county

5    suspect and get                      their     side            of    it    their              version               of   it                          5    you know we talked about                                           that    earlier.


6    hear       what theyve got                     to         say about                     it.        Thats what they                                   6            A.     Yes         sir.




7    do.                                                                                                                                                  7            Q.     Tarrant                County.            And you would                         grit        your teeth                   on

8          A.     Yes         sir.                                                                                                                        8    the     way out                but      come          out          and say Not                   guilty.                You

9           Q.     Okay.             Now           in   some             of     these               criminal                 TV shows                     9    didnt prove that                         Mister         District           Attorney.                      Right

10   you watch               sometimes there                             is     a statement                              maybe a            written      10            A.     Yes             sir.




11   statement           that            the defendant                     gives                   maybe a audio                                         11            Q.     Same              thing        about               this    statement.                 If        thats the


12   statement maybe a video statement where the defendant                                                                                               12    only evidence                     you had               the Jury                   Im    talking           about and you

13   says       this    is   what happened.                               Now                this        is       what        all    this                 13   had      to    disregard                it   because                the       rules       werent followed

14   means up            there.               Have            you     ever heard                             of    Miranda                                14   you
                                                                                                                                                                   would               have            to   come back and say Not                                                  guilty.        Thats

15          A.    Yes         sir.                                                                                                                        15   all   you had Mister                         District              Attorney              and     that               was not

                  You have the                                            remain                                   not         make any                   16   taken         in   accordance                  with the                  rules          and there was no other
16          Q.                                      right           to                             silent


                                                                                                   you make may be used                                   17   evidence             and Im                                       him not
17   statement           at    all.
                                           Any statement                             that                                                                                                                   finding                                guilty.


18   in    evidence           against              you        at    your            trial.          You have the                         right            18           A.     Yes             sir.




19   to    have a lawyer.                     If
                                                   you dont have a lawyer youll get                                                                       19           Q.     Do you see that

20   one appointed.                       You have the                         right          to        terminate the                                    20            A.     Yes             sir.




21   interview                                          Youve                  heard               that                                                  21            Q.     You wouldnt                      like      it
                        at    any         time.


22          A.     Yes        sir.                                                                                                                       22            A.     Wouldnt                  like    it.




23          Q.     Thats Miranda                                                         The             law says                  that   a              23            Q.     But      you           would           do it
                                                         Warnings.

.2   police       officer       must warn the defendant                                                  of his              rights      when             24           A.     Yes             sir.




25   he          taken       into                                  And one                   of     those                    he has the                   25           Q.     Because                  Judge           told        you        to       go by the                   law.
           is                             custody.                                                                      is
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                   Page 25 of 112 PageID 4270
                                                               STATE                         VS.              MARK                ANTHONY             SSO.T7                   JANUARY                          30               2012
                                                                                                                                                 85                                                                                                                                                 87

                                                                                                                                                              go back there and say life                                    or    death.                     Not the       way
1           A.        Yes           sir.                                                                                                              1                                                                                                                                it




2           Q.        Now           this        is    a    --        I    started            to    use        some          smart                     2       works.           They go back there and they answer three

3    aleck       word but                   its      pretty                   common               sense.             Voluntary                       3       questions.                  And these three questions determine whether                                                              it




4    intoxication                   does not               constitute                       a defense                to    the                        4       is   a   life    sentence             without          parole              or a death                sentence.


5    commission                     of     a crime.                      If   it    did       what do you                  think                      5       That      make sense

6    everybody                would say                              They would say I was drunk.                                                      6                A.     Yes          sir.




7           A.        Yeah I was                          drunk.                                                                                      7                Q.      Its    not       just    go back there and say                                   Okay             were

8           Q.        So thats                  pretty           common                       sense.                Now     lets talk                 8       gonna           all    vote       and      its    either       life        or     death.             Thats not

9    about        this       trial.                                                                                                                   9       the      way      it   works.             Answer three questions.                                     Now         at   this



10                             MR.          HANNA                             How much                 time          have     I

                                                                                                                                  got                 10      second            part       of     the   trial      there could                      be evidence

11                                                                                                                                                    11      presented               besides            that      that     was presented                           in   the     first
     Christy

                                                                                                                                                                              the                  The                           of the                      kind of
                                Sotto voce discussion.                                                                                                12      half     of                                           half                            trial
12                                                                                                                                                                                    trial.               first




13          Q.        We        talked            about two stages                                    of trials            didnt     we               13      focuses               on the day            this      is    what happened                            this particular



14          A.        Yes.                                                                                                                            14      day.

15          Q.        First         stage            is    what we                     call       the Guilt/Innocence                                 15               A.      Correct.


16                    And the way                                                          works          evidence                                    16               Q.      Second              half   of the         trial    kind              of   focuses          on the
     stage.                                               that            thing                                               is




17   presented                to     you these                           jurors.             Both sides get                   up and                  17      life     of the Defendant.


18   argue        about             it     what           it    means.                      You go back                    into   that    room        18               A.      Yes         sir.




19   behind           you with 12                     --       11         other jurors                    and you come out                            19               Q.      One day whole                       life     okay

20   with a       verdict.                 Its either guilty                               or not        guilty.                                      20               A.      Yes         sir.




21          A.        Correct.                                                                                                                        21               Q.      Now          I   want      to try        to talk          about              these


22          Q.        And           to     kind       of       rehash                      its   got     to    be     guilt                           22      questions.                  The questions                   are     really pretty                    common              sense.


                                                                                                                                                      23      And we have kind of boiled these                                                                       down.           Is the
23   beyond a reasonable                                       doubt.                                                                                                                                                                          questions


24          A.        Correct.                                                                                                                        24      Defendant                   a future        danger                 Maybe he is maybe he                                       isnt.



                                                                              Burden                                                                  25      Did      he       the       Defendant did he                                     or did         he intend           to
25          Q.        All     the elements.                                                      of    proof on            this    table                                                                                               kill




                                                                                                                                                 86                                                                                                                                                     88

                                                                                                                                                                       or             he anticipate                the     victim              would          be killed
 1
     right       here right                                                                                                                               1   kill            did


 2          A.        Yes           sir.                                                                                                               2      Yes or           no.        Last     one Does                 the          Defendant                  deserve           a     life




 3          Q.        Other side                     doesnt have                             to    do one            thing.                            3      sentence               rather than                a death          penalty                 sentence                 Those            are


 4          A.        Correct.                                                                                                                         4      the questions.                       Maybe theyre                   yes                 maybe theyre                   no.

 5          Q.        Because the burden                                             of     proof       is    here         and stays                   5                                  We       have boiled them down a                                     little     but     lets



 6   here        and never changes.                                                                                                                    6      read          them what               the actual             words               are.          Do     you    find        from


 7          A.        Yes           sir.                                                                                                                  7   the evidence                      beyond          a reasonable doubt                             that      there         is   a

                                                                                                                                                                                                                                  would               commit            criminal acts
 8          Q.        Okay.                Now            if    it       was a not                 guilty           verdict       trial                   8   probability that                     the Defendant

                                                                                                                                                                                                   would                                                                 threat
                                                                                                                Okay                                          of violence                                        constitute                   a continuing                             to
 9   is    over.           Everybody                      goes                to    the house.                                                            9                               that



10          A.        Yes           sir.                                                                                                               10     society                 Key words                 in that      thing             --    first    of   all    its



11           Q.             its      a                     verdict                   we go            into     the     second                          11     the      same           burden            of proof          Mr. Woolf.                        Do you        find    from the
                                           guilty
                      If




12   part        of   the       trial       dont               we                                                                                      12     evidence               beyond a reasonable                                doubt we have                      to     prove the


13          A.        Yes            sir.                                                                                                              13      same way we had                           to     prove       guilt             beyond a reasonable                           doubt

14           Q.       Second                    part of              the           trial     we       call     it    the                               14     we have                to    prove        that    first     question                   beyond         a reasonable


15   Punishment                      part        of     the              trial.
                                                                                      Okay                                                             15      doubt.


16           A.       Yes            sir.                                                                                                              16              A.      Yes         sir.




17           Q.       Same               kind         of       thing                evidence              argument but then                            17              Q.       Do you see that

18    it
           gets a          little        different.                      And we probably                             havent                            18              A.      Yes          sir.




19   talked           about           this yet.                  I
                                                                         really        dont remember because                                           19              0.       Okay.             Now         other key           words                  probability


20                                                                                     over the                                                        20      Defendant                  would commit criminal acts of violence
     weve. talked                     to    a     lot      of jurors                                          last    couple

21   weeks.                                                                                                                                            21      constitute             a continuing                 threat         to          society.         Probability


22           A.       Yes            sir.                                                                                                              22      not a certainty                     more than a               possibility.                     Does        that       make

23           Q.       But the Jury                        does not go back there Mr. Woolf                                                             23      sense

24    and say okay                         --    were gonna                            to        listen       to     some more                         24              A.       Yes         sir.




25    evidence               at     the         second                    part        of the          trial         but they       dont                25               Q.      We         could        never       know          if     somebody                  is    going       to
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                           Page 26 of 112 PageID 4271
                                                               STATE                       VS.             MARK             ANTHONY                   SSOLTZ                JANUARY                                            30ý                   2012
                                                                                                                                                 89                                                                                                                                                                     91

1
     absolutely                 do something                          in   the future could                         we                                 1            Q.     Wouldnt automatically do                                                             it       would         you
2           A.        No             sir.                                                                                                             2             A.     No                     sir.



3           Q.        Probability.                        Criminal acts                     of   violence            that                             3             Q.     You know what                                            this really                 takes these three

4    would        constitute                       a continuing                    threat        to    society.            Now                        4    questions                               It    takes a fresh                          look          at     each question based

5    were over here                               in    the     Punishment                    part         of this trial           and                5    upon
6    we know                theres only two                           punishments isnt there                                                          6             A.     The                    facts.


7           A.     Yes                 sir.                                                                                                           7             Q.     The                    facts             and the evidence                                 presented.                    Right

8           Q.        What are they                                                                                                                   8             A.     Yes                     sir.



9           A.        Death penalty                            and     life         in     prison      without            the                         9             Q.     Just                    because                   you found him                               guilty        doesnt mean

10   possibility of parole.                                                                                                                           10   hes a future danger

11          Q.     Without                        the    possibility of parole.                             Well          how      is                 11            A.     No                     sir.



12   he gonna be a                            future           danger          if    its     life     without        the                              12            Q.     Just                   because                    you found him                               guilty     doesnt mean

13   possibility of                     parole                 Well wait a minute.                                                                    13   Question                   No.               2    --     lets talk              about Question                              No.        2.


14          A.     Theres other people.                                                                                                               14   Nothing              is            automatic.                       It    takes               a fresh look                  each time

15          Q.        Society                     maybe society                      is     out here           in    the    free                      15   based           on the evidence                                          presented                   to       you.          Right

16   world        maybe society                                is   in that          prison           setting.        See that                        16            A.     Yes                     sir.



17          A.     Yes                 sir.                                                                                                           17            Q.     Okay.                         This Question                              No.        2     did        the      Defendant

18          Q.     Theres guards and clerks and medical                                                                   people         and          18   kill     or intend                       to      kill.        Well         if    I
                                                                                                                                                                                                                                                    was the one being

19   other inmates                           in    the        prison.         Maybe thats a                         society.                          19   tried          and             I       was the one                        that fired                 the       shot         killed          the

20   Maybe            it    is        maybe              it   isnt.        Does            that      make sense                                       20   clerk          thats                   pretty            obvious.                    I   killed           her intended                      to


21          A.     Yes                 sir.                                                                                                           21   kill.     But        if        they              were             trying        Christy Jacks                          as the person

22          Q.        So             first        question            future             danger maybe he is                                           22   in      the    car                 did        she anticipate                             the       victim           would             be

23   maybe he                   isnt.             You could have a                           situation          where Christy                         23   killed.         Now                      before               I
                                                                                                                                                                                                                             got     out            if   I
                                                                                                                                                                                                                                                              said         Look              I
                                                                                                                                                                                                                                                                                                 got

24   and     I   were going                            in to    rob    that         7-Eleven.                Still    back                            24   this      gun             if       I    dont get                  that      money very easily Im gonna

25   there       at        the 7-Eleven.                        Okay                                                                                  25   kill     the    clerk                         maybe then she                                  anticipated.                    Get that


                                                                                                                                                 90                                                                                                                                                                     92
1           A.     Yes                 sir.                                                                                                            1            A.     Yes                     sir.



2           Q.        I

                           go in              I
                                                  pull    the       gun        I    kill    the      clerk.         Hes                               2             Q.     And when                                 it
                                                                                                                                                                                                                         says         anticipate                         its    not    should

3    not going              to         let        me have            the      money so                 I    had      to   kill     him.               3    have anticipated.                                             Because                    back        at       the     first       part      of that


4    But before                  I    kill        him he gets                 off        a shot       at     me      shoots             me            4    trial     it   was should                                     have anticipated.                                     This      is
                                                                                                                                                                                                                                                                                                 actually


5    right       through                the spine               and Im paralyzed                             the     rest         of   my             5    anticipated                            the       victim            would be                       killed.           See that

6    life    cannot                  move an                  eyelid.         That could                   happen.                                    6             A.     Yes                     sir.



7           A.     Yes                 sir.                                                                                                           7             Q.     These two questions                                                      here Mr. Woolf beyond a

8           Q.        Maybe                  that        person would                       be      a future         danger maybe                     8    reasonable                             doubt.

9    they wouldnt.                            Do you remember me saying                                              earlier           nothing        9             A.     Yes                     sir.



10   is   automatic                                                                                                                                   10            Q.     Just                    like       it    was        at     Guilt/Innocence.                                 If    I   dont

11          A.        Correct.                                                                                                                        11   prove          one                 of        these            beyond             a reasonable                          doubt your answer

12          Q.        Nothing                     is   automatic.                  Just      because                you found a                       12   is      going        to            be
13   person           guilty            of capital                  murder he might be a                              future                          13            A.     No.

14   danger he might                                   not.                                                                                           14            Q.     No.                     If    the        first     one          is       no        life   without

15          A.        Correct.                                                                                                                        15   parole.              Not a death sentence.

16          Q.        But            he wouldnt automatically be a                                            future         danger                   16            A.     Correct.

17   would        he                                                                                                                                  17            Q.     If    the                    second               one      is        no no               death         sentence                  life



18          A.        No             sir.                                                                                                             18   without          parole.                          Does             that     make sense

19          Q.        It   would                  depend            on what                                                                           19            A.     Yes                     sir.



20          A.     The evidence.                                                                                                                      20            Q.     Okay.                         Now             lets talk                  about the                  third     question.

21          Q.        Depends                      on the           facts.           Depends                on what              his                  21   Taking               into               consideration                           all      the        evidence                  including             the

22   situation             in        life    was              right                                                                                   22   circumstances                                    of      the offense the                             Defendants                       character

23          A.     Yes                 sir.                                                                                                           23   and background                                        and moral personal                                        moral            culpability            of


24          Q.        He could be he could not                                              be.       Right                                           24   the      Defendant do you                                           find         there              is    a    sufficient


25          A.     Yes                 sir.                                                                                                           25   mitigating circumstance                                                   or circumstances                               to      warrant that a
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                                                                                                                                        93                                                                                                                                                   95

1    sentence                of   life      in    prison         rather        than a death sentence                               be           1          Q.     If
                                                                                                                                                                        you           said        yes hes a              future       danger yes he

                                                                                                                                               2     either killed            or anticipated                          the person          would               be     killed
2    imposed
                              And we                             down                   over          here.       Does                         3     and no there                      is    no mitigation death sentence                                            isnt    it
3                                                    boil   it              right


4    the Defendant                        deserve           a     life    sentence              rather       than a death                      4           A.     Yes                sir.




5                       sentence.                 Now            this     question                      here                                    5          Q.     Its       pretty               heavy stuff
     penalty                                                                                    right


6    Mr.    Woolf             is     different.             These two we had                            to   prove                             6           A.     Yes                sir



7    beyond             a                                                                                                                       7          Q.     And            I    can see           that          you take       it
                                                                                                                                                                                                                                          very seriously


8           A.      Reasonable                        doubt.                                                                                    8    dont       you
9           Q.      Reasonable                        doubt.             This   one no                burden       of proof.                    9          A.     Yes                sir.




                                                                                            doesnt                                             10          Q.     Heres the question.                                   We     talked           earlier            about
10   Because you look                             at that         question            it                     start      off


                                         one                                                                                                                           being automatic.                                        one        of   those           questions
11   like that          other                     did      with       beyond a reasonable                             doubt                    11    nothing                                                       Every


12   does it                                                                                                                                   12    takes      a fresh look                       doesnt it

13          A.      No            sir.                                                                                                         13          A.     Yes                sir.



                                                                                                                                                                                     because youanswered                                  one                  wouldnt
14          Q.      Okay.                 Now         one        of   these      questions               you were                              14          Q.     Just                                                                               you


15   asked         --                                                                                                                          15    necessarily                 answer the other one the same                                                way
16                                Sotto voce discussion.                                                                                       16          A.     No         sir.




                                                                                                 A                                             17          Q.      Fresh look                          the    evidence
17          Q.      You were asked                               this    question.                    convicted                                                                                   at



18   murderers childhood                                   and background                        may be           relevant                     18          A.     Yes                sir.




19   factors        in       deciding                his    or her punishment.                          You kind              of               19          Q.      Now                heres the             real        question.              Can you do this


20   agreed             with that.                                                                                                             20          A.     Yes                sir.




21          A.      Yes             sir.                                                                                                       21          Q.      Have you got questions                                     of   me               You have got a big

                        Does                     make sense                     Thats                        what                              22    dose of the law here                              in   about            an hour.               didnt            hear your
22           Q.                         that                                                                             this                                                                                                                   I



                                                                                                 really


                                                            Defendants                                        and                              23    answer            a minute ago.                        Can you do this
23   question                is
                                  asking the                                            character                        his



24   background                         his      personal             moral     culpability.                 Is   there                        24          A.      Yes               sir.




25   sufficient              mitigating               circumstance                   or circumstances.                         Not             25          Q.      Any questions                         of   me

                                                                                                                                          94                                                                                                                                                 96

 1   just     is   there           mitigating               circumstance                    or    circumstances                    is           1          A.      No         sir.




 2   it   sufficient.                Do you see that                                                                                            2          Q.      Do you know anything                                      about        the       facts       of     this       case

 3           A.         Yes         sir.                                                                                                        3    as    you     sit      there            right
                                                                                                                                                                                                       now

 4           Q.         And again were not                                in this     first       half.      Were                               4          A.      No         sir.




 5   over         here        in    the         second           half.     And you might have                                                   5           Q.     Have you read anything                                      about           it


 6   additional               evidence                presented             to   you.            You      see                                   6          A.      No         sir.           I   did   see       it    on the news.                  I    dont

                                                                                                                                                                  what
 7           A.         Yes         sir.                                                                                                        7    recall                   all.



                                                                                                                                                                                        Thats the question.                          You know                                of
                                                                                                              might be
                        And some                                                        evidence                                                8           Q.     Sure.                                                                                           a   lot
 8           Q.                                   of that         additional


                                                                                                                              moral             9                           the United                 States           of   America            watch           the      news           at   6
 9   about         his        character               or    his       background                  his   personal                                     people        in




10                                 Do you see that                                                                                              10   or    10 and            they            may see             a blurb           okay Im going                        to   work
     culpability.

                                                                                                                                                                                                                        would
                                                                                                                                                                                            Nothing you saw on the news
                                                                                                                                                                                                                                                                             affect
11           A.         Yes          sir.
                                                                                                                                                11   the next day.


12           Q.         And        it
                                         might be            that        you    would            say     You know                               12   your decision-making                                in   this      thing        would               it


13   based          upon             all       that    I   think         theres       sufficient             mitigating                         13          A.     No            sir.




                                                                                                                  a                             14          Q.     Any questions                         of      Mme    whatsoever
14   circumstance                         or circumstances                      to   warrant            that          life




--22
15    sentence                and not a death sentence                                      be imposed.                   But      that         15          A.         No        sir.



                                                                                                                                                                                                 Ive                                                                   and
16   would          be the Jurys decision                                  wouldnt it                                                           16           Q.    All       right.                    got about              five   minutes                  left




                                                                                                                                                      Im going                                                                                  at this                           and
17           A.         Yes          sir.
                                                                                                                                                17                          to       stop asking              you questions                                        point

                                                                                                                                                                                                                   ask you some questions.                                        want
                                                                      upon what
                             would             be based                                                                                         18    the other             side            is   going      to
18            Q.
                                                                                                                                                                                                                                                                              I


                        It




19           A.         The        facts.                                                                                                       19    to   leave        this          with        you    though.              This        26-page

                                                                                 Now                                                            20                                                            out before             you ever got up                         in
20            Q.        Facts            and the evidence.                                       if
                                                                                                      you said yes                                    questionnaire                         you    filled



21    based upon                     all       the    evidence             there           is   a reason           to   give       him          21    this   box

      a    life    sentence                    rather       than a death                sentence you would                                      22           A.        Yes            sir.



                                                                                                                                                                                                                       have strong feelings as a
23    say         yes. And                     that    would             mean    life       without          parole                             23           Q.        --   youre                entitled     to



24    wouldnt it                                                                                                                                24    citizen      of this country..



25            A.        Yes             sir.                                                                                                    25           A.        Yes            sir.
--9
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                                                                                                                                                       97                                                                                                                                                                         99

1          Q.     But           when you get over                                             here        in    this     box        the    Judge                1     the questionnaire                                     that               this      happened                   in   Godley.


2    is   going           to   swear you                              to    go by the rules and your                                                            2           A.          Yes            sir.




3                         are kind                        of    left       outside             the        box right                                             3           Q.          And            did        that                --       was       that          one     of   the reasons                      to
     feelings


4          A.     Yes               sir.
                                                                                                                                                                4     have your                   interest                  sparked                      when you                   heard            it    on       the   news

5          Q.     Youve                           got          to   judge              it   based          upon         the        what                         5     because                it   was             in        Godley

6          A.     The           facts                     and evidence                         presented.
                                                                                                                                                                6           A.          No         sir.




7                               MR.                    HANNA                  All           right.        Judge were going                      to              7           Q.          Did        you know anything                                                   about    or       did        you follow

8    pass the Venireperson.
                                                                                                                                                                8     up    --    let       me ask                 it       that               way       --      on the news                   clip        at    any

                                THE COURT                                        Ill
                                                                                            recognize               the Defense.                                9           A.          No         sir.




10                              MR.                    HEISKELL                             Thank you Your Honor.                                               10           Q.         --later                 time

11                                                            VOIR DIRE EXAMINATION                                                                             11          A.          No          sir.




12   BY MR.       HEISKELL                                                                                                                                      12           Q.         Okay.                   Okay.                          Now weve                  gone through                           your


13         Q.     Mr.           Woolf how are                                      you                                                                          13    questionnaire                             and you answered                                          this      questionnaire                         two or

14         A.     Doing                      good.                  How          about            you                                                           14    three       weeks                    ago as you recall and the Prosecutor talked
                                                                                                                                                                                                                             And you read the                                                                       on the
                  Im                                     My name                                                                   was                          15    about                       before.                                                                       instructions
15         Q.                   fine.                                            is         Mike     Heiskell.                 I                                                      this


16   introduced                 to                             earlier.                                                                                         16    question               to        give us                   some                  true          answers             to   those             questions
                                             you

17         A.     Yes               sir.                                                                                                                        17    the    99 questions                               that                   were asked                 of   you.

18         Q.     Me                along                      with    Greg Westfall                            over here           whos                        18           A.         Yes                sir.



                                                                                                                                                                                                                                                                                                                those
19   going       to        help              me               set   this      PowerPoint                        up      represent          Mark                 19           Q.         I    believe               you                 did           your best
                                                                                                                                                                                                                                                                          in
                                                                                                                                                                                                                                                                                answering


20   Soliz.      And                    have some questions                                               for                 Quite frankly                     20    questions.                    You            did                a                         good     job of          telling               us   how
                                I
                                                                                                                 you.                                                                                                                          pretty


21   were gonna tread over some                                                              of   the      same           ground          Mr.   Hanna           21    you        truly       feel           about                 things.                       Would        you agree with that

22                                                                                                                                                              22           A.         Yes
     the Prosecutor                                     did       with      you              but from a               different                                                                            sir.



                                                                                                                                                                23           Q.         That includes                                          the death penalty                          and were going
23   perspective                         a            little    different                   spin     if
                                                                                                          you         will.




24         A.     Okay.
                                                                                                                                                                24    to talk         about                that         momentarily.                                    Now         you also stated                         in



25          Q.    I

                           guess youre                                 familiar               with        that      term are you                                25    that       questionnaire                               that                   you had talked or you know your


                                                                                                                                                           98                                                                                                                                                                         100

 1   not                                                                                                                                                         1    wifes feelings about                                                --        her feelings about                         the death


 2          A.    Yes                   sir.                                                                                                                     2    penalty                is   that            correct

 3          Q.    And               if       I        ask you something                                   you dont understand                                    3           A.         Correct.


 4   just   as the              Judge                          told    you        earlier             please             dont hesitate                           4           Q.         And            I    take            it        you had talked                           with her before


 5                me and                                                                                                                                         5    about           death penalty                                    and death being an issue before you
     to   stop                                          Ill    start       over or ask                     it   a     different       way

 6   to   make sure you understand                                                            what were                  talking         about.      All         6    came down                        that             particular                       day
 7   right                                                                                                                                                       7           A.         Yes                before                     yeah.


 8          A.    Yes                   sir.
                                                                                                                                                                 8           Q.         Can you                    tell               us a            bit       more about that how                                  that



 9          Q.        I    want                  to       first     of     all    start           out with            what the                                   9    conversation                          was             started                    and the end                   result of that



                                    asked you about                                                                                                                   conversation
10   Prosecutor                                                                             just     a minute                 ago and       that     is         10


                                                                                                                                    case some                                           The one                                                can remember
                                                                           you said you saw
11   the    news               clipping                        that                                                    in this                                  11           A.                                    that                    I                                        in   particular


12   time       ago            is   that                  right                                                                                                 12               Q.     Yes                sir.




13          A.    Yes                    sir.                                                                                                                   13           A.         As        it       asked on the questionnaire about the Casey

14          Q.    Was                    that                          after this                 allegedly             took        place                        14   Anthony                 case              that             happened                            down      in Florida.
                                                              right


15   This       happened                                June          of    2010.                                                                                15              Q.         Right.


                                                                                                                                                                                 A.                               She said her                                            was she should                             have
16          A.    Yeah                           it     was         right        around              that yes.                                                   16                         Okay.                                                               belief



17          Q.    And               I        believe                  --                                                                                         17   got the death                             penalty.                            My   belief          was         well           if
                                                                                                                                                                                                                                                                                                          they


18          A.        It    was back                              then.                                                                                          18   didnt prove                          it     you know                             and didnt have                         all         the


                           believe                        you said you                                    near         Godley              next                  19   evidence                    then            you cant take someones                                                                       they
                                                                                                                                                                                                                                                                                               life
19          Q.                                                                                lived                                   or                                                                                                                                                                  if
                      I




20   to    Godley                                                                                                                                               20    havent                given               you         the                 --   the        full    story       or   you dont

                                                                                                                                                                                                       the you know                                             or   dont have                           the    facts     and
21          A.        Yes                I
                                                 actually              live       in        Joshua              but    its     Godley                           21    understand                                                                                                              all




22    school      district.                                                                                                                                     22    it   wasnt              linked              together.


23          Q.        Godley                           school              district                                                                              23              Q.         All   right.                I    believe                        I

                                                                                                                                                                                                                                                                guess thats what also

                                                                                                                                                                 24                                                                                             answer          about            your feelings                   on
24          A.        Yes                sir.                                                                                                                         prompted                    you             to        put                in    your

25          Q.        And you read and heard and                                                                 in   fact         you read       on             25   the death                   penalty                        if       its        proven             beyond what you term a
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                                                                                                                                                         101                                                                                                                                                                               103

1    shadow          of    a    doubt                 then the person                               should             be given the                                1               A.     Yes.


2    death         penalty.            Remember                             that      answer                --                                                     2               Q.     I

                                                                                                                                                                                                  guess                that               feeling                  also       came           as a      result        of


3          A.       Yes         sir.                                                                                                                               3       conversations                              like          with your father                                   or    you came up with

4          Q.       --   to    that                                     So      that           was a              result of             a                          4       your      own or conversations                                                          with others.                 Is that        a    fair
                                           question.

                                                                                                                                                                                                       too                           Woolf
                                 you and your wife had about the Casey Anthony
5    conversation                                                                                                                                                  5       statement                                   Mr.



6    case where she was found not                                                   guilty             is       that       right                                   6               A.     Yes.


7          A.       No         that        questionnaire                        had nothing                           to     do with                               7               Q.     Now                       you seem                             like      a person                 who     has        some           strong


8    that.                                                                                                                                                         8       convictions                      and            strong feelings about                                             certain          aspects            of



                                                                                                                                                                   9       our                                             also             fair
9          Q.       Okay.            Well                 I

                                                               guess your conversation                                          with your                                          law.               Is   that



10   wife thats               when you knew about her feelings about the                                                                                           10              A.     Yes.

                                                                                                                                                                   11              Q.     And                       believe                 you indicated                              that    you       were a very
11   death         penalty                                                                                                                                                                                  I




12         A.       Correct.                                                                                                                                       12      conservative                             person                  and               that       you have a strong                          faith      in



13           Q.     Talking            --        Im sorry               I
                                                                             got mixed                     up.         All      right.                             13      God too

14   Youve          indicated                    sir           that    you      felt           this    way            all
                                                                                                                             along                                 14              A.     Yes.


15   about the death penalty                                                                                                                                       15              Q.     You have a young baby boy hes what a year old
                                                                      that     youve                 never             changed               your

16                   about that                                                                                                                                    16              A.     Little                    over a year.
     opinion                                          is       that    right

17           A.     That        is     correct.                                                                                                                    17              Q.     And               I       take            it    when Wyatt                            grows up youll be able

                                                              been something even before you and                                                                                                  him                                                              about                      and wrong                  whats




--2
18           Q.     And has                  this                                                                                                                  18      to     teach                             certain                things                                   right


                                                                                                                                                                                                                                                                                                             and wrong
                                                                                                                                                                   19      good and bad and taking the                                                                                 direction
19   your         wife   discussed                        it     youve discussed                                 it   perhaps               with                                                                                                                         right


20   other family               members                          or   friends                 or    something you                           just                   20      direction.                      Is that              a        fair        statement                      too

21   came          up on your                    own                 Or can you                     tell        me     the beginnings                    of        21              A.     Yes                   sir.        I    will           not           --    I

                                                                                                                                                                                                                                                                         mean           those          are     his



22   that                                                                                                                                                          22      choices                    though.


23           A.     Well         I
                                      mean my father                                      I
                                                                                              spoke with my                           father.                      23               Q.        Sure.


24   You know                  weve spoke                            about          it.       And thats                    just       something                    24              A.         Hes               going                to     make                   those            choices.


25                believe                                                                                                                                          25               Q.                                                          Ive           got kids               too.      You have              to.
     that     I                      that        if    youre a threat                           to    society                   either                                                        Okay.                    Right.




                                                                                                                                                             102                                                                                                                                                                           104

 1   youre going                 to     give the                     man       a     chance                 to rehabilitate his                                        1            A.        I
                                                                                                                                                                                                  just


     self.                                                                                                                                                          2               Q.        You have                          to lay that                             foundation              though              to    help


 3           Q.      Uh-huh.                                                                                                                                        3      them make the                                   right            choice.                      Is   that       a   fair   statement                 too

4            A.     You know                          and hes going                            to    be able                to live         among                   4               A.        Right                  yes                 sir.




 5   his                                                             where                                       may be and                        he               5               Q.        Before                   we           start                talking             about          certain          aspects          of
             peers regardless                                  of                   his        peers                                          if



                                                                                                                                                                    6                                  want                                                                                   And             dont know
                  do that then thats when the death penalty                                                                            comes                               our      law                                to        ask            you something.                                                                        if
 6   cant
                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                  I




 7   in.
                                                                                                                                                                       7   youve ever thought                                              about                   this       maybe you                  have.           What         in



 8           Q.                        All                           So youve talked about                                            this                             8   your          mind would                             be the worst sentence a death sentence                                                                     or
                     Okay.                       right.

                                                                                                                                                                                                                                                                                                             the
                                                                                               and hes helped you                                                                                           the                                                         parole               Life
     and discussed                                                                                                                                                     9           without                                 possibility of
                                                                                                                                                                                                                                                                                                    in
 9                                      it       with your father                                                                                  to                      life




10                                                                                                              about the death                                    10                                           where                     a person                                            taken           out    in   a
     develop a feeling                                                      a core             belief                                                                      penitentiary                                                                                 is    literally
                                                      at least


11   penalty.             Is   that          a    fair          statement                                                                                          11      box.          What               is       the         worst

                                                                                                                                                                                              The worst                                                                 be the death
12           A.      Yes        sir.                                                                                                                               12               A.                                                   probably                                                   penalty.



13           Q.      And thats                    certainly                 fair.             And a         lot       of    people                                 13               Q.            Okay.                Why do you say that

14   I
          think      do       that     when you                       talk      about               some              issue           and you                      14               A.            Because                       its        someones                            life.




15   hear other                different                  sides        and you come                               to    a conclusion                               15               Q.        Thats the end of                                                their          life


16                                   the                               side                                                            over                        16               A.            Yes.
     after        hearing                        different                                after       you         think          it




                                                                      and thats how you express                                                                                     Q.            And                take                                                      that      the             sentence
                               how you                                                                                                                             17                                                                      conversely                                           life
17   then thats                                           feel                                                                                                                                                  I                    it




                         and express those                                                                                  a    fair                              18             a lesser                 sentence                                      you       will         because             that       person
18                                                                                                              that                                                       is                                                                   if

     yourself                                                                feelings.                     Is



                                                                                                                                                                   19               be able                     to     function                                          and perhaps                   do some
     statement                                                                                                                                                             will                                                                          in   life
19

20           A.      Yes         sir.                                                                                                                              20      things         even when hes                                                  in   prison            to     help     himself.             Is that



21           Q.      Now                     me               ask                                               about           that.        And                   21      a      fair   statement                          too
                                     let
                                                                      you something

22                                                                                                          sentence                                               22               A.            Yes
         you indicated                                a              without                                                                                                                                        sir.
                                      that                    life                        parole

                                                                                                                                                                   23                                                  Good.                     On            the           same page              here then                 as   far
                                                                                     you were opposed
23       remember checking                                    that     said                                                             to that         in                          Q.            Okay.

                                                                                                                                                                   24       as your feelings                                    now                       want           to     ask      you when you
24       every instance
                                           in    which                a person                 is   convicted                    of capital                                                                                                          I




                                                                                                                                                                   25       consider these                                 two options                                              or      death youve                   told
25       murder                                                                                                                                                                                                                                                         of   life
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                                                                                                                                    105                                                                                                                                                            107
1    the Prosecutor                       youve got              to        consider           certain        evidence         and          1          Q.        You were                   14
2    look     at   the facts                is   that       right                                                                          2          A.        Uh-huh.

3           A.     Yes         sir.                                                                                                        3          Q.        And         I    think           you said you had a court appointed

4            Q.    Now were                  going          to talk          about            certain      facts    and                    4    attorney            who          didnt            represent                    you well                  is   that         right

5    things.        Im not going                      to    give           you any            facts.    We        cant    do               5          A.        Right.


6    that    about        this        case.           We         can        only       talk     to   you about the                         6          Q.        Also the prosecution                                       kind              of    stampeded                    over    you

7    elements            of    a crime.               All    right.          Thats what                Im going          to                7    and you             felt    you had no choice but                                                 to    plead       guilty to


8    do     with    you.           And before                I
                                                                 move on with that you know                                                8    this

                                                                                                                  few minutes              9                    Well                   14 years old                        when youre
                                          gave an example                         of something                a                                       A.                                                                                                      told         that
9    the Prosecutor                                                                                                                                                              at


10   ago     about a person                      paralyzed.                   Remember that                                               10    youre looking                      at      a determinate                               sentence               of    four years               if




11           A.    Yes         sir.                                                                                                       11    you    dontyou know                                     admit             to       something                   at   14 years              old

12           Q.    Couldnt even move                                  his    eyelids            and being                                 12    yeah        I   admitted                to        it.




13   prosecuted               for         a death          penalty           and looking               at    these                        13          Q.        Okay.              And even though                                      it   went against                       every

14   questions            especially                  Question               No.        1.     Do you remember                            14    fiber in        your            body you                 admitted                       to that just to                    get     that


15   that                                                                                                                                 15    behind          you so you wont have                                               to     face the             harsher

16           A.    Yes             sir.                                                                                                   16    potential            harsh             punishment                          is      that           right

17           Q.    Have you ever heard of such person a paralyzed                                                                         17          A.        Correct.


18   person cant even move                                       his       eyelids            prosecuted          for trying              18          Q.        Did        you also have the advice of your parents

19   to     get the death                  penalty                                                                                        19    during          this       whole           process

20           A.     No        not as         far      as eyelids                  but     I
                                                                                               never    actually                          20          A.        My mother passed away                                                   a     month before.

21   heard the Prosecutor                              say       that       either the eyelid                  thing.                     21          Q.        Sorry.                So     I

                                                                                                                                                                                                  guess              that          was weighing                      heavily            on

22   Im     just    deciphering                  here.                                                                                    22    your    mind too

23           Q.    Okay.              He said something                                about        a person        paralyzed             23          A.        Correct.


24   and cant move                         his   eyelids or                 maybe he said could move                                      24          Q.        All    right.           Was              that         in       Dallas              County

25   his     eyelids          --                                                                                                          25          A.        Yes.



                                                                                                                                    106                                                                                                                                                                108

 1           A.     He couldnt move                              his       body                                                            1          Q.        And         right          now do you                          still         harbor        any       ill    will




2            Q.                                                                                                                            2    toward          the prosecution                              and defense                               attorney            as a     result        of
                    Body.

3            A.     Correct.                                                                                                               3    what happened                           to       you some                      14 years                 ago
4            Q.     Have you heard anybody                                         prosecuted               for   death       to           4          A.        No         sir.




 5   that     extent      who was paralyzed You                                               ever heard           of that                 5          Q.        Been able                        to forgive                and forget kind of

6    before                                                                                                                                6          A.        Yes.


 7           A.    The person                    --                                                                                        7          Q.        Somewhat                          I
                                                                                                                                                                                                        guess not                   all      the way.


 8           Q.    Any person prosecuted                                     for       whom was              paralyzed                     8          A.        I

                                                                                                                                                                    actually               look         at    it     as you know who knows how

 9   have you ever heard of                                 that       before                                                              9    it   would          have turned                         out     if    that          didnt happen.                          It    may

10           A.     No.                                                                                                                   10    have given me a                            better            chance                    at     life.




11           Q.     Okay.             The Jury oath and one                                    of    the things          you              11          Q.        All    right.


12   will    be    sworn in                just       as the          Judge            told     you     to   give us                      12          A.        So...


13   true     answers               when you walked                           in       the door        and when you                       13           Q.       The        true         verdict              based                 upon the law and evidence

14   were here a couple weeks                                                          youre selected               as a                  14    and what we look                             at         here         is    these              principles             are         based
                                                                   ago.           If



     member of                                                                                                                                                                                                                                          and passing our
15                            the         Jury we ask you                         to    take a         second oath                        15    upon the founding                                fathers              and          writing


16   which         deals with               true       verdict             based         upon        the law        and the               16    Constitution                     that        iconic           lithograph                       youve probably                        seen

17   evidence.                                                                                                                            17    before          in    civics           class             history               class               is   that    right

18                            Now           your       situation             some             years ago when you                           18         A.        Yes             sir.



                                                                                                                                                                These                                 came over
                                           you were what
19   were a juvenile                                                          I    take        it   from reading                           19          Q.                          folks                                            to       give       us a       good

20                                                                                                                                        20                                                                                                                                      the
     your questionnaire wrongly accused                                                       of this   offense          is                     foundation                 for        the best            criminal justice                               system             in



21   that     correct                                                                                                                     21    country.

22           A.     Correct.                                                                                                              22           A.       Yes             sir.




23           Q.     And how                 did that         make you                   feel        when     that                         23           Q.       And             its    the        best and                     I   think           everyone                would

24                                                                                                                                        24    agree with that                                       because we are able                                           draw from
     happened                                                                                                                                                                           its                                                                   to



25           A.     At    that        point       in    time           I    was scared.                                                   25    people          who have                     varying                 experiences                         and varied
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                                                              sTATF                        vs.               mARK                        ANTHONY                  so    TZ               JANUARY                          30               2012
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1
     backgrounds                           in   order            to   make a decision                            in        a    situation             in          1    people         are called              upon             to   make         a decision                  based        upon the

2    which            it   may          or      may         not present                    a     conflict             in    how you                               2    facts       and law they see and                                  that    is    preponderance                          of the


3    feel   about                 certain           things             may            or        may       not present                      a                      3    evidence.             Its       a greater weight                         and degree                   of    credible

4    conflict              about             how you              feel          about           certain          laws               and so                        4    evidence what we                         call        the 51          percent           rule.


5    forth        because one                            of      the reasons                     we had               all       those           people            5                          The next one                       after that             is   clear           and

6    here a couple                           weeks            ago          is   we have                to      pull        from a pool                 of         6    convincing            evidence.                    And clear and convincing                                       evidence


7    a    number of people                                  to find         out       if   this      is     the type of                                           7    has     its   own      definition                  in   our       law.     It
                                                                                                                                                                                                                                                       says the               measure or

8    case        that            a person                could         sit
                                                                                on         if   this      is    the        --       be the                        8    degree         of    proof         that       will
                                                                                                                                                                                                                               produce           in     the       mind of the                 trier


9    type    of            case        that       a person                  can       give           good and                   fair                              9    of fact       a     firm    belief       or conviction                    as     to   the        truth       of the

10   consideration                           too.       Would              you agree with                         that                                            10   allegations            sought            to        be established.                    You            find    that      in


11          A.             Yes         sir.                                                                                                                       11   parental            rights        cases            where a persons                         --    a parents              rights


12          Q.             And we look                      at    the founding                       fathers               and the                                12   are sought            to      be terminated and                           in    order           to    take        the    child


13   basis        for        some               of our principles our guiding                                               principles                            13   away from him or                       her.          Thats the standard                               of proof         that


14   in   the         law.            That presumption                            of       innocence                       its                                    14   must be shouldered by the moving                                                 party          to    be     --   to   make

15   sufficient                  to   acquit           the Defendant                            alone.           And            I   believe                       15   that    happen.

16                                    with                                                                                                                        16                         And then we have                              that        beyond               a reasonable
     you    agreed                               that         before.


17                                Now             here           is   what the Grand Jury did                                             in    this              17   doubt.         And beyond                     a reasonable                      doubt       is       more than

18   case        in        returning              an indictment                            all    right          against                 Mark                     18   having        a     firm     belief or             conviction              what we saw                          earlier.


19   Soliz            our        client.          It     says         in    Johnson                  County Texas                                                 19   Okay
20   Mark Soliz on or about June 29th 2010                                                                       --    and           that       goes              20          A.     Yes          sir.




21   back        to that               time we talked about a minute ago when you                                                                                 21          Q.     And thats                that        standard              of proof           we        talked           about

22   read        it        on the news                      or   saw the news                        clip        --
                                                                                                                       intentionally                              22   when we look                    at    the elements                   in   the case.                   Now         these

23   caused                the death                   of   Nancy Weatherly                                  by shooting                        her with          23   elements              Prosecutor                   told      you         which        is    exactly              true

24   a deadly               weapon                     to    wit a firearm                        in      the course                     of                       24   youve got             to     be able           --       theyve got              to    be able               to    prove

25   committing                       or     attempting                to       commit the offense                                   of        robbery            25   each and every one                            of     them whether                     it   deals with                  what


                                                                                                                                                            110                                                                                                                                         112
1    of   Nancy Weatherly.                                       Those are the elements                                             that       the State           1
                                                                                                                                                                       county         it
                                                                                                                                                                                           happened                  in   or the          element of the intent state

2    of   Texas must prove beyond a reasonable                                                                         doubt.                  All                2    of    mind.         And here              I   want           to   go back and                    talk      to     you about

3    right                                                                                                                                                        3    this.


4           A.             Okay.                                                                                                                                  4                          Pause              in    proceeding.

5           Q.             Now          one         of      the things                we         look       at   when you look                                    5                          MR.          HEISKELL                        See whos                really in control


6    at   an offense                       such          as      capital          murder you have                                    to    look        at         6    here.         Pam      is.        Shes         taking             everything               down.            All    right.


7    those            elements                  not only               individually                  but        at    the           end as a                      7            Q.     Mr. Woolf.

8    whole             to    see         whether                 or not the State                         has met                   its    burden                  8           A.     Yes         sir.



9    of   proof.                 Now            proof         beyond             a reasonable                          doubt              is    the               9            Q.     In    order         for   the         government                  to   prevail              as a

10   highest               proof           in    our        law.       I    want           to talk          to   you about                                        10   prosecution                in     a criminal                 case weve                got these                  standards

             before                   you come                              back                 those           elements.                       As                    the standard                                                      beyond             a reasonable                  doubt
11   that                                                        to                        to                                                                     11                                of
                                                                      --
                                                                                                                                                                                                          proof           proof

12   the Prosecutor                             told        you       they        have the burden                                   of    proof                   12   and     these         elements                that       must be proven.                             When         a person

13   throughout                       this      whole            process and                         that       burden                is
                                                                                                                                           beyond                 13   acts intentionally                       is    with          that    conscious                   objective             or

14   a reasonable                          doubt.             Now           youve                never           sat       on a Jury                              14   desire        to     cause a           result.               Intentionally            is    the highest

15   before correct                                                                                                                                               15   defined             mental        state        in       our       law.


16          A.             No         sir.                                                                                                                        16                         Right           under             intentionally                you have knowing a

17          Q.             Mr.        Woolf look                  at this             stair      step of the                        levels                        17   knowing             mental           state.             Then you have a reckless                                   mental


18   of   proof             we have                 in      our       law.       It   starts           from reasonable                                            18   state.        Then you have a criminal negligence                                                       mental          state.


19   suspicion.                       The next one                     is
                                                                                probable               cause.                   The next up                       19   Thats the lowest.                        Okay
20   from there                   is
                                         preponderance                           of        the evidence.                            And youll                     20           A.     Yes         sir.



21   find   that            if
                                  you were ever                        called              in    a   civil       case those                                       21           Q.     Now           in   a   murder case or                       capital              murder case

22   others deal                      with       investigations                        and so forth even Grand                                                    22   its    --    the highest              mental             state       is   reserved                   for   the

23                                                       cause has                              be the standard                            the       Grand        23                     crime.          Would                       agree with              that
     Jury        that            probable                                             to                                                                               highest                                             you

24   Jury would                       look       at    in
                                                              deciding                even           to     return              an                                24           A.     Yes         sir.



25   indictment.                       But       now were                   getting              into       a    situation                 where                  25           Q.     And the highest crime                                 in   our law               is   capital
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                                                                                                                                                       113                                                                                                                                            115

                                                                                            or desire                    cause the                                             reserved                       for capital              murder          that       you      also thought
1    murder             that       conscious                     objective                                        to                                          1    being

                                                                                                                                                                                                                                                      murder should
2    result.       Now              in    order            to        prove that                   the State             of                                    2    that    murder people                                convicted                of                                  receive     the


3    Texas        --    lets        say         right           over         here youve got                            that                                   3    death       penalty.                       Do you remember that

4    presumption                    of     innocence.                           Okay                                                                          4           A.    Yes                sir.



                                                                                                                                                                                                         me          about                       Why              you put down




--13
5          A.      Yes             sir.                                                                                                                       5           Q.    Talk               to                               that.                   did



6          Q.      And Im looking                                at        the      far     end        of   the     rail     here.                            6    murder as well

7    And     in    order           for that            presumption                             to   be removed the                                            7           A.     If   they              intentionally killed                          someone.

8    States got               to     put        that            evidence                 on and             build      that                                   8           Q.    Yes                sir.




9    evidence                      to                                      level of                         beyond            a                               9           A.    And took                        their        life      from them.
                         up               get         to that                                  proof

10   reasonable                doubt                 that       may be you know down                                          at   the other                 10           Q.    Yes.




--20
11   end.        All                                                                                                                                         11           A.    Then                    believe                that     depending             upon the
                        right
                                                                                                                                                                                                    I




12         A.      Yes             sir.                                                                                                                      12    circumstances


           Q.                                                                                                 mental                                         13           Q.     Uh-huh.
                   Theyve                  got        to        in    --    on      intentional                                  state

     show you that prove                                                                                                                                     14           A.                            they should                     receive        the death
                                                                     you the conscious                                                     or                                             that                                                                              penalty
14                                                         to                                                     objective                                                     --




15   desire       to     cause result                            that        it    was done voluntarily                                                      15    also.



16   cant be done                                                               All      right                                                               16           Q.     Okay.                  And thats because                              of the       life
                                                                                                                                                                                                                                                                            being
                                        involuntarily.


                    Correct.                                                                                                                                 17    taken              that              the reason                     behind that           sir
17         A.                                                                                                                                                                   is




                          other                                                                                                            no                18           A.                                        a                  taken       and theyre again
                                           words not an accident                                            plus theres                                                                        yes
                                                                                                                                                                                      --
18         Q.       In                                                                                                                                                           If                            if       life      is




19   legal       excuse             in     the        law such as                           sanity.          You know                  I   was               19    a threat          to    society or                       their       peers

     insane         and therefore                           I    should               be       excused.             Thats removed                            20           Q.     Okay.

21        virtue         of    what proof                                 established                   that      mental                                     21           A.     --       then                yes they should                         in   my opinion                would
     by                                                          is
                                                                                                                                                                                                                                                                                 I




22   state.        Then youve got                                    to    have          no      legal       justification.                                  22    give    them the death                                penalty.


23   And     that        is   it    was not done                             in     self-defense                  or defense                    of           23           Q.     All       right.               And          is   that       going         back    to that       long


24   a   third     person                or     defense                    of      property so                forth.          Like         in                24    standing               belief that                   you have based upon forming your own

25   your home your castle and someone                                                                   breaks             in    youre                      25    opinions and discussions with others and perhaps                                                                      reading



                                                                                                                                                       114                                                                                                                                             116

                  to     defend your home defend yourself and your                                                                                            1    something                   or hearing                    about           something            and you came                 to    that
 1
     going

                                                                                                                                                                   conclusion                                                           statement
     family and you shoot and                                                                  person theres no
2                                                                           kill    the                                                                       2                                         Is that         a    fair



 3   issue        there.            Because when you                                        --
                                                                                                  theyre          building         this                       3           A.     Yes.


4    up     in    order            to     prove         that               intent        to      cause the death and                                          4           Q.     And thats something again thats                                                         part    of your


 5   thats        what        that             intent           must be focused                             on      to      cause                             5    value       system                    if
                                                                                                                                                                                                               you      will           or   core      belief      that     you have

6    death not                to     seriously                   injure            anyone but                  to      cause the                              6           A.     As        far          as
 7   death        of     an        innocent                                           All                   Without              any                          7           Q.     As        far          as believing                    that      a person         taking        a    life
                                                            person.                            right.


 8   legal       justification                  or     any            legal         excuse.                                                                   8    of   another.


 9                            Now               if
                                                      you        take             that      away            the   --     Im                                   9           A.     Uh-huh.


                                                                                                                             have                             10          Q.     As                said                             has           be sane no
                         you take                                                                           you                                                                                                  before                      to
10   sorry.        If                                that        last bullet                point                   will                                                                   I
                                                                                                                                                                                                                                                                           legal


11   a    murder as opposed                                     to     a    capital              murder.          And you can also                            11   justification                   legal            excuse.


12   add when you have                                     a     murder                  that       intentionally                 you can                     12          A.     Correct.


13   also    --    that        can             be done knowingly                                    as well the               second                          13          Q.     Then you                           think      death          penalty        is   appropriate also


14                      mental                                       our     law.                                                                             14        you    find        that           the person                    is   a   future      danger         to
     highest                               state           in                                                                                                      if




15          A.         Yes          sir.                                                                                                                      15   himself           --    Im           sorry           to     the      community             or something                   along


16          0.         You may have seen the Prosecutor                                                             when they put up                          16   those        terms

17   their bullet             point              a    murder                 is     intentionally                 and                                         17          A.     Yes               sir.




18                            causing                 the death                     of     a     human being.                     And there                   18          Q.     Am                 saying              that        right
     knowingly
                                                                                                                                                                                               I




19   again         it    has        to     be without any                                legal         excuse            legal                                19          A.     Yes               sir.




20   justification                  sane no self-defense the person                                                          did   it                         20          Q.      Okay.                   Now           you heard and saw                          for     --   and were

21                      about                   knew                   was wrong and did                                                        kind          21                 again                  about           murder not moved                          to    capital       murder
     thought                              it                     it                                                    it
                                                                                                                            anyway                                 talking


22   of                                                                            All     right                                                              22   yet.
          thing          on-purpose                        killing.



23          A.          Okay.
                                                                                                                                                              23          A.     Yes               sir.




24          Q.         You said                 in
                                                       your questionnaire                                to    us      earlier that                           24           Q.    We                had those elements we talked about and you

25                                                                                                                                                            25   saw                             the range                        punishment               for   murder from the
     in addition              to capital                   murder being                           --   the death              penalty
                                                                                                                                                                           earlier                                             of
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                                                                                                                                               117                                                                                                                                                    119

1    minimum                of   5 years up                  to    99 years               or   life     in prison.                  What             1
                                                                                                                                                          my decision.

          want                                                                                   because                                             2          Q.                       And when we say depending                                                        upon what              is
2    I               to    ask       you         in light         of   your belief                                        I   find                                     Okay.

                                                                                                                                                                                                                               about        these
     you a person youre self-described                                                          honest
3                                                                                         as                                                         3    presented youre                              talking


4                                                                   describe                                                                         4          A.     The evidence.
     hardworking other                            people                                  you     that            way.

                                                                                                                                                                       Other factors                                              danger              and
5              A.     Yes            sir     other people.                                                                                           5          Q.                                                  future                                       all   that      stuff



6              Q.     And        I   said well Im sure theres a reason                                                        for                    6    is   that   right

                because                                                                                                                                                Yes.
7    that                             youre honest.                                                                                                  7          A.


8              A.     Yes.                                                                                                                           8          Q.     Were             going                  to    walk        through               that      momentarily.


9              Q.     Would             you       in    a    situation             where you have elements                                           9          A.     Okay.


10   and a person convicted                                  of     murder be able                           to       give     fair                  10         Q.     The reason                          I   ask         that       is   because               you had

                                                                                                                                                          indicated                               a                            murder prosecution                               that      you
11   consideration                     to    as low as 5 years                         in      prison            for    a person                     11                      that       in             capital


12   convicted              of       murder                                                                                                          12   are    opposed              to         a    life      sentence                   in   all    respects.                Do you

13             A.                                                                                                                                    13   remember that
                      Depending                   upon the circumstances yes.

14             Q.     As     well           as being              able    to    give the              full                                           14         A.     Yes            sir.




15       consideration                 of    99 years              or    life                                                                        15         Q.     And        I    take           it       now youve changed                                   your opinion

16             A.     Yes            sir.                                                                                                            16   about       that    in light                of       what the Prosecutor                                 told    you
17             Q.     All    right.           Now        when we                   talk     about the                  capital                       17         A.     Yes            sir.




         murder aspect remember                                                                                                                                                                                           And were going                               walk
                                                                                                        point thats                                  18         Q.                                                                                               to
18                                                                  that        last      bullet                                        up                             All    right.                 Okay.

19       here                                                                                                                                        19   through          that       as         well.              Okay
20             A.     Yes            sir.                                                                                                            20         A.     Yes            sir.




21              Q.    On     that            here       you have a second                              offense                second                 21          Q.    When we                        look           at    a person                  convicted            of    capital


22       action       I   think         is   what you              said.                                                                             22   murder obviously                             then           you        just       have those two punishments

23              A.    Yes.                                                                                                                           23   and you have                   to          then            look       at    these           questions            that        are


24              Q.    And youre exactly                             correct.              And     that            is not                             24   presented           after              the           Punishment                       Phase         is   concluded.                  All



25       only    has       that        person           acted          with        that     much             intent       to    cause                25   right



                                                                                                                                               118                                                                                                                                                    120

1        death        now theyve been convicted                                           or   must be convicted                              by      1          A.    Yes            sir.




2        proof       beyond            a reasonable                    doubt from these                               folks     of having            2           Q.        Follow          me                  And some                    of    the things              that     sometimes

                                                                                                        cause robbery                                 3                           these                               of       cases                        there could                be
3        an    intentional              or knowing                 mental           state to                                                              happens            in
                                                                                                                                                                                                      type                                  is       that


4        commit a robbery commit a                                       burglary.              Do you see                      the                  4    additional          evidence                         presented.                   Could.            There             may be

5        difference          between               those two offenses                                 sir        robbery and                          5   none.        I   dont know.                           It   just       depends                 of    course on a

6        burglary                                                                                                                                     6   particular          situation.                       You follow                  me
7               A.    Yes            sir.                                                                                                             7          A.        Yes        sir.




                                                              course come                                         home                                                     And as the Prosecutor                                                     you the
8               Q.    And burglary                      of                                      into         a                  without               8          Q.                                                                    told                             first    focus


9                                                                                                                      commit some                    9        on the crime                                         the Guilt/Innocence                                where         you
              persons consent                                                                                or                                                                                  itself
         a                                         to    appropriate                   property                                                           is




10       other       felony.           A     robbery              then you unlawfully                            --    theft.                        10   look       back     at      those                elements                   and       facts       to     make up             those


11              A.        Correct.                                                                                                                   11   elements           to       determine                       whether                   in   fact     a person               is
                                                                                                                                                                                                                                                                                          guilty


12              Q.    You use or                  exhibit           a deadly              weapon                 in that.           I
                                                                                                                                                     12   or not      guilty.           Do you                      follow        me
13       think       you    understand                  those            is     that      right                                                      13          A.        Yes        sir.




14              A.        Yes        sir.                                                                                                            14          Q.        And thats something                                        you        told       us     that    you could

15              Q.        And        in that      situation             where you have those two                                                     15   do
16       crimes together                      murder plus as was put up                                               by the        bullet           16          A.        Yes        sir.




17       point       earlier          here       you only have the two considerations                                                                17          Q.        And when you look                                    at this situation                      of these


18       of   life   without            parole          or   death            is    that       right                                                 18   Special           Issues               or questions                        that       are     propounded                   to    you
                                                                                                                                                          and Im going                                                my                                                        be
19              A.        Yes        sir.                                                                                                            19                                  to          get       --
                                                                                                                                                                                                                                question              is
                                                                                                                                                                                                                                                            going        to            similar



20              Q.        Now         from       what         I    read       to    you        earlier           and what you                        20   to this.          Bare with                  me            as    I   roll    through              these.


21       put    down        in       these       terms             that    if      a person             is       convicted               of          21          A.        Yes        sir.



                                                                                                                                                                                                                                                                       have
                                      you would tend                                        more toward                                              22          0.        Before                                    you know                                                     to
22                                                                                 lean                                        a death                                                           get           --                           that jurors
         that    offense                                                  to                                                                                                                 I




23       sentence           based upon your own feelings                                               about            the death                    23   decide           credibility                of       witnesses.                   And            well the


24                          Is   that        a   fair    statement                                                                                   24    Prosecutor             explained                          to    you thats why you                            sit     next      to    the
         penalty.


25              A.        Depending               upon what                   is   presented                     is   going         to   make        25   jury    box and so                      forth.
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                                                                                                                                                  121                                                                                                                                                                                             123

1          A.        Yes         sir.                                                                                                                   1            A.            Yes                    sir.




2          Q.        And you deal                                with      these           this               of    evidence                            2            Q.            And then                                           you           hear the evidence                              at    the          second
                                                                                                   type
                                                                                                                                                                                                                             if




3    witnesses               photos videos audios as well                                                          scientific                           3    phase                 Punishment                                                Phase and you now                                    find       in       that        very

                                                                                                                                                        4                                                                                               confronted             with               once you began
4    testimony               accomplice                            witness                testimony            statements                by the              first    question                                 that               youre

5    accused.                                                                                                                                           5    your deliberations                                                        and then you find okay                                           is    the person


6          A.        Yes         sir.                                                                                                                   6    a    future               danger you say                                                    You know                   theyve proven                                     to     me

7          Q.        That accomplice                                  witness              thing        you heard the                                   7    beyond a reasonable                                                                  doubt       this   guy        is       a        future          danger

8    Prosecutor              talk        about                    earlier           where there are two ways a                                          8    and you check                                           that               yes.            You follow what                            Im saying                      so




--16
9                     can        be     an accomplice when you act                                                   with        intent      to         9    far
     person

10   promote the commission                                             of      the offense                  you encourage                      aid     10           A.            Yes                    sir.




11   abet a person.                      And                 I    believe            part     of   what he put up there                                 11           Q.            Now                        at that                        point        Mr.   Woolf               is       it   fair to             say

12   is   what        Ive put up                       here as well                        and you cannot convict                                       12   that     you              think                    a person                               who has been                  convicted                             is     a


13   unless theres other                                     evidence                    tending        to    connect.                                  13   future            danger deserves                                                          death

14   Remember we                        talked                    about             that                                                                14           A.            No                    sir.           If        I    havent answered                              both            of   those


                      Yes




--22
15         A.                    sir.                                                                                                                   15   questions

            Q.        And here we see again those                                                   distinctions                 between                16           Q.            All           right.


17   offenses              we    just         discovered                            --   we   just      discussed.                Is   that             17           A.            --       and                 within                           the guidelines                once again                             just


18   correct Mister                     --                                                                                                              18   because                        I    believe                              something                 doesnt mean that you know




--4
19         A.         Yes.                                                                                                                              19   thats            what                   it       --
                                                                                                                                                                                                                     you know                            what the              facts              are.


20          Q.        Now        lets         get                on   to       the       Punishment                questions.                           20           Q.            Well                        let       me ask you because                                          you know reading

21   And       this       must be proven beyond a reasonable                                                             doubt          in   order      21   this


     to   be         yes.         Do you see                            that         second         bullet          point that                          22           A.            Yes                        sir.




23   sets                  out Whether                                theres a                                               the                        23           Q.                         and you                                           us your beliefs                   and then                          guess
                                                                                              probability that
                                                                                                                                                                                   --                                                 tell
               that                                                                                                                                                                                                                                                                                               I




24   Defendant               would                commit                   criminal           acts       of   violence            that                  24   youre saying                                       at this                          juncture       you can              --      what do you do

25   would           constitute               a continuing                               threat    to    society.        That            I              25   with those                          beliefs                                     I

                                                                                                                                                                                                                                                 guess you say you put them aside or


                                                                                                                                                  122                                                                                                                                                                                             124

1    take       it   from your                answers                      earlier            thats very important                                       1
                                                                                                                                                             something                               like            the Prosecutor                              said          to    do            is   that right


2                                                                                                                                                        2           A.            Yes                                   you put them                           to   the        side.               You have                          to
     to   you         is   that       right                                                                                                                                                                   sir


3           A.        Yes        sir.                                                                                                                    3   go      --       in       my                line of                      work

            Q.        And why                 is        that          important               to   you                                                   4            Q.           Uh-huh.


5                     Just       my                                     beliefs            that     you know                                             5           A                  sit                    have                    to         do accident             investigations




--17
            A.                               personal                                                                       if                                                     I                      I




6    someone                is   not         --        if   theyre unable                      to   function           with                              6   everything                              like            that                        okay.    Ive     got friends                      that           Ive


7                     and theres a chance                                            that     theyre going               to      take                    7   made up                            there                that                        have     to    make           decisions                     with.
     society
                                                                                                                                                                                                                                         I




8    someone                elses            life                then      I
                                                                               --    thats     where           I

                                                                                                                   get   my                              8            Q.           Uh-huh.


9    beliefs          from.                                                                                                                              9           A.            Okay.                           If
                                                                                                                                                                                                                             they                 went out theyve done something

10          Q.                        So once you have found a person                                                            guilty of              10   and              had proof                                 that                     theyve done              it    well they                     did           it.

                      Okay.
                                                                                                                                                                          I




                                                                                                                                                             Theres no leniency towards them                                                                                             because
11   capital          murder then you understand                                                    that      the burden                falls           11                                                                                                                 just                                       theyre

12                                                                                                            evidence                                  12   somebody                                         know.
     again on these                                                                                                                      you
                                         folks                   to                        sufficient                              to
                                                                      present                                                                                                                        I




13   in that         regard                                                                                                                             13            Q.           Okay.

14          A.        Yes        that         is            correct.                                                                                    14            A.           Okay.                           Everybody                             is    equal.


15          Q.        And then                    if
                                                            youre          convinced                of that         beyond         a                    15            Q.           Okay.

16   reasonable                  doubt you know you must answer                                                          that      question             16            A.           So everybody                                                   deserves           a    fair      shake.                   So        I

                                                                                                                                                                                                                                                                                                                            give

                                                                      that                                                                                        doesnt matter.                                                      Whatever                 the evidence                                  whatever                      the
     yes.             You        understand                                                                                                             17   it                                                                                                                                    is


18          A.        Yes         sir.                                                                                                                  18   facts            are               is       what Im going                                    to    go off what Im going                                              to



19          Q.        Now         let        me             stop        you          here      at this        point      at this                        19   base my decision                                                         off         of.



20   juncture.                                                                                                                                          20            Q.           Okay.                           And do you                             think      --
                                                                                                                                                                                                                                                                           you have these strong

                                                                                                                                                        21    beliefs as                                                                                        and sometimes people
21          A.        Okay.                                                                                                                                                                          you stated                                    earlier                                                                             say

            Q.                           found a person                                                                  murder                         22   I kind                of           put            that                              the    back    of   my mind. You heard
22                    Having                                                              guilty    of capital                                                                                                                    in




23   which           is    the highest                           crime         in    our      law would you agree                                       23    people                   say               that            before                         right


24          A.        Yes         sir.                                                                                                                  24            A.           Yes.


25          Q.        Would you agree                                      its      a heinous            crime                                          25            Q.               Is       that               something                             that   you would                         do     I
                                                                                                                                                                                                                                                                                                             guess                     try
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                                                                                                                                                           125                                                                                                                                                            127

                                                                                                                                                                           intended                                the     deceased             or    another anticipated                                   that
1    to       do    in   that              situation                                                                                                                 1                            to    kill




                         That would                         be something                                       do                                                    2     another           would                 be         a          would        be taken.                    You see that
2              A.                                                                             that        I           in   that                                                                                          --       life




3    situation.                                                                                                                                                      3             A.     Yes            sir.




4              Q.        And                           wonder you know                                  when people say                                              4             Q.     And here of course you go back and examine the
                                       I
                                               just

                                                                                                                                                                     5     conduct            on the                          of the person             on                       whether               that
5    that          its    still            in
                                                 your        mind right                                                                                                                                            part                                             trial



                         Well                                                                                                                                        6                            the                                         or the helper                   or the party
6                                              its                             your mind.                                                                                  person                                              person
                                                                                                                                                                                            is                 trigger
               A.                                     always             in




7              Q.        And sometimes you know                                                    people             say        and believe                         7     as Mr.        Hanna stated                          earlier.



8    that          you know                           its    in    the        back       of   your mind about
                                                                                                              what                                                   8             A.       Yes          sir.



                                                                                                                                                                                            And you have                                                   whether                         what
9    youre           trying                to        do      the       right       thing          and         fair   and       just       and                        9             Q.                                             to     determine                                  --                     level



10   so forth then you                                      start      hearing               some        facts         and heinous                                   10    did     that      person                 act.       And you would have found                                          at this



                    and                                                                                                             Does                                                                                                               acted                  the extent
                                                                            may be                                                                                   11                                                                       least                      to
11   facts                    finding                  people                                 future           danger.                          it                         juncture           that          that        person           at


12   stay back                there or kind                            of     come           seeping               out      somewhere                                12    where         capital               murder was caused                           and the person was

                                                                                                                                                                                                                              murder.           You understand                            that
13   I   mean Im                   just               asking           you         is    that      the type               of   person                                13    convicted               of     capital


14   Mr.       Woolf              is       or        are     you able               to   keep           all     that                                                 14            A.       Yes          sir.




15   compartmentalized                                        in    the       back of your mind                             is   what                                15            Q.       Now             here          again what was not shown earlier and

16   Im asking.                                                                                                                                                      16    Ill   go back               to      you has             to     be unanimous proved                                     beyond              a


17             A.        Im able                      to    set     my        emotions              aside            and go              off                         17    reasonable                   doubt              and 10 can agree on the                                    no          answer.


18   what the               facts                are.         Im assuming                         thats         what you are                                         18    All     right

19   asking              me.                                                                                                                                         19            A.       Yes          sir.




20             Q.        Yes               sir        exactly            right.                                                                                      20            Q.       Here when you look                                  at   a person               who           acts         with the


                                                                                                                                                                                                                        or assist the                commission                                                  he
21             A.        Yes               I
                                                can do             that.                                                                                             21    intent       to        promote                                                                          of      offense


22             Q.        Good.                    Now             question              --   Oh         Im         sorry.        In      order                       22    encourages                       solicits              directs       aids       or       attempts               to     aid

23   to       answer              that            one        no             only 10           must agree as opposed                                       to         23    and you tound                           that       beyond          a reasonable                    doubt thats that

24   unanimous.                                                                                                                                                      24    first    law of             parties            we      talked       about       earlier.                You see

25             A.        Yes               sir.                                                                                                                      25    that         Mr.       Woolf


                                                                                                                                                               126                                                                                                                                                        128

 1             Q.        Follow                  that             And here the question the                                           first                           1            A.       Yes           sir.




                                                                       commit                                                                                         2            Q.                              Here                  Question          No.        2            whether                 the
                                                                                                                   acts those                                                               Okay.                             that                                          is
2    question                 probability                         to                         criminal


                                                                                                                                                                                                                              caused                                                  deceased
 3   criminal              acts                 must be             violent            acts.       Okay                                                               3    Defendant                   actually                               the death              of the                                      or did


4              A.        Okay.                                                                                                                                        4    not     actually              cause the death but intended                                            to      kill    the


 5             Q.        And               constitute               the continuing                       threat            to society.                                5    deceased                    or another                 or anticipated            a        human                life    would            be

                                                                                                                                                                      6                                                                                                                   act with
                                                                            course be a prison
 6   And                                                                                                                                                                   taken.                 you found here                         that    that      person             did
                                                       can          of                                                                                                                       If
                   that     society                                                                                        society.


                                                                                                                                                                      7    the                            promote a                                  murder              that       he
 7   Youve               heard                  that        before             right                                                                                               intent          to                                  capital


                                                                                                                                                                                                               aided directed                                                                               and
 8             A.        Yes               sir.        Yes          sir.                                                                                              8    encouraged                                                           that    person                to    doing             it




 9             Q.        That              second                 question law                     of    parties               criminal                               9    then         you get             to      here Question                    No.    2        on the penalty look

10       responsibility.                             And thats the                      part      that         was shown                                             10    at    the Question                       2    in    the penalty             phase excuse                              me         about


11   earlier             by the Prosecution.                                       A     person           is
                                                                                                                   criminally                                        11    answering                   that         question             whether        that         person                in     fact


12                                                                own conduct                           conduct                of   --                               12    caused             death                intended              the death         result             or anticipated                     the
         responsible                       if
                                                 by     his                                       or                                      is




13       committed                 by            his        own conduct                      or   conduct             of       another          for                  13    death         would              result.            Now        would you have                           to    have found

14   which           he                                                                             And                     second                                   14    this                   law     of       parties to            be applicable                    and true beyond
                              is           criminally               responsible.                                   that                                                             first




15       paragraph                 bullet                  point       if
                                                                              acting with               intent         to      promote                               15    a reasonable                            doubt          Think       that     the Question                             No.    2 should


16       or   assist        the                commission                     of    the offense                      he    solicits                                   16   be answered                         yes            because           you have found that beyond                                            a


17       encourages directs aids                                               or   attempts                  to     aid   the other                                  17   reasonable                    doubt

18                       to       commit the offense.                                        Okay                                                                     18                               MS.          JACK               Judge         Im    going              to   object              to   the
         person

                                                                                                                                                                                                                              thats                                           because                      the
19             A.        Yes                   sir.                                                                                                                   19   form         of that.               I   think                   very confusing

20                       Thats a conspiracy.                                        Thats the second                                                                 20    second                                       does incorporate                    something
               Q.                                                                                                                   way as                                                    question                                                                                          finding


                                                                                                                                                                                                                                                        doubt.
21       the Prosecutors                               told        you        that       a person can be a party                                     to              21    something                    beyond                a reasonable


22       an offense.                                                                                                                                                 22                                MR.          WESTFALL                     Object             to    the side                bar Your

23                                                                                                                                                                   23     Honor.
               A.        Yes                   sir.



24             Q.        Here whether                                  Defendant                  actually            caused              the death                   24                               THE COURT                           Okay.

              deceased                                                                       cause the death but                                                      25                                MR.         HEISKELL                    Judge                dont want                    to       say     Im
25       of                                     or    did     not                                                                                                                                                                                               I



                                                                       actually
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                                                                                                                                                            SOTZ                    JANUARY                                               30                       2012
                                                                                                                                                     129                                                                                                                                                                                       131

                               because            a       valid           objection          at this          stage when                                    1           Q.         Okay.                   And then again                                               right         above               that         one one
1    confusing

2    trying        to   --                                                                                                                                  2     who was abused                                     as a                 child                  accepts               responsibility for his



3                              THE COURT                             Ill       overrule        the objection                        at                      3     own actions                       committed as an                                                    adult.          You           circled                you

4    this                                                                                                                                                   4     disagree                   with         that.
            point.


5                              MR.        HEISKELL                             Thank you Judge.                                                             5           A.         Right.                  Theyre                             still          I
                                                                                                                                                                                                                                                                  mean                responsible                          for



                                                                                                                                                                                                                                                   they made.
6           Q.        BY        MR.        HEISKELL                             Have        you followed                  me             thus far           6     their      own             decisions                      that



7    Mr.    Woolf                                                                                                                                           7            Q.        Okay.                       So what you termed and                                                           I
                                                                                                                                                                                                                                                                                                     believe                some

8           A.        Okay.              Youre asking me                              just   because                I    answered                           8     folks       term as an                         excuse                            for           instance                my upbringing

9    this   one one way                      I   should              answer             this       one                                                      9     being           abused as a child thats something                                                                                   that         is       not

                                                                                                                                                                                                                                                                                                    such as                         on




--20
                      No                                                                                                                                                                                                making                               the decision                                                   this
10          Q.                  Im asking do you                                 think      you should                   always                             10    important                   to    you          in



11   answer another one the second                                                    way because                       you have found                      11    whether                to       give          life        or            death                   at    the time                that           you have

12   that    one         yes                                                                                                                                12    found           that        person                   to    be a convicted                                            capital             murderer


13          A.          No      not always.                                                                                                                 13           A.        Uh-huh.

                                                                                                                                                                                                                                          and                                               he
                                                                     because of what sir                                                                                           Future                      danger                                                            that
14          Q.        Okay.              And      that         is                                                                                           14           Q.                                                                              finding                                      killed


                                                                                        and circumstances                                                   15    intended                   to                or anticipated                                      that          a person                  would              be
15          A.          Depending                 upon the                     facts                                                                                                               kill



                                                                                                                                                            16                    the                            would                         be       killed.                  Did    you




--24
                                                                                                                                                                                              victim
16   provided.                                                                                                                                                    killed


17          Q.          Okay.            Now          youre                two-thirds          of       the      way would                                  17           A.        So whats your question

                                                               3                                    and       2                          found              18            Q.        Im                               Appreciate                                    you doing                        that       for         me.
     you agree on Question
18                                                                    Questions                1                    if
                                                                                                                         you                                                                      sorry.


                                                                      doubt                                                                                 19    Once you have found a person
             beyond a reasonable                                                                                                                                                                                                                                            guilty
19   that


            A.          Yes.                                                                                                                                20           A.         Uh-huh.


                                                                                 No.    3 deals with                                                        21            Q.       --        and you found                                         that            person              to       be a future
21          Q.          Yes.         Okay.                Question                                                       that


22   mitigating                circumstance                     and so                forth.        Remember                    that           long         22    danger                 killed                intended                            to     kill         or anticipated                          a person


23                                                                                                                                                          23    would           be          killed
     question

            A.          Yes.                                                                                                                                24            A.       Yes               sir.




25          Q.          Its    boiled            down           right           here.       Does he deserve                                                 25            Q.        --       the          persons upbringing                                                     or    any as you say


                                                                                                                                                      130                                                                                                                                                                                          132
                                                                                                                                                                                        such as being abused as a
                                                               Okay                                                                                               excuse                                                                                                                                   not important
                                                                                                                                                                                                                                                                                      child                                                   to
 1   life   rather             than       death.                                                                                                             1                                                                                                                                       is




 2          A.          Correct.                                                                                                                             2    you        at that              juncture

                        And you                           us                                                                                                 3            A.                 wouldnt say                                  that                   wasnt important but                                         at
 3          Q.                             told                 in    your questionnaire
                                                                                                                   that        you                                                  I                                                                   it




                                                                                                                                                             4               same time                                                             have a choice                                to    do the
 4   felt   that        a      persons upbringing                                    was not        that      important                                           the                                           they         did                                                                                            right



 5   in their           life    choices            made.                   Do you remember                          saying                that               5    thing        or the               wrong               thing.

                                                                                                                                                                                                                                                                                 based               upon what
 6          A.          Im      not sure              I    said       it    exactly         that        way.                                                 6               Q.     I

                                                                                                                                                                                             guess what                           Im asking                                 is




 7          Q.          Let     me show                   it   to   you Mister                 --   Here we go.                           A                  7    youre            telling                me         you                      said           is    they had a choice                                        its



 8                                                                               own conduct regardless of                                                   8    not        that        important                      so                    is        fair to              say       that          you could
     persons                 responsibility for his
                                                                                                                                                                                                                                                   it




                                                                                               Do you see that                                               9                fair           consideration                                    to        that            their         abuse               as a             child
 9   the upbringing                        you strongly agree.                                                                                                    give

                                                                                                                                                            10    and the upbringing                                        when you consider                                                   whether                    that
10          A.          Yes.

                                                                                                                                                                                                                     murderer should                                                  receive              a                or
                                             you mean by that
11           Q.         What         did                                                                                                                    11    convicted                   capital
                                                                                                                                                                                                                                                                                                                life




                                                                                                                                                                                  sentence
12          A.          What         I
                                          mean             by   that            is
                                                                                     everyone               has a choice.                                   12    death


13                              when you grow                              --   when you grow up you see                                                    13               A.         It
                                                                                                                                                                                              depends                   on what Im shown as                                                          far       as the
     Obviously

14                               know            as a kid                  yes        its    going          to     have an                                  14    evidence what the                                         situation                              was           I
                                                                                                                                                                                                                                                                                      mean                that         I   would
     things you

15                                                                                                                                                          15    take        into            consideration.
     impact             upon your                life.




16           Q.         Uh-huh.                                                                                                                             16               Q.         Uh-huh.

                                                                                                                                                                                                                                               cant                         wouldnt make a
                                         the same time you have a                                                                                           17                                                 Again                                              --
                                                                                                                                                                             A.         Okay.
17           A.         But     at                                                                          responsibility
                                                                                                                                                                                                                                          I                             I




18   to     make choice                    --    make               the choice of                  to       go ahead                 and go                 18     decision                  based               on         solely                      my             beliefs          you know the way                                  I




                                                                                                                                                            19                     Unless                                                               there               and Ive got proof
              what you know                                                     do something                                                                       think.                                      its     --                 its
19   with                                                 or try          to                                  else.            If
                                                                                                                                         you                                                                                 if




                                                                                                                                                            20                                                                                                                         and make                    my
                                                                                                                                                                              then            you know                                        can look                      at
20    know                                                     or          you know            that          its   a                                               of                                                                                                            it
                      that     its       different                                                                       --    it                                       it                                                            I

                                                                     if




                                                                                                                                                                                                                                                                            Again                   mean                   said     what
                                                                                             you know
     wasnt                                                                                                                                                  21     determination from                                       that
21                                   youve grown                           up        then                               that                                                                                                                       point.
                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                            I



                        right                                                                                                       it




                                                                                                                                                                                                               what                                              and my                                          the         back
                                                                                        Well youve made the                                                 22         can set my                                                         think                                       beliefs              to
22   wasnt                                                                                                                                                                                                --
                                                                    in time.
                        right at that              point
                                                                                                                                                                                                                                  I
                                                                                                                                                                   I




                                                                                                                                                            23     based upon the                                                                         are presented                              to        me.
                                                          go ahead and do the wrong
                                                                                                                                                                                                                  facts
23    conscious                 choice           to                                                                           thing             so                                                                                            that


                        made                                                                And             dont         believe                            24               Q.         Well              and the reason Im probing                                                                   in   such a
24    youve                          that        choice              yourself.                          I




                                                                                                                                                             25    manner and                                                you can understand                                                      this         because                you
25    that       it   should             be used as an excuse.                                                                                                                                             I   think
--6
--7
1



2

3

4

5




8

9

10

11


12

13
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     look


     eye and

     that.


     Mr.


     some

     concern




     fashion


     strong

     Its


     Well
             to




            A.


             Q.




            going
                   be a very sincere




                  One

             Westfall

                  of




                   Yes

                   All




                  this
                               telling




                               these




                       because you know

                   feelings

                                to
                                        of




                                        is



                                         else
                                             sir


                                        right.




                                             come
                                                    me

                                              the things

                                             and my

                                                    questions




                                              not the
                                                       I
                                                            do.
                                                                       STATE



                                                                 exactly




                                                                      client
                                                                             that obviously




                                                                                you




                                                           And thats why Im probing



                                                     are not able




                                                       because
                                                                 out    one way

                                                                      case      for
                                                                                    we
                                                                                               VS.

                                                                              person you looking

                                                                                    how you feel



                                                                                           listen


                                                                                          can see where




                                                                                      some people who have such

                                                                                     to




                                                                                      me
                                                                               my feelings
                                                                                           put those

                                                                                               or    another.

                                                                                                     I   would
                                                                                                               to
                                                                                                                    MARK




                                                                                                                about
                                                                                                                       I




                                                                                                                    when
                                                                                                                            appreciate




                                                                                                                    you and look




                                                                                                                            rather
                                                                                                                                   in




                                                                                                                       feelings aside.




                                                                                                                                   that
                                                                                                                                        me



                                                                                                                                        we me
                                                                                                                                              ANTHONY




                                                                                                                                        theres a




                                                                                                                                         such a




                                                                                                                                   And they say
                                                                                                                                                in




                                                                                                                                              sit




                                                                                                                                              aspect
                                                                                                                                                     the




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                                                                                                                                                                             13
                                                                                                                                                                                   Mr.




                                                                                                                                                                                   mean



                                                                                                                                                                                   by your
                                                                                                                                                                                           Q.


                                                                                                                                                                                           Woolf

                                                                                                                                                                                   counseling

                                                                                                                                                                                   right

                                                                                                                                                                                           A.

                                                                                                                                                                                           Q.

                                                                                                                                                                                           A.

                                                                                                                                                                                           Q.




                                                                                                                                                                                           A.


                                                                                                                                                                                         you know
                                                                                                                                                                                                  Whole




                                                                                                                                                                                                  Yes

                                                                                                                                                                                                  Oh
                                                                                                                                                                                                  Yes
                                                                                                                                                                                                  Oh
                                                                                                                                                                                                  growing


                                                                                                                                                                                   guess you missed some of

                                                                                                                                                                                                   family

                                                                                                                                                                                                  Right.
                                                                                                                                                                                                               that
                                                                                                                                                                                                                    Page 37 of 112 PageID 4282



                                                                                                                                                                                                                    and




                                                                                                                                                                                                                    that
                                                                                                                                                                                                                           lot of




                                                                                                                                                                                                                        that


                                                                                                                                                                                                                    with the

                                                                                                                                                                                                                        sir.




                                                                                                                                                                                                                           And

                                                                                                                                                                                                                         that
                                                                                                                                                                                                                               you




                                                                                                                                                                                                                                was




                                                                                                                                                                                                                               offense.


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                                                                                                                                                                                                                                  way.
                                                                                                                                                                                                                                          it.




                                                                                                                                                                                                                                          in


                                                                                                                                                                                                                               treatment as a




                                                                                                                                                                                                                                       not having




                                                                                                                                                                                                                                       at that
                                                                                                                                                                                                                                                  I




                                                                                                                                                                                                                                                 fact




                                                                                                                                                                                                                                                part
                                                                                                                                                                                                                                                          think




                                                                                                                                                                                                                                                           see
                                                                                                                                                                                                                                                              Okay.
                                                                                                                                                                                                                                                                   of




                                                                                                                                                                                                                                                                   point
                                                                                                                                                                                                                                                                        the deal




                                                                                                                                                                                                                                                                        that




                                                                                                                                                                                                                                                                            it
                                                                                                                                                                                                                                                                                 you    told


                                                                                                                                                                                                                                                                      had sought some type

                                                                                                                                                                                                                                                                                  younger




                                                                                                                                                                                                                                                                                   But before


                                                                                                                                                                                                                                                                                 that

                                                                                                                                                                                                                                                                                   as




                                                                                                                                                                                                                                                                                  in
                                                                                                                                                                                                                                                                                         did




                                                                                                                                                                                                                                                                                        time
                                                                                                                                                                                                                                                                                                us as well




                                                                                                                                                                                                                                                                                             part




                                                                                                                                                                                                                                                                                 now as an adult you
                                                                                                                                                                                                                                                                                                     man


                                                                                                                                                                                                                                                                                               whenever




                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                         of




                                                                                                                                                                                                                                                                                                         didnt
                                                                                                                                                                                                                                                                                                                then

                                                                                                                                                                                                                                                                                                    you see where

                                                                                                                                                                                                                                                                                                              being
                                                                                                                                                                                                                                                                                                                     is




                                                                                                                                                                                                                                                                                                                      see
                                                                                                                                                                                                                                                                                                                          that




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                                                                                                                                                                                                                                                                                                                                of




                                                                                                                                                                                                                                                                                                                           nurtured
                                                                                                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                                                                                             135




--21
     something                                                                                                                                                                     it
                                                                                                                                                                                                                                                      I




14   the law.                    And then there are others who say Well                                                                                I                     14    know           that          understands                               a        little        bit   more.             I
                                                                                                                                                                                                                                                                                                              do you

15   dont have such strong feelings but                                                                    I    can        still        follow       the                     15    know see                    that            you know                             that          may have been absent or

16   law.         You                   follow              what Im saying Mr. Woolf                                                                                         16    some          of       it        a    lot   of    it
                                                                                                                                                                                                                                           mayhave been                                       absent            at    the       time.



17           A.    Yes                       sir.                                                                                                                            17             Q.    Yes                   sir.




                   And you were about                                                                                                                                        18            A.      But                    the        same time                                    you know knew
                                                                                           say something
                                                                                                                                                                                                                    at                                                       I                                             right
18           Q.                                                                      to


19           A.    Yeah                         I   was           just       going        to you know                              tell
                                                                                                                                              you                            19    from         wrong               and surrounded                                      myself with                      the people              that      you

20   whenever                           I                  know          read through                          the questions                         and                     20    know would
                                             you

     stuff        and               I
                                            put     my answers                       down.                                                                                   21             Q.     Who                  helped             you out

22           Q.        Uh-huh.                                                                                                                                               22             A.     Yes.


23           A.        Okay.                        Gentleman                       come up here                            explained                 to         me          23             Q.     So           I       take    it    that        when your parents                                           didnt step


                                                                                                                                                                             24                 were not there                                        whatever                         reason you had others
24   you know                           a     little        bit       more about                it       obviously                      that                                       in      or                                             for



25   changes                    the           way            I   think       from         --
                                                                                               just            from a          legal           term         to               25    to      kind    of          help out along                              the          way whether                           they        be other


                                                                                                                                                                       134                                                                                                                                                                   136
                                                                                                                                                                                                                                                                        whatever
 1   be able                   to       help           me         to    understand                       more on how the process                                              1     relatives              or family friends or


2    is.     Then yes Im                                         willing       to you know                            consider                 it.                            2             A.     Yes                  sir.




3            Q.                                     And                                         Woolf you have your                                                           3             Q.     Thats good.                                  Were                 those             the uncles                   and aunts and
                       Okay.                                      lets       say      Mr.


                                                                                                                                                                                                          and things                                  that
     baby Wyatt hes a year
4                                                                             old.                                                                                            4     cousins                                               like



5            A.        Little                 over a year.                                                                                                                    5             A.     They were yes.

6            Q.        Little                 over a                                Your wife both nurture your                                                               6             Q.     At          what            age        did             that          all       happen            to        you
                                                                   year.


 7   baby do you not                                                                                                                                                          7     Mr.     Woolf

 8           A.        Yes                    sir.                                                                                                                            8             A.     When                    I   was approximately                                         10.



 9           Q.        And does                              that       entail        you know                        cuddling                  and                           9             Q.     10

10   holding                   and touching                             and feeding                      and doing                      all   those                           10            A.     10 9                  10.



11                                                                                                                                                                            11            Q.     And were there instances                                                             in   which            you were having
     things        --



                                                                                                                                                                                                                                                  school                         and things                         that         Or
12           A.        Yes                    sir.                                                                                                                            12    difficulties                adjusting                  in                                                                like



13           Q.        --        a parent                        is    supposed                to        do                                                                   13    tell    me how                      that    happened                              where these                        folks       kind of


14           A.        Of course yes                                         sir.                                                                                             14    stepped                in.




15           Q.        Why do you                                     think     thats           important                                                                     15            A.        I
                                                                                                                                                                                                          mean                 for        instance                          you know we                        lost       our


                                                                                                           the sole purpose                                                   16    house you know as a child we moved                                                                                   in there.              Or we
16           A.        I        think               that         its    important               for


17                             them                                   them a foundation you know                                                     lets                     17    didnt have food we would                                                          go get            it    get        some         from       them
      it   helps                                    gives

                               know what theyre supposed                                                                                                         be                                                            feed                                 thats              what youre asking.
18   them         to                                                                                             to do.             I
                                                                                                                                         mean              Ill                18    but they would                                         us.                If




                                                                                           have                       when                                                                         Yes                  thats         what Im asking.
19    quite       honest with                                    you     I   didnt                             that                       I

                                                                                                                                              grew up                         19            Q.


20                                                     have                                                                                                                   20            A.     Yes.
      but    my son                          will                      that.


21           Q.                                                                                                                                                               21            Q.        So youre fortunate                                              to         have those                  folks        step   in
                       Okay.

22           A.            So and                          its    providing               for   your child                         you know.                                  22    to     help       you out and guide you along the                                                                    way

23           Q.        You say you didnt have                                                   that            when you grew up                                  is          23            A.        Yes                sir    yes             sir.




24    that                                                                                                                                                                    24            Q.        Okay.                    You know do you want                                                 to       serve        as a       juror
                 right

25           A.            I    didnt                have a whole                     lot       of       it.                                                                  25    in this       case
--4
1



2

3




5

6

7

8
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16




     death

     will




     stated
            A.


            Q.




             be

            A.


            Q.




            A.
                    Yes

                    And

                  that


                    killed


                    Yes

                       In
                                  --




                                 fact
                                       sir.




                                       just




                                       sir.




                    about the long years

                       Yes

                       And you understand
                                           and you know

                                           at




                                           sir.
                                                  some
                                                       a simple




                                                you made some
                                                                          STATE




                                                                          point.
                                                                                 why
                                                                                   that




                                                                                    of




                                                                                     those
                                                                                            VS.



                                                                                           Knowing

                                                                                           if




                                                                                           --




                                                                                          appeals
                                                                                                 death
                                                                                                              MARK


                                                                                                                that


                                                                                                               is




                                                                                                 you had a concern

                                                                                                              that
                                                                                                                             life




                                                                                                                     given then he




                                                                                                                       happen.
                                                                                                                                    ANTHONY


                                                                                                                                    or




                                                                                                                                              you
                                                                                                                                                    137
                                                                                                                                                          SO

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                                                                                                                                                                because

                                                                                                                                                                this.




                                                                                                                                                                right




                                                                                                                                                                brought
                                                                                                                                                                        Q.

                                                                                                                                                                        A.


                                                                                                                                                                         things
                                                                                                                                                                                  JANUARY




                                                                                                                                                                                  Well

                                                                                                                                                                                  Its




                                                                                                                                                                be presented you know



                                                                                                                                                                        Q.
                                                                                                                                                                                   out
                                                                                                                                                                                          Page 38 of 112 PageID 4283

                                                                                                                                                                                      of that




                                                                                                                                                                                        just


                                                                                                                                                                                          theres




                                                                                                                                                                                          to


                                                                                                                                                                                  And you had a
                                                                                                                                                                                                 make



                                                                                                                                                                                                 a
                                                                                                                                                                                                      situation




                                                                                                                                                                                                 helped

                                                                                                                                                                                                                wrong



                                                                                                                                                                                                                     a
                                                                                                                                                                                                                         30




                                                                                                                                                                                                                         me




                                                                                                                                                                                                                         good

                                                                                                                                                                                                                         --
                                                                                                                                                                                                                                Im going
                                                                                                                                                                                                                                           2012




                                                                                                                                                                                                                                  understand


                                                                                                                                                                                                                                  things and everything

                                                                                                                                                                                                                                appropriately




                                                                                                                                                                                                                                what
                                                                                                                                                                                                                                         decision.

                                                                                                                                                                                                                                               I    recall
                                                                                                                                                                                                                                                            to    take




                                                                                                                                                                                                                                                                   that




                                                                                                                                                                                                                                                                  in
                                                                                                                                                                                                                                                                         facts




                                                                                                                                                                                                                                                                         this
                                                                                                                                                                                                                                                                               that




                                                                                                                                                                                                                                                                of mental health
                                                                                                                                                                                                                                                                                       into




                                                                                                                                                                                                                                                                                hey theres



                                                                                                                                                                                                                                                                                    have
                                                                                                                                                                                                                                                                                             has

                                                                                                                                                                                                                                                                                              to
                                                                                                                                                                                                                                                                                                   to


                                                                                                                                                                                                                                                                                                   be
                                                                                                                                                                                                                                                                                                             139




9            Q.                                                                                   long years of appeals                                         questionnaire                             pretty          high opinion


10   can be very costly do you not                                                                                                                        10    professionals                    is       that       right


11           A.        Yes                 sir.                                                                                                           11            A.        Yes.

                                                                                                                                                                                  And you think they do good jobs and the things
12           Q.        And some people                                           think     that     you know                   that      is               12            Q.


                                       and                                       Does              have any bearing                                       13                           do are good                       for     people
13   an issue                   in                     of       itself.                    that                                                                 that     they

14                                                                                                             without              parole                14            A.        Yes.
     on your feelings                                  about death versus                              life




15           A.        No.                                                                                                                                15                             MR.         HEISKELL                            Okay.                  Let      me     talk    to    my

16           Q.        So knowing                                    that that       --   do you         think         thats a                            16    co-counsel                for    a second.                        Ill     be        right        back.


17                         decision                                        were serving                as a                   in    this                  17                             VENIREPERSON                                              Okay.
     difficult                                         if
                                                                you                                                 juror


18   case         to       --                                                                                                                             18                             Pause                  in   proceeding.


19           A.        Yes.                                                                                                                               19                             MR.          HEISKELL Thank                                            you.          Youve      got       me   a


                                                                                           and make                                                       20                      of    good questions.                             Thats why we have                                   to    work      in
20           Q.        --        sit       with         11           other       folks                               that                                       couple


21   decision                                                                                                                                             21    tandem.

22           A.            It   sure            is.
                                                                                                                                                          22                             VENIREPERSON                                              Yes          sir.




                       And                                                                                                                                23                      Has your                                                                                     background
                                                                              may sound kind of funny and
23           Q.                                                                                                                                                         Q.                                                        underpinnings
                                       I

                                            guess                    this                                                                                                                                     religious


                                                                                           What do you                                                    24                                     become                         good father
24   crazy.            I        hate         to        ask           it
                                                                           anyway.                                           get out of                         helped            you     to                              a


25                                on a case                           like       this                                                                     25            A.        Yes.
      it    serving


                                                                                                                                                    138                                                                                                                                                      140

             A.            The         fact            of                                                 the                                                           Q.        And what                    do you            think              makes a good father
 1                                                               knowing            that        either                right thing                          1




2    was done. okay based on what was presented.                                                                                                           2            A.        Someone                      thats there for                           you know                for their



                                                 And you                                                                                                                                                                                                  them.               Youre asking
3            Q.            Okay.                                             sitting      here     right        now          your        own               3    child        that       provides                a        good           life       for



4     mind processes                                   --                                                                                                  4     me what makes                            a    good father right

5            A.            Yes             sir.                                                                                                            5            Q.        Yes         sir.




6            Q.            --    what weve                                talked     about        at   length           if
                                                                                                                              you     were                 6            A.        Okay.          Someone                        thats not there                           --   how do         I

                                                                                                                                                                                                                                                                                                  say

7     on    trial          for       something                             as serious            as this would you want                                    7    this.        Someone                  thats there                       to         provide          for their child.


                                                                                                                                                           8            Q.        Uh-huh.
8     you on               this        Jury
                                                                                                                                                           9            A.        Their        needs you know                                       their        wants.             Okay.         Or
 9           A.            Yes.

10           Q.            And             why                                                                                                            10     some         part       of    wants                 but       their           needs             for     sure.


11           A.            Because                          I
                                                                believe            that    Im a     fair       person.              Im                    11            Q.        Sure.


12                              look                   what the                  facts     were presented                         and base my              12           A.        And thats                    in    their       childs                 life.
      going         to                       at


13    decision                  off of that.                                                                                                               13           Q.        And you                 --
                                                                                                                                                                                                                go ahead.

14           Q.            Does any                             of that          have     to    do with your                 --     Im                     14           A.        No      go     ahead.


15                                                                   a               term         call          a learning                                 15           Q.        You said something                                     to        the     effect         that      you didnt
      going         to           for lack                       of         better                         it




                                                                                                                                                                 have that                                                                                                    as a
16    experience                       from             that juvenile                     history       of     yours                                       16                            at least part                         of that             in   your       life




17           A.            Yes             sir.
                                                                                                                                                           17    youngster.                Am         I
                                                                                                                                                                                                              saying            that       right


18           Q.            Does              that               help        to   shape and mold your opinions                                              18           A.        My     father didnt                          come            around             till    I
                                                                                                                                                                                                                                                                              was 10 years

19    about being                          fair        and                       and      impartial           and      all    that                         19    old.
                                                                      just

                                                                                                                                                           20                                    Thats tough.                              Because you know when you
20           A.            Yes              sir.                                                                                                                         Q.       Okay.

                                                                                                                                                                                                               where                                                           be            and
                                                                     what you went through                                                                       look                                                            you are                  trying to                   fair
21           Q.            Because                          of                                                                                             21                at   a     situation


22                                                                                                                                                         22                      people                      take            then            that       type of character
                           Yes                              But that               again thats a                                                                 judging                                                  it
             A.                             sir.                                                                    totally                                                                               I




23                                                                                                                                                         23    background                    upbringing those                                     are kind of things                       you would
      separate                   situation.


24           Q.            Oh          yeah yeah.                                                                                                          24    look        at

25           A.                             --          dont want you                       to think           that     just                               25            A.        Yes.
                                just
                            I                      I
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                                                                   STATE                    VS.                    MARK                   ANTHONY                    SO
                                                                                                                                                               141                                                                                                                                                                      143
1           Q.        Is        that        right                                                                                                                    1           A.        Yes             sir.




2           A.        Yes.                                                                                                                                           2           Q.        And when you brought                                                  that        up      initially          when the

3           Q.        Okay.                  Do you                think        we have                   a tough                   job                              3    Prosecutor                 was           talking                  to   you             I

                                                                                                                                                                                                                                                                      guess we need                      to          know why

4    Mr.    Woolf me and                                Mr.         Westfall                                                                                         4    did    you           think        that        was an issue                                 that     we      should            consider or


5           A.        Yes            sir.                                                                                                                            5    you should                 even           think               about               in       determining whether                                  you

6           Q.        Would you                         --                                                                                                           6    could       be        fair       and          impartial in this                                 case

7           A.        I        think        both        of         you have a tough                                    job.                                          7           A.        Well             because                     I
                                                                                                                                                                                                                                             know you know                               that      first            off

8           Q.        Okay.                  If
                                                  you were defending                                      Mark Soliz do you                                          8    people obviously                                   whenever                       they           first      you know see

9    think       thats something                                    that        you could                   do                                                       9    that    registered sex offender                                                    okay theyre not gonna                                                go

10          A.        Yes             sir.                                                                                                                           10   back theyre not gonna                                              look at                  you know when                            it    was or

11          Q.        You consider yourself a                                              --    I   think               you said                                    11   any of       that          stuff.             They                just       --
                                                                                                                                                                                                                                                             peoples thoughts.                                 But            I




12   earlier          an honest and strong person                                                          firm in                your beliefs                       12   did    not       want            that     to       affect              one way or the                            other.          If




13          A.        Yes             sir.                                                                                                                           13   there       is       an    issue              that        I       wanted                   to    be     fair   across            the


14          Q.            If
                               you were selected                                 as a           member                       of     the Jury        in               14   board        for       the         Defendant                           for        the Prosecutor.                        Okay.

15   this    case               --                                                                                                                                   15          Q.        Okay.

16          A.        Yes             sir.                                                                                                                           16          A.        And         I    did     not       want                any            possibility that                  if   that


17          Q.        --       you would be back there with                                                            11     other people.                          17   was     in   any way going                            to            interfere                   with       this   case           I        did


18   You understand                               that right                                                                                                         18   not    want           to   be on the case.

19          A.        Yes             sir.                                                                                                                           19          Q.            Okay.          Fair           enough.

20          Q.        And you as a                            juror            would            have              to         come        to    your      own         20          A.            Because              I   dont                think           its       fair      for   the     Defendant

21   individual                 decision                     in    addition            to       trying             to        reach a                                 21   nor    do        I   think         its    fair for                 the Prosecutor.

22   decision                  with the                11     other            individuals but especially                                                            22                              MR.          HEISKELL                                  Okay.             Thank you.

23   when        if
                              you got             to that           point            Question                      No.         3    thats your                       23                              VENIREPERSON                                                Yes          sir.




24   own personal                           moral            judgment                  in       that              in     working           right                     24                              MR.          HEISKELL                                  Thats            all.




25   there.                                                                                                                                                          25                              THE COURT                                   Thank you Mr. Woolf.                                               If   youll



                                                                                                                                                               142                                                                                                                                                                      144
1           A.        Yes             sir.                                                                                                                           1    step outside                     for just           a minute.


2           Q.        And            if
                                           you         felt
                                                                   strongly about                         something are you                                          2                               VENIREPERSON                                                Yes          sir.




3    the type person                              to    hold             on     to   your            own           beliefs                                           3                               Venireperson                                Woolf not present.

4           A.        Again                  it
                                                  goes back                     to    whats                   I    mean             --                               4                               THE COURT                                   Okay.                    Does state have any

5           Q.            I    didnt say                that            right.        If
                                                                                           you           felt          strongly                                      5    challenges

6    about            after          you heard the evidence                                              --                                                          6                               MR.          HANNA                          We          do not Judge.

7           A.            Uh-huh.                                                                                                                                    7                               THE COURT                                    Does Defense

8           Q.            --    that        it    should                go one way                   or           the other               are                        8                               MR.          HEISKELL                                  No        Your Honor.

9    you the type                          of     person                that    will       be able                 to        hold on           to                    9                               THE COURT                                    If    youll             ask him           to     come back

10   your    own                true         beliefs               in     order       to    render                     a     true        verdict                     10   in.




11          A.            Yes          I
                                           mean               if    everything                  that              was presented                      and             11                              Venireperson                                Woolf present.

12   I    believe              that        the person                         deserved               a    life           sentence              or   --               12                              THE COURT                                    I

                                                                                                                                                                                                                                                       just          need           to talk      to     you          just          a


13   rather       than the death penalty                                               yes           I   would                 hold       to   that                  13   minute.

14   if   thats               what youre asking.                                                                                                                     14                              VENIREPERSON Yes                                                         sir.




15          Q.            Yes         sir         it   sure             is.                                                                                          15                              THE COURT                                    First              off    you are not on the

16          A.            Yes         sir.                                                                                                                           16   Jury    yet           but        you          are    on the panel the Jury                                          is
                                                                                                                                                                                                                                                                                                   going                 to       be

17                                   MR.          HEISKELL Thanks                                           Mr. Woolf.                                               17   selected              from.             Whats                     going           to       happen youll get a                                   call


18                                   VENIREPERSON                                          Yes           sir.                                                        18   from the Jury Administrator                                                   and youll be                     told         you have                     to


19                                   MR.          HEISKELL Thats                                     all.              Wait         hold       on                    19   be back               in   court.             We      dont know exactly                                        when           that             is.       It




20   Judge.                   Im     sorry.                                                                                                                          20   will   be    --       we         think        it   will           be mid               to       late      February.

21                                   Sotto voce discussion.                                                                                                          21                              VENIREPERSON                                                Okay.

22          Q.            One more area                                   Mr.    Woolf and                             Ill    let
                                                                                                                                    you go.                          22                              THE COURT                                   And youll have                             to     come one                        day.

23          A.            Yes         sir.                                                                                                                           23   When you come                                 youll be                      told       youre on the Jury or youll

24          Q.            You are a registered                                       sex offender                            until       March                       24   be released.                       Well give you as much notice as we can but

25   12th        of this             year                                                                                                                            25   Im     not sure                  how much notice                                   that          will      be.      But       that             day
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                Page 40 of 112 PageID 4285
                                                STATE                         VS.                      MARK                 ANTHONY                  SO   TZ                    JANUARY                              30                   2012
                                                                                                                                               145                                                                                                                                                              147
                                                                                                                                                          Ms. Christy Jack.
     youll know youre on the Jury                                    or not.
1                                                                                                                                                    1




2                          VENIREPERSON                                   Yes              sir.                                                      2                                MS.         JACK Good                              afternoon.


3                          THE COURT                       In    the           meantime were going                                        to         3                                THE COURT                                  With          them sometimes and theyre

                                                                                                  And were doing                                     4    out                   now would                         be Larry Chambless and Martin
4    get a     picture       of    you before you                         leave.                                                                                 right


5    that     because        this                                                     to       take about a                   month                  5    Strahan.
                                      process              is
                                                                 going

6    and well put faces with answers.                                                                                                                6                                The attorneys                              representing                        the Defendant                     are


7                          VENIREPERSON                                   Okay.
                                                                                                                                                     7    Mr. Michael                   Heiskell.



8                          THE COURT                       In    the           meantime dont read                                                    8                                MR.         HEISKELL                              Good            afternoon.


9    anything           about the case.                    Dont go                    to       work and ask anybody                                  9                                THE COURT                                   Mr.        Greg Westfall.

10                 know about                     Dont go                 to         church             and ask anybody                              10                               MR.         WESTFALL                                   Hello.
     if    they                          it.




11   if    they    know about            it.      Dont          --   if       its         in   the       newspaper                                   11                               THE COURT                                   Seated             with            them           at    the counsel


12   on      TV    dont watch             it     dont read                     it.        Dont           let
                                                                                                                  anybody                            12   table        is       the Defendant Mark Anthony                                                           Soliz.



                                                                                                  you do dont                                                                         THE DEFENDANT                                                Good                                        maam.
             you what was                             And whatever                                                               get on
13   tell                             said.                                                                                                          13                                                                                                              afternoon


14   the Internet           start     looking              up anything                           about the case.                                     14                               THE COURT                                  And           theyll           have questions                        for



15                         VENIREPERSON                                   Yes.                                                                       15   you         but       Ill    ask        first.          Is     there anything                              we      should             know

16                         THE COURT                       With               that well                  let
                                                                                                                  you go and                         16   about you                   that       we     didnt                ask on the questionnaire

17   see you         in    a few weeks.                                                                                                              17                               VENIREPERSON                                             Well         I        have      phlebitis in                my

18                         MS.     JACK               Judge               I   think             --
                                                                                                       okay.                                         18   knee         for sitting                so        long.            I   cant          sit      no length of time.

19                         THE COURT                       I
                                                               think            its        going             to    be       in that                  19                               THE COURT                                   Okay.              Well             tell    us about               that.



20   back corner where weve                                been taking                           it.                                                 20   If
                                                                                                                                                                you        --
                                                                                                                                                                                say     youre                --
                                                                                                                                                                                                                   youre                in     a   trial        can you stand

21                         Venireperson Woolf                                   not present.                                                         21   up without walking                                      Can you                    just       stand            up
22                         Recess              taken.
                                                                                                                                                     22                               VENIREPERSON                                             Usually when                          I   sit   so    long my

23                                                                                                                                                   23          swells               on me.
                           Venireperson                    Cherry present.                                                                                leg


24                         THE COURT                       Hi.        Come on                           up.       If   youll       raise             24                               THE COURT                                   Right.             But        if    we had you                    seated


25                       hand.                                                                                                                       25   somewhere                     where you could                                  just        stand             up when you wanted
     your      right



                                                                                                                                               146                                                                                                                                                              148

                                                                                                                                                          to.
                                      sworn.                                                                                                          1
 1                         Juror

 2                         THE COURT                       Thank you maam.                                             If   youll     have            2                               VENIREPERSON                                             Oh         yeah probably                             could.


 3   a seat over there                in       the     jury      box second                              one on the                front              3                               THE COURT                                   Would              that        be okay

 4    row would be good.                                                                                                                              4                               VENIREPERSON                                             Yeah.


 5                         Okay.         Would             you       state                your          name.                                         5                               THE COURT                                   You wouldnt have                                   to    walk you

 6                         VENIREPERSON                                       Cherry                 Lynn         Allen.                              6   could            just       stand          up
 7                         THE COURT                           Ms. Allen                       first     off       you came               in          7                               VENIREPERSON                                             Stand             up          yeah.


 8    early        we   appreciate              it
                                                      very much.                          We           were going              to     have            8                               THE COURT                                   Okay.              Youre going                          to    be asked

 9    a     rest   period     if
                                   you couldnt make                                  it    in so thanks                      for                      9   some             questions.                   Ill       tell       you        its        not a        test.          Theres

10                                                                                                                                                   10   no                    or    wrong             answers.                        The only thing we require of
      doing        that.                                                                                                                                         right


11                         VENIREPERSON                                       Uh-huh.                                                                11   you         is   that       you be                truthful.



12                         THE COURT                       You            filled               out a      juror                                      12                               VENIREPERSON                                             Okay.

13    questionnaire.               Were              the   answers                        you          put on there                true    and       13                                THE COURT                                  Say          yes          and             no           when you can.

14    correct                                                                                                                                        14   If
                                                                                                                                                                you say things                         like        maybe                     or     I     think             so      youll           get

                                                                                                                                                                                                                                                                                                      So
15                         VENIREPERSON                                       Yes.                                                                   15   about three other questions                                                   to     explain               that      answer.


16                         THE COURT                           Okay.                 You          did     that         several        weeks          16   answer                --    dont answer                        a question                     unless               you         understand


17                 Has there been any changes                                              in                          that    would                 17          If
                                                                                                                                                                       you dont understand                                         it     make             sure they                     rephrase
                                                                                                  your         life                                       it.

      ago.

                                                                 you put on
18                                 the    answers                                                                                                    18         or explain                      to     you.
      change any            of                                                                         that       questionnaire                           it                               it




19                         VENIREPERSON                                       No.                                                                    19                                VENIREPERSON                                            Okay.


20                         THE COURT                           Okay.                 My name                   is      Phillip     Vick.             20                                THE COURT                                  We           think       trial        is
                                                                                                                                                                                                                                                                              going            to   begin

                                                                                                                  When                                                               the                      somewhere                            around              the      last       week           in
21        Im the Judge presiding                       of      this           proceeding.                                      this                  21   probably                              last   --




22    case goes            to trial      Judge William Bosworth Judge                                                            of   the            22   February.                    When             it    does               start         we       think          it    will        last   about


                                                                                                  Johnson                                            23   three weeks.                          There                    a       chance              that       the Jury could                       be
23                      of the 413th                                 Court                                                  County                                                                                is
      --
            Judge                                    District                              of


24                                                                             The attorneys                                                         24                                                                          period of three                        weeks.                 Is   there
      will    be the one           trying         the case.                                                                                               sequestered                           during            that



25        representing        the State               in this         case are                         Mr.     Dale         Hanna                    25   anything                   happening                    in     your           life       that    --        that      you        --   that
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                 Page 41 of 112 PageID 4286
                                                  STATE                        VS.          MARK                      ANTHONY                SSO.TZ                          JANUARY                                           30               2012
                                                                                                                                       149                                                                                                                                                                                   151

1    that      time period would                     interfere             with                                                               1          Q.                  Does               that        seem                like       a long          time

2                           VENIREPERSON                           Going               to    the     doctor.               I

                                                                                                                               go.           2           A.                  No.

3                           THE COURT                   Okay.                   You have doctors                                             3           Q.                  Sometimes                               it   feels like             a long time from over

4                                                                                                                                            4    here.                 Im going                       to        ask you several                                                           And the
     appointments                                                                                                                                                                                                                                           questions.

5                           VENIREPERSON                              Uh-huh.                                                                5    reason                     why            did        you                notice        how many people we had come                                                           in


6                           THE COURT                    Do you mind                        telling        us         what for               6    the other                       day
                                                                                                                                                         A.                  Uh-huh.
7    Is   it   for   your         leg                                                                                                        7

8                           VENIREPERSON                              For         my      leg      and       I       have high               8           Q.                  How many                            people               do you              think        we had coming                                    in

9    blood                              and          that diabetes.                                                                          9           A.                  Over a hundred                                     and something                              all           know.
                    pressure                   all                                                                                                                                                                                                                                   I                    I




10                          THE COURT                    Okay.                  When you                start           talking              10   didnt...


11   about health                 questions           we       cant             answer        those.                  Only      you          11          Q.                  You know                            in reality                 we       probably                 had close                   to


12   can.                                                                                                                                    12   400.


13                          VENIREPERSON                              Oh          okay.                                                      13          A.                  Really

14                          THE COURT                   You can.                     You can             tell         us   how               14          Q.                  For the               entire                  day come                  in.        And you know why we

15   you       --   do you         think       youre     physically                  able       to   serve               on a                15   have          that                  many             people                   come in

16   Jury                                                                                                                                    16          A.                  Huh-uh.


17                          VENIREPERSON                              I        dont    think         so.         I    dont.                  17          Q.                  Because                   everybody                           has a           different situation.


18                          THE COURT                    Okay.                  Do you        --
                                                                                                     you said                                18   Some people                                     its       a        financial              sacrifice                 to   serve           on a

19   diabetes.              What         kind    of effect        --           do you have               to          eat   at                19   Jury.                 For           some people                                it
                                                                                                                                                                                                                                      is    a    sacrifice              to their            family


20   certain         times                                                                                                                   20   for    them                 to        serve               on a               Jury.        Some                for     some people                                it   is




21                          VENIREPERSON                              Yeah.                                                                  21   a   sacrifice                       health-wise                              for    them           to    serve            on a          Jury.               And

22                          THE COURT                    Okay.                                                                               22   so     for            several                  people                        this    is
                                                                                                                                                                                                                                            just       not the              right         time

23                          VENIREPERSON                              Some             medicine                  I    have      to   take    23   and     it            can be a combination                                                of   all       of    those           reasons.                     You

24   twice          three     times both times a day.                                                                                        24   know                  they            have            --           and youre shaking                                 your              head    yes                    at


25                          THE COURT                    Does any                    of   the medicine                         you   take    25   each one of those.                                                  Because                for       some people                            its     a



                                                                                                                                       150                                                                                                                                                                                   152

     do things                                                                                                                                    sacrifice and                                             others                its       no              deal           at              And
                                          memory or             attention                 span anything                         like                                                             for                                                                             all.
 1                      to        your                                                                                                        1                                                                                                      big


2    that                                                                                                                                     2   so the reason                                  why we                        bring        people              in individually                     is        to


3                           VENIREPERSON                                  No.        Some          of   them makes me                         3   talk    to            them about                               their          unique               situation.                  Because              for


4    sleepy though.                                                                                                                           4   you          it       sounds                    like           this          would            be a       tremendous                         sacrifice.


5                           THE COURT                    Ah-oh.                                                                               5   Youre shaking                                    your head up and down                                                   yes
6                           VENIREPERSON                                  Im not going                  to       lie.                         6          A.                  To me.

7                           THE COURT                    Okay.                                                                                7           Q.                 Okay.               So          I
                                                                                                                                                                                                                     want        to talk             to    you        first      about


8                           VENIREPERSON                                  It    does.                                                         8   that.             I   want                to    pick up kind                          of where                     the    Judge              left




9                           THE COURT                    Ill    let            the lawyer          talk          to     you                   9   off.    And                 I       think         one                   of   the     first     questions                    he asked you

10   about          that.                                                                                                                    10   was           is           there              anything thats going on                                               in   your unique

11                          Ill    recognize           the     State.                                                                        11   situation                           your        life               that       would make                      it    difficult           to


12                                                   CHERRY ALLEN                                                                            12   serve                 on a           Jury.                And you mentioned and                                                I

                                                                                                                                                                                                                                                                                         apologize

13                                                      No.     61              testified       as follows                                   13   because                             know             --             do not know very much about medical
                            Venireperson
                                                                                                                                                                                                                 I
                                                                                                                                                                                  I




14                                        VOIR DIRE EXAMINATION                                                                              14   terms.                     So you said theres something                                                              that          affects          your

15   BY MS. JACK                                                                                                                             15   leg
16             Q.    Hello Ms.             Allen.                                                                                            16           A.                 Uh-huh.


17             A.    Hi.                                                                                                                     17           Q.                 Can you                   tell               me what           that          is

18             Q.    How          are    you doing         this           afternoon                                                          18           A.                 Its       called               phlebitis.                  All      I   know             is
                                                                                                                                                                                                                                                                            my leg
19             A.    Im doing okay.                                                                                                          19   swells                 like          if   I    sit    a length                      of time.             Usually               if      Im

20             Q.    My name              is   Christy       Jack and Im going                                       to visit                20   home                   I    elevate                  it
                                                                                                                                                                                                             up.


21   with       you    this       afternoon          on behalf                  of   the     State.              And Im                      21           Q.                 Phlebitis                      is       that       what youre saying

22   going          to talk       to    you    for   about       an            hour.                                                         22           A.                 Its       called               phlebitis.


23             A.    Okay.                                                                                                                   23           Q.                 Do you                    by            any chance                      know how                    to spell             that

24             Q.    Okay                                                                                                                    24           A.                 No.


25             A.    Okay.                                                                                                                   25           Q.                 Im        trying to                      help our Court                        Reporter                     right
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                                                      Page 42 of 112 PageID 4287
                                                                                     STATE                            VS.                          MARK                    ANTHONY                     SSOTZ                       JANUARY                                       30                        2012
                                                                                                                                                                                                 153                                                                                                                                                                                 155
                                                                                                                                                                                                                                                              kind of                  an unnatural                                                          The
1    here.           Shes                         going                      to     ask           me         that             at        the break.                        Trust                        1       else       too.           This            is                                                                   process.


                                                                                                                                        Im sorry but youre                                                                                                                                                  think       about           this                 to
                                                 So                                                                                                                                                    2       young lady                    to                                  have
                                                                                                                                                                                                                                                                    --                        to                                                       --
2    me.        Okay.                                              if    I
                                                                             mispronounce                                     it                                                                                                                    your                     I




                                                                                                                                                                                                       3                                      typing out our responses.                                                        So             you can
3                                                                                                                                                                                                              your    right             is                                                                                             if

     calling           it              phlebitis

                                                                                                                                                                                                       4       when                ask                                                                     can                and            can hear you
                                                                                                                                                                                                                                             you a question                                  --                       tell
4             A.           Phlebitis.
                                                                                                                                                                                                                                                                                                       I                                I
                                                                                                                                                                                                                               I




5             Q.           Youve                               been diagnosed                                        with               that                                                           5       say    uh-huh                        but        if       you can say                              yes          that          would                be a

6             A.           Yeah.                                                                                                                                                                       6       big   help           to her.



7             Q.           When were                                               you diagnosed                                   with               that                                             7             A.            Okay.


8             A.           I           had            to quit                      work           in        82.                                                                                        8             Q.            Do you mind

9             Q.           1982                                                                                                                                                                        9             A.            Uh-huh.                    Huh-uh                    I
                                                                                                                                                                                                                                                                                            dont mind.

10                                                                                                                                                                                                     10             Q.           You        just did                           again.
              A.           8787.                                                                                                                                                                                                                                        it




11            Q.           1987.                                                     So Im going                                   to                 here                  to    do                   11            A.            Im
                                                              Okay.                                                                          sit                     try                                                                  sorry.

                                                                                                                                                                                                                                                                             Thats                                           So you have been
12   the math.                                  24 years                           ago                                                                                                                 12             Q.           Thats okay.                                                all            right.


                           Uh-huh.                                                                                                                                                                     13      struggling                with           this for                  roughly                       27 years
13            A.


                                                              about right                                                                                                                              14             A.           Uh-huh.                    Yes.
14            Q.               Is           that


                               Uh-huh.                                                                                                                                                                 15             Q.           Okay.             There                   you go.                       For        27 years. And as
15            A.
                                                                                                                                                                                                                                                                                                                                                                       I




16            Q.           So you have been dealing                                                                            with               this for            27 years                         16      understand                     it     when you                          sit    for               lengths        of    time               it   causes

                                                                                                                                                                                                                                             swell
17            A.               Uh-huh.                                  Didnt                know            I       had           it       until      they been                                       17      your       leg to


18   checking                               me and                           going               on and                   thats                  what they came                             to         18             A.           Yes.


19   determine                                  thats                   what            it       was         so           I   didnt know.                                                              19             Q.           And when your                                      leg    swells                   that    causes                   you pain

20             Q.                                              So what took you                                                     the doctor                       for    them            to         20             A.           Yes.
                               Okay.                                                                                          to


21                                                                             that                                                                                                                    21             Q.           And              causes                       you a                          of    pain
                                            you with
                                                                                                                                                                                                                                                                                                  lot
     diagnosis
                                                                                                                                                                                                                                              it




22             A.              Well                   I
                                                              worked                    at        a sewing                         plant              here           in                                22             A.           Yes.


                                                                                                            and                                       on my                                            23             Q.                                      And Im guessing                                          on a scale                   of            to
23                                                                                                                            stood                                                    the                                         All                                                                                                                       1
     Cleburne                                   Walls                   Industrial                                    I                                               foot       all                                                      right.


24   time          moving                             around                        different                    places                     and        stuff.                                          24      10     thats              some             pretty                 severe                    pain

25             Q.                                                                                                                                                                                      25             A.           Yes.
                               Okay.


                                                                                                                                                                                                 154                                                                                                                                                                                 156

                                                                                                                     sometimes theyd have                                                                             Q.           And how long a time do you have                                                                    to         sit    before
 1             A.              I
                                        kept                  --
                                                                    every time                          I
                                                                                                            --                                                                                             1




 2   to                        me                out               of        there               because                      my                      would           swell            up and           2      that    pain sets in or                                   do you even                                  know
              help                                                                                                                          leg


 3   I       couldnt walk                                          on        it.
                                                                                                                                                                                                        3             A.           No.

                                                                                                                                                                                                        4             Q.           Okay.                So some days                                             can be a short amount                                          of
 4             Q.
                                                                                                                                                                                                                                                                                                           it

                               Right.


 5             A.              Put pressure                                          on          it    it    hurt             so bad.                                                                      5   time Dont                           let    me            put           words                 in    your mouth.                       But as                 I




 6             Q.                                                                                                                                                                                       6      understand so some days                                                            its            unpredictable.                         Do you know
                               Okay.

 7             A.              Then                       I    went                to    the doctor                            kept going                            back and                              7   what        I       mean when                        I
                                                                                                                                                                                                                                                                             say that                           Some days                    its       a short


 8   forth.            I           told           them something                                             was wrong                                 because               my         leg                8   amount of time some days                                                           it
                                                                                                                                                                                                                                                                                                            may be            a    little        bit         longer


 9   just       kill           --           hurts hurts                                 and swells and                                           swells.             And he                                9   period              of    time

10   told       me                     if   I    didnt stop                             --       he stopped me from working.                                                                           10             A.           Yes.


         He said make                                              that            be your                  last                             And               was                                     11             Q.           Okay.                Okay.                    And you understand                                          that jury
11                                                                                                                    day.                                 I
                                                                                                                                                                           like


12   what                      And                I       went and they stopped                                                              me        from working                                    12      service                  by    and large there are 12 seats                                                            for        people                to



                                                                                                                                                               worked                                  13            and                                And you can stand but                                                      think           from           what
13       because they said                                                         that          every time                        --        like                            all       --                      sit                  listen.                                                                                    I

                                                                                                                                                       I




14       I   worked                         for       24 years                          at       Walls                but they                        closed though                                     14     youre               telling          me         standing                       for               a long period                    of time               can

15       now.          And he said                                                 You            gonna keep having trouble                                                                             15     also        cause your                         leg to                  swell

16       trouble                                                               the hospital                                   and                 said              dont                                16            A.            Yes.
                                       put        you                   in                                                                   I                  I




                                                                                                                                                                    do what                             17            Q.            So no matter what                                         this                                 to       be a physical
         want                                                                                                        said                                                                                                                                                                                             going
                                                                                                                                                                                                                                                                                                                 is
17                  to                 go        in           the hospital so                                    I                      I    better


18                                              Thats what                                       did.                                                                                                   18      hardship                 for       you        to         serve on                          this       Jury
         they       say.                                                                     I




19              Q.                                                            indicated                      on your questionnaire                                               you                    19            A.            Yes.
                                   I
                                        think                  you

20       were                                                           disabled                                                                                                                       20             Q.            Okay.                Am         I
                                                                                                                                                                                                                                                                             right
                     physically

                                                                                                                                                                                                                                    Yes.
21              A.             Yeah                            I
                                                                    am.                                                                                                                                 21            A.


22              Q.                 So you are physically                                                         unable                          to   work           at this                            22            Q.            Okay.


23       time                                                                                                                                                                                           23            A.            Youre                right.


                                                                                                                                                                                                        24            Q.            This                                         to   be something                            that                going           to           be
24                                                                                                                                                                                                                                                       going                                                                              is
                A.                 Uh-huh.                                                                                                                                                                                                         is




25              Q.                 And Im                               --
                                                                             okay.                    Im going                     to        tell
                                                                                                                                                       you           something                          25      tremendously                             painful                 for    you
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                          Page 43 of 112 PageID 4288
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                                                                                                                                                                           157                                                                                                                                                                   159

1            A.     Yes.                                                                                                                                                         1          Q.     Sure.                  Nobody                    wants           to    be            in pain.


2            Q.                      that                                                                                                                                        2          A.     Huh-uh.
                    Is
                                                     right

3            A.     Yes.                                                                                                                                                         3          Q.     So two or three maybe four sometimes you have                                                                                                to



4            Q.     Okay.                            Um             and you take several                                         medications                         on          4    take

5            of    that                          that            right                                                                                                           5          A.     Sometimes.
     top                                   is



6            A.     Yes.                                                                                                                                                         6          Q.     A day

7            Q.     Let                me            ask you                this.              When youre                          in       pain what                            7          A.     I        have          to    limit         it.        Dont         let         it
                                                                                                                                                                                                                                                                                            go    up.


8    happens                                                                                                                                                                     8          Q.     Whats                   the         most youve ever taken                                               in     a       day
9            A.         I       have a                    pill
                                                                    that        I     could       take                called               Cipros or                             9          A.     Four.


10   something                         like              that       for    the            --   try to     help              it   go down.                                        10         Q.     Four

11           Q.         For the swelling                                                                                                                                         11         A.     Uh-huh.


12           A.         If       I
                                      stay               off     of   it   --        uh-huh.             If       I
                                                                                                                          stay    off        of                                  12         Q.     Okay.                   Has         that          been recently

13   it   just     keep                     it       elevated               up.            Mostly             I       have        to        go        to   the                   13         A.     Yes.


14   bathroom                          I    have               to     hop.                                                                                                       14         Q.     Okay.                   How recent

15           Q.     You have                                   to     hop           to    the     bathroom                        it
                                                                                                                                           gets so              bad              15         A.     About two weeks                                           ago.

16           A.         Uh-huh.                                                                                                                                                  16         Q.     Okay.                   So     its        that            bad
17           Q.     And then your                                          leg starts                 swelling                   and you have                         to         17         A.     Bad                yes.

18   elevate                    it                                                                                                                                               18         Q.     And               right       now                are       you        --   I        mean           is   it




19           A.         Elevate                           yes maam.                                                                                                              19   progressively                       getting             worse

20           Q.         Okay.                        I   would             imagine out of those                                            other           3    to               20         A.     Yes               it   does.              He said probably                                     the older                I
                                                                                                                                                                                                                                                                                                                               get

21   400 people not everybody                                                                                     to       have as tough a time                                  21   the    more           --         had a birthday                           just          here recently                                said
                                                                                           is
                                                                                                going
                                                                                                                                                                                                                 I                                                                                                    I




22   as      you physically                                    to     serve               on    this Jury.                   Would                    you agree                  22   oh     no.


23   with     me                                                                                                                                                                 23          Q.    Thats not much fun                                           to    celebrate                       your birthday

24           A.         Yes.                                                                                                                                                     24   when your health                            is    getting                 like      that.                  So can you                    tell   me

25           Q.         Okay.                        Because                        Ill   just    tell    you youre                              the                             25   all   the medications                            you           take           just for                  your leg the



                                                                                                                                                                           158                                                                                                                                                                       160

1    first
              person                        weve                 talked               to that         has had                    this        serious a                            1   painkillers

2    health         problem.                                Now            you            --
                                                                                                youre shaking                               your head
                                                                                                                                                                                 2           A.    Just              one        pill    that             I   take        for that.


                                                                                                                                                                                  3                And when you take                                                                              does                affect
3    yes.                                                                                                                                                                                    Q.                                                                painkillers                                      it




4            A.         Yes.                                                                                                                                                     4    your    ability            to       kind         of     know whats going                                        on
5            Q.                                                                                                                                                                   5          A.        Uh-huh.
                        Okay.

6            A.         Sorry.                                                                                                                                                   6           Q.        Is that            yes
7             Q.            No no                        youre             not doing                  anything                   wrong.                    I
                                                                                                                                                               just               7          A.    Yes.


8    need          to           --    Im             just telling                    her so           she can                    write           it   down                        8          Q.        Okay.

9    as      we     go. And you take quite a few
                                                 medications                                                                                               to   help              9          A.    Yes.


10                                                             You take a                                                                                                        10          Q.                                                                     And                      you were serving
     you with                               this.                                                                           is    that           right                                                      affects             your             ability.                              if
                                 all                                                            painkiller                                                                                             It




11           A.         Yes maam.                                                                                                                                                11   on a Jury what                           that     would                  mean               is        it   would          affect          your

12            Q.        And are there days                                                 that       you have                    to        take           more                  12   ability      try       as           you might                  to       listen          to            everything                thats


13   than         one painkiller                                                                                                                                                 13   going        on            Youre shaking                                 your           head               yes
14           A.             Uh-huh.                                                                                                                                              14          A.        Yes.


15            Q.        Yes                     maam                                                                                                                             15          Q.        Thats okay.                          Is      that        a    yes
16           A.         Yes.                                                                                                                                                     16          A.        Yes.


17            Q.            Is       that            yes                   Okay.                Are there days                              that           you                   17          Q.        Okay.               And does                          that   affect                  your      ability             to   focus

                                                                                                                                                                                      on something
18   may have                         to         take            multiple                 painkillers                                                                            18


19            A.            I    dont want                          to     but            sometime                    I    have            to.                                   19          A.        Really              to    me         it      is       because                   it    makes          me want                   to   go

20            Q.            I    understand.                               How many                      painkillers                        sometimes do                         20   just   rest sleep.

                                                                                                                                                                                                                           Makes                 you want
21   you have                        to      take              in     one           day                                                                                          21          Q.        Right.                                                             to           go        to   sleep

22            A.            They                 like       2 or           300 milligrams and                                          I   dont            like                  22          A.        Uh-huh.


23    really       taking                        them            --                                                                                                              23          Q.        Yes
24            Q.            I    understand.                                                                                                                                     24          A.        Yes.


25            A.            --       but         I       have to being                           in   pain you                     hurting.                                      25          Q.        Okay.               And so obviously                                   the                more      painkillers                you
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 1   take the more                 it   affects                 your             ability      to   pay     attention            to         1            A.          No.


2    whats going          on             And theres no                                  slide      --
                                                                                                         youre shaking                     2            Q.          Is this               kind                  of        stressful for                       you
3    your    head yes. Okay.                                    And you know what theres                                                   3            A.          Urn-hum.




--14
4    nothing       wrong           with       that.              Youre not doing anything                                                  4            Q.          Okay.

5    wrong.        Youre           just       coming                   in        here saying                 You know                      5            A.          Yes.

6    folks    this   is
                          my            unique                 situation.                  Is   that      what youre                       6            Q.          Is       that         yes                   maam                      Okay.                 Do you              think                 that


7    saying                                                                                                                                7    serving                 on a         --        on a Jury where you were                                                        talking                    about

8        A.    Yes.                                                                                                                        8    life    and death would                                               be a              stressful              situation


9        Q.    So youre taking                                  painkillers                when youre                   in
                                                                                                                              pain         9            A.          Yes              yes.

10   and then youve got a whole                                              slew        of     other      medications                     10           Q.          Do you think                                     that           might            make your blood pressure

11   youre taking as well                                                                                                                  11   go      up
12       A.    Yes.                                                                                                                        12           A.          Yes.

13       Q.    Okay.               You take Dietbra                                        What           is   that                        13           Q.          Do you think                                      sitting            in    a Jury seat


         A.    Its    a   --       what                                                                                                    14           A.          Make                  uh-huh.

15       Q.    Well        Ive          just              --   and         Ill        come      over      there.                           15           Q.          --       even              if
                                                                                                                                                                                                           you could stand up do you                                                     think             that


16   Thats okay.           I       should                  have come over there                                   to    begin              16   would          make                  your                      leg        swell

17   with.                                                                                                                                 17           A.          Yeah.

18       A.    Thats           all      right.                                                                                             18           Q.          Might                 make you need                                        to       take painkillers


19       Q.    What        is       this          right          here                                                                      19           A.          Yes.

20       A.    Its    a   --       Im         a   diabetic.                                                                                20           Q.          All          right.                    And then you also take                                             --    is   it




21       Q.    Youre               diabetic.                                                                                               21   furmosie

22       A.    Uh-huh.                  High blood                                                                                         22           A.          Furmide                            --       its       a Lasix                             water                  try to
                                                                           pressure.                                                                                                                                                           pill                          pill


23       Q.    So you have high blood pressure and youre                                                                                   23   help         my          leg keeping                                      my        fluid       getting                in
                                                                                                                                                                                                                                                                             my     --     on my                   leg.


24   diabetic                                                                                                                              24           Q.          Okay.                     You take                          that          every            day
25       A.    Um-hum.                    I   have sleep apnea                                     too.                                    25           A.          Uh-huh                             I       have            to   take         one every day.




--11
                                                                                                                                     162                                                                                                                                                                                  164
 1       Q.    You have sleep apnea.                                                                                                       1            Q.          And you take cardavil

2        A.    Um-hum.                                                                                                                     2            A.          Yeah                  its                  a blood pressure                                pill.



3        Q.    You have heart trouble                                                                                                      3            Q.          How many of                                       those              do you take

4        A.    Trouble.                                                                                                                    4            A.          I    have             to               take           it   twiced               a   day and                then               I       have

5        Q.    You take water pills                                                                                                        5    two         pills        I       take         at               nighttime                  like          another              blood                pressure

6        A.    Uh-huh.                                                                                                                     6    pill.       Its         called                --           I   couldnt                  write           all    them           medicine.

7        Q.    You take Plavix                                                                                                             7    I   didnt         write              it       all.



8        A.    Yeah            I   have.                                                                                                   8            Q.          Oh             you didnt even                                        write           all
                                                                                                                                                                                                                                                                your medications

9        Q.    The heart trouble whats the heart trouble                                                                                   9    down
10       A.    I   have heart                     trouble.                   I    had a heart attack                         last          10           A.          I
                                                                                                                                                                         know                      I   didnt               write         it    all       down because                                 I




     year.                                                                                                                                 11   its     called                   gem          --
                                                                                                                                                                                                           gem something                                      but      its    a blood

12       Q.    Oh my goodness.                                         Im so            sorry.                                             12   pressure                         like     two                  --   two             more blood pressure                                       pills



13       A.    I   didnt           know               I   had     it       myself.                                                         13   take.          So            I    have high blood pressure                                                          bad.            So        I       have         to


14       Q.    Okay.               So         so          Im guessing when your blood                                                      14   take two                     pills
                                                                                                                                                                                          at           night.


15   pressure        goes up                  that             really            tends     to      make you upset                          15           Q.          Do you take your blood pressure every                                                                                         day
16       A.    Yeah.                                                                                                                       16           A.          Yeah                  I    have                   to       check           it       at    home and when                                    I

                                                                                                                                                                                                                                                                                                                   go

17       Q.    And you have                               to    take             --   do you take                                          17   up there                 they             check                      it    again.

18   nitroglycerin                                                                                                                         18           Q.          How many times                                                  a   day are you checking

19       A.    No     not          yet.           I

                                                          hope         I   dont have                to.                                    19           A.          Check                     it       three times                        daily.


20       Q.    Well knock                         on           wood.              All   right.          What        medicines              20           Q.          How many times you check                                                                    your          blood

21   do you take          for       your heart                     problems                                                                21           A.          I    check                     my           blood three times daily                                             stick                 my
22       A.    Plavix          and a aspirin                               its        called       Eco       --
                                                                                                                    Ecotrin                22   finger         every morning noon and                                                                   night.


23                                                                                                                                         23           Q.                                    So diabetic youre checking                                                            your blood
     every morning.                                                                                                                                                 Okay.

24       Q.    Okay.               And are you supposed                                            to   be     in      stressful           24   sugar

25   situations                                                                                                                            25           A.          Uh-huh.
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1           Q.    With                your heart trouble                                                 youre checking                            your                 1             Q.    Whats                     that      for

2    blood       pressure                       three times a                                   day                                                                     2             A.    Its for                   my     leg          too.


3           A.    Uh-huh.                                                                                                                                               3             Q.    Okay.                     And you indicated one of the questions

4           Q.    And you also take Excortin                                                                                 is   that     right                        4    you were asked was                                           is   there        --     are       you taking any

5           A.    Um-hum                             thats a                    aspirin that                             I    take        with     my                   5    medications                 that              would               affect       your         ability         to        sit




6    Plavix.                                                                                                                                                            6    comfortably.                         And thats when you                                     told      us about                your

7           Q.    Is            that        a    prescription                               aspirin                                                                     7    leg.


8           A.    No              thats over the counter                                                           that           you can          buy     at           8             A.    Yeah.

9    the drugstore.                                                                                                                                                     9             Q.    And give the case your                                               full    attention                  or    that



10          Q.    What                     is   the           glipside                                                                                                  10   might         interfere                   with your                    ability      to     concentrate                      on the

                  Thats a                                                                        uh            diabetic                          called                 11                 And thats when you                                         just listed                    of these
                                                         my             blood                                                                                                                                                                                                all
11          A.                                  --                                         --
                                                                                                                                      pill
                                                                                                                                                                             trial.




12                                                                                                                                                                      12   medications
     glipizide.


13          Q.        Oh          I       know what youre                                            talking                  about.                                    13            A.    Um-hum.

14          A.        Uh-huh.                                                                                                                                           14            Q.    And          actually                    you ran out of                      room

15          Q.        Okay.                 And thats                           to         kind               of       regulate            your blood                   15            A.     I   did.


                                                                                                                                                                                            You                           run out                    room.                              And so each of
16   sugar                                                                                                                                                              16            Q.                 did                                   of
                                                                                                                                                                                                                                                                      Okay
17          A.        Blood                sugar yeah.                                 I    have                   to    take        it    two times                    17   these         medications                          and            all    of these             medications                    would     make

18   like   at   nighttime                       and then                          in       the morning.                                                                18   it   impossible                      for      you       to        give       this     trial     your         full




19          Q.        Okay.                 And you take                                    Hylane                                                                      19   concentration


20          A.        Uh-huh hydra                                       --
                                                                               hydraco                        --
                                                                                                                       hyrda         --    not clodine                  20            A.    Yes.


21                         its        H-Y-L               --            was                                             was so nervous.                                 21            Q.    Any question                              in       your        mind about that
     hydra       --                                             I
                                                                                   writing.                        I




22          Q.        Thats okay.                                                                                                                                       22            A.     No.


23          A.        Its        for        my kidneys                                 for       my            --
                                                                                                                        having trouble                                  23            Q.     Kind         of           sounds                  to    me     like        with    all      these


24                                                                                                                                                                      24                                        youre having a tough enough                                                      time
     with    my            kidneys.                                                                                                                                          medications                                                                                                                   just


25          Q.        Okay.                                                                                                                                             25   functioning                 every               day

                                                                                                                                                                  166                                                                                                                                                      168

 1          A.        Uh-huh.                        I    have                to   take              it       four times a day.                                          I            A.     Um-hum.

2           Q.        Four times a day.                                            All          right.                 Let         me      get    an                     2            Q.     Is that                  a    yes
3    idea how many prescriptions                                                                     are       you taking on a                         daily             3            A.     Yes.                 Im       sorry.


4    basis                                                                                                                                                               4            Q.     Let alone                       sitting               here     on something as serious as

 5          A.        Its                                                                  but                take            that                                       5   a    life     and death case
                                 eight           altogether                                               I
                                                                                                                                          aspirin.


6    Its    not no                                                             Its                        over the counter.                                              6            A.     Uh-huh.
                                 prescription.                                         just


 7          Q.        So you take                              eight               pills             a        day                                                        7            0.     And         if           that    is     the           case       if
                                                                                                                                                                                                                                                                   you cannot give                         this



 8          A.        Uh-huh.                                                                                                                                            8                                    attention                    because                 of your         --
                                                                                                                                                                                                                                                                                         your unique
                                                                                                                                                                             trial
                                                                                                                                                                                         your     full




 9          Q.        Sometimes do you                                                 --                                                                                9   situation                your health                         problems okay you dont have to

10          A.        Like            --                                                                                                                                10   but      now        is    the time                     for        you     to   tell        us   that.            Is   that     what

            Q.                  take            more                                                 what were you going                                                11   youre                                the        Court                 that   because               of             your
11                                                                       youre                                                                               to
                      --                                                                        --                                                                                                                                                                                      all
                                                                if                                                                                                                          telling


12   say                                                                                                                                                                12    medications                     --       and youre shaking                                 your         head            yes
13          A.              take            more sometime because of how my                                                                                             13            A.     Yes.                     rather not                     be on.
                                                                                                                                                        leg.                                                      I
                      I




14          Q.                                  Did you take your blood                                                                             this                14            Q.         Because                   of       all
                                                                                                                                                                                                                                           your medications                             and         all   your
                      Okay.                                                                                                       pressure

15                                                                                                                                                                      15    health                                         youre asking                          the Court              and youre
     morning                                                                                                                                                                                situations

16          A.        Yes.                                                                                                                                              16   telling        the Court                      that       you cannot give                           this      trial
                                                                                                                                                                                                                                                                                                         your

17          Q.        Okay.                     Was            it       a     little        high               knowing you were                                         17   full     attention


18   coming               in     here                                                                                                                                   18            A.     Yes              I
                                                                                                                                                                                                                      couldnt.


19          A.        Yes.                                                                                                                                              19            Q.         Okay.                Am        I

                                                                                                                                                                                                                                    putting               any words                in   your             mouth

20          Q.            Ill    try       not           to    take             that            personally.                          What          else                 20            A.         No      youre                  not putting                   no        just       how         I   feel.     I




21   do you take                                                                                                                                                        21    couldnt            really               --   to       me         I     couldnt give yall you know

22          A.        And             I    take           --        I   take           all       of           them except                    I   take                   22   what Im saying have                                           to        jump up            or   somebody have                         to   help

23   two     pills          at    night                  its            a blood                 pressure                          and then           its                23    me      out        of   here or something.


24                                          G-E something but                                                                      home                      my         24            Q.         Yeah.                 You could have a heart attack
     called       gem                 --                                                                           its        at                  so   all




25   medicine.                                                                                                                                                          25            A.         Anything yes.
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                                                                                                                                                              169                                                                                                                                                      171

              Q.    You might have                                                         the hospital                           and        thats                         choir.          You lead the choir
                                                                          to    go    to                                                                             1
1



2    on one         of        your best                         days                                                                                                 2            A.        No     I       dont lead the                     choir.             Im president                    of the


3             A.    I        know               it.     Thats tough.                                                                                                 3     choir.



4                                 THE COURT                                     Ms.      Jack              lets           see     if   the                           4            Q.        President.                 What does                   that             do
5    Defense                 has any questions                                       real quick.                                                                     5            A.        Take care              of    my         business                    at    church.


6                                 MR.                 WESTFALL                        We        do Your Honor                                 just for     a         6            Q.        Uh-huh.


7    second.                                                                                                                                                         7            A.        Uh-huh.


8                                                       VOIR DIRE EXAMINATION                                                                                        8            Q.        Okay.           Well         all    I
                                                                                                                                                                                                                                    want           is
                                                                                                                                                                                                                                                             just to        hear from


9    BY MR.             WESTFALL                                                                                                                                     9     you.        I   can    tell      you        that     this         case             is     going      to      probably


10            Q.        Maam                          my name                  is   Greg     Westfall.                          How      are      you                10    go three weeks.                        Youll         have              to     sit.        Youll      have            to        sit



                        Im okay.                                                                                                                                     11    you know               for       various            periods                        day
                                                                                                                                                                                                                                                   all                   long.
11            A.


12            Q.        Have                                          been on a Jury before                                                                          12    Accommodations can be made where                                                                 you can stand.
                                        you                ever

13            A.        Hum-um.                                                                                                                                      13    Accommodations                          can be made where                                        you can go                    to    the


14            Q.        No                                                                                                                                           14    bathroom.               It      depends             on whether                           or not    you want                     to   be on

                        No.                                                                                                                                          15    the    Jury you know.                             And basically the powers                                           in    your
15            A.


16            Q.        This        is           kind           of    a    new process.                           Well           Im                                  16    hands and                   I

                                                                                                                                                                                                           just   want you                   to    know              that.     If
                                                                                                                                                                                                                                                                                     you dont

17                           Im gonna                                  you look             behind the                          curtain       a                      17    want        to       be on the Jury then you                                      just        say I dont want
     gonna          --                                          let



18   little    bit.          Okay.                    You remember                         that            from           Wizard of               Oz                 18    to     be on the Jury.                       If
                                                                                                                                                                                                                             you want                   to          be on the Jury then

19   how you saw behind the                                                 curtain         and saw the wizard                                     in                19    we     talk      about           how maybe accommodations                                                    might be                made       to


                                                                                                                                                                                                                                                                                                     Because
                                                                                                                                                                                                 your you know your physical
                                                                                                                                                                     20    deal with                                                                                          issues.
20   there doing                   it

21            A.        Uh-huh.                                                                                                                                      21    it   aint the worst                   weve          ever seen.                           So   just       tell    us        I




22            Q.        This here                          is   what they                call   an              adversarial                                          22    mean do you want                             to     be on              the Jury or                 not

                                                                                                                                                                     23            A.       And another thing                                 have a 11-year-old
23   process and                                its     kind          of like        a competition.
                                                                                                                                                                                                                                         I




24                                MS. JACK                                                 Im going                                            This                  24                           Id rather              not        be on
                                                                          Judge                                           to object.                                       daughter.                                                                   it.




25                                                                     we were                                   to talk          about        her                   25            Q.       And are you the sole caretaker                                                  for     the
     is
          improper.                         I
                                                thought                                     going



                                                                                                                                                               170                                                                                                                                                      172

 1   unique             situation.                                                                                                                                    1    11-year-old                     daughter

2                                 THE COURT                                     Mr. Westfall                          I
                                                                                                                          really       thought                        2            A.       Yes            yes.


3    we were                 talking                   about the question                               whether                  or not        shes                   3            Q.       Whats            your        11-year-old                         daughter               doing            right      now
4    physically                   able                to    serve.                                                                                                    4            A.       Shes            in   school.


5                                 MR.                 WESTFALL                           Sure.                                                                        5            Q.       Shes            in    school.


6                                 THE COURT                                     Is   that    where youre going                                                        6            A.       Uh-huh.

                                                                                                                                                                                                                                                                school
7                                 MR.                 WESTFALL Yes                                    it        is.       Thats exactly                               7            Q.       But        when she gets out                               of


                                                                                                                                                                                                have              have her yes.
8    where Im going Your Honor.                                                                                                                                       8            A.       I               to



9                                 THE COURT                                     Okay.                                                                                 9            Q.       Well you see thats whats called                                                         a   legal


                                                                                                                                                                                                                                                                                           Do you want
                        BY                             WESTFALL                                                                                                                                            That gets                                                                                                  to
10            Q.                   MR.                                                     And the                    particular             type of                  10   exemption.                                          you           off   immediately.


11   questions                    can change depending                                           on             whether                someone wants                  11   assert it


12   you on the Jury or                                         not.       And what Ive heard so                                        far    is                     12           A.       No         I   dont want                to   be on                it.




13                                                               with       what         she has said so                                --                            13                           MR.           WESTFALL                          I     think         you     do.
     basically                you agree

14                                MS. JACK                                Well         Judge Im going                                  to    object                   14                           THE COURT                             Okay.                  Thank         you.          I   think



                                                                                                                                                                           weve                                                                                                                             would
                                                                                                                                                                                                                                    you dont
                                                                                                                                                                                                                 decided                                            think                  health
15    because                 I

                                  just                simply          went by her questionnaire                                              which      were          15                   --
                                                                                                                                                                                                youve                                                                        your


16    her answers.                                                                                                                                                    16    let   you serve

17                                THE COURT                                         Okay.       Ill        overrule               the                                 17                           VENIREPERSON                                          No.


18    objection.                  This                 is   voir          dire.                                                                                       18                           THE COURT                             Plus                youre          eligible for              the


19             Q.       BY          MR.                WESTFALL                            Does                 that      make sense                     All   I      19    exemption.                     You want            to    claim               your         exemption                  is       that



                             do                                                                                                                                       20    correct
20    want         to              is
                                                just        hear from                you because                            I
                                                                                                                                 looked           at   your

21                                                                                                                                                                    21                               VENIREPERSON                                      Yes.
      questionnaire.

22             A.       Yes             I
                                                --     Id rather                not      be on             it    because               --                             22                           THE COURT                             Okay.                  Were          going             to   go ahead

23             Q.        I   understand.                                                                                                                              23    and     let         you go.           Is   that         okay

24             A.                                                                                                                                                     24                               VENIREPERSON                                      Okay.              Yes.           Thank you.
                        Yep.

25             Q.        I
                             understand.                              Tell          me   about your choir                               the                           25                               THE COURT                         Yes maam.
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1                            MS.     JACK         Thank you very much                               Ms.    Allen.                   1    about         you     that           we             didnt            ask on the questionnaire

2                         VENIREPERSON                             Um-hum.                                                          2                              VENIREPERSON                                                     I   cant                think           of anything.


3                         THE COURT                    We          do appreciate               you coming               in          3                              THE             COURT                            Okay.                Youre going                                     to          be    asked a

4                                  Thank you.                                                                                       4    lot    of   questions                      but            its    not a            test.               Theres no                                 right
     early though.

5                            MR.     WESTFALL                  Thank you Ms.                     Allen.                             5    or     wrong        answers.                         The only thing we require                                                              is        that        you

6                            Venireperson Allen excused.                                                                            6    be     truthful.


7                            Pause      in       proceeding.                                                                        7                              VENIREPERSON                                                     Okay.

8                            Venireperson Whitworth                           present.                                              8                              THE COURT                                        You need                           to            answer               yes              or   no
9                            THE COURT                 If
                                                            youll      raise       your        right      hand.                     9    when you can.                             If
                                                                                                                                                                                        you say things                                   like               maybe                    or          I think

10                           Juror sworn.                                                                                          10    so      or    perhaps youre                                          going             to       get about four questions

11                           THE COURT Thank you maam.                                              If
                                                                                                         youll     have            11    to     explain       that            answer.                     And             if
                                                                                                                                                                                                                               you dont understand                                                         a


12   a seat        in   the    second        chair          that    first   row     of    the       jury                           12    question             make                 sure             you do.                    Dont answer                                      it   until            you

13   box.                                                                                                                          13    do.      Theyll explain                              it    or rephrase                           it    or something.


14                           VENIREPERSON                          Okay.                                                           14                              VENIREPERSON                                                     Okay.

15                           THE COURT                 Okay.          Would          you        state      your name.              15                              THE COURT                                        We         think              trial               is
                                                                                                                                                                                                                                                                           going                to



16                           VENIREPERSON                          Mary Suzanne                  Whitworth.                        16    start       probably                 best                 guess            right               now                 is       the        last      week

17                           THE COURT                 Ms.         Whitworth you                 filled     out a                  17    in     February.                If   it        --   when              it    does               start                we            think          it




18   juror    questionnaire              a while            back.      Were         the        answers           you               18    will    last       about         three weeks.                                    Theres even a chance                                                            the


19         on      there       true   and correct                                                                                  19    Jury        will    be sequestered                                   during                    that           period                   of   time or
     put

20                           VENIREPERSON                          Yes.                                                            20    a     portion       maybe                      of that           time.                Is       there                anything

21                           THE COURT                 Thats been a few weeks.                                   Has               21    happening                 in    your                life     that          would                interfere                         with           you

22                      happened                                   that     change         --    would change                      22    being a            juror
     anything                               in
                                                 your       life



23   any    of     those       answers                                                                                             23                              VENIREPERSON                                                     The only thing                                   I    know of               is



24                           VENIREPERSON                           No      not    that    I    know       of.                     24    that        my mother-in-law                                    is   terminally                        ill.             I
                                                                                                                                                                                                                                                                     would               like         to


25                           THE COURT                 My name               is
                                                                                  Phillip       Vick.       Im      the            25    go     to    her funeral                       if   she          dies.                She could                              die       in       one week


                                                                                                                             174                                                                                                                                                                                         176

1    Judge presiding                  in this      proceeding.                When         this      case goes                      1    or three            weeks            or six                weeks.                     It       is --          it    is       unknown.

2    to   trial        Judge William Bosworth Judge                                 of    the 413th                                 2            Q.         Where             does she live

3    District          Court    in    Johnson          County          will       be the        one      trying                     3            A.         She         lives           in     Fort           Smith Arkansas                                                but          is    ill    in




4    the case.                                                                                                                      4    Little       Rock         Arkansas.                              Shes                 about               six               hours away.                           I   do

5                            VENIREPERSON                           Okay.                                                           5    not     know         if   that            will        be 30 minutes from now or three

6                            THE COURT                 The attorneys                 representing                  the              6    weeks or             --    I   dont know.

7    state        in this     case are           Mr.   Dale Hanna.                                                                  7                              THE COURT                                        Yeah.                 Okay.

8                            MR.     HANNA             Good afternoon maam.                                                         8                              VENIREPERSON                                                     I   wrote                --       thats              all         on the

9                            VENIREPERSON                           Hello.                                                          9    questionnaire.

10                           THE COURT                 Ms. Christy Jack.                                                           10                              THE COURT                                        Okay.                The lawyers may want                                                       to


11                           MS.     JACK          Good afternoon.                                                                  11   talk     to    you about that but                                          Ill   recognize                                  the        State.


12                           THE COURT And                         with     them sometimes                       will   be          12                             MS.         JACK                       Thank you very much.

13                Chambless and Martin Strahan.                                                                                     13                                                             MARY WHITWORTH
     Larry

14                           The attorneys             representing                the    Defendant                are              14                             Venireperson No.                                        56            testified                         as follows


15   Mr.    Greg         Westfall.                                                                                                  15                                                  VOIR DIRE EXAMINATION

16                           MR.     WESTFALL                      Hello.                                                           16   BY MS. JACK

17                           THE COURT                 Mr. Michael                 Heiskell.                                        17           Q.         Good afternoon                                    Dr.         Whitworth.                                  How            are             you

18                           MR.     HEISKELL                 Hi.                                                                   18   doing

19                           VENIREPERSON                           Hello.                                                          19           A.         Good.

20                           THE COURT                 Seated            with      them        at   the counsel                    20            Q.         My name                     is
                                                                                                                                                                                               Christy                Jack and Im going                                                       to      be

21   table        is   the    Defendant            Mark Anthony                   Soliz.                                           21    visiting           with        you on behalf                               of     the State                                 this       afternoon.


22                           VENIREPERSON                           Okay.                                                          22    Im going             to talk                   to    you         for       about                an hour and then the

23                           THE DEFENDANT                           How you doing maam.                                           23    Defense             is    going                 to        have the opportunity                                                    to    talk          to     you

24                           THE COURT                 Theyll          have questions                     for    you                24   as      well.


25   but    Ill    ask a few.          Is   there       anything            we     should           know                            25           A.         Okay.
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                                                                   STATE                      VS.               MARK               ANTHONY                     SO    T7.          JANTIARY                                    30           ..201
                                                                                                                                                         177                                                                                                                                                      179

1               Q.       I       want          to    pick          up where the Judge                                left    off and                           1           A.     Uh-huh.


2                                       the issue                                                                                                              2           Q.     And the question                                  becomes                                        that            Im   sure
     that       is   with                                          of   your mother-in-law.                                                                                                                                                                  knowing

                                                                                                                                                               3                                             on                     mother-in-law                   maybe daily
3             A.         Okay.                                                                                                                                      youre checking                                your

4               Q.       And you                     did write                that       on the questionnaire                                and               4           A.     Uh-huh.


5    I    think      you                indicated                that         in    a couple             of different                                          5           Q.     Either                by phone

6    places.                     You wrote              that            --     one       of    the questions                      you were                     6           A.     Orin person.

                                                show                                         know               was a very                                     7           Q.     Or                                       And                          family thats
     asked and                                                                                                                                                                                  in     person.                             that                                      going           by
7                                        Ill                  it    to        you.       I                it                                                                                                                         is




8                                                                             You                         out about three                                      8    to   check on her                        or   is     that       because                  your        husband               is   there
     thorough                      questionnaire.                                        filled     it




9    weeks ago.                               Were      there                 any medical psychological                                        or              9    now and               yall          alternate


10   personal                      issues            that        would              interfere            with your           ability           to              10          A.     Were                  doing        a        lot   of traveling               back and                 forth.          I




11   be a        fair             and                                               in this         case or would                                              11   was     there               Tuesday            through                Thursday                 last       week.                 was there
                                               impartial juror
                                                                                                                                                                                                                                                                                               I




12                                                                                                                                                             12   ten    days before                                        Hes     in     and         out.        So theres a                    fair
                                               your service                     as a                                      case or
     interfere                    with                                                                         this                                                                                          that.
                                                                                             juror       in



13                                                                                                                                                             13   amount
     any other reason why you should not serve as a                                                                                 juror in                                              of travel.


14   this       case.                   And you wrote                          --   you checked                      yes                                       14          Q.     So             if   you were there Tuesday                                       through           Thursday

                                                                                                                                                                                                                                                      week and then ten days
                                                                                                                                                               15   you were there three days                                         last
15              A.           Uh-huh.

16              Q.       Thats because                                  of     your personal                     situation              with                   16          A.     Ago.

17   regard              to                         mother-in-law                                                                                              17          Q.     Ago before                      that          or ten            --   for   some         time before
                                    your

18              A.       Yes.                                                                                                                                  18   that.        So        it    sounds           like         --   and       I       understand              that.        I       have

                         And                   understand                                    And                                                               19                                                                    health             as   well.        And you
19              Q.                        I                                    that.                     that    is   actually               why                    parents               that        are    in failing



20   we                                         almost             400 people the other day.                                        You were                   20   everyone                    takes        their turn             to    help          and take care                     of that
                brought                   in



21   there           I           dont          recall      whether                  it   was the morning                          or the                       21   person        and love                   that         person           till        the end.


22   afternoon.                                                                                                                                                22          A.     Uh-huh.

                                                                                                                                                               23           Q.    And my guess is and                                                  dont want                          words             in
23              A.           Uh-huh morning.                                                                                                                                                                                                      I                           to   put

24              Q.           Okay.
                                                                                                                                                               24   your     mouth but my guess                                       is   when youre                         not with             her

25              A.           I    think.                                                                                                                       25   youre worried                        about            her


                                                                                                                                                         178                                                                                                                                                       180

 1              Q.           We          brought              in    an equally                    large         group        for        the                     1          A.     I
                                                                                                                                                                                          am          worried          about          her yes.                 I    know           that    other


2    afternoon                          as well         just to                give you an                 idea.           And      I   think                   2   people        are with                   her.



                                                      why we bring                                                                                              3           0.    Sure.
3    you         can              imagine                                                    in   that         many         people.

                                                                                                                                             some               4                                                                    but yes Im                          were checking




--11
4        Everybody                       has        their          own unique                     situation.              And      for                                      A.    Other caregivers                                                                  --




5        people                  its     going         to        be a great time                         for    them         to    serve            as          5   on her two or three times a day.

6        a juror not                     that        anyone volunteers                               for jury             duty                                  6           Q.    Two                 or three times a day.                               And youre probably

                                   not                                             as serious              as a                          murder                 7   also worried                       about your                   husband              as    well
7        certainly                             in   something                                                             capital




--19
8        case.                                                                                                                                                  8           A.    Uh-huh.


9               A.           Uh-huh.                                                                                                                            9           Q.    Youre shaking                                 your      head yes. The reason                                          I

                                                                                                                                                                                                                                                                                                            say

10              Q.               But there are                     certainly                 individuals              for    whom             it               10   that


         is   not the                   sacrifice          that          it    perhaps              might         be       for    you.                         11           A.    I       know.              Yes.

                                                                                                                                                                                                       Theres a Court Reporter
         Okay                                                                                                                                                  12           Q.    Yes.                                                                                             there.
12                                                                                                                                                                                                                                                                   right


13              A.               Uh-huh.                                                                                                                       13                                 And obviously                      no one knows when                                  that        time      may

14              Q.               Now           personal                 situations                are     --
                                                                                                                they kind               of   fall              14   come.             I    understand                    it    can come                  30 minutes from now and                                   it




15       into    a   different                                                                    Some           individuals                 have a            15   could        come                 six    months from now perhaps                                          or    maybe               not      even
                                                    category.                  Okay.

                                                                        they can remedy                              before        the                         16   that
16       personal                   situation           that                                                                                 trial                           long.


17       ever starts                      you know.                      And there are                         different          degrees                      17           A.        Not             that   long.


18       of   how serious                           that      is.                                                                                              18           Q.        Okay.              So 30 minutes from now                                          or   maybe

                A.               Uh-huh.                                                                                                                       19           A.    Within                 weeks.


                                                                                                                            whom                               20           Q.    Within                 weeks.                And you understand                                  that    were
20              Q.               Okay.              And then there are others                                        for                     their


                                                                                                                                                                                                                                                      under        the best or worst
21       personal                   situation               it     might            be       that   there            is   another            time              21   getting           ready             to   start            this trial



22                                                  would           be a great time                                                serve                       22   of    circumstances                           within            weeks
         in   your               life    that                                                                  for   you     to


23       as a                           because you would                                    not be        managing                your                        23           A.        Right.
                   juror

                                                                                                                                                               24                                                                                                                       and
                                                                               and taking care                                          husband                             Q.                                                  your unique                   situation            --
24       mother-in-laws                              situation                                                        of    your                                                      Understanding


25       Im sure and your                                  family.                                                                                             25   theres nothing                           wrong with                  this.          Some             people         feel        like
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                                                                               STATE                              V S.                        MARK                    ANTHONY                   SSO.T7                      jAmuAgy         .3 2012
                                                                                                                                                                                          181                                                                                                                                                                    183

1    You          know what Christy                                                      I        cant give                     this            trial
                                                                                                                                                            my full                              1    this   is    behind                  me and                       the     trial       is   three           or four                  weeks

                                 because                                                                                                                                                                          now                                                          be able                                           my full
2    attention                                                  for             me           personally                              I        have my own                        unique         2     from                       I   think           I   would                                    to       give            it




                                                 am                                                                                                                                                                                                                        unknown                   about            when                thats
3    situation                  that        I
                                                            dealing                           with             my family my loved                                                                3    attention                  but      its        totally


4    one.         I
                      am happy                             to        serve                   on a Jury --                                                                                       4     going        to        happen.

5                                      MR.            WESTFALL                                          Your                Honor Im having a hard                                               5           Q.         Sure.              Sure.                  Okay.              So as you                       sit        here       right


6    time hearing.                               Can            I        move my chair over there again                                                                                          6    now         obviously                    nobody                      knows no one knows when or                                                     if   that



7                                      THE COURT                                             Sure.                                                                                               7    may happen.                          As you                       sit    here         right         now              I    think       what

8            Q.        BY              MS.            JACK                          Im happy                           to        serve                   on a Jury               at              8    youre            telling            me         is
                                                                                                                                                                                                                                                          you cannot                         give          this        trial          your       full




9    another               time but                        for                me    right                now                I   could                not give a                                  9    attention.


                                                                               And you would                                                                     not        be                  10                           dont          think                  can          give     this          my full                   attention
10   trial
             my            full        attention.                                                                                    certainly                                                               A.         I                                     I




11   the                                              to                       that.               Youre shaking                                         your          head                     11    while shes                     alive.
             first
                           person                           say

12   yes                                                                                                                                                                                        12           Q.         I    understand                           that.           And you remember how the

13           A.                would                                          she dies while Im being a                                                                                         13    Judge            said          I dont think                                    you say I dont think
                                                  say
                                                                                                                                                                                                                                                                                if
                       I                                            if                                                                                            juror


                                                                                                  me                                                                                                                                           get four                       more questions
14   on a         trial           it   will           be hard                       for                      to     give                 it
                                                                                                                                               my full                                          14    youre going                         to



15   attention.                                                                                                                                                                                 15           A.         Okay.


                                                                                                                                                why we
                                                                                              And so                                                                                            16           Q.         Can you give                               this                 your              full   attention




 --5
16           Q.        Sure.                    Absolutely.                                                            that               is                                                                                                                                   trial




17                                                                                                                              Death                                                           17           A.         No.
     actually                  bring            jurors in individually.                                                                              penalty

                                                                         because                                    a very                                                                      18           0.         Okay.                  Are you asking                               to    serve              as a            juror       on
18   cases            are             different                                                         it    is                               different


19   sacrifice                  that        were asking                                           of    people.                      Okay.                                                      19    another               case           at   some                     other time                  in    the        future

20                                                    that                                        cannot                                                                                        20           A.         Sure.
     Understanding                                                        if
                                                                                you                                    give                   this       trial    your

                                                                                                                                                                                                                        Are you going                                         be so preoccupied                                      with        her
                                                                                                       you have                                 do
21   full    attention thats                                        fine.             All                                                to               is
                                                                                                                                                                 say                            21           Q.                                                         to


                                                                                                                                                                                                22                      whether                                                              the      end or                              the
22   You know what                                         given                    my personal                                 situation                      right         now      I
                                                                                                                                                                                                      health                                    it       is       leading              to                                       it   is




23                                                                                                                                            And there                                         23    end                        youre          not going                         to    be able              to       pay            attention
     cannot give                         this          trial
                                                                              my    full           attention.                                                               is                                    that


24   no      shame                     in that.                 That                is       why we bring                                      in    400 people.                                24    to   witnesses or the evidence                                                    in       the       case

25           A.            If    she dies during                                         this trial                     I       cannot                   give         it                        25           A.         Yes.



                                                                                                                                                                                          182                                                                                                                                                                     184
                                                                                                                                                                                                             Q.         Try as             you might.                           You understand                                       what        Im
 1
     my full           attention.                                                                                                                                                                1




2            Q.            Okay.                  And thats                             fine.                                                                                                    2    saying

 3           A.        Theres a very good chance                                                                                of that.                                                         3           A.             Uh-huh.


4            Q.        And as you                                   sit         here               right            now                  it    seems              like                           4                                   MS.        JACK                       Okay.             Judge               I    would ask

     youre a                    little          bit    preoccupied                                       with that                            and thats                                          5                                   THE COURT                                    Okay.              Does the Defense                                   want     to



                                            And                                                                                                                                                                                                      on                       dire
                                                                          you have                                  do
 6   fine.                                                                                                   to                                     the Court                                    6    take the witness                                            voir
                      Okay.                                all                                                                  is       tell




 7   that             cannot                                this                                  my                   attention                         because                                 7                                   MR.        WESTFALL Yes                                              Your Honor.
              I

                                                give                            trial                        full



 8   Im going                     to     be checking                                    on             her Im going                                  to        be                                8                                   THE COURT                                    Okay.


 9                               to      check on her and there are 300-some-odd                                                                                                                 9                                                       VOIR DIRE EXAMINATION
     traveling


10   people                who can do                                    this       instead                       of    me.                    Is that           --                              10   BY MR. WESTFALL

                                                                                                                                                                                                             Q.             Hello          Doctor.                       Im Greg Westfall.                                      What             heard
11           A.            That                   the           truth.                                                                                                                           11                                                                                                                                          I


                                            is



                                                  So are you saying                                                                                                                                   you saying was                                                     your mother-in-law                                     died you would
                                                                                                                                         you cannot
12           Q.                                                                                                     that                                                                         12                                             that               if

                           Okay.

13   Because                      I    dont want                               to   put                words                in   your                mouth but you                               13   not     be able                to        give the                   trial
                                                                                                                                                                                                                                                                                     your        full       consideration.


14   dont have                         to       serve                    if    you cannot give                                           this        your         full                           14          A.             Yes.


15   attention.                                                                                                                                                                                  15           Q.            And       I    didnt hear                          you saying                   that               you couldnt

                                                                                                                                                          she dies                               16   do                                                      So are you                                                             work
                                                                                                                                                                                                                            any event.                                                                                          to               at
                                                                                         my full                                                                                                                   in                                                                                     going
                                                                                                                                                                                                                                                                                             still
16           A.            I    cannot                 give                    this                                 attention                       if                                                       it




17   in     the next three                                 weeks and Im preoccupied                                                                            with that                         17   the hospital                        right          now

18                                                                                                                                                                                               18                         Yes.
     during the beginning                                                      of this                 trial.                                                                                                 A.


19           Q.                                                                                                                                                                                  19           Q.            Are you able                           to         give     that       your
                                                                                                                                                                                                                                                                                                                 full           attention
                           Okay.

20           A.            If    --so...                                                                                                                                                         20           A.            Yes.


21           Q.                                   And are you so preoccupied                                                                              that                                   21           Q.            And how many people are there                                                                  to        care    for        your
                           Okay.                                                                                                                                       it   is




22                    to affect                                                                   to     be a                                 whether                  she                       22    mother-in-law                           right              now
     going                                            your                ability                                      juror


23                                                whether                                                                                                                                        23           A.                 the                                     or
                                                                                    youre worried about her passing                                                                                                         In
      has         passed                 or                                                                                                                                                                                                hospital


24    Do you see what Im saying                                                                                                                                                                  24               Q.        Well          just in                 --     in
                                                                                                                                                                                                                                                                               general.               How             big            is   the


25           A.            Uh-huh.                         In        truth                   if    she passes very soon and                                                                      25    group           that          cares               for       your mother-in-law
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--10
                                                                STATE                     VS.                MARK                   ANTHONY                   SO     T7                       JANUARY                                    30.              2012
                                                                                                                                                        185                                                                                                                                                                     187

 1           A.      She has three children                                              that    are         in    and out               at                    1                A.        And my husband                                    will        be gone and my kids                                       will



2    various             times.                                                                                                                               2    need taken care                                       of.



3            Q.      Okay.                    And your husband                              is       one          of    them                                  3                 Q.        Yes.

4            A.      Uh-huh yes.                                                                                                                              4                 A.        All           of     those           logistics.


5            Q.      This           trial       could            start        the        end of February                                                      5                 Q.        Absolutely.                           I    understand.

6    last    week              of       February                 first        week         in        March and go                         for                 6                 A.        Okay.

7    about three weeks.                                     Theres always                            --   of      course none                                 7                 Q.        I    understand.                               But the          --
                                                                                                                                                                                                                                                               you know the                           --    sort


8    of   us can               ever           predict           when something                               is    going           to                         8    of      the        money                        question               here       is   the circumstances                                      that


9    happen.                                                                                                                                                  9    exist             in   your                life
                                                                                                                                                                                                                         right       now        with your mother-in-law

             A.      I    know.                                                                                                                               10                A.        Yes.

11           Q.      Thats why we have                                        alternate                jurors               and     this                      11                Q.        --    are they                     such         to    where as we                           sit
                                                                                                                                                                                                                                                                                            right          now
12   trial   will        be no exception                             to       that.        But you know                             if                        12   you could not pay                                         attention             to     evidence

13   you     could give the evidence                                           your         full       --    if    we       leave                             13                A.        Today                    I    can pay            attention                to    evidence.

14   aside the question                               of     your mother-in-law dying.                                                                        14                Q.        And              that          would           only      change                 if    she         actually              died

15           A.      Okay.                                                                                                                                    15   and           that          would                    be    because              of     all       the        stuff        you would                    have

16           Q.      Okay.                    Lets say               she dies              six       weeks              from        now                       16   to      do
17   of   course we have no idea when                                                       its        going            to    happen                          17                A         If   --        it    would change                        if   she deteriorated                              again

18   but     lets         say           its    six     weeks from now eight weeks                                                        from                 18   to      the point                      that           my husband                     is     rushing                out    to    Little


19   now or two months from now.                                                         Would you be able                                to    give          19   Rock               and Ive got children                                      to      take care                    of     and hes gone

20   the     trial
                         your           full    attention                if   --    if    were not                 talking                                    20   or      if    Im sequestered                                      and my husband                               is   out       of   town               that


21   about         her dying                    in    the immediate aftermath                                           of that.               If             21   would              make                    it
                                                                                                                                                                                                                   very        difficult         for      me         to        sit    here       and not

22   were         talking               --     like    if   we       started              the        trial        right      now                              22   think             of anything                         else.


23   would         you          be able               to    give          the evidence                       your           full                              23                Q.        I
                                                                                                                                                                                               understand.                           I
                                                                                                                                                                                                                                          understand.                      But thats                  --    it




24   attention                                                                                                                                                24   still        sounds                     like         theres a contingency                                    there         in that             as

25           A.      Heres the problem.                                                                                                                       25   we           sit   here                right          now you                could           pay        attention               to      the



                                                                                                                                                        186                                                                                                                                                                     188

1            Q.      Okay.                                                                                                                                     1   evidence.

2            A.      Can            I

                                         just       tell    you                                                                                               2                 A.        Today.

3            Q.      Yes                please             do.                                                                                                3                                         MR.             WESTFALL                        Okay.                  Thank you so much.

4            A.      When we                        start       a    trial         and she dies                         in   the                              4                                         THE COURT                               Okay.               Im going                to    ask            that     you

.    middle          of        it   its        going            to   be       very        difficult               for   me         not                        5    step outside                               for just              a minute.

6    to   leave           and go               to that           funeral                 and     to       pay      attention                                  6                                         VENIREPERSON                                         Okay.

7    while        my husband                          is    burying                his     mother.                                                            7                                         Venireperson                            Whitworth                      not present.

8            Q.      Okay.                    Thank you                  for that.              And everybody no                                              8                                         THE COURT                               Okay.               Im assuming                       the State

9    one would be able                                to     pay         attention.                  And           in       fact     like                     9    is      going              to        indicate               a challenge                      I

                                                                                                                                                                                                                                                                    guess.

10   I
         said        theres a                  mechanism                       for       releasing                 you       from the                         10                                        MS.             JACK Yes                     Your Honor.                            We     believe               she

11   Jury         that         is       we have                 alternates.                                                                                   11   would              be preoccupied                                     by her personal                             situation.              She

12           A.      Okay.                                                                                                                                    12   indicated                       it    on her questionnaire                                       specifically                  on

13           Q.      Even                if   youre on the Jury something                                                    like        that                 13   Question                        No.             95 Are                there       any medical psychological

14   happens then something some arrangements are going                                                                                                to     14   or personal                             issues              that       would           interfere                  with    your          ability


15   be      made.                                                                                                                                            15   to      be a           fair          and             impartial juror in this                            case             or    would

16           A.      Okay.                                                                                                                                    16   interfere                   with your service                                as a           juror       in        this    case or

17           Q.      If    youre going                          to   be       off        the Jury or                   everyone                               17   any          other              reason                    why you            should              not serve                 as a         juror         in



18   is   going           to    take a break so                               you can go take care                                  of                        18   this         case                          And she indicated                              yes.
19   business              and come back.                                                                                                                     19                                        And she also indicated                                       on Question                         No.       99

20           A.      Okay.                                                                                                                                    20   Do            you want                          to    serve as a              juror in this                       case                She

21           Q.      But not being able                                   to   pay         attention                   to    the                              21   indicated                       no.                  And         in   response when she said                                            to     look

22   evidence                  and see you said again                                           if    she dies you                        will                22   at      her explanation                                   page          --
                                                                                                                                                                                                                                                page excuse                            me        Your Honor

23   not     be able                to        pay     attention.                   And Im thinking                            thats                           23   she said                        My              mother-in-law has a brain                                           tumor with a poor

24   because youve got                                     to   go       to    Arkansas                     and take care of                                  24   prognosis                            and we do not know how long she                                                           will      live


25   business                                                                                                                                                 25   perhaps                     a        few weeks                    or    a    few months.                           We      are          traveling
--8
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                 Page 51 of 112 PageID 4296
                                                               STATE                             VS                      MAgK ANTHONY                                            SO
                                                                                                                                                                           189                                                                                                     191

1    frequently                    to     spend time                      with             her        and           I    would               like     to    be                   1    right    now.     Im gonna go ahead and excuse                    her.



2    available                if    she has surgery                                   or        passes                   --       or    dies.                                    2                      MR.   WESTFALL           And Your Honor                   I   would


3    Excuse me.                                                                                                                                                                  3    like    to   correct   the record.     Two     people    called      in   about


4                                   Weve            excused                         other            jurors that                       have had                      ill         4    cancer one         of   them was here the following               Monday           to   be

                                                                                                And we would ask the                                                                                    So what she said                           And once
5    family          members                       terminally                       ill.                                                                                         5    voir    dired.                            is   not   true.


6    same courtesy be extended                                                         to her.                                                                                   6    again we object           to   the dismissal.


7                                   THE COURT                               Okay.                                                                                                7                      THE COURT            Okay.     You can      tell   her        were

                                    MR.         WESTFALL                                   And Your Honor                                        I                               8    shes excused.

9    disagree                 with that.                  But         just           as         for this                Juror           here                                     9                      THE BAILIFF          Okay.     Thank you           sir.




10   Your Honor                          its     her mother-in-law and the issue                                                                     is                          10                     Venireperson       Whitworth   excused.

11   logistics.                If     she        passes away you know                                                             shes gonna                                     11                     Court adjourned.

12   have          to    take care                  of        business                      with the                    kids        and helping                                  12


13   her       husband                     and whatnot.                               And             of   course                       I
                                                                                                                                            mean she                             13


14   said          that       today             she can pay                            attention.                        And so                 its   this                       14


15   contingency.                                                                                                                                                                15


16                                  And also you know                                            I   would                like         to                                        16

17   represent                      Your Honor                        that            this           Juror               and the                                                 17

18   questionnaire                          will     bear            this           out          is       not       one            of                                            18


19   these          --    I
                              mean                 its    not         an            attractive              Juror                  for       the                                 19

20   State anyway.                              The State wants                                      to    be           rid       of her.             And                        20

21   I    think      this           is     an    insufficient                        excuse.                    I       think          she                                       21


22   has said she                          can pay              attention                        unless                  her mother-in-law                                       22

23   dies.                                                                                                                                                                       23

24                                  THE COURT                               She said today not tomorrow or                                                                       24

25   the next day.                                                                                                                                                               25


                                                                                                                                                                           190
1                                   MR.         WESTFALL                                    Unless                  her mother-in-law dies

2    or severely                     deteriorates.                          The reason why she couldnt

3    pay       attention                   would              be because of                                logistics.                       Shes           not

4    sitting         here Your Honor                                       all
                                                                                       wrought                  because                         her


5    mother-in-law                          is
                                                   fixing            to die.                Shes            worried                         about the

6    steps          that            will    have          to         take place                       after              she dies and

7    what her                 part         is    going               to    be          in       that.       And               I
                                                                                                                                  think

8    Your Honor thats                                    --   thats                 why we have                               alternates.                        I




9    think          she        is       suitable              for service.                           And we object                               to       her

10       being dismissed.

11                                  MS.         JACK                  I   would                 also        add Your Honor
12       shes indicated                         that          she was present                                       for       three             days        at


13       her mother-in-laws side                                           last            week and                       that              she was

14   there          for       a time period close                                          in   time        prior to that                            as

15   well.          This            was a           --   there             were                 at    least              one or two other

16   jurors          who simply                      called                in       to      the Court                     and indicated

17   they had a                      terminally                ill        family                member and we                                    released


18   them without even looking                                                      at their              questionnaire.                                  Yes

19       shes a very composed                                             professional.                                 She         is      a   doctor.


20       But   I
                    think           its     very clear                    that             she        is   distracted                           and

21       concerned                   about          her mother-in-laws health                                                               and her

22       potential            passing               in        the next                     few days or weeks.

23                                  THE COURT                                   I   think            everything                         about             this


24       woman            has said                 she         --
                                                                      everything                          from                she cant pay

25       attention everything                                  else                 too         many events                             in      her       life
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     STATE       VS.    MARK       ANTHONY          SOLIZ                                 JANUARY       30    2012
                                                                                                                                192



 1   THE    STATE           OF    TEXAS


 2   COUNTY       OF        JOHNSON


 3                                 I     Pamela          K.       Waits       Official           Court       Reporter

 4   in    and    for        the       413th        District           Court        of    Johnson       County

 5   State       of     Texas           do    hereby           certify        that        the    above       and


 6   foregoing              contains           a    true       and      correct          transcription             of     all


 7   portions           of       evidence           and       other      proceedings             requested           in


 8   writing           by    counsel           for      the       parties          to    be    included       in     the


 9   volume       of        the        Reporters              Record          in    the       above-styled           and


10   numbered           cause           all        of   which          occurred          in    open    court       or     in


11   chambers           and       were        reported            by    me.


12                                 I    further           certify         that      this        Reporters           Record

13   of    the     proceedings                 truly          and      correctly          reflects       the


14   exhibits               if    any         admitted            by    the    respective             parties.


15                                 WITNESS          MY     OFFICIAL HAND                  this    the    31     _       day


16   o f          QCIýYfC                 2   012


17


18
                                              Pamela    Waits K                    Texas       CSR    4991
19                                            Expiration Date   12/31/13
                                              Official Court Reporter
20                                            413th Judicial District
                                              Johnson County Texas
21                                            204 S. Buffalo Avenue
                                              Cleburne              Texas      76033
22                                            817         556-6041

23


24


25
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            STATE    VS.    MARK    ANTHONY      SOLIZ                     JANUARY      31   2012




1                                          REPORTERS               RECORD

2                                       VOLUME    21     OF    75    VOLUMES


 3                                 TRIAL    COURT      CAUSE        NO.     F45059


 4                     COURT       OF    CRIMINAL        APPEALS          NO.    AP-76768

 5    STATE     OF    TEXAS                                          IN    THE    DISTRICT      COURT


 6    VS.                                                            JOHNSON       COUNTY       TEXAS


 7    MARK    ANTHONY         SOLIZ                                  413TH       JUDICIAL      DISTRICT


 8



 9


----------------------------------------------------------10
                                      VOIR DIRE
                          INDIVIDUAL

11                                            JURY       SELECTION

12

----------------------------------------------------------13


14


15                            On    the    31st      day      of    January        2012      the


16    following            proceedings        came       on   to    be    heard    in    the


17    above-entitled               and   numbered cause              before       the    Honorable


18    Phillip        Vick      Judge       presiding           held       in    Cleburne       Johnson


19    County         Texas

20                            Proceedings            reported         by    Machine      Shorthand       and


21    Computer-Aided               Transcription.

22




                                                                           ORGNAL
23


24


25
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                                                                                                          2




 1                                  A   P   P    E   A   R   A   N   C   E    S



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     SBOT NO. 04086320
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23


24


25
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 1                                           I    N       D   E    X


 2                                           VOLUME               21


 3                                  INDIVIDUAL                VOIR      DIRE


 4   JANUARY    31     2012                                                             PAGE            VOL.


 5   Proceedings      .................................                                      4            21


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     PROSPECTIVE       JUROR                 VOIR         DIRE           VOIR DIRE                      VOL.
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 8   Venireperson       Excused       by Agreement ...........                               4            21


 9   HAROLDBUCKNER   NO.   58         8               56                                                  21

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15   continue    at    323     p.m.     in    Volume              22   ..........        225              21


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18                                               STATES                   DEFENSE
     PROSPECTIVE       JUROR                 VOIR         DIRE           VOIR DIRE                      VOL.
19

     HAROLD  BUCKNER   NO.   58                       8                        56                         21

20   THOMAS HATCH    NO.  59                          100                      129                        21

     CAROLYN  STROM NO. 60                            152                      193                        21
21   PAULA WAFER   NO.   57                           --                       --                         21


22


23


24


25
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                    STATE VS MAgK ANTHONY     SSO.TZ   JANUARY 3L 2012
                                                                                                                               4                                                                                                                                                                      6

1                                            PROCEEDING                                                                            1                                    THE COURT                                Theyll              have questions                          for       you

2                       Defendant               not present.                                                                       2    but        Ill       ask    first.          Is   there               anything                we         should           know

3                       MR.           HEISKELL             If   we can go                    on      the record                    3    about            you        that        we       didnt ask                       on the questionnaire

4    real    quick.         I   want    to   announce             that       weve             agreed          to                   4                                    VENIREPERSON                                           Not            that    I   know         of.       It    was

5    excuse     Ms.             Wafer       Juror No.           57.     Ive        also conferred                   with           5    pretty           thorough.

6    my client        Mr. Soliz              and hes agreed                    to       it   as      well.                         6                                    THE COURT                                Okay.               Youre going                       to    be asked a

7                           MR.       STRAHAN              Thats the States agreement                                       as     7    lot of           questions.                     Its         not a         test.         Theres no                    right          or


8    well.                                                                                                                         8    wrong                answers.               We              only require                     that           you be            truthful.



9                       THE COURT                     Okay.            Ill
                                                                              approve                the                           9                                    VENIREPERSON                                           Okay.


10   agreement.                 Well excuse Paula Wafer.                                                                           10                                   THE COURT                                You need                      to    answer            yes or no                 if




11                          Recess           taken.                                                                                11   you can.                   If
                                                                                                                                                                         you say perhaps or I think or                                                           maybe
12                          Defendant              present.                                                                        12   youll get about four other questions                                                                    about       why you

13                                                    Buckner present.                                                             13   answered                            that
                            Venireperson                                                                                                                                            way.
                                                                                                                                                                    it




14                          THE COURT                 If   youll       raise         your            right   hand.                 14                                   VENIREPERSON                                           All       right.


15                          Juror sworn.                                                                                           15                                   THE COURT                                 Ill    also        ask            that    you dont

16                          THE COURT                 If
                                                           youll       have a seat                     in    the                   16   answer                a question                  you dont understand                                              or    if
                                                                                                                                                                                                                                                                      you        --
                                                                                                                                                                                                                                                                                       you

17   second      chair           in   the           box.                                                                           17   get        them            to       rephrase                 it     or   explain                 it    or something.
                                            jury


18                          Okay.       Sir would           you        state         your          name.                           18                                   VENIREPERSON                                           Okay.


19                          VENIREPERSON                         My name                     is   Harold       Dan                 19                                   THE COURT                                 Just         make             sure       you understand                             it




20   Buckner          II.                                                                                                          20   before               you answer                       it.          We       think       trial          in    this   case            is




21                          THE COURT                 You        filled       out a           juror                                21   probably                   going           to    start              the     last       week             in    February.                  When

22   questionnaire                a while back.             Were             the     answers                you put      on        22   it   does             start            we   think              it    will       last    about               two    weeks.                And

23                     and correct                                                                                                 23   theres                even a chance                                 the Jury could                          be sequestered                         for
     there    true


24                          VENIREPERSON                         Yes          sir.           Yes      sir.                         24   part         or      all    of that             time.               So my question                            is    is    there


25                          THE COURT                 You        --   thats          been a couple                                 25   anything                   happening                        in      your        life   that            would        interfere                 with



                                                                                                                               5                                                                                                                                                                      7

     three    weeks.              Has anything changed                             in                        that   would               you          being a                            during that period                                     of    time
1                                                                                       your         life                          1                                        juror


2    change any of those answers                                                                                                   2                                     VENIREPERSON                                          Possibly                   yes.

3                           VENIREPERSON                          No.                                                              3                                     THE COURT                                Okay.              What                  What         --   what are

4                           THE COURT                 My name                 is     Phillip         Vick.         Im    the       4    you thinking

5    Judge presiding                   in   this    proceeding.               When                this      case goes              5                                     VENIREPERSON                                          Im             being       moved             to   a     new team

6    to trial   Judge             William       Bosworth Judge                           of       the 413th                        6    in    my company.                               Were                 meeting                in        Phoenix           on      the 13th


7    District    Court of              Johnson        County           will     be the one                   trying                7    through                the 16th                 for         orientation                     and immediately

8    the case.                                                                                                                     8    thereafter                  we         start      a         new project so                              thats...



9                           The attorneys             representing                   the State               are                   9                                     THE COURT                                Youre              talking              about        this       --   of


10   Mr.     Dale     Hanna who                is    out   --    is   out     right           now        Mr.      Larry            10   February

11   Chambless Mr. Martin Strahan.                                                                                                 11                                    VENIREPERSON                                          Thats correct yes.                                     So

12                          MR.        STRAHAN              Hi there.                                                              12   its        --    I   dont know                   that               itwould            --    its        a    big   deal but

13                          THE COURT                 Ms.        Christy Jack.                                                     13   its        kind        of       a   transitional time.



14                          MS.        JACK         Good morning.                                                                  14                                    THE COURT                                  Right.           I

                                                                                                                                                                                                                                              guess the question                           then


15                          VENIREPERSON                          Morning.                                                         15   is    if
                                                                                                                                                    you happen                      to        be on the Jury would                                         that       so


16                          THE COURT                 The attorneys                          representing             the          16    preoccupy                       your       mind              that          you wouldnt be able                                 to       pay

17   Defendant              are Mr. Michael                Heiskell.                                                               17   attention                  to       the evidence                         and do your duty

18                          MR.        HEISKELL             Morning.                                                               18                                    VENIREPERSON                                          It   would             certainly              be       in   the


                            VENIREPERSON                                                                                                 back                                                                                                        would stop me.
19                                                                Morning.                                                         19                    of    my mind                   but           I    dont         think           that



20                          THE COURT                 And         Mr.        Greg Westfall.                                        20                                    THE COURT                                  Okay.            I        think       most people                      have

21                          MR.        WESTFALL                 Morning.                                                           21   things               in    the         back       of their                  mind.


22                          THE COURT                 And seated with them                                   at    the             22                                    VENIREPERSON                                          Yeah everybodys                                   got


23   counsel        table         is   the Defendant                  Mark Anthony                     Soliz.                      23    something                       going           on.



24                          THE DEFENDANT                             Morning                 sir.                                 24                                    THE COURT                                  Right.           Okay.Thank                          you           sir.




25                          VENIREPERSON                          Morning.                                                         25                                    Ill   recognize                      the        State.
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                Page 57 of 112 PageID 4302
                                                       STATE                            VS.           MARK                  ANTHONY                          SSOITZ                     JANUARY                                             31                      2012
                                                                                                                                                     8                                                                                                                                                                                      10

1                             MS. JACK                     Thank you.                                                                                        1       do because some                                             people                   --        we had          a   woman              yesterday                       who

2                                               HAROLD BUCKNER                                       II
                                                                                                                                                             2       has a terminally                                     ill    loved               one and she was not able                                                to



3                                                               No.          58         testified              as follows                                    3       serve because                                    she couldnt say she would                                                    give the                   trial
                             Venireperson

4                                          VOIR DIRE EXAMINATION                                                                                             4       her    full    attention.                                  And so were                              just    asking            people                if




5    BY MS. JACK                                                                                                                                             5       thats the kind                               of situation                            you can promise the Court

6            Q.     Good morning.                          Is     it        Mr.     Buckner                                                                  6       that    you             if   youre selected                                              to    serve       on the Jury youll

7            A.     Thats           correct.                                                                                                                 7       give     it
                                                                                                                                                                                   your            full           attention.                             Okay.

                                                                                                                                                                                                                                                                    Theres a                                            an
                                     My name                        Christy Jack and Im going                                                                                                      Something                                                                                               of
8            Q.       Okay.                                  is                                                                                to            8                                                                                  else.                                    little     bit



                                                                                                                                                                                                                                                         theres a Court




--16
9    be     visiting          with               for       roughly                45 minutes.                                                                9       unnatural                    situation                          in that                                                      Reporter
                                          you

10                            MS. JACK                     Is   that              what we             start          this                                    10      typing        down our exchanges.                                                              When youre                     sitting              there


11   morning                                                                                                                                                 11      shaking            your                 head                    I
                                                                                                                                                                                                                                          can see                    that      youre shaking                            your


12                            THE COURT                           Actually                were                starting        it                             12      head          but theres nothing                                                    for        her      to write.


                                                                                                                                                             13             A.                    a     head shake.
13   tomorrow but                    it   would            be     good              practice.                                                                                       Its



14                            MS. JACK                     Very good.                         Very good.                                                     14             Q.      So             if
                                                                                                                                                                                                         you wouldnt mind as youre shaking                                                                                your


15            Q.      Weve           had an hour so                               Ill    tell   you this youre                                               15      head

                                                                                                                                              have                                  Sure.
     lucky because you get 15 minutes                                                      less but you also                                                 16             A.


17   one      of    the       Defense             attorneys                   to talk           to    you         for   about              45                17             Q.      --       if
                                                                                                                                                                                                   you could                              just           say         yes            or   just      say

18   minutes             when Im concluded.                                       Im going                    to talk    to        you        this           18      yes           either               way.                     Okay                     Is        that       okay

19   morning.                Im going             to talk to                 you         about your                                                          19             A.      I        understand.                                  Yes.


                                                                                                                                                             20                     Thats why                                                                  a               unnatural             because
20   questionnaire.                       Im sure youre                           sitting        there thinking                                                             Q.                                                   I

                                                                                                                                                                                                                                     say         its                little




21   how       in     the world            do you have anymore questions                                                           when weve                 21      nobody             talks                like               that.           If   at        any point my explanation                                           is




22   already            asked you                basically                  99      to    a     hundred questions.                                           22      not    satisfactory                                  to     you or you have any questions

23   Believe            it   or not there are                          some more                     questions.                     Were                     23      Mr.    Buckner                          I    would                   love           it    if
                                                                                                                                                                                                                                                                     you would              stop          me down and

24   going         to talk          about        how        trial           works          in    a    capital           case and                             24      say hang on.

25   were going                  to talk        about the Constitution                                         and the law                                   25             A.      Okay.



                                                                                                                                                         9                                                                                                                                                                                  11

     that     would                                         case                  youre          selected                to        serve                         1          Q.          Because as you can understand                                                                         this        is        a very
 1                            apply        in this                           if




2    on a                                                                                                                                                     2      serious situation                                          and         I    want               to    make          sure       that        I    do
                  Jury.


 3                                              Now          before                     get     in to                that                                     3      everything                    that                     can           to     kind               of let     you know whats
                              Okay.                                                                            all
                                                                                                                                                                                                                      I

                                                                                    I




4    though              I
                             just   kind        of     want         to       go back over                        or   touch             on                    4      expected                     of    you.

 5   where the Judge                        left       off      and           that       is your               job.      And            Ill                   5             A.          Okay.

                                                                                                                                                                                    And                                   about the law                                  and answer
 6   tell
              you the way                  that      this       works were scheduled                                               to   begin                 6             Q.                          talk                                                                                       any questions

 7   either         the      week          of   the 20th or the                          week of the 27th                               of                       7   you may have.

 8   trial.
                                                                                                                                                                 8          A.          Right.


                                                                                                                                                                 9          Q.          Okay.                     Is that                 fair
 9            A.        Okay.

              Q.        And theres some debate whether                                                          the                                           10            A.          Thats                     fair.
10                                                                                                                      trial       will




                                                       two or three weeks.                                       You served                                                  Q.         Okay.                             want            to     ask           you           real   quick          before               we        get
11   take          in   fact        two     to    --                                                                                                          11                                                  I




12   on      jury       duty before so you know                                          its    not           an exact                                        12     in to      this              you mentioned                                          that        you served on a Jury

13   science.                                                                                                                                                 13     before

                                                                                                                                                              14            A.          Thats                     correct.
14            A.        Right.


15            Q.        We     never            know exactly                            how long a witness                              may take              15             Q.         It    was a                       criminal                   case

16   to testify              and as a result we dont know how long the                                                                                        16             A.         Yes              I       believe                   it    was.


                                                                                                                                                                                                                  And you said technically                                                 under           the law                    he
17   trial     will      last.      As we            sit    here             right       now              I   dont      think                                 17             Q.         Okay.

                                                                                                                                                                     was                                                                  do you remember what Im
                                                                                  you going on your
18   that      theres any problem                               with                                                             trip     to                  18                guilty                 but            you            --                                                                                 talking


19   meet with your new team                                           if    thats the               case            but      if
                                                                                                                                    you                       19     about

20   are selected                   to    serve on              a      Jury can you promise                                         this                      20             A.         Uh-huh.


21   Court          and       all   the attorneys                           that        you     would            give       it
                                                                                                                                   your
                                                                                                                                                              21             Q.         Can you                             tell         me          a    little         bit   about        that

                                                                                                                                                              22                        Yes.                          involved                       an                         lady       that      owned a
22   full     attention                                                                                                                                                      A.                              It                                                elderly


                                                                                                                                                              23                                                  believe                       she had one employee                                                    remember
23                                                                                                                                                                    dog kennel.
                                                                                                                                                                                                                                                                                                               if

                        Sure.
                                                                                                                                                                                                                                                                                                                    I



              A.                      Absolutely.
                                                                                                                                                                                                             I




24            Q.                          Because you can understand                                                  why          this             so        24      correctly.
                        Okay.                                                                                                                  is




25   serious.                And     thats           why we                  bring        in    as            many people                     as    we        25             Q.         Okay.
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                           Page 58 of 112 PageID 4303
                                                     STATE                            VS.                   MARK ANTHONY                                         SSO.TZ                   JAN UARY                            31                2012
                                                                                                                                                                                                                                                                                                                      14
                                                                                                                                                        12

1           A.        She was                                        to Fort             Worth              and had a heart                                       1    criminal court                  and have the opportunity                                           for   the State
                                         traveling

                                                                                                                                                                                                      evidence.                 And as Mr.                     Soliz sits              here           in
                  while she              was                                                       Worth.          They took her                                 2     to   present             its
2    attack                                          driving                   to    Fort


3    to   the    hospital.              She was                      in    intensive                    care     for    a    week or                             3     the courtroom with                             us can you                   give him                that    presumption

                                                                                                                                                                 4     of   innocence
4    so.    During           that       period             of        time her employee                                 quit.


5           Q.        There        was no one caring                                     for       the      dogs                                                 5            A.          Yes.


                      No one                                         the dogs.                                                                                   6            Q.          And you understand                               that       as he              sits   over           here
6           A.                       caring               for


                                                                                                                                                                 7     while       he may not be                         in    fact        innocent the law gives                                          him
7           Q.        Okay.

                                                                                                                                                                                presumption of innocence                                         and makes me                                       my table my
                      So under the circumstances what was she going                                                                                              8
                                                                                                                                                       to              that                                                                                                            at
8           A.

9    do                                                                                                                                                          9     team          prove            his     guilt


10          Q.                                                                                                                                                   10           A.          Right.
                      Right.

                                                                                                                                                                                          And as he                           here                    now can you                      afford                   him
11          A.        She didnt know what was going                                                          on.       But under              the                11           Q.                                  sits                    right


12   law we had                   to find       her        guilty.                  And she                 lost   her license                                   12    that     presumption

13   lost   her        livelihood.              And         I
                                                                     just       didnt              --   I   didnt agree                                          13           A.          Yes maam.

14   with the whole                                                                                                                                              14           Q.          You make me prove my case
                                    thing.


15          Q.        And you            felt    like that                     there       should                have been                                       15           A.          Yes.


16                                                                                                                                                               16           Q.          All                    When we                  talk     about the                   burden               of
     room        --                                                                                                                                                                             right.


                                                                                                                                                                 17    proof         just like              in that       case            its    exactly                 the    same.
17          A.        Absolutely.

                                                                                                                                                                              how much                       must prove my case                                by                               cant
18          Q.        --   for    extenuating                        circumstances                                                                               18    Its                              I                                                                  okay.           I




19          A.                                                                                                                                                   19    prove         it       a hundred               percent.             How would you                          ever              know
                      Right.


20                                                                                                                          we                                   20                              100 percent                         You know                            you saw                    yourself
                      And                                                                                          as                                                  something
                                                                                                                                                                                                                                                                                               it

            Q.                                       that                      play a                                              talk                                                                                                                         if
                                                                  will                             big      part
                                 actually


21   about the law                  when we get                           to        the   Punishment                        Phase            of   a              21           A.          Right.


                      murder case.                                                                                                                               22           Q.          That        would                                be the only way someone would
22   capital                                                                                                                                                                                                          probably

                                                                                                                                                                 23    know something beyond                                               possible             doubt            100 percent
23                                                                                                                                                                                                                               all
            A.        Right.

                                                                                                                                                                                                And                                                            what would
                                                                                                                                                                 24                                              you saw                                                                            that
24          Q.        So     that    makes sense.                                   But        I   think         you said           that                               certainty.                           if                       it   yourself


25                                                              was a                                              one.           How do you                     25    make you
     your experience                     though                                      satisfactory




                                                                                                                                                            13                                                                                                                                                        15

                                            me                                                                                                                                A.          An eyewitness.
 1   feel    about           it     Let                   just        ask           you        that         way        your       jury                            1




 2   service.                                                                                                                                                     2           Q.          An eyewitness                        exactly.             Well and the law                                  is        not


 3          A.        Im sorry what                                                                                                                               3    going         to        put    on me an                impossible standard                                 of having                      12


 4          Q.        How         did    you         feel            about your                     jury      service             as a                            4    eyewitnesses.                        And          in    fact        if
                                                                                                                                                                                                                                                you were an eyewitness

 5   whole                                                                                                                                                        5    you would                 be a witness and you could not be a                                                           juror.


                      Other than that                                 was                                                                                         6    Okay               The law doesnt allow witnesses                                                   to    be    jurors.                   So
 6          A.                                                  it                  fine.


                                                                                     Well some                                                                                                doesnt put on me a 100 percent                                                standard.
                                                                                                                            the    same                           7    the law                                                                                                                                   is
                                                                                                                   of                                                                                                                                                                                      It

 7          Q.        Okay.          Okay.                All        right.

                                                                                                                                                                                                                 standard                                       the        land        but           its
                                  same principles as a matter of fact apply                                                                                       8    the highest                                                        though          in
 8   many         of       the                                                                                                                    in                                                 legal


                                                                                            these                                                                      also the               same          standard            as a                       ticket.              Have you ever
 9   this    case.           In    every         criminal                      case                           are the                                             9                                                                             traffic



10                                                                                   as the Constitution                                                          10   had a          traffic         ticket
     principles              that    will       apply as                   far                                                      is




11   concerned.                                                                                                                                                   11          A.          Oh         yes.


12                            Number one an indictment                                                      is   no evidence.                                     12            Q.        I    have     too.           And      its       the      same legal                    standard                   of


                                                                                                                                                                                                        The Prosecutors                                                  case                  dont
                                                                                                        out as                                                    13                                                                               in that                        --
13    Its   simply a piece of paper                                        that                                        in
                                                                                                                            your                                       proof.             Okay.
                                                                                                                                                                                                                                                                                       I



                                                                                         lays


                                                                                                                   what                                                know                   you went through                       a                                                     pay
     case what the Defendant                                                                                                      Mr. Soliz                       14                                                                                      always
                                                                                                                                                                                                                                          trial.                                just
14                                                                             charged                  with                                                                         if                                                               I


                                                                          is



15   what weve                   accused             Mr.             Soliz          of    doing.              Okay.           I   think       you                 15   mine.              But the Prosecutors                              its     the     same amount                               of



                                                  not                                                                                                             16   evidence                             would         have            to    prove          to        a Jury of             someones
16    understand                  that    its               any evidence.                                                                                                                       they


17          A.        Right.
                                                                                                                                                                  17   guilt.         Okay
                       Im guessing                                           marked
                                                            your case no one
18          Q.                                       in                                                                            the                            18            A.        Okay.

19    indictment              and put           it    into            evidence.                                                                                   19            Q.        Are you comfortable                                  with   that           -




20          A.         I   dont     recall.               Its        been a long time ago.                                                                        20            A.        Yes.


21           Q.        Okay.         Well            it    is        no evidence.                           The    fact       that       a                        21            Q.        --
                                                                                                                                                                                                responsibility


22    Grand                                                          someone                       cant be considered                                             22            A.            Sure.
                      Jury has           indicted                                                                                                 for


23    any purpose.
                                                                                                                                                                  23            Q.            Now      and        I    will   tell        you who the only people or

                                                                                                                                                                  24    the only side                  that           ever     has a            responsibility to                      prove
24           A.        Right.


25           Q.        Its                                the        means                to                into   a                                              25    something                     Mr.        Buckner             is    this     table            right      here.
                             just really                                                           get
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                        Page 59 of 112 PageID 4304
                                                                      STATE                 VS.               MARK                   ANTHONY                 SSOT7.              JANUARY                                 31                    2012
                                                                                                                                                        16                                                                                                                                                          18

1           A.                                                                                                                                               1          A.      Yes.
                        Right.


2           Q.          The State                     of         Texas.             At    no time whether                            its                     2            Q.    See how                 that           works

3    Guilt/Innocence                                 first
                                                                      part     of    the   trial        or    Punishment                                     3          A.      Yeah.


4    the      second                   part         of      the        trial        at   no time does the Defense                                            4            Q.    Okay.                And Im gonna be asking you a                                                        lot       of    times


5    table         have            to        do anything.                                                                                                    5     as   we go            through              this           Does              that         law        make         sense Do
6           A.          Okay.                                                                                                                                6     you agree with                     that            law              Is      that             a law       that    you        can

7           Q.          They have no obligation                                            to    prove Mr. Solizs                                            7     follow

                                        They dont have an                                                                             up an                  8                  Thats               fine.
8    innocence.                                                                            obligation               to    put                                             A.


9    alibi.            They dont have an                                       obligation.              All    they would                                    9            Q.    Some             jurors                come            in   and they have                          their       own

10   have        to         do                                        have      to   do                     be here                          be              10    personal                             and theyre not                                 --       they       cant follow the
                                       --    all
                                                    they                                    is   just                               just                                                 feeling


11   available.                    Thats              it.         Now          hes got two very                          fine                                11    law.     And theyre obviously                                        not      qualified                  to    serve        on a

12                                 and Im assuming                                                 do more than that but                                     12                You would                     understand                        that         only       jurors that                 agree      to
     attorneys                                                                       theyll                                                                        Jury.


13   the only                    ones who have an                                   obligation           or a duty                  is   this                13    follow      the law are qualified                                     just like               you        did     in   that


14   table                         here.                                                                                                                     14    other case.
                   right


15          A.          Okay.
                                                                                                                                                             15                            All       right.            When we                   talk           about         capital


16            Q.        Okay.                    Were                 the only           ones.        All     right.           Now                           16    murder we have                            to       begin with                 an understanding                                  of   what




--24
17   kind       of      as a                part     of      all       this a defendant                       has a            right        not              17    constitutes                 murder.                 Murder               is   simply               --    and     I    dont mean

18   to testify.                  Probably                       in    your         case     I   dont know                     if                            18    to   minimize the seriousness of                                              it.            Its   the     intentional



19              --      the defendant                                 testified.                                                                             19    taking      of another                    life.
     your

20          A.          I        believe            she               did.                                                                                   20           A.    Yes.


21            Q.        You             think         she did                       She probably                explained                   I was            21           Q.    Okay.                Cant be by accident                                             cant be by mistake

22   in    the hospital                             her unique                      situation.                            Theres a                           22    cant be done                      in self           defense.                        has            to    be sanely
                                                                                                         Okay.
                                                                                                                                                                                                                                                 It




23   lot   of          reasons                   why somebody                            may      not       testify.            Their                        23    consciously


     attorneys                    may              not      --        their    attorneys              may      advise                them                    24           A.    Yes.


25   look          I   dont                 think     the States proved                               the      case theres                                   25           Q.    --
                                                                                                                                                                                         intentionally                   done.                 Okay

                                                                                                                                                        17                                                                                                                                                          19

 1   no reason                     for        you        to testify.                 In    the    end          a defendant                   has              1           A.    Okay.

2    the      right              not        to     testify             and a defendant                        has the               right    to               2           Q.    But theres a                           lot    of       ways murder can occur.                                           And

3    testify.               It    is    his        decision.                   He has            attorneys very wise                                          3    theres a              lot   of    motivations                       or a       lot           of    motives            behind


4    attorneys                    to        advise               him but             in   the    end          its    his                                      4    why a murder can occur.                                             Sometimes                       --   not     to    say there are

5    decision.                                                                                                                                                5    good motives but maybe not                                                  quite             as    bad motives                      as


6             A.                                                                                                                                              6    others.
                        Okay.

7             Q.                 a defendant                           chooses             not    to testify              you cant                            7                            And Im going                            to       use myself as an example.                                           I

                            If




--18
8    consider                    that        for     any purpose.                                                                                             8    hope        this       doesnt alarm you.                                    But          I   drive        home         at       the    end

9             A.                                                                                                                                              9    of   the day.               Its    been a tough day                                      jury seiection.                        Its
                        Okay.

10            Q.        You cant say you know what Ms. Jack was                                                                              really          10    been a long day.                           Someone                       cuts            me        off in      traffic.          I




11   close on                    proving             someones                        guilt       and because                         he didnt                11    decide       Ive            had     it.        I
                                                                                                                                                                                                                       pull   out           my        concealed                   handgun

                                                                                                                                                                                                       them and
                                                                       go ahead and
12                      were going                                                                                        him                                12    license               shoot                                                   them.                Okay.             Did
                                                                                                      just find
                                                                                                                                                                                                                                        kill
     testify                                                 to                                                                                                                      I                                             I                                                           I




13   guilty.            You             just        put          it    out     of   your mind.                 Im                                            13    intentionally                cause                 their   death

14   guessing                     --
                                        youre               a vice president                       of   a     bank                                           14           A.    Absolutely.

15            A.        Yes.                                                                                                                                 15           Q.    Absolutely.                           As opposed                       to        say        for   instance


16            Q.                                 Have you ever had                                                                                           16    someone                molests                 my     child.             Well                Ive        seen the criminal
                        Okay.                                                                    to    compartmentalize

17   something                                                                                                                                               17    justice      system and worked                                       for      20 years

              A.            Sure.                Everyone                    has.                                                                            18                                MR.     HEISKELL                             Excuse                   me      Your Honor.                     Excuse

19            Q.        All        right.            So the                  Fifth       Amendment                  is   a very             good             1.9   me      Ms. Jack.


20                                                    You                                                                           and you                  20                                Your Honor Im going                                          to       object       at this          time
     example                     of that.                              just     compartmentalize                          it




21            look               at     the evidence                          and see            did    the State                                            21    since       motivation                             not    an element                         that        has    to    be proved.
     just                                                                                                                           prove         its                                                        is




22   case.              Does                that     make sense                                                                                              22    For Ms. Jack                     to offer            that       there              may            be     different



23            A.        That                makes sense.                                                                                                     23    motivations                 is    an improper application                                               of the law              that


                                                                                                                                                             24    shes attempting                                    bind                     Juror                       Since motivation
24            Q.            If   a defendant                           chooses             not    to testify              will
                                                                                                                                     you                                                                     to                this                             to.


                                                                                                                                                             25                an issue and not an element we object
                                                            you wont consider
25                                                                                                                                                                      not                                                                                                              to    any
     promise the Court                                                                                         for   any purpose
                                                                                                         it                                                        is
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                Page 60 of 112 PageID 4305
                                                               STATE                       VS.             MARK                   ANTHONY                    SSO.T7.             JANUARY                                 31                           2012
                                                                                                                                                        20                                                                                                                                                                      22
1
     examples                of         motivation.                                                                                                           1   sentence.           All               right.          Because                       a     life     sentence                    for   the


2                             THE COURT                                     Okay.            Ill    overrule             the                                  2   offense        of   capital                   murder has no                                   possibility                of    parole.


3    objection.                                                                                                                                               3           A.    Okay.

4           Q.     BY             MS.            JACK                Okay.                 Somebody                 molests a child                           4           Q.    Someone                         will
                                                                                                                                                                                                                        serve                    if   they receive                       that


5    the    mother of                       that       child      calmly                   sanely        loads           her         gun and                  5   sentence            they               will     stay        in        prison the                         rest       of   their


6    shoots        the        individual                      responsible.                         Okay.         Well           it   wasnt                    6   life.




7    done         in insanity.                         They very sanely                            did     it    very calmly                                  7           A.    Could               you define                   capital                        murder             for     me
8    did    it.    But        maybe perhaps                                  different              motivation                than                            8           Q.    Yes.               Were            going            to           get there                  in     a second.

9    someone                 cutting                   me     off in         traffic.          I

                                                                                                   say     that          because                              9           A.    All   right.


10   theres a               lot        of     ways            that     murder can occur and our                                                              10           Q.    Can        I       wait         and do             it        in
                                                                                                                                                                                                                                                      just       a    second

11   legislature              has given a                        really               broad         penalty          range            for        the         11           A.    Yes.

12   offense           of     murder.                    And           its    really          done         to      let   jurors            let               12           Q.    All   right.               Because                      I    want               to talk          to     you about

13   the    punishment                           fit   the crime.                                                                                            13   aggravated              robbery.                      You know once again theres a                                                                    lot


14          A.         Right.                                                                                                                                14   of motivations                        why and how an aggravated                                                          robbery            can

15          Q.         Okay.                  And the penalty range                                   is    anywhere                  from                   15   occur.        Take an older                            sibling raising                              three or four                     little




16   5 years                  the                                                              And you would                                                 16   brothers           and           sisters.              Theyre hungry.                                     They dont have a
                       all
                                              way        to    life.         Okay.                                                   agree

17   with       me      that            a 5-year sentence                                  for     murder           is   pretty                              17   house over           their               head.              And they go                              --
                                                                                                                                                                                                                                                                            got         an old gun                  in



18   unusual.                Have                to    be some                pretty           unusual             facts        that        would            18   their    pocket and they say you know what                                                                             this      is       the


                                                                                                                                                                                                                        and                                                                      be hungry.
19   tell
            you         Mr.            Buckner                 that         a 5-year sentence                            is                                  19   last    time       my        brothers                              sisters                    are going                  to


20   appropriate.                                                                                                                                            20   They go buy                      --    or they          go rob a                         loaf       of bread               and a           jar        of


21          A.     Yes.                                                                                                                                      21   peanut         butter                 show the              clerk                   a gun.               Well          thats          an

22          Q.         But        if        those        facts         present               itself        are      you the                                  22   aggravated              robbery                      under our                       law.


23   type of           man             that       can say               I    think         five     years          is    appropriate                         23           A.    Yes.

24   and thats the sentence                                          Im going                  to   give                                                     24           Q.    Somebody                          goes        into               a     bank very callously says I

25          A.     Yes.                                                                                                                                      25   got     this   gun you know what                                               IT       do with            it.        Give       me        all




                                                                                                                                                        21                                                                                                                                                                      23
1           Q.         By the same token                                      if
                                                                                      you see a             life     case            for                      1   the     money.                   Okay.               Two       different                       examples of aggravated

2    murder not                        capital           murder were                           talking           about          murder                        2   robbery

3    now.         And when                        I

                                                       say simple murder Im not                                          trying            to                 3           A.     Right.


4    minimize the seriousness                                                just to          make          a    legal                                        4           Q.     Same               penalty              range.                       And        that       is to          let    our

5    distinction.                      If
                                            you see a case                            for    murder and you                                                   5   jurors       let   the           punishment                    fit             the crime.

6    believe           that            life      is
                                                       appropriate                     I
                                                                                           assume you could                                                   6           A.     Right.


7    equally           --                                                                                                                                     7           Q.     Can you consider                                  as             little        as 5 years                  for    the


8           A.         Yes.                                                                                                                                   8   offense        of   aggravated                          robbery and                                let    the         punishment                      fit




9           Q.         --   return               a     life    sentence.                    Now          the difference                                       9   the     crime

10   there        is   a difference                           and       its           an important                 difference.                               10           A.    Yes.


11   For the offense                             of    murder                if
                                                                                   you were              to      give a         --    return                 11           Q.     Can you consider                                  as             much as a                      life      sentence                for


12   a   life     sentence well                               actually                any      sentence              in      there                           12   the offense             of            aggravated                      robbery

13   there        is   a     possibility of parole.                                                                                                          13           A.    Yes.


14          A.         Okay.                                                                                                                                 14           Q.    And        let           the      punishment                              fit    the crime.                  Now            you

15          Q.         There                is   a     possibility of                      parole.         Some                                              15   asked        me     whats the difference                                                      between               murder and                    capital


16   individuals                  are given a                    life        sentence               or     a 25-year                                         16   murder.            Im going                     t.o   let   you look                           at that.


17   sentence                or a 50-year                        sentence anywhere                                      in   that      range                 17           A.     Okay.

18   and they never get paroled.                                                                                                                             18           Q.     Okay.                  Its     not     just         murder.                         Its    not         just      the


19          A.         Okay.                                                                                                                                 19   intentional         taking                    of a     life.              It    is      murder plus something

20          Q.         But        some                 do.                                                                                                   20   else.


21          A.         Okay.                                                                                                                                 21           A.    Yes.

22          Q.         And our law changed                                            and they             let   jurors          know            that        22           Q.    The law were going                                               to    talk        about            in this        case            is




23   now.         Okay                                                                                                                                       23   murder         in   the course                        of    someone                            trying to               rob      someone                     else


24          A.         Okay.                                                                                                                                 24   or trying to         burglarize.                            Doesnt mean they have                                                    to    be

25          Q.         Thats                different            than             a   capital         murder             life                                25   successful.                  I    come up                to       someone                            I   decide            being           a public
         Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                                                                          Page 61 of 112 PageID 4306
                                                                                    STATE                             VS.                     MARK                          ANTHONY                                     sSO.T7                     JANUARY                                           31.2012
                                                                                                                                                                                                                   24                                                                                                                                                                               26

                            doesnt pay                                                                                                            know theyre                                                                 indictment
1    servant                                                                I

                                                                                    pull       out               my        gun.               I
                                                                                                                                                                                                                         1




                                             say Give me                                                                  money. The
2                                                                                                                                                                                                                       2            A.            Yes.
     wealthy.                        I
                                                                                              all
                                                                                                        your                                                        police


3    drive                                   dont get                   their                 money.                                know               at least              not                                        3            Q.            Okay.                      You see how                                that       works
                      up.
                                                                                                                           I
                                         I




4    to       leave witnesses.                                          I           shoot them dead.                                              What              offense                           have              4            A.            Yes.


5    I    committed                                                                                                                                                                                                     5            Q.            All           right.            And           I    have               to     prove         that          it
                                                                                                                                                                                                                                                                                                                                                                  happened

6               A.          Capital                     murder.                                                                                                                                                         6     in   the midst of                               an attempted                                robbery             or       burglary.                  Okay
7               Q.                                                      You see the distinction                                                                                                                          7           A.            Okay.
                            Absolutely.

8               A.          Yeah.                                                                                                                                                                                        8           Q.            Now                  Ill       tell
                                                                                                                                                                                                                                                                                              you      this real                    quick.         I    dont have

9               Q.          Its              murder plus something                                                              else              the attempted                                                          9    to   get the property.                                           Okay.                     On     a burglary                       a burglary                 can

10   commission                                   of    something                               else.                     Okay.                   Now             the indictment                                        10    include              something                                  like    an attached                            garage.                      All   right.


11   sets             out    what                       have                to       be - what                                      have          to                             to                                     11    Lets           say                for     instance                       Im going                      into     someones garage
                                                    I
                                                                                                                           I

                                                                                                                                                            prove                             your

                                                                                                                                                                                                              be        12    because                            know they got a deep freeze                                                           in   there               and theres
12       satisfaction                             Mr.        Buckner                            beyond a reasonable                                                         doubt                    to                                                     I




13   entitled               to               a    verdict               of guilty.                                   have            to                           its       the                                         13    food           in    there                for        my          brother                   and        sister.            Homeowner                           comes
                                                                                                             I

                                                                                                                                              prove

                                                                                                                                                                    man                                                 14    out.           All                                   panic             and                 shoot        them              but                sanely
14       Defendant.                               Ive        got        to           prove               its              Mr.            Soliz          this                                                                                          right.                                                    I                                                     I
                                                                                                                                                                                                                                                                              I




                                                                                     end                                                                have                                                            15    do                                                              do            and Im                                 to       steal               from
15       down here                           at     the other                                           of       the       table.                  I                    to           prove                                          it       I
                                                                                                                                                                                                                                                  intentionally                                       it                             trying


16                                                                                                                                                                                                                      16                   deep freeze                                       the garage.
     that        it
                       happened                              on         or           about a                         certain               day.                  Okay.                   I                                    their                                                      in



17       dont have                           to     be exact                         because                          you dont get a pass on a                                                                          17           A.            Right.


18       crime         just                  because                    we dont know                                            the exact                        day        it           occurs.                        18           Q.            What                 offense                  have                I    committed

19       You can see how                                      that                  works.                            have               to                        its        in                                        19           A.            Capital                        murder.
                                                                                                                 I
                                                                                                                                                  prove

20       Johnson                                                                                                                              but                                    its                                20           Q.            See how                          that         works
                                     County.                   If       I
                                                                                    prove everything                                                    I

                                                                                                                                                                 prove                               in




21       Tarrant             County                      or    I
                                                                        just              miss           Johnson                           County you know                                                              21           A.            Right.


22       what your                           verdict          has                   to    be                     Has           to        be not                  guilty.                                                22           Q.            All           right.             Now               when we                       talk      about


23              A.          Okay.
                                                                                                                                                                                                                        23    intentionally                             we mean                       they have                       to     do    it    on purpose.

                                                                                                                                                                                                                        24                         Doesnt mean premeditation.                                                                      dont have
                                                                                                        you can follow
                                                                                                                                                                                                                                                                                                                                                                                      to
24              Q.          Okay.                       Is   that                   a law                                                                                                                                     Okay.                                                                                                            I




                                                                                                                                                                                                                        25


                                                                                                                                                                                                                   --25
25              A.          Yes.                                                                                                                                                                                              prove


                                                                                                                                                                                                                                                                                                                                                                                                    27

 1              Q.          You might be mad.                                                           You might say                                        You know                                     Dale           1           A.            Right.

                                                                                                                                                                                                                                                                                                                                              As quickly
2        Hanna Im going                                                                             you about                             this.             Youve                        got a                           2           Q.            --           someone thought                                          about                                                   as    you
                                                                                                                                                                                                                                                                                                                                       it.
                                                              to talk                     to


3        Prosecutor                               whos                                           She didnt do her job.                                                                       have                        3    and                can            form a thought                                  if       someone               were               to        form the
                                                              sloppy.
                                                                                                                                                                                                                                         I
                                                                                                                                                                                     I




                                                                                          Cant be an accident.                                                              have                                         4                                                        thats                    the law
4        to   prove              its              intentional.                                                                                                          I                                                     thought                 to         kill                           all                                 requires.



5        to   prove              he caused                              the death                                of       someone                       else and                                 that         it         5           A.            Okay.

6        was done                            --   when             it   says                   by        manner and means                                                        I       have                 to         6           Q.            All           right.              Now              when we                       talk      about              capital


                                                                                                                                                                                                                              murder                                     out these                     elements here.                                  Theres a couple
 7       show          it    happened                          a            particular                               way.                                                                                                7                              I
                                                                                                                                                                                                                                                                lay

                                                                                                                                                                                                                                                be                                                                                                                                     can act
                                                                                                                                                                                                                              ways somebody can
                                                                                                                                                                                                                         8                                                                                                     of    capital            murder.
 8              A.          Okay.                                                                                                                                                                                                                                                                          guilty                                                                 I




 9              Q.          If           I       on the indictment say                                                         it    happened                       with                     a                           9    alone.


10       knife         and my evidence                                                    is    it      happened                              with a rock                                or a             gun            10          A.            Okay.

                                                    bat                                                                                                                                                                              Q.                                                  can have a
11       or    a baseball                                      its                  different                        my             proof         is        different                                                    11                        All           right.              I
                                                                                                                                                                                                                                                                                                                               partner.


12       from         what                   I    said       in      the indictment                                            --                                                                                        12          A.            Okay.

                                                                                                                                                                                                                         13          Q.            And my partner                                          is   in             for    the      whole                  thing.
13
                                                                                                                                                                                                                                                                                                                          it
                A.          Okay.

                                                                                     you would                             have
14              Q.          --           the law says                                                                                         to find               somebody                                             14          A.             Right.


                                                                                                                                                                                                                                                    Or               can simply have a                                                             All                           And
15       not     guilty.                         Because                        when                I
                                                                                                        charge                      somebody                        with                     capital                     15              Q.                      I
                                                                                                                                                                                                                                                                                                                                helper.                          right.


                                                   God                                    know what my proof                                                                                                             16   the law gives                                   you know                          like           everything               else the law                         is
16       murder                  I
                                             by               better                                                                                              is.       All



                                                                                say You know what
17                          Some                                                                                                                                  thats                                                  17   going              to         give complicated                                        names             to      something.                         All       right.
         right.                                    people                                                                                                   if                           --      I




18       understand                               thats the                         law                                                  cant follow                         that                                        18   And the law says                                           if    someone                         is   a partner or a helper
                                                                                                    Christy.                         I




19       law doesnt matter.                                                         Some                 people                          say       As             difficult                      as                      19   theyre                my               party.              Theyre a party                               to      what           I    do.


20       it   will     be                I   will       do    it.               I   understand                                 the law                  and         I
                                                                                                                                                                                                                         20              A.         Okay.

                                                                                                                                                                                                                         21              Q.         And as a Juror you may be                                                                                    --
                                                                                                                                                                                                                                                                                                                                                                          you may be
21       understand                               my oath                       as a juror.                                                                                                                                                                                                                                                  trying


22              A.                                                                                                                                                                                                       22                                     to   evidence                        of    someones                          guilt      as the                  trigger
                            Okay.                                                                                                                                                                                              listening


23                                                                                                                                  manner and means                                                                     23    man.
                 Q.          Okay.                      If
                                                             my --                   if   I    miss the                                                                                                   I




24                                                                                  the type                              Juror                             has the                                                      24              A.         Okay.
         get     it    wrong                        are       you                                                    of                       that


                                                                                                                                                                  under the                                              25              Q.         You might be                                                                to    evidence                    where were
25       discipline                          to    say        that                  Defendant                             is        not       guilty                                                                                                                                                 listening
--6
1




2

3
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     trying


           A.


            Q.
                  the


                   Okay.
                         partner.




                   You might be
                                                  STATE




                                                  listening            to
                                                                            VS.




                                                                               evidence
                                                                                                MARK




                                                                                                     where were
                                                                                                                     ANTHONY
                                                                                                                                           28
                                                                                                                                                SO

                                                                                                                                                1



                                                                                                                                                2

                                                                                                                                                3
                                                                                                                                                      TZ

                                                                                                                                                     who

                                                                                                                                                            A.


                                                                                                                                                            Q.
                                                                                                                                                                 tosses


                                                                                                                                                                      Okay.

                                                                                                                                                                      Okay.
                                                                                                                                                                           JANUARY
                                                                                                                                                                                        Page 62 of 112 PageID 4307

                                                                                                                                                                                         me         the keys.




                                                                                                                                                                                                  See how
                                                                                                                                                                                                                         31



                                                                                                                                                                                                                              that
                                                                                                                                                                                                                                             2012




                                                                                                                                                                                                                                         works              Now now                   lets    say
                                                                                                                                                                                                                                                                                                           30




--14
4                                 a                                                                                                             4    that    --   and theres a whole                                                   lot   of     words          up there           that
     simply        trying              helper.


5           A.                                                                                                                                  5    discusses                      an agreement                               to        commit a crime.                        Lets say
                   Okay.

            Q.     Does           that    make sense                                                                                            6    Ill   let
                                                                                                                                                                  you           read               that for               a second.


7           A.     Yes.                                                                                                                         7                                       Pause                 in        proceeding.


8           Q.     You dont know which one                                                those                                                 8           A.              didnt                 know             that.
                                                                                   of                  youre              trying
                                                                                                                                                                       I




9                                                               on the                                                                          9           Q.         No one                      would.                    No one             would.             Normal people dont
     until    you       actually         get    to     sit                         Jury.


10          A.     Right.                                                                                                                       10   know         that.                 Im not sure what                                     that    says about                 me      but       I   do

11          Q.     So you may be called                                upon          to        make        a decision                           11   know         that.



12   number one                                                                                            murder and                           12          A.         So are you                             --        are    you saying                         he loaned you the
                                                                 guilty of capital
                                                                                                                                                                                                                                                           if
                                  is   that    person

13   number two does                         that      person              deserve              the death                 penalty.              13   keys thinking                            that           you were going                          to     go

            A.                                                                                                                                  14           Q.        Cash a check
                   Okay.

15           Q.                       Do you                                   someone               who                  a partner             15          A.         --
                                                                                                                                                                                park              in     somebodys garage                                       and        steal     some meat
                   Okay.                              think      that                                               is




16   or    simply a helper                   should          be       eligible            for    the death                                      16   out     of their                   freezer               and you                    actually          kill
                                                                                                                                                                                                                                                                       somebody he

17                                                                                                                                              17   would be a party                                    to    the            murder
     penalty

18           A.    Yes.                                                                                                                         18           Q.        Yes.                   Now             if   --     heres the key part if.                                     You

19           Q.    All                   So does the                   law.         When we                  talk         about                 19   see     that               bottom                  part        down there                        If
                                                                                                                                                                                                                                                           killing            the
                          right.

                                                                                                                                                20   homeowner                                                                               believe                                  the
                                             you have                      help someone                         be a partner
20                 to    a    crime                                  to                                                                                                                      if
                                                                                                                                                                                                   you        as a            juror                             that       killing
     parties




 --8
21   with the        intent           that    theyre helping                        them commit a crime.                                        21   homeowner                               was a furtherance                                  of   that         unlawful           purpose so

22   Ever watch               Oceans Eleven                                                                                                     22   in    other           words was                               it    in   the furtherance                           of    my trying       to



23           A.    No.                                                                                                                          23   rob the               meat               out        of    the            deep           freezer.



24           Q.    Okay.              Striking        out       on     that        example.                 Have you                            24           A.        Yes.


                                                                 more people are involved                                                       25           Q.                                   And was one                                       should              have been
25   seen a show where two                                 or                                                                   in                                         Okay.                                                         that




                                                                                                                                           29                                                                                                                                                              31

 1   committing               a   crime                                                                                                          1   anticipated.                            Okay.                 Now             I
                                                                                                                                                                                                                                        can get           into         a   million fact



2            A.     Sure.                                                                                                                        2   scenarios                          but        it    comes down                            to this.           If   Martin        should


3            Q.    What comes                   to     mind                Anything              come           to        mind                   3   have known                              that        I

                                                                                                                                                                                                             carry a               gun          I   dont go anywhere                         without


4            A.     Not                                    but        have seen.                                                                 4   a     gun        to        see Christy                             is    to       see Christy with a gun.
                              particularly                       I




5            Q.    You dont have                       to    be present                   to     be a party                to   a                5   Okay.             Well                  a Juror might                             say you know what when a gun

                                                  Martin             and           decide                                                        6   comes             to           a    crime                its                        its    going           to     be used or
6    crime.         Lets say             that                                                        being           public                                                                                              likely                                                              it
                                                                               I




 7                                20 years doesnt pay doesnt pay enough                                                                          7   should they should                                            have anticipated
     servants           for


     after       20 years.                                                                                                                       8           A.            Right.


 9           A.                                                                                                                                  9           Q.            --
                                                                                                                                                                                        may             use the gun.                         See how                   that   works          You
                    Sorry.
                                                                                                                                                                                I




10           Q.     Well thats                             And Martin and                                                                       10   have children
                                              life.                                              I

                                                                                                     say you

11   know what were gonna go                                         hit   a       lick        which       is   slang           for             11           A.            Yes.


12   commit a robbery.                        All     right.          Im gonna go                      hit      a    lick.                      12           Q.            Okay.                   How             old        are your children


13   You in             All    right.        And Martin says Well                                      I   cant go                              13           A.            40.


             use my car tosses me the keys                                                                                                                   Q.                                    Im glad you didnt say theyre older
14   but                                                                                   to    my car.                 All                    14                         Okay.

                                                                                                                                                                                                                                         your kids                when they were
15   right.        The law says                 at     a    minimum he knows Im                                           going       to        15    but okay.                         Did        you ever                    tell




                                                                      He                         me                                                                                          they got themselves                                           a      bad situation              over
16   commit a robbery.                        All      right.                  tosses                      the keys             to              16    growing                   up                                                                   in



17   his car.           What has he done under                                       that        bottom             part                        17   their        head                  --    do you have daughters                                            or      son

18           A.     He       solicits        or   encourages                       or directs              or   aids or                         18           A.            Daughter.

19                                                                                                                                              19           Q.            Daughter.                          Okay.                    Did your daughter                        ever    find
     attempts            to aid.


20           Q.     He probably                                                    me.         Some                             can say         20    herself              in       a    situation                      she had no business being                                      in    and
                                                encouraged                                                   people

                                                       Hes                                      And hes                                         21                    didnt                                  of    when she got                       in that              situation
21   hes encouraged                       me.                        aided          me.                                  certainly                    really                                 think



22   more than attempted                              to aid         me.           So     if
                                                                                               you help              me        or   you         22           A.            No            not            really.              Pretty          good daughter.

                                                                                                                                                                                                             doesnt mean shes a bad daughter.
23   try to       help       me        okay the law says he stands                                           in      my shoes                   23           Q.            Well               that



                                                            And you never know whether                                                          24           A.            Thats                                   yeah.
24    in   terms        of    guilt.      Okay.                                                                                                                                                   right


                                  me                                                                                                            25               Q.        And                                      normally the                     good ones                  that   get
25   youre         trying                or whether                  youre           trying          my lazy              partner           -                                                 in    fact
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                                                                                                                                               32                                                                                                                                                34

1    themselves                  in   this    situation.                  The bad ones know exactly                                                 1           Q.    See how                that       works                       Should         have known                 better        is




--13
2    what theyre walking                             into.                                                                                          2    enough           to    be     guilty of capital                            murder.         Did       know          better     is




3           A.    She makes                     pretty             good decisions.                                                                  3    what you must                    find      as a         juror to              give       someone                 the death


4           Q.    Did        you ever                tell    her though                  at    any point you                                        4    penalty.           See the difference

5    should       have known better                                   Did       you       ever         tell    employees                            5           A.    Yes.


6    that                                                                                                                                           6           Q.    So the law absolutely                                         agrees        with you.               That


7           A.    Oh         absolutely.                                                                                                            7    isnt    enough              to     get the death                           penalty.        Okay.

8           Q.    Okay.               Same            kind         of thing.             You should                  have known                     8           A.    Okay.

9    better.      When                they     go I didnt know                            this        was going                 to                  9           Q.    Now             so here             it    is    boiled           down.            You have an

10   happen and you say You                                           should              have known better.                                        10   agreement               to    commit a robbery                                or   burglary.               Do you          think


11          A.    Right.                                                                                                                            11   the criminals                sit    there             and sign contracts                              Are you

12          Q.    You should have known                                         this      could                                 Thats               12   going       to    be involved                 in       this                Lets    talk    about            your
                                                                                                        happen.

     what the law says.                             All     right.        And the question                       is        if                       13   lets    divide          up the roles.                            Or do you think they go                             You

14   Martin should                    have anticipated not                               that         he   actually             did                 14   in
15   anticipate             just that               he should have anticipated                                       I
                                                                                                                         pulled                     15          A.    Right.


                                                                                                                     hes                                                                  So         can be                                        can
16   the    gun        I    could           pull     the     gun          then the law says                                                         16          Q.    Okay.                    it                             verbal.        It              just    simply


17   going       to    be        guilty      of      the felony thats                      actually                                                 17   be someones conduct.                                        If   I

                                                                                                                                                                                                                               say     You         in    for       the    lick

18   committed               which            in     that     case         would           be       capital          murder.                        18   and they hop                  in
                                                                                                                                                                                             my car would                            you agree with me thats an

19   See how               that       works                                                                                                         19   agreement

20          A.    I
                       see.                                                                                                                         20          A.    Yes.


21          Q.    Okay.               Now            depending               on the facts do you                                 think              21          Q.    All       right.       A murder                         is   committed             and        its


22   that    someone                  who       is     involved            in   the conspiracy                           should           be        22   committed               in   furtherance                     of       the unlawful              purpose             and

23   eligible for            the death                penalty                                                                                       23   should       have been                     anticipated.                      Okay.         In    that       case         really


24          A.    Thats a tough question.                                        It
                                                                                         depends              on the                                24   talking      about the                helper.


25   circumstances.                                                                                                                                 25          A.    Right.




                                                                                                                                               33                                                                                                                                                35

1           Q.    And thats                   all     thats         asked of a                 juror.         There                                  1          Q.    Okay.               Lets say               that              Martin    goes with me.

2    are going              to    be      some facts a                    juror          says you know what                                         2    Change            it
                                                                                                                                                                                up    just     a     little      bit.              Martin    goes with me..

3    he should have anticipated                                      that.          And the law                 --
                                                                                                                         youre                      3    Hes my driver.                      He      looks                at       me and he says Dont leave

4    exactly          right.          Were           going          to    get       to   another              question               in             4    any witnesses.                        Okay
5    Punishment                   and youre going                          to   be asked                to     re-evaluate                           5          A.    Okay.

6    this   whole issue because                                     its    enough              to     be      guilty       of                       6           Q.    But            Im the         trigger               man.

7    capital      murder               if
                                            you should                   have         anticipated.                   Marty                           7          A.    Right.


8    should       have known                        better.                                                                                          8          Q.    Do you see how                             Martin               my     partner               in that    one

9                            To get the death penalty                                     --    Im going                 to     jump                 9          A.    Yeah.


10   ahead        for just            a     second            --                                                                                    10          Q.    Okay.               He     didnt           pull              the trigger          but        he didnt

11          A.                                                                                                                                      11   want any witnesses                           left.
                  Okay.

12          Q.    --       because             it    seems            like      a     good          point.       These are                          12          A.    Right.


13   the three             questions                in      Punishment.                   Okay.            See           this    second             13          Q.    So        it   just    kind of             depends                on what the                   facts



14   question                See the difference                                                                                                     14   are.


15          A.    Uh-huh.                                                                                                                           15          A.    Yes.


16          Q.        Its    actually           anticipated.                    In       other        words              its                        16          Q.    All       right.         Now             whats not required                              I    think    you

17   not                                                                  have known                                      The                       17   understand                            You understand                                                                were
                                            they should                                                                                                                              this.                                                  that    in real          life
            enough               that                                                                  better.


18   difference                                        know                                                                                         18   not going              to   have necessarily                                have evidence                    of    this.
                            is    they        did                    better.


19          A.    Yeah.                                                                                                                             19          A.        Right.


20          Q.        See how               that      works               You say you have a child                                                  20          Q.        Okay.           Youve                got a           murder         in   a park with a


21   theyve done something                                    wrong not your daughter but                                                           21   through-and-through                               shot what                   DNA         is    there going              to   be
22                                                                                                                                                  22
     theyve done something                                                       The                   time                                                     A.
                                                              wrong.                          first
                                                                                                                 you punish                                               Right.


23   them        you        say           You         should             have known better.                                Second                   23          Q.        Do you            think      somebodys going                                  to   leave          the   gun

24                                     You           know what you                                    know better.                                  24   there               the police                                       them solve the crime
     time you say                                                                         did                                                                        for                             to        help

25          A.                                                                                                                                      25          A.        No.
                      Right.
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                                                                                                                                                            36                                                                                                                                                      38

1           Q.      Do you                    think            crimes                     always           occur with                                                1           Q.        As a partner or as a                                         helper.         Okay.         So we might

2                                                                                                                                                                    2    have the               individual                       in   the         car the criminal                 in    the        car
     eyewitnesses

3           A.      No.                                                                                                                                              3    the    third          guy      in        the            car.       Okay.             He might be a witness.

4           Q.      Do you                    think            they ever occur                               with    eyewitnesses                                    4    He might get some kind of plea                                                       offer in       exchange                for his



5           A.      Yes.                                                                                                                                             5    testimony.                   All     right                   Do you             like   the       fact     that



6           Q.                            And thats                                              But       do you see how                      in                    6    witnesses                sometimes get plea                                      offers          to testify           they get
                    Okay.                                                      true.


7    real    life        this        isnt       CSI                                                                                                                  7    some            kind     of leniency                          to     testify


8           A.      Oh           yeah.                                                                                                                               8           A.        It    doesnt bother me.

9           Q.       Do you ever watch                                               CSI                                                                             9           Q.        I    dont           really like                   it.    I   Wish      I   didnt       have          to



10          A.      Yeah                  sometimes.                                                                                                                 10   do    it    but        sometimes you can see                                            its      a necessary


                          dont because                                                                                                                                    business
11          Q.       I                                                   its         kind        of    the vein       of   my                                        11


12   existence.                  I   wish           I    had             that             kind        of   evidence.            I    wish       I
                                                                                                                                                                     12          A.        Sure.


13   could solve                     a    murder by a fragrance                                              molecule               --                               13          Q.        Now           if    I       cut a deal with the driver                                   for



14          A.      --                              used                                                                                                             14   instance                in   the             case the law                       is   going         to   say      if   hes the
                              actually                                   it.




15          Q.      --
                              yes yes                    it     does.                  And they have a much                                                          15   driver          and helping                         me commit                    that       crime         hes whats

16   better         wardrobe.                       But             when we                      talk      about witnesses                          lets             16   called          an accomplice.                                 The law says there has                                 to   be some

                                                                                                                                                                                                                                                                                                 connect




--24
17                       instance                   Im going                                               or Martin       and                                       17   evidence                outside                    of    his    testimony                   that   tends        to
     say     for                                                                       to try                                                 get
                                                                                                      --                                  I




18   caught.              Okay.                                                                                                                                      18   the person                   Im      trying                  with the crime.


19          A.       Okay.                                                                                                                                           19          A.        Okay.

20          Q.       Who                 is
                                              going                 to   know the most about the crime                                                               20          Q.        And          isnt that                      really       fair


21          A.       Both of                                                                                                                                         21          A.        True.
                                              yall.


22          Q.       Us          right                                                                                                                               22          Q.        Because                      if    I
                                                                                                                                                                                                                                  was        just        going        to     go on my drivers

23          A.                                                                                                                                                       23   word
                     Right.


            Q.       All                        So             is    Martin                 --    the law       would           call                                 24          A.        Right.
                               right.


25   Martin         my         accomplice.                                Now               let       me     give    you another                                     25          Q.        --
                                                                                                                                                                                                 anybody                      could-get                 up there and say                        Oh         I




                                                                                                                                                                37                                                                                                                                                  39

 1   example throw something                                                          in there.              Lets    say we have our                                  1   wasnt the                trigger                   man.

 2   wing        man           in    the        car.                He doesnt                         participate          in       the                              2           A.        Yes.


 3   robbery.                 Hes             just there.                                                                                                             3          Q.        Okay
4           A.       Okay.                                                                                                                                           4           A.        True.


 5          Q.           Is    he        guilty         of capital                         murder                                                                     5          Q.        If    you dont have any other evidence                                                        that        tends


 6          A.       Appears                    under the law                                    he    is.                                                            6   to   connect              the Defendant                                  to   the     crime you have                       to find


 7          Q.       Well                think          about                   it    this       way.        Did    he help              in                           7   him        not        guilty.


 8   any     way                                                                                                                                                      8          A.        Okay.

 9          A.       Yes.                                                                                                                                             9          Q.        You see how                                 that        works

10          Q.           How         did        he        help                                                                                                       10          A.        Yes.


11          A.           He was                in       the car                     driving.                                                                         11          Q.        If
                                                                                                                                                                                                 you dont have any other evidence                                                        that        tends


12          Q.           No.         We         put him                        --     a   third        person        in   the        car.       I                    12   to   connect                 him         to        the       crime            then      you        look    at    the       rest      of


13   put another                     person                   in     the             car.        They dont do anything.                                              13   the case.

14   Theyre              just there.                       Because the law says mere presence                                                                        14          A.        Okay.

15   alone          does not make you                                                                                                                                15          Q.        Okay.               You look                      at     the    rest of         the    case because
                                                                                     guilty.


16          A.           Okay.                                                                                                                                       16   there           may be other evidence.




--25
17          Q.           Okay.                And sadly enough sadly enough the law                                                                        is        17          A.        Okay.

18   not    where               if
                                     you know a crime                                            is   occurring           you have some                              18              Q.        Compartmentalize                                     that    accomplices testimony and

19   kind     of         duty        to       stop            it.        Okay                                                                                        19   look        at   the         rest            of    the case.


20          A.           Okay.                                                                                                                                       20          A.            Right.


21          Q.           All                        So mere presence                                         alone    is   not going                                 21              Q.        See how                  that           works
                                right.


22   to   make you                       guilty.               You have                      to       do     like    encourage                      or               22          A.        Yes.


                                                                                                                                                                                               Now                                                 bad guy                        back seat who
                                                                                             you know one of those                                                   23
23   aid or solicit                      or attempt                      to          aid                                                                                             Q.                   if       I

                                                                                                                                                                                                                       bring            the                           in   the


24                                                                                                                                                                   24   didnt stop the crime
     ways.

            A.                                                                                                                                                       25              A.        Right.
                         Okay.
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                                                     STATE                         VS.            MARK             ANTAONY                  SSO.T7.              JýNUARY                                  31                     2012
                                                                                                                                       40                                                                              ý
                                                                                                                                                                                                                                                                                                  42

1          Q.    --
                          they        dont have                  to    be corroborated.                                                      1           A.     Okay.

2          A.    Okay.                                                                                                                       2           Q.    --     if
                                                                                                                                                                            you even have a doubt about whether                                                              their



                                      Because                                                                             The                                              was taken                                                        with or                      accordance
                                                            theyre not                   an accomplice.                                      3    statement                                              in                                                     in
3          Q.    Okay.                                                                                                                                                                                        conjunction

4    law doesnt look                     at    them the same.                                  Does     that     make sense                  4    with the           rules.



5          A.    Yes makes                       sense.                                                                                      5           A.     Okay.

6          Q.    I    know Im                 giving         you a crash                       course       in   the     law.                6           Q.     Does             that           make sense

7                Police           officers.                 Lots of types of witnesses                                                       7           A.    Yes.
     Okay.

8    testify     police           officers           in
                                                             particular               when a crime                                           8           Q.     If   theres other evidence                                           proving              his   guilt


9    occurs.          The        thing         about         police                officers       is    youre not                            9    thats       fine.         If   theres not other evidence                                                proving          his


10   entitled        to    give them automatic                                     credibility          just   because                      10    guilt       what do you                       think         the law              tells    you you have                         to   do
                                                                                                                                            11           A.     Find            them not
11   theyre a             police        officer.                                                                                                                                                          guilty.


12         A.                                                                                                                               12           Q.    Absolutely.                           Can you do that
                 Okay.

13         Q.                                                                                                                               13           A.     Yes.
                 Theyre                just like            everyone                 else.


14         A.    All       right.
                                                                                                                                            14           Q.     All right.                     Now         when we                  talk       about         trial        were

15         Q.    Youve got                     to listen              to their         testimony               and                          15    really talking                 about              two       potential                  times       kind        of like         two


16   decide do              I   think         its    believable                     do     I
                                                                                               find     them                                16    mini    trials.           All      right

17   credible.            Now          you can take                         into     account            they     have                       17           A.     Okay.

                                                                                                                                                                                                    Guilt/Innocence.
18   experience                 that    you and              I    dont necessarily have.                                                    18           Q.     First           part           is




19         A.        Right.                                                                                                                 19           A.     Okay.

                                                                                                                                                                                                         end of                          phase then the end
                                you cant                                     and say because                      they wear                 20
20         Q.        But                             sit    there                                                                                        Q.     Okay.                At the                                  that                                                      of



21   a uniform              because                 they         have a gun they have a                                leg      up or       21    that    part       --     like      we use                  a        football          game.            And        I   dont

22   a    head       start       in
                                       credibility.                                                                                         22    mean        this         is    a   football              game                  just     as an           illustration.               At


23         A.                                                                                                                               23    halftime           youre                 given the question                              did       the State              prove
                     Right.


24         Q.        Okay.            See how                that       works                                                               24    his guilt          beyond a reasonable                                          doubt        to    your satisfaction

25         A.    Yeah.                                                                                                                      25    Mr. Buckner.



                                                                                                                                       41                                                                                                                                                         43
                                                                                                                                                         A.
 1         Q.        Will       you look             at police                officers          like    you look          at                 1                  Okay.

2    everybody              else                                                                                                             2           Q.     Okay.                 If   I
                                                                                                                                                                                                have              if
                                                                                                                                                                                                                           you are convinced                     of       that


 3         A.        Yes.                                                                                                                    3    then        you     return               a    verdict                of   guilty.


4          Q.        Now          statements                      many             times a defendant                     will
                                                                                                                                give         4           A.     Okay.

 5   a statement.                 Many times a defendant                                         will
                                                                                                         give a                              5           Q.     You come back out                                           in    the courtroom as a                         practical


6    statement.                 Sometimes they                              tell    the truth           sometimes they                       6    matter       to potentially                            hear              more evidence.

 7   dont.       But        either       way           there            are        rules        that     have     to   be                    7           A.     Okay.

                                                                                                                                                                                                                                                                                       You
 8   followed.                                                                                                                               8           Q.     But         you may not hear more evidence.                                                              Okay.

                                                                                                                                                                           good things about a defendant.                                                       You may hear
 9         A.        Okay.                                                                                                                   9    may         hear

                                                                                                                                                                                                                                          You might hear he was a
10         Q.        The        police         have          to   follow             the       rules.       They have                        10   as   an example he cured cancer.

                                                                                                                                                                                                                             he saved                                                 You
          give them Miranda Warnings you have the                                                                                            11   decorated                war veteran
                                                                                                                          to                                                                                  that                                  his battalion.
11   to                                                                                                          right


12   remain          silent           that     line.                                                                                         12   can hear any                       kind           of   evidence                  that    a    juror        might          think


13         A.                                                                                                                                13   is   relevant             to    decide                 whether                  or not    someone                      lives    or
                     Right.


14         Q.        Constitutional                    rights.                                                                               14   dies.


15         A.        Yes.                                                                                                                    15          A.     Okay.

16         Q.        Doesnt mean                       it    has        to     be a pleasant                                                 16          Q.     Okay.                You might hear                                for     instance              about           an

17   environment.                     The       police            officers           dont have              to   give      them              17   existence                of a criminal record.                                    It   just   --    I    could          give


                                                                                                                                                  you mounds
18                                       and                                                                                                 18                                  of different                      types           of evidence                  you       might
     a cheeseburger                                  fries.


19         A.        Right.                                                                                                                  19   hear.


20         Q.        They dont have                          to       sit    there        and give them an                                   20          A.     Right.


21                                                                                   in        a homicide                                    21          Q.     You might hear about an individuals background.
     engraved              invitation               to participate


22   interview.             But there                are     minimum                     rules        the   police       have     to         22   Okay.         And then                       at   the       end            of   the     Punishment                      Phase            if
                                                                                                                                                                                                                                                                                                you

23   follow.         If
                          you     dont          think            those             rules       are followed            you                   23   found        him         guilty of capital                               murder you get the three

24   have       to                                                    that         statement            and look          at    the          24   questions.
                      compartmentalize

25   rest of     the        case         --                                                                                                  25          A.      Okay.
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                             Page 66 of 112 PageID 4311
                                                             STATE                      VS.                     MARK                  ANTHONY                    SO   TZ                   JANUARY                                  31.                2012
                                                                                                                                                            44                                                                                                                                                                 46

1            Q.    All       right.         So you kind                          of     understand                                                               1          Q.     See how                          that          works

2    Guilt/Innocence                       is    --                                                                                                              2          A.     Yes.


3            A.    Yes.                                                                                                                                          3          Q.     So where                             would            society           be     that       youre looking                            at

4            Q.    --    one phase                               Punishment                       is       the       end of the               --                 4          A.     I
                                                                                                                                                                                               would guess                          in    the      prison.


             end                                                                                                                 Youve                                                                                           Do you                                       are
5    the                of   the     game                   if
                                                                  you look              at       it       that       way.                                        5          Q.     Absolutely.                                                    think         guards                 entitled                  to




--17
6    seen how                football           games                   obviously                         who        is    winning            at                 6    be safe

7    halftime           isnt       always               the           same          person.                     It
                                                                                                                      may     not look                           7          A.     Yes.


8    like    the       same team                       at        the   end         of the                 game.                                                  8          Q.     Do you                      think              that    other            inmates are                entitled                 to



9                             All    right.             How does                      the Jury                   decide                These                     9    be safe                   Do you                      think        everybody               that    goes         to      prison                 is




10   are     really          long questions.                            They dont look                                    really      long                       10   the   same                level          of           violence

11   because             I   boiled         them down here.                                       Okay.                                                          11         A.         No.


12           A.                                                                                                                                                  12         Q.     And theres some                                            individuals            that      think                  Well
                   Okay.

13           Q.    You dont                 write                in    the       life    or       death obviously.                                               13   you know what you shouldnt commit a felony                                                                              because

14           A.        Pardon                                                                                                                                    14   then    you go                to         prison              and you get what you get.                                               You

15           Q.    You dont                 write                in    life      or death.                                                                       15   know somebody                                     that        commits a                   credit       card      abuse                   or


16           A.    You dont                 write                in                                                                                              16   someone                   that      steals                  habitually               to   support        their              family


             0.    Theres not a blank                                       --                                                                                   17         A.         Right.


18           A.        Oh      okay yeah yeah.                                                                                                                   18          Q.    --
                                                                                                                                                                                               you know they may not be violent                                                            certainly


19           Q.                                                   the                                 didnt say              that                                19   not as      violent                as a                                 murderer.
                             you
                   --                                                       blank.                                                                                                                                           capital
                                    just        fill        in                               I




20            well.          Okay.              These questions                                   are           answered                yes or                   20         A.         Right.
     very

21   no.     All       right                                                                                                                                     21          Q.        Okay
22           A.        Okay.                                                                                                                                     22         A.         Okay.

23           Q.    And         its     the         way            that           you answer these questions                                                      23          Q.        I
                                                                                                                                                                                               can give you some other examples.                                                            Lets say

24   that     determines whether                                       or     not       someone                       gets a          life                       24   when Martin and                                        go rob the bank we go rob the bank                                                           I
                                                                                                                                                                                                                        I




25   sentence                without            parole                or    the death penalty.                                                                   25   come        running                 out               and      I
                                                                                                                                                                                                                                         am met with a                   hail of gunfire.




                                                                                                                                                            45                                                                                                                                                                 47

             A.                                                                                                                                                             A.         Okay.
1                      Okay.                                                                                                                                      1




2            Q.        All    right.        First                two questions                            --   and youre                                         2           Q.        All       right.             I

                                                                                                                                                                                                                            may          not be the             same         person                   I   was

3                                                                     You dont have                                       memorize                               3                              moment.
     going        to    get a handout.                                                                               to                            this.              after that



                                                                                    going Thank God.
4                       know youre probably                                                                                                   First              4           A.        Probably                     wouldnt                   be.
     Okay.         I




5    two questions                          have a                                                                                                                5          Q.                                 may               not     be a         future        threat      to        society
                                                                   responsibility to                                 prove       to    you                                             Okay.               I
                                       I




6    what the answer                        should                    be.                                                                                        6    after      having             committed                            that      capital        murder.              I

                                                                                                                                                                                                                                                                                            may be

7            A.                                                                                                                                                   7   every                    of   dangerous                            as       ever was.              Okay.              Ill           take
                       Okay.                                                                                                                                                      bit.
                                                                                                                                                                                                                                              I




8            Q.        All    right.        The              last      question                       I   dont have a                                             8   the    example of someone                                               who        molests a            child         and the mother

9    responsibility.                   Who                  is   the only               table             that        ever       has a                            9   goes and                  kills     the                individual             responsible.                They walk                           in



10   responsibility in this                             trial              My      table.                  Mine.                                                 10   someones house                                         to   kill    them.            You know the example that                                           I




11           A.        Yeah.                                                                                                                                     11                They walk                                in   their     house and theyre going                                          in    to
                                                                                                                                                                      gave.

12           Q.        So     lets         look         at       these           questions.                          No.     1    in                             12   assault them because                                               theyre going                in to     kill        them know

13   other        words are you convinced                                                beyond a reasonable                                        doubt        13   exactly              what theyre doing.                                      Thats         actually         capital


              the Defendant                                             theres a                                                             the                 14   murder. Okay.                                 For           some jurors they may say                                                dont
14   that                                              --    that                                     probability that
                                                                                                                                                                                                                                                                                                      I




     Defendant                would             commit                                       acts                     violence               that                15   believe              that     person                       would            be a     future        threat.
15                                                                     criminal                                 of


16   would         constitute               a continuing                          threat                  to    society.                                         16          A.            Right.


17           A.        Right.                                                                                                                                    17          Q.            Because                      barring           that         exact      same         set of



18           Q.        You would agree with me                                            that                 society        when we                            18   circumstances                            ever occurring                            again.         Two      people                     killed        in



19   talk     about society                        were                talking           about                 wherever               the                        19   the    same               criminal                     episode              is   a   capital       murder.                      My husband

20   Defendant                finds         himself                                                                                                              20   cheats           on me.                   I   dont take                     kindly        to   cheating.                    I

                                                                                                                                                                                                                                                                                                          go    in



21           A.        Correct.                                                                                                                                  21   calmly               I   wait     till
                                                                                                                                                                                                                    theyre               rendezvousing                       and       I    kill          them

                                                                                                                                                                                                        Thats a                                                                             go on and
                                                                                             juncture you know                                                   22
22           Q.        Because                                                                                                                     at   a             both.       Okay.                                                                murder.               could
                                            obviously                       at this                                                                                                                                                 capital                              I




23   minimum hes going                                      to    be       in    prison                   for   the        rest of       his                     23   give you 50 other examples                                                       but the point             is        you can see

24   life.                                                                                                                                                       24   how there are                            different                 sets       of     facts

25           A.        Uh-huh.-                                                                                                                                  25          A.            Right.
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                                                STATE                         VS.            MARK                   ANTHONY                    SO    TZ                  JANUARY                              31.                2012
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1           Q.     And depending                    on     what those                    facts              are    and                         1    trigger to                mean                for    someone                to    die.



2    depending            on what you hear                              in   punishment                     --                                 2          A.     Right.


3           A.     Uh-huh.                                                                                                                     3          Q.     Or                did           he   actually          anticipate                that      a   human             life




                              answer                                                          answer               may be                      4    would       be taken.
4           Q.     --   the                    may        be yes                or    the                                        no.


5           A.                                                                                                                                 5          A.     Okay.
                   Right.


6           Q.     Okay.          What       is     most important                       is       that           you look       at             6          Q.     Now                     you might think Well                                     I   found          him        guilty


7    this                     and each              of    the questions                       that           follow      with a                7    of capital                murder yes.                          But       do you see how                           it
                                                                                                                                                                                                                                                                           just
            question

8    new eye.                                                                                                                                  8    depends                   on when youre answering                                             this      question             at this



9           A.                                                                                                                                 9    point
                   Okay.

10          Q.     Because there may be evidence                                                  --
                                                                                                        you cant say                           10         A.     Yes.


11   just   because           I   found       someone                        guilty     of   capital              murder                       11         Q.     How                    it       could       be    yes           or    it   could        be      no              You

12   theyre always                going       to     be        a        future    danger.                                                      12   have the nephew high and drunk.                                                             You think              You            know

13          A.     Right.                                                                                                                      13   what he should                                    have known                 better.              But   I
                                                                                                                                                                                                                                                                get here              to



14          Q.     You see how                                                on what the                                  the                 14   Punishment                                   dont    think          he     did      know better.
                                                    depends                                                  facts    of                                                                     I

                                               it




15   capital       murder are                                                                                                                  15         A.     Yeah.


16          A.     Yes.                                                                                                                        16         Q.     I           dont think he knew a                                    life       was going             to    be

17          Q.     And what evidence                           you may hear                            at   punishment                         17   taken.       See how                              that    works

18          A.                                                                                                                                 18         A.                 see.
                   Right.
                                                                                                                                                                     I




19          Q.     From whatever                    source.                   Okay.          You have a nephew                                 19         Q.     So would                             you agree would you promise the Court

20   and uncle and the nephew                                      --    the uncle got                      him drunk got                      20   that just                because                   you found someone                               guilty        of     capital


                                                                   The uncle                                                                   21   murder                          mean                                     you            found      them                        or      you
21   him high            enlisted       his help.                                            is    a career                                                              --    I
                                                                                                                                                                                                        obviously                                                     guilty


22   criminal.                                                                                                                                 22   wouldnt be                      right             here    --   that        youre not automatically

23          A.     Okay.
                                                                                                                                               23   going       to           answer                   this   question             yes
24          Q.     Okay.          But    you may                   not hear about the                             fact    that                 24         A.         Right.


25   hes high or drunk                   until       Punishment.                                                                               25         Q.         Do you see how                                it   just      depends                on whatever                     the



                                                                                                                                          49                                                                                                                                                      51

1           A.                                                                                                                                  1   facts      are            and the evidence                             is    at this          point         in   time
                   Right.


2           Q.     And you might think                                  You      know what what they                                            2         A.     Yes                     I       understand.


3    did    was bad.              He shouldnt have been a getaway                                                     driver for                3         Q.         Have you ever sat there and said                                                           to   somebody

4    his    uncle robbing               that        bank but a                   life    sentence                  without                      4   Im      going                  to        sleep       on it

5    parole        is   enough.              And Im not                       telling    you.               Im     just                         5         A.         Yeah.


6    kind        of giving        you some examples                               to    illustrate.                                             6         Q.         You have a decision                                       to    make when you wake up                                       the


7           A.     Sure.                                                                                                                        7   next       morning you                              think        You            know what Im gonna                                     make   a


8           Q.     All    right.       So do you see how youre asked                                                     this                   8   different                 decision.


9    question            you could have the                              trigger        man             you       could     have                9         A.         Yes.

                                                                                                                                                                     Theres a reason
                                                                             you could simply have
10   the partner              and      for   all    of    it       or                                                                          10         Q.                                                            that     there           is   time       that



11   the helper           that        was    in     for   the robbery                    but not the                 capital                   11   separates                      our decision                    process.

12   murder                                                                                                                                    12         A.         Right.


13          A.     Right.                                                                                                                      13         Q.         Because                          once we have had an opportunity                                                 to



14          Q.     See how             that     works                    See how you can answer                                      it        14   reflect          sometimes we have a                                            different          answer.


15   yes     or    no depending                 on the facts                                                                                   15         A.         Yes.


16          A.     Yes.                                                                                                                        16          Q.        See how                          that    works

17          Q.     That Special                Issue No.                     2 we       talked              about.         Once                17         A.         Yeah.


18                                                                                                                  doubt       one            18          Q.                                         But     once again                        have a job                 to    prove
     again are you convinced                               beyond a reasonable                                                            of                         All           right.                                                   I




19   those        three things               Did he            actually               cause the death                            Do            19   to   you what                       this          question          should              be.



20   I   have the         trigger       man              Thats easy.                     All           right.      Did     he                  20         A.             I    understand.


                        cause the death                                  he didnt                                 cause the                    21          Q.            Ive        got something                        else         to        prove.          Ive        got   to
21   actually                                                      If                    actually


                                                                                                                                               22                                   and prove                                                               Then we get
     death he meant                                                                                              be the                                                                                                                                                                     to
22                                     to    kill   the deceased.                            Could                         driver                   prove       that                                          that       first
                                                                                                                                                                                                                                     question.

23   in    the car       that     said       dont leave any witnesses.                                                                         23   the    third              issue.                  Youll       see     its     very           different.           Im

24          A.     Yeah.                                                                                                                       24   going       to            let
                                                                                                                                                                                    you read                  that      for      a second.


25          Q.      Okay.         I
                                      dont have                to        be the         one        pulling          the                        25                                   Pause                in   proceeding.
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                                                                                                                                                                                                                                                                                                                      54
                                                                                                                                                 52
             A.                                                                                                                                        1       death              penalty                  be imposed a                                 life        sentence                without        parole.
1                   Okay.

2            Q.     What does                       that    question            mean             to        you                                         2                 A.        Right.


                                                                                                                                                       3                 Q.                                And you have                              to            consider                  these         things
                          means that                                           says             character                his                                                       Okay.                                                                                              all
3            A.     It                                    just like       it




4    background                  may have influenced                                 what he did and                           I

                                                                                                                                   guess               4       character                          background                               moral         culpability.



5    we      take        that into         consideration                       when we do the sentencing.                                              5                 A.        Right.


6            Q.                                     And most importantly you consider                                                                  6                 Q.        Do you see how                                          that     works
                    Absolutely.

7    all   the evidence.                                                                                                                               7                 A.        Yes.


8            A.                                                                                                                                        8                 Q.        Its            a very subjective                                 question.
                    Right.


9            Q.     And         its       up    to    you        as a Juror                what weight you                                             9                 A.        Yes.


                    what significance                                                                                                                 10                 Q.        Can you do that
10   give     it                                                 you give            it.




             A.                                                                                                                                       11                 A.        Yes.
11                  Right.


12           Q.     For instance                                                                     when they commit a                               12                     Q.    Can you make a balancing                                                             or   an evaluation
                                                      somebody                  is
                                                                                      high

                    One                                                                                                                                                  A.        Yes.
                                               may say I
13   crime.                                                              think        thats            mitigating.                                     13
                                juror
                                                                                                                                    I




14   think        that     reduces                  his    moral         blameworthiness                               how much                        14                    Q.    Okay.                       I
                                                                                                                                                                                                                       skipped              over something.                             That       first




                                                                                      because                        dont                   he                 question the very                                                                                   in   Punishment asked you
15   were going                 to    blame               him morally                                            I          think                      15                                                                first         question


16   would         have done                   it    had he not been high.                                       Another           juror               16      whether                 theres a                          probability.


17   says I              think      its    aggravating.                     Thats why we have laws                                                     17                    A.    Okay.

                                                                                                                                                                                                                                                                                  not a
                         drugs and he
18                                                                                took the                  drug so                                    18                    Q.    Its            not a                certainty.                  Its    certainly
     against                                               voluntarily                                                         I




                                                                                                                                                       19                                                  have          to                        its     more                             than    not.
19   dont consider                         mitigating.                   Its    really           the        collective                                         possibility.                                                       prove                                    likely
                                                                                                                                                                                                   I

                                      it




20   wisdom              of    the                    Dont you                 think        thats the                 way     it                       20                    A.    Right.
                                      Jury.


21   should         be                                                                                                                                 21                    Q.    Okay.                       You see the difference                                             I   cant ever             tell




22           A.     Yes.                                                                                                                               22      you exactly what someone                                                            is    going            to    do.


23           Q.      I   want        to    point           out something                        to    you.            Do you see                       23                    A.    Sure.


24   what the very                   first                         to    consider                                                                      24                    Q.    You take the past and                                                  try        to   extrapolate               into     the
                                                thing        is




25           A.     All        the evidence.                                                                                                           25      future.




                                                                                                                                                 53                                                                                                                                                                    55

 1           Q.     All        the evidence.                      But then they                      list    out       what                                1                 A.    Right.


 2   the evidence                                                         consider.                   Whats             the very                       2                     Q.    Can you do that
                                     is    that       youre         to


 3   first                    thats        listed          right    under            all    the       evidence                                         3                     A.    Yes.
              thing


 4           A.      Circumstances                          of    offense.                                                                             4                     Q.    Do you see how                                           the     way these questions are set

                                                                                                                                                                                                                                                    sentence                   and someone                      may
 5           Q.      Absolutely.                     Because              you take                   into    consideration                                 5   up someone                                  may               get a          life                                                                      get a

                                                                                                                                                       6                                                                                           on the facts
      you balance what he
 6                                                        did.                                                                                                 death              sentence                             depending

                                                                                                                                                           7                 A.    Sure.
 7           A.          Right.


 8            Q.     Against               whatever               mitigating                circumstances                          there                   8                 Q.    And                 I   ask           this      question                        Im     about         to    ask you

                                                                                                                                                                                  be          morbid                     not       because                         take      any pleasure                   out of
 9    are.         Do you see                  that        this    question                is   not asking               you are                           9   not           to                                                                                I




                                                                                                                                                       10                     ask                 because                         want you                 to        be    fair       to yourself.
10    there        mitigating              circumstances                                                                                                       it.       I               it                                   I




                                                                                                                                                                                                                       need                 prove can you vote                                      such a
                                                                                                                                                                             prove what
                                                                                                                                                       11      If                                                                  to                                                          in
11            A.         Right.
                                                                                                                                                                     I                                             I




12            Q.         Because the key word                                                    front of that              is                         12      way            that        Mr.              Soliz             dies
                                                                               right       in



13    what                                                                                                                                             13                    A.    Yes.


14            A.         Sufficient.                                                                                                                   14                    Q.     Okay.                          You see what Im asking of                                                you

15            Q.                                                                                                                                       15                    A.     Yes.
                         Enough.

                                                                                                                                                       16                    Q.                   prove                 what               need          to        prove        on Question                 1   and
16            A.         Enough yeah.                                                                                                                                               If                                                 I
                                                                                                                                                                                              I




17            Q.         On    balance.                   The worse the crime                                perhaps               to   a              17      Question                           No.          2        but       in       looking         at        the     evidence youre

                                                                                be                                                                     18      convinced                           there                     a    sufficient                                           circumstance
      juror the bigger there ought
                                                                                                                                                                                                                        is                                     mitigating
18                                                                       to                mitigating


19    circumstances.                                                                                                                                   19      can you give him a                                             life         sentence

20            A.                                                                                                                                       20                    A.     Yes.
                         Right.


21            Q.         Its                                              Do you understand                                 its                        21                    Q.     Do you see how                                          that        works
                               up     to     you.          Okay.

                                                                                                                                                       22
                                                          any do they exist
22    not asking are there                                                                            it    is       are they                                                A.     Yes.


23    enough                                                                                                                                           23                    Q.     Do you have any                                          questions                    for     me
24            A.         Yes.                                                                                                                          24                    A.     No.


                         To warrant                                                                                   than the                         25                    Q.     Have                           explained                 everything                    to   your satisfaction
25            Q.                                    that     a    life   sentence                    rather                                                                                                I
--2
1




3

4

5

6

7
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           A.




     attention
                  Yes you

                         MS.

                       and your

                          Ill



                         THE COURT

                         MR.
                                        tender
                                                have.


                                               JACK
                                                         time.


                                                              the




                                               HEISKELL Thank you
                                                                  STATE



                                                                     I
                                                                         appreciate




                                                                         Venireman




                                                        VOIR DIRE EXAMINATION
                                                                              Ill
                                                                                            VS.




                                                                             Thank you very much.



                                                                                      recognize
                                                                                                      very




                                                                                                      to
                                                                                                                MARK


                                                                                                                  much your



                                                                                                            the Court.

                                                                                                                the Defense.


                                                                                                                Judge.
                                                                                                                                              ANTHONY
                                                                                                                                                                     56
                                                                                                                                                                           SO

                                                                                                                                                                           1



                                                                                                                                                                           2

                                                                                                                                                                           3

                                                                                                                                                                           4

                                                                                                                                                                           5

                                                                                                                                                                           6

                                                                                                                                                                           7
                                                                                                                                                                                     TZ




                                                                                                                                                                                 the D.A.
                                                                                                                                                                                           A.

                                                                                                                                                                                           Q.

                                                                                                                                                                                           A.

                                                                                                                                                                                           Q.




                                                                                                                                                                                           A.

                                                                                                                                                                                           Q.
                                                                                                                                                                                                     JANUARY

                                                                                                                                                                                                     Ive

                                                                                                                                                                                                     --



                                                                                                                                                                                                     --




                                                                                                                                                                                                     Well



                                                                                                                                                                                                     Thats
                                                                                                                                                                                                           51

                                                                                                                                                                                                           all
                                                                                                                                                                                                                 Page 69 of 112 PageID 4314

                                                                                                                                                                                                                 lived



                                                                                                                                                                                                                    years

                                                                                                                                                                                                                    my

                                                                                                                                                                                                                      you



                                                                                                                                                                                                                      correct.
                                                                                                                                                                                                                               here




                                                                                                                                                                                                                              life



                                                                                                                                                                                                                                did




                                                                                                                                                                                                     And how long have you known Mr.
                                                                                                                                                                                                                                     just
                                                                                                                                                                                                                                           31.




                                                                                                                                                                                                                                                about.

                                                                                                                                                                                                                                         indicate
                                                                                                                                                                                                                                                                   2012




                                                                                                                                                                                                                                                                   that        you know Dale Hanna




                                                                                                                                                                                                                                                                                                  Hanna Hes
                                                                                                                                                                                                                                                                                                                                   58




                                                                                                                                                                           8                 over           here.
8    BY MR. HEISKELL                                                                                                                                                             right


                                                                                           How                                                                                                                                                            He                    down the                        from
9          Q.     Morning Mr. Buckner.                                                                are       you                                                        9               A.        Since            I
                                                                                                                                                                                                                          was a           kid.                      lived                             street



10         A.     Doing                  great.                   How          are       you                                                                               10    me.

                                                                                                                                                                                                                           So most
                                                                                      My name
                                                Thank you.                                                                                                                                 Q.                                                    of                                   that        a   fair
                   Im                                                                                             Mike                                                     11                                                                             your           life    is
11         Q.            fine.                                                                               is                      Heiskell.                                                       Really.


12   Alongside           Greg Westfall we represent                                                             Mark                Soliz.          Im                     12    statement                       that      youve known Dale

13   going       to talk                to     you            ask        you some questions and                                                   quite                    13              A.        Yeah.                We         werent               friends              or anything             like    that.



14                tread over                            some             of        the   same ground                            Ms.           Jack went                    14         just      knew             of   him.           He had                a       57         Chevrolet           that     everybody
     frankly
                                                                                                                                                                                 I




                                                                                                                                                                           15    admired.
15   over but from a                            different                     perspective                  obviously.

16         A.     Yes.                                                                                                                                                     16              Q.        Oh          okay.


17         Q.     At    this                 point do you                           have any questions                                    swirling                         17              A.        He was                a    little     bit   older so                      we     didnt           have any

                                                                                                                                                  case                     18    interactions                       as kids              but everybody                           knew he              lived    down the
18   around        in
                        your                   mind about the                              ability         to   serve                in       a


19   of this      nature                                                                                                                                                   19    street           and drove nice                           cars.


                                                                                                                                                                           20
20         A.      No       not                really.
                                                                                                                                                                                           Q.        All       right.          Okay.




 --8
21         Q.      You had checked                                            on there            that          you didnt want                                to           21                                    MR.          HANNA               Watch what you say.

22   serve.        Thats why                             I    asked                that.                                                                                   22               Q.       All       right.          Let       me ask                    you about that

                                                                                                                                                                           23               Buckner because                                what                    need               know                               youve
                   Well thats only because                                                                                                                                           Mr.                                                                                        to                    obviously
23         A.                                                                                  of     my job               situation                                                                                                                           I




                                                                                      Im going on.                                                know                     24        known him                   for      a    number of years and known hes been a D.A.
24   because            of this                 new               project                                              I    didnt


25   what the time frame was                                                  for     the    trial         so there                  was           --    it                25        here       in    Johnson                  County as                   well          as Somervell                   County           for   a



                                                                                                                                                                      57                                                                                                                                                           59

 1   was a        difficult                  time            in    my         life.                                                                                         1        number               of     years as well.
                                                                                                                                                                                                                                                      I   take           it    that   you know and

                                          And                                                                                                                               2                             Mr.       Hanna because                                  of   who he                and what he does
                                                                    you be moving
                                                                                                                                                                                                                                                                                        is
2          Q.      Sure.                                 will                                                transferring to                                                         respect

3    Phoenix                                                                                                                                                                3        is   that    correct

4          A.      No       no..                Im           going out there
                                                                                                      --    were going out                                                  4               A.       Thats                right.


 5   there       for    some                   orientation                          what       all    this involves.                              And                       5               Q.       And you obviously                                    know as               well        that      he     along


6    immediately                        after           that the next                       week we go                          in full            full                     6        with the three                       other Prosecutors                                   at this       table       are


                  ahead mode.                                                                                                                                               7        seeking              a conviction                    of capital                    murder
 7   speed

           Q.      Full         speed                    ahead                at      some        other           location                                                  8               A.        Right.


           A.                                                                                                                                                               9               Q.             in this             case.        And                    that        happens then                    of
                   Well                                       be         here.                                                                                                                        --
 9
                                                                                                                                                                                                                                                           if
                                         Ill    still



                                                                                                                                                                                     course seeking the death penalty against                                                                     Mark Soliz our
10         Q.      Youll                 be here.                        Okay.           All    right.            Maybe                   I                                10


11   misunderstood                              that.              You had the chance                                  before                     you         walked       11        client.         Okay
12   in to      look     at             the     list         of    witnesses                   that        may be                   called              in                 12               A.        Okay.

                                                                                                           do that                                                                                                              how you                                 about Mr.            Hanna
                                               you have a chance
13   this    case.         Did                                                                       to                                                                    13               Q.        Knowing                                     feel                                                       your

                                                                                                                                                                                                                 of       him over the years and your respect                                                   for      him
14         A.      Yes                  sir         I   did.                                                                                                               14        knowledge

15          Q.     Did      you recognize                                          any     names                                                                            15       as    youve indicated                               that    you have                      for    him do you               think


                                                                                                                                                                                                  he was asking you                                            do
                   No                                         Well when you say                                                                                             16                                                                    to                     something                along       this
16          A.                  I       didnt                                                                     did           I
                                                                                                                                     recognize                                       that    if




17   some         of    the             last            names Im                      familiar             with    some                   of the              last          17       nature          thats very important                                      that           you would have a

18    names but             I           dont know thats the person                                                 I       know because                              it     18       tendency                  to   follow           him because of your knowledge                                                  of   him

             didnt       have the                                            name.                                                                                          19       your respect                     of      him your                admiration                      perhaps           of    him
19   just                                                    first



20          Q.     Sure.                     Were             they            police         officers             or       --       or    --                               20               A.        When you                       say follow                     him

21          A.     Oh               I   dont know.                             I
                                                                                    just    recognized                     some                   of the                    21              Q.        Yes             yes.

                                                                                                                                                                            22                                      anymore than anybody else
22    names some                                                              names somebody                                         could                                                  A.        Not                                                                                    in   position.
                                               of       the       last                                                          I
                                                                                                                                                        possibly

                                                                                                                                                                            23                        Well you can understand                                                  why          ask       that    question
23    have known sometime                                                      the       past         but...                                                                                Q.                                                                                          I


                                                                         in




24           Q.    And the reason                                        I    ask      that      is    because                      youve               lived               24              A.        Yes             absolutely.

                                                                                                                                                                            25              Q.        You know him and youve                                                   known him               for    years       and
25    in   Johnson              County                        --
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                                                                                                                                                      60                                                                                                                                                               62

1    know him                  to   be the D.A.                          here.                                                                             1           Q.       When you                        really wanted                          to   do something                         else.          Is




--13
2           A.    Thats                   correct.                                                                                                         2    that   a    fair          statement

3           Q.    If       he       stakes out a                             particular             position takes a                                       3           A.       Thats                   correct.


4                                         need        to            know how                   that       affects          you.           Would            4           Q.        Have you ever been                                           called        to     serve        on Grand Jury
     position              I

                               just


                                               Okay                                                        known                     Hanna                                       Johnson                   County
                                                                        you know
5                                                                                                                                                          5    here
     you tend                                                                                       Ive                     Mr.                      for
                           to       say                                                                                                                                    in




6                          respect him and admire him.                                                         think       he knows                        6           A.        No.
     years.
                                                                                                           I
                  I




7    whats        right             the        right       thing                   to    do   in this          case and Im                                 7           Q.       You indicated                            sir             you       visited         a person                   in jail



8    gonna go along with                                   him                                                                                             8    a   friend           of    yours           who was                       in   jail.      How          long      ago was that

9           A.    That              wouldnt be                           --    I
                                                                                   wouldnt be biased                         in      that                  9           A.       That               was probably                          October.


10   direction                 because               of that.                                                                                              10          Q.        Of        last         year

11          Q.    All           right.          You        listed                  a     number of things                    in      your
                                                                                                                                                           11          A.       Yes.

                                                                                                                                                           12          Q.                               And was                               here       in    Johnson               County
12   life   and        its       your          religious                     beliefs           spiritual         beliefs                                                         Okay.                                        that



     are underpinned                                            number                                                          do              which      13          A.        Thats correct yes.
                                                by a                                     of   things           that    you                 in


14   you contribute                        your time                     to        these       different          ministries.                              14          Q.        --      or    some             other          place                   And       this      person what

15          A.                                                                                                                                             15   was he accused                             of
                      Okay.

16          Q.    The Kenneth                              Copeland                          Ministry           the Creflo                 Dollar          16          A.            Im not sure what the exact charge                                                          was.            It   was a

17                         and a number                                       others                                                                       17   domestic                                       between                    him and             his wife.
     Ministry                                                           of                    that    you       listed       in
                                                                                                                                     your                                                dispute

18                                          And             take                    that      that    takes                 a              of              18          Q.        Okay.                  And what was                           that      experience                  like
     questionnaire.                                    I                      it                                      up        lot




19   time    in       donating                 to     those                   ministries             and being an                    active                19   visiting             him       in       the     jail
                                                                                                                                                                                                                        here

20                the                                                                                                                                      20          A.        Well                   didnt get              to actually                                him.             went
                                 development                                       those       ministries                   that                                                                                                                              visit
             of                                                          of                                            is                                                                           I                                                                                I



     part

                                                                                                                                                                                                           him but apparently you have                                                           be on a
21   correct                                                                                                                                               21   out there                to visit                                                                                          to



22          A.        It       doesnt take up a                                    lot   of   my time            no.        Some                of         22   list   he puts together and                                          I   wasnt on                --       he didnt know

23   it.                                                                                                                                                   23   anything                 about a               list    and      iI       didnt         know anything                           about a


24          Q.        Some                of                                   And has               that      been a           --                         24   list   so                never got               to actually                   see       him.
                                                      Okay.
                                                                                                                                                                                 I

                                               it.                                                                                    I




25                                     of yours                              be               interested                   the                             25          Q.        All                           Okay.           And whats one other                                        --    oh.
     guess a               field                                to                  that                              in                                                                   right.




                                                                                                                                                      61                                                                                                                                                               63

 1   ministry              and how these gentlemen                                                  conduct            their         ministerial            1   Youve                indicated                 that     youve                 felt     strong             enough               regarding


2    affairs               Has         that          been something                                 thats       long standing                              2    some         governmental                              action             thats taken                     place          over the years


 3   with    you               or just         over the                      last       couple       years        or       so                              3    that    you engaged                             in     some               letter       writing            in   the        past          is




4           A.        Probably                  for at                  least           25 30       years.
                                                                                                                                                           4    that    right


 5          Q.        All                       And so                       this       is   something            thats kind                                5          A.            Thats correct yes                                    sir.
                                right.


 6          been a rock                                                                                                                                     6          Q.            And can you                               us about                  that         a   bit   more When
                                                                                                               you follow                                                                                              tell
     of                                    solid           belief              of       yours       that                                   is




 7   that                                                                                                                                                   7   was     this             and what was the nature                                            of   the action                    that     you
             right

 8          A.        Sure thats                      correct.                                                                                              8   were against

 9          Q.                                  That                               case                          served              on                     9          A.            Its   been several                        over the                  years mostly
                      All        right.                             prior                     that        you

10   with the                                  to    animals                       --                                                                      10   financial                type           situations             where                  the   government                         would
                           cruelty


11          A.        Yes.                                                                                                                                 11   enact           a law              that    I    didnt agree                        with or         were         --   had some

12          Q.        --       accusation                       was            that          here    in    Johnson              County                     12   potential                bills          coming           up     that               might       financially                    impact


13          A.        Yes            it   was.                                                                                                             13   me.

14          Q.        And was                   that        in          --    how long ago was that                                   if   you             14          Q.            Okay.               All    right.         And when was the                                 last           occasion


                                 Buckner                                                                                                                   15   that                     did       so      Mr.         Buckner
15   recall       Mr.                                                                                                                                                   you

16          A.         Im guessing                         it           was back               in   the Seventies                     maybe.               16          A.            Oh        gosh             its     probably                    been         at least            a year             ago

17           Q.       Oh            long time                   ago                                                                                        17   or     more.


18                                                                                                                                                         18          Q.            All                       And when you say a law you didnt
            A.         Long            time ago.                                                                                                                                           right.


19           Q.       And you didnt necessarily                                                     like   the    way the case                             19   agree           with           I    take        it    youre the type                          of      person             if
                                                                                                                                                                                                                                                                                               you

20   turned           out from what                                 I   read            in   this   questionnaire                                          20   disagree                 with           some           aspect                 of   the      law       that      you dont have

21           A.       Thats               correct.                                                                                                         21    any problems speaking                                         up and                  letting        people               know            is   that



                       Because                                                                                                                             22
22           Q.                                  of   --        I       think           you said your hand was kind                                              right

23                                                                                                                                                         23          A.                dont have a problem.
                                you along with other jurors                                                to find
     of                                                                                                                    this
            forced
                                                                                                                                                                                     I




24                                                                                                                                                         24           Q.           And there are some people who                                                         feel      that there                 are
      person guilty

                                                                                                                                                           25    laws                the       books                          are                           And some feel                             of
25           A.        Right.
                                                                                                                                                                            in                                   that                     unjust.
--5
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                                                                                                                                                                              64                                                                                                                                                                 66

                                                      the laws                             the    books are                                   And                                            of   robbery                 of       Nancy Weatherly.
     course                that                                                in
1                                      all                                                                                                                                           1
                                                                                                                              just.


2    there are                   some who                           feel          that            Well you know Im                                          not                      2                A.           Okay.

                                                                                                                                                                                                                                                                                    murder.                                       That
3    gonna             follow               some               unjust                  law        just   because                        its       on the                             3                 Q.          This     comprises a                           capital                                    Okay.

                                                                                                                                                                                             murder plus
     books and Im gonna you know                                                                                          my voice and speak
4                                                                                                        raise                                                                       4


     out against                      that             law.                  Are you              that                        of    person                                           5                A.           Yes.
                                                                                                              type

6           A.             No.         If        its       a   law             then           Im    --    I    believe                  its       my                                 6                 Q.          --   what the Prosecutor                                      correctly               told     you about a

7    duty        to follow                       it    whether                    I

                                                                                       agree        with            it    or not.                                                    7       little         bit
                                                                                                                                                                                                                   ago.            Now          you         will
                                                                                                                                                                                                                                                                       agree            with        me          would             you

8           Q.                                    And                                                    with             some               aspect              of                  8       not Mr. Buckner                                   that     this          type         of    crime elements                             of
                           Okay.                               if
                                                                            you disagree

                                                                                                                                                                                     9                                                           of     death                     the course                 of    committing a
            law                                             on the books then youre going                                                                                                    intentional                  causing                                           in
9    the                       that         if    its                                                                                                       to


                                                                                                                                                                                     10      robbery or a burglary                                      for           purposes                of our discussion
10   follow           it       regardless

11          A.             Thats correct                                                                                                                                             11      were going                     to          stick    strictly              to        robbery            is   a   violent
                                                                             yes.


12          Q.             Okay.                  All       right.             Now                were going                       to talk         about                             12      crime

13   some laws here as                                              I       said before treading                                        over       some            of                13                A.          Yes         I   would          agree.


14   the    same ground                                    that              Prosecutor                  went over and                                 I    have a                   14                Q.          And         in       fact     it     being              a     violent        crime           that          you

15   PowerPoint                                                                                   And you                               take a              second                   15      understand                     this               the type                 of       crime         in   our      law of
                                       too                              Buckner.                                                                                                                                                          is
                                                           Mr.                                                            will



                                                                                                                                                                                                                                                                                                                                        sentence
16   oath        to        render a                    true                 verdict          based upon the law and the                                                              16      course where                               the person                    can only receive                          a death


17   evidence                    if
                                      you are selected                                        as a       member                         of   the Jury              in                17      or a           life    without              parole sentence


18   this    case.                    You gave us a                                    first      oath a couple                              weeks               or so               18                A.          Yes         sir.



                                                                                                                                                                                                                   And these are elements                                                      the        government                     must
                                                       answers and some                                                                      answers
19                                                                                                               of       these                                       you            19                Q.                                                                          that
     ago         to     give           true


                                                                                                                                                                                     20                                 and prove
                                                                                                                                              you were
20                                                                                                                                                                                           shoulder
                                                                                                  you understood                                                                                                                                 to      you.
     gave us                    in    this            questionnaire

21   sworn             to                         us the whole                              truth                                                                                    21                A.          Right.
                                give

22          A.             Yes.                                                                                                                                                      22                Q.          That        intentional                  conduct                 is   the highest                         defined


23           Q.            And you                     did          so        and we appreciate                                     that.          And some                          23       mental               state           in    our     law.



24   of   the things                         Im            talking             about well                      talk           about           has           to                       24                A.          Right.


25   do                                                                                                                                                                              25                            There            are others                                   come up under
                           go back                                             answers               on the questionnaire
                  to                                   to                                                                                                             as                                Q.                                                        that                                                  it
            --
                                                               your


                                                                                                                                                                                65                                                                                                                                                               67
                                                                                                                                                                                                                                                                                                                         mental
 1   well.            Now              our Constitutions founding                                                         fathers                 youre                                  1    knowledge knowing                                       mental                state             a reckless                                 state


                                                                                                  and probably                          seen                                          2       and criminal negligence                                             mental            state.           And          intentional              is
 2   familiar with this                                    iconic              photo                                                                   it




     before                                                and                              classes.                And                 talks          about                          3       the highest.                         They         must prove                        that        beyond            a reasonable
 3                         in
                                 history                                    civics                                                 it




 4   some             of        these                 principles                      of     law which                   is   the presumption                                         4       doubt.               And         in       doing so you would                                    also        find      that          that



 5   of    innocence.                                 You           think             --                                                                                              5       conduct                   was voluntary                        it       was not an accident                                     involuntary


 6           A.            Right.                                                                                                                                                     6       act       on         that    persons                    part.            A    person             on purpose                         meant    to



                                                      what                                                                                                                                    do                                                         knew                     was wrong                  and did
                                                                                                   you have a strong opinion
 7           Q.            --    from                                   I
                                                                             saw           that                                                                                       7                it     thought               about          it                       it                                                     it




 8   about             that                 Do you                          strongly             believe            in    the presumption                                of           8       anyway.

 9   innocence                                                                                                                                                                           9              A.         Yes.


10           A.            Yes.                                                                                                                                                      10                 Q.         And you also would eliminate any                                                          legal            excuse        in



11           Q.            I    take             it   that          that situation                       in    the Seventies                                on                       11       other           words                that        the person                      was       in     fact         sane he was

                                                                                                                                                                                                        insane because                                                                    excuse
                                                                                                                                                                                                                                                      thats             a                                       under             the law
12   that        prior jury                       service                    had something                           to       do with that or                                        12       not                                                                                legal



13   maybe not                                                                                                                                                                       13       that           you know                    we have                      legal       excuses                and other excuses.

14           A.            Well                  yeah we presumed                                        her innocent                             until          they                14       A       legal         excuse                I   was insane didnt know                                          right            from


                                                                                                                                                                                     15                             didnt           know what                         was doing so                        forth.              Then we
15   did     prove her                            guilty.                                                                                                                                     wrong                                                               I




                                                                                                                                                                                     16       have whats called                                                                                     such as              self
16           Q.            All        right.               Then theres an indictment                                                         in this                                                                                             legal            justification


17   case and                         this            is   what the indictment                                       charges                      That            Mark               17       defense.


                                                               County Texas on                                                                June 29th
18                              Johnson                                                                             or        about                                        of        18                 A.          Right.
     Soliz             in



                                                                                                                                                                                                                    Or defense                          a                        person defense                              of
19   2010               intentionally                            --which                     is   a conscious                           objective                and                 19                 Q.                                       of          third



                                    cause the                                               You saw                                      the                                         20                                   et cetera.                  Those elements are out the window
20    desire               to                                           result.                                     that           in                                                         property

21    definition                     the Prosecutor                                    showed you                        earlier             --   caused              the            21       so       to     speak                the        legal     justification                         legal       excuse the

                                                                                                                                                                                     22                             was sane intended                                       to    do           and        did
22    death                      Nancy Weatherly                                            by shooting                       her with a deadly                                                person
                                                                                                                                                                                                                                                                                         it                       it.
                        of


23                                                                                          And                                                                                      23
      weapon                     a    firearm.                              Okay.                   that            last       bullet             point                                                 A.          Right.


                                                               murder because                                                                              the                       24                     Q.                                And that again                                   proof         beyond a
24    makes                                                                                                              occurred                                                                                   All                                                                  is
                           it    a     capital                                                                 it                                 in                                                                       right.


                                                                                                                         commit the offense                                          25        reasonable                      doubt            and         that        makes                 up the         capital              murder.
25    course                   of     committing                             or       attempting               to
--8
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                                                                                                                                                                         68                                                                                                                                                   70

1    Now                 youve              indicated                     in   your questionnaire
                                                                                                                                        Mr.         Buckner                     1    be paroled                 immediately.


2    that       you            felt         that      the death penalty                                  was imposed                                too                         2           Q.        Okay.               All      right.        I    think       I   understand               you.

3    seldom.                       Do you remember that                                                                                                                         3           A.        Just a             little      confusing                 for      I
                                                                                                                                                                                                                                                                             guess the general

4               A.        Yes.                                                                                                                                                  4    public          when they say hey they got a 20-year sentence

5               Q.        Can you                    tell        us       why                                                                                                   5    and two years                        later         theyre out                on parole you know.

6               A.        Why               so       seldom                used               I       have no                 idea.                                             6           Q.        You understand                             that       the        life   without         parole         on a

                                                                                                                                                                                7                     murder case
7               Q.        Why you                     think           its       too seldom.                                                                                          capital


                A.            Oh        I
                                             really          dont know.                           I   know a               lot      of        times        I                    8           A.        Yes.


9    see        cases                   where           I
                                                            thought                   the death                penalty                   should                have             9           Q.        --    means                 just that.            I   think           everyone          in    here


10   been imposed                                 but       it    wasnt.                A    lot        of   states                dont even                                    10   would           agree           that         person              would           stay     in
                                                                                                                                                                                                                                                                                     prison        for      the    rest



11   have the death penalty                                                    so.      But           why        I    couldnt                     tell
                                                                                                                                                          you                   11   of   his        or her natural                     life.




12   that            I
                         mean                its...                                                                                                                             12          A.        Okay.

13              Q.            Well           that tells               me         a     part           of your thought                                                           13          Q.        Only come out                             in    a box.


14   process                   that          at      least        at       the time                   you were                 filling
                                                                                                                                                   this                         14          A.        Okay.

15   out        and you were being as honest as you could                                                                                           I    take       it          15          Q.        Okay
                                                                                                                                                                                                      Yeah.




--23
16   at that              point              correct               sir                                                                                                          16          A.


17              A.            Thats           correct.                                                                                                                          17          Q.        In    a       murder case not a                                 capital        murder case a

18              Q.            And           for      some          reason                   you        think         that          a death                                      18   person           can be                  eligible for parole.


19   sentence                       or      an appropriate                            case             for   a death                    sentence                    maybe       19          A.        Okay.

20   in     some                   instances                 was not imposed you                                              felt       it       should            have        20          Q.        After a             certain              number            of     years         in.     But    in


21   been imposed and thats what caused                                                                                you          to        check            that      box    21   a    capital          murder case                          its     life     without            parole         and

22   to     a    certain                    degree                                                                                                                              22   that


                A.            Right.                                                                                                                                            23          A.        I    wasnt aware of                             that.




--7
24              Q.            Any other reasons                                   that        you can                     recall             at this                            24          Q.        Its       a    relatively                new law but                    its    one on the

25   point               as        to   why you checked                                     that        as too            seldom used                                           25   books and one                            that      will     be applicable                      in this    case.          All




                                                                                                                                                                           69                                                                                                                                                 71

 1              A.            No        not          really.                                                                                                                     1
                                                                                                                                                                                     right.          Now            knowing               that         how do you                   feel     about          that



2               Q.            In    addition                to     that you                  checked                      when               it   came          to              2    being           in    the      --    a sentence                   available              for     a person


3                                              about              the                  without                                     sentence                                     3    convicted                 of                       murder                   Life       without         parole.
     your thoughts                                                                                           parole
                                                                               life                                                                            --                                                    capital


4               A.            Yes.                                                                                                                                              4           A.        I    dont have a problem with                                           that.



5               Q.            --    that      you indicated                            it   should             --      a person                                                  5          Q.        Okay.               Now           when we                  talk       about these              elements

6    should                   only be paroled                              in    cases where                           new              evidence                    shows       6    again

     them                to    be       innocent.                                                                                                                                7          A.        Yes            sir.




8               A.                                                                                                                                                               8          Q.        --    of      capital          murder                 that       again         is   what the
                              Right.


9               Q.            And can you expand on                                                   that   a       little        bit        for       me                       9   State           must prove                    to   you beyond                     a reasonable                 doubt.             And    I




10   sir                                                                                                                                                                        10   think       you answered                           this          before          when the Prosecutor asked

                                                                                                                                                                                                      want                           now about                               burden         of proof.             And
11              A.            Well           just       my thought                          process                  is   that          if
                                                                                                                                                  you                           11   you.        I                  to        talk                               this



                                                                                                                                                                                     you know                                             with the four
12   sentence                       a person                                                                                                                                    12                                                                                           folks    at this       table
                                                                                 years they should                                       serve            five                                                 its       --    rests
                                                                 to five


13   years.
                                                                                                                                                                                13   here       to        my     left.




14              Q.            Okay.                                                                                                                                             14          A.            Right.


15              A.            Thats            it.                                                                                                                              15          Q.        And           that        is
                                                                                                                                                                                                                                     beyond a reasonable                                  doubt.            Now
                              What triggered                                                                                                                                    16                                                                                                           standard
                                                                                                                                                                                     beyond a reasonable                                   doubt                 the highest                                      of
16              Q.                                                        my          question               here             is    with           that        last                                                                                         is                                                         proof

17   phrase                    they should                        only be                  paroled            when                 theyre                                       17   in   our        law.


18   innocent.                          Thats how                     I    read            that.                                                                                18          A.            Right.


19              A.            Well thats                         just like            --
                                                                                            my opinion                        is     that          if                           19          Q.        And there are other standards.                                                  My      PowerPoint


                                                                                                             whatever                                                           20   jumped ahead of me here.                                               You can see                                      stair
20   theyre sentenced                                                                                                                    crime they                                                                                                                                         that   little
                                                            for five                                  for
                                                                                 years

                                                                                                                                                                                21                        an                                                                the bottom             with
21   did unless theres                                        new evidence                              they should                               serve        the                   step as                    illustration.                   It     starts         at


22              five                                                                                                                                                            22   reasonable                     suspicion.                   It
                                                                                                                                                                                                                                                       goes       to        the probable             cause and
     full
                              years.

23              Q.                                                                                                                                                              23   preponderance                             of    the evidence.                          Reasonable              suspicion
                              Okay.               All       right.
                                                                                                                                                                                                                                                                                                                          I




24              A.                             do come back and                                         find         some new                           evidence                24   think       you have a                       father-in-law                  and nephew who are                               in   law
                              If   they

25   and say hey hes innocent they ought                                                                                  to       --    he ought                   to          25   enforcement correct
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                                                                                                                                                   72                                                                                                                                                    74

1             A.       Thats                correct.                                                                                                    1           A.    Yes.


2             Q.       And             for   instance                    if    they        were out             patrolling             and              2           Q.    To make                    that    determination                         if   theyve proven                        it




3    see      someone                       weaving                   or      whatever                  that   gives          them                      3    beyond           a reasonable                   doubt.


4    reasonable                       suspicion                  to    stop          that          vehicle      to    further                           4           A.    Right.


5                                     and perhaps                       issue             a   citation         or anything                  that        5           Q.    Okay.               And         this     type of offense                            the       violent
     investigate


6    may       lead              them            to    issue.               Probable                cause       is   what a Grand                       6    crime       of capital              murder               if
                                                                                                                                                                                                                             they prove                 it    then          you would

7    Jury would                       listen          to make                  its   determination                    on      in                        7    move        into       what was called                           a    second               phase.


8    returning                   an indictment.                                                                                                         8           A.    Right.


9             A.       Okay.                                                                                                                            9           Q.    But before                      we do         that        I    do want                  to talk        to   you

10            Q.       That standard                             of     proof.                Preponderance                    is     found             10   about       something                   else        and          that       is   --    these              are       some of           the


11   in   a   civil          case.               You were involved                                 in   a   civil    case                               11   things      we         just      talked         about                that    is accomplice.


12                                                                                                                                                      12          A.    Okay.
     before                 is     that     right

13            A.        I    dont           recall          if   it   was          civil       or criminal.                                             13          Q.    The Prosecutor                              told        you about the partner                                 in



14            Q.                                                                                                                                        14   crime       and the helper person who                                            solicits              encourages                    and
                        Okay.




--2
15            A.        Its         been so long ago.                                 I    dont know what                       it    was.              15   aids    and abets and so                            forth.



16            Q.                                                              was something                         about a                             16          A.    Yes.
                        I
                             thought                  maybe            it                                                             civil




17   case          I   read            in   here.                                                                                                       17          Q.    There are two ways                                      that    can happen.

18            A.       There                could           have been.                                                                                  18          A.    Okay.

19            Q.        But           that       is    a 51           percent                 rule the greater weight                                   19          Q.    One            is    conspiracy                    that       you heard her                        talk     about


     and degree                                                                                    Thats what                                           20   before                     deals with               you knowshould                                    have anticipated
20                                     of    credible                 evidence.                                               that                                        that


                                       about.           Then we have clear and convincing.                                                              21   that    a   --       the    result           would         occur such as                             in   a    murder case
21   standard                    is



22   Thats             --    deals with termination                                           of   parental          rights          where              22   or   capital           murder case                       life
                                                                                                                                                                                                                                  being       taken               that      type


23   you sever the parent/child                                                relationship.                                                            23   thing.      Then you have the other                                          part          of   it    dealing            with


24            A.        Okay.                                                                                                                           24   the person                 acting with the                       intent      to       promote the

25            Q.            Now             you can see                       that        particular           standard               is    high        25   commission                   of    the offense                       promote               a    capital         murder that


                                                                                                                                                   73                                                                                                                                                    75

                                       And                                                                                                                                                       and                         and aided and
                                                                                   beyond a reasonable                                doubt                  you encourage                                  solicit
 1   in   our          law.                       right          under                                                                                   1




     because                     youre dealing                         with          in       that      situation          that                          2          A.        Yes.


 3   termination                       of    parental                 rights.                                                                            3          Q.        --   whatever.


4             A.                                                                                                                                         4          A.        Okay.
                            Right.


 5            Q.            And        this       is   the         definition                 of    clear      and                                       5          Q.        All    right.          And      this           is   what these                  definitions



 6                                      The measure                            or    degree              of    proof      that        produce            6   are      basically               tell    you     in      how you would                               look      at    the
     convincing.

 7   in   the          mind            of    the       trier          of fact        a        firm belief           or                                   7   testimony              of     a person            in      which             the State                 may make                  a deal


 8   conviction                       as    to    the       truth             of   the        allegation            sought           to     be           8   with.


 9   established.                                                                                                                                        9          A.        Okay.

10            A.            Right.
                                                                                                                                                        10          Q.        Now             have you ever thought                                     about a             situation



11            Q.            All                       And beyond a reasonable                                        doubt            is    more        11   which       the State would                          make             a deal or plea                       agreement with a
                                      right.


12   than          clear              and convincing.                                                                                                   12                    involved               in   a crime so                that       person                  can       testify
                                                                                                                                                             person

13            A.                                                                                                                                        13   against              another                 Have you ever thought                                     about          that      before
                            Right.


14            Q.            So        its    more than                      that     firm belief.                                                       14   had any consideration                                 of      that

15            A.            Yes.                                                                                                                        15          A.        Never           did     give       it    a     lot    of   thought.

16            Q.            Okay.            So        at        some          point           when we look                   at     the                16          Q.        What do                you     think            about       that

17                                    when you look                                  the elements                    of   a                             17          A.             think      thats         sometimes what they have                                              to    do        to
     standards                                                                 at                                              capital                                        I




18   murder case you                                   literally              would            start        out with       that                         18   get the evidence                         they need.

                                                                                                                                                        19          Q.        And you understand                                   that       only the State                      of    Texas
19   presumption                            of    innocence.

20            A.            Right.
                                                                                                                                                        20   can do that                  that       me and                Mr. Westfall                      as defense                 attorneys


21            Q.            And then as the Prosecution                                                  produces             its                       21   dont have                  that     power and authority

22                                                                                                                                                      22
                                    you have                                                                              and
     evidence                                               to        look         at that          evidence                         sift                           A.        Right yes.

23   through                 it.       You may hear you know                                                witnesses                                   23          Q.        And        it
                                                                                                                                                                                              only        rests        with        them        to       make               that



24   photographs videotape audio tape things of                                                                               that                      24   determination.


25   nature.                                                                                                                                            25          A.        Yes.
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                                                                                                                                                                              76                                                                                                                                                78

            Q.                                      to                                  a   situation                         like     that                                        1           Q.     30 years ago.                       Okay.          Youve got a                          pretty      good
1                     Is        it       fair                say    that          in




2                                                                                                               Prosecutors                              who would                 2     memory.
            you would                                          the       judgment
     that                                           trust                                              of


3    do something                                  like      that                                                                                                                  3           A.     Well          I    remember some                         things.


                                                                                                                                                                                   4           Q.                        Well           back            the point                        hand.        And
4           A.        Yes                 sir.                                                                                                                                                        Okay.                                        to                           at



5           Q.        And why do you say that                                                                                                                                      5     heres what                Im        trying to find              out from               you           Mr.   Buckner

6           A.                 dont know why                                                                        would              think             that                      6     how you            feel        in
                                                                                                                                                                                                                             your heart            and gut and                      soul.        When youre
                      I                                                   I
                                                                                  say       that.           I




7    would                           be a normal course                                      of    business                           for       them            to       do        7     looking        at    a    situation            where           you     indicate                 you would              trust
                  just


8    that    kind              of thing.                                                                                                                                           8     the Prosecutor                      to    make deals and youve known                                              Mr.       Hanna

                                                   And when                                                                                                                        9           30 plus years and not intimately                                                of    course              from
                                                                                  say trust the                               judgment of                                                for
9           Q.        Okay.                                                   I




10   course you know                                         that    is       a    judgment                         call          on    their            part      to              10    the standpoint                      you   telling         me     but             knowing             his position



11   do that right                                                                                                                                                                 11    as a Prosecutor would                             you          in that           situation            tend       to    look


                                                                                                                                                                                   12    at    an accomplices testimony                                   in    a         more favorable                      light
12          A.        Yes.

13          Q.        And                                                                                                         them                   do                        13    because            youve trusted                  the Prosecutors                               to   make        that        deal
                                          in       trusting          that          judgment                             for                     to




--21
                                                                          when you hear about                                                                                      14    and give           that        person          a bargain              because                   of   what       this
14   that    its              fair to state                    that


15                                                                                      and see                                                           made                     15                   may have been                      involved                 in Do you                   follow          what
     something                       along those                         lines                                          that          theyve                                             person

16   deals        like              that           or a       deal doesnt necessarily                                                   have              to       be              16    Im asking

                                                                                                                                                                                   17           A.      Not                             Can you say                  that       one more time
17   plural.                                                                                                                                                                                                      exactly.


18          A.        True.                                                                                                                                                        18           Q.    Sure.              What Im           asking              is    if    you indicated                  you

19          Q.            I
                               just        say a deal                    at this             point                  that          you would                                        19    trust   a Prosecutor                      to   make such a deal with an

20                                                                                                                                know something                                   20
     think       in
                              your own                       mind     that             they perhaps                                                                                      accomplice

     about the                      --    that           particular                situation                    and with                 that                                      21           A.      Okay.

22   accomplice                            that              you    would              trust       them                      to   make such a deal                                 22           Q.      Okay.            Would           that      in turn           indicate             to   you or make

23   and have them come                                             in    and testify                                                                                              23    you     feel    that       you would              be more                  trusting             of    that      persons

                                                                                                                                                                                   24                         because               you know              that            theyve made such a deal




 --8
24          A.            Yes              sir.                                                                                                                                          testimony


25          Q.                Now           this             goes back                 to    what                   I    was asking before                                         25    with    him        in that           manner


                                                                                                                                                                              77                                                                                                                                                79

 1   about your                          knowledge                    of Mr.                Hanna.                                                                                  1           A.      No.


 2          A.                Okay.                                                                                                                                                 2           Q.      Why        do you say that

 3          Q.            This                      a person                                                                           correct                                      3           A.      Well                      because           they        made            a deal          doesnt mean
                                           is                             you trusted                                   is   that                                                                                       just


 4          A.                Well             I
                                                   --    I
                                                             trust    everybody.
                                                                                                                                                                                    4    the witness               is    credible.             I
                                                                                                                                                                                                                                                   mean             like       anybody              else they

 5          Q.                Okay.
                                                                                                                                                                                    5    can say whatever                          they wanted                 to     say       to       get out of


 6          A.                Unless they                                          me       different.                                                                              6    punishment.




--18
                                                                   prove

 7          Q.                Unless they                                                    different.                           But            the          --                    7           Q.      And
                                                                   prove you                                                             in



                                                                                                                                                                                                        Whatever                           wanted                    hear.               mean
          course Im asking about him because                                                                                                    know him you
     of                                                                                                                                                                             8           A.                                 they                    to                                            its
                                                                                                                                  you
                                                                                                                                                                                                                                                                                     I




 9   and     I    dont know each other and                                                         I   dont                   think         you know                                9    always         a    possibility.


10   Mister           --                                                                                                                                                           10           Q.      Okay.

                                                                                                                                                                                                        So                   because                      had made a deal with
11          A.                Well when you say                                        --   when                I
                                                                                                                        say       I    know him                      I             11           A.             just                            they


12   know         of           him.                Something                      else       came                       to   mind.              We         did           take a    12    somebody doesnt necessarily mean that                                                            their       testimony


13   canoe            trip           together.                     We             were       in    the                  same           car.          I    believe                  13    would        be     true.



14   you were studying your                                               --      for       the bar                     exam maybe.                             We         went     14          Q.      Okay.                That testimony                    of    course has                     to   --     a


15   down the Guadalupe.                                                                                                                                                            15   person         cannot               be convicted                on the accomplice                               testimony


             Q.                                                                                                                                                                     16   alone.         There            has       to   be some other evidence                                      that tends             to
16                            Okay.

17          A.                He was busy studying                                           all   the time so                              I   dont                                17   connect            the crime              to    the accused.                          Now        again these

     think        he           --        he didnt                  socialize                a whole                      lot.         Or he was on                                  18   the offenses                   you were           told         about earlier the                        capital


                                                                                                                                                                                          murder and then                                                                      what wed                         lesser
19   a    case                or     something.                      He was                  in    the                  same           car with                us.                  19                                             right   under          that            is                          call


                                                                                                                                                                                   20     included           offenses               murder and aggravated                                      robbery.              Youve
20           Q.               All    right.

                                                                                                                                                                                   21     indicated                                                             as        well       that      you                  that
                                                                                                                                                                                                                   your questionnaire
                                                                                                                                                                                                              in                                                                                         felt
21           A.               Spruce                    Griffith.


22                                       MR.            HANNA                     Maybe                yeah.                                                                        22    the death           penalty              should          be available                  for      other          offenses


23           A.               Eddy                 Birdwell.                                                                                                                        23    in   our    law.



24                                       MR.            HANNA                     Could            be.                                                                              24           A.     Yes         thats           correct.


                                                                                                                                                                                    25           Q.     Child           molestation
25           A.               That         was 30 years ago.
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1           A.        Yes.                                                                                                                                         1     funnel          down           to       the       core             if
                                                                                                                                                                                                                                                  you         will        question                 up        there    at



2           Q.        And kidnapping                                                                                                                               2     the bottom.


3           A.        Yes.                                                                                                                                         3              A.        Yes.


4           Q.        And why do you say that Mr. Buckner                                                                                                          4              Q.        Now         starting                out              is    it   fair to          say

                      Thats                                                                                                         those                          5     Mr.      Buckner from your own shared                                                               beliefs           in this
5           A.                          just        my         personal                      belief.              I   think


6    crimes are heinous                                   enough                       that    deserves                    the       maximum                       6     questionnaire                           from           what you                    told        us     if       a person              is




7                                                                                                                                                                  7     convicted                of capital                    murder you                           told     us        earlier          by your
     penalty.


8           Q.                               And obviously                              knowing                 that                          murder               8     question               here that                  you         --    its        appropriate                          that       its
                      Okay.                                                                                                    capital


9    itself      is   a heinous                    crime                     I
                                                                                 guess                                                                             9     imposed too seldom.                                          Is    it    fair        to     say      that at that                    point


                                                                                                                                                                         you would be more                                                                    give death as                         opposed           to      a
10          A.        Yes.                                                                                                                                         10                                                       inclined                   to



11          Q.        You equate that                                                 that                                                                         11    life     sentence
                                                                         is                    right

12          A.        Yes.                                                                                                                                         12             A.        No.


13          Q.        And when you are looking                                                     at       a     child         molestation                        13             Q.        And why do you say that

14   and kidnapping now a kidnapping                                                                    can be                 in   connection                     14             A.        Well         Im           the type person                                that      would            look          at   the


                                                                                                                                                                   15    evidence look                                 the circumstances                                      and base my decision
15   with     a    murder                    to   be a         capital                  murder.                                                                                                                  at



16          A.        Sure.                                                                                                                                        16    on       that.



17          Q.        That could                     be another one.                                    I    think             she may have                        17             Q.        Okay.                You then would                                go       to   these            questions

18   told     you that                   I   cant             recall             at this        juncture.                      But       child                     18             A.        Yes.

                                                                                                                                                                                                                           the funneling                                                     spoke            of a
19   molestation                  case             in     and of                      itself   does not provide                               for    a             19             Q.        Starting              at                                               process               I




                                                                                                                                                                   20                       earlier               and       that                  the                                   punishment
20                                                                                                                                                                                                                                          is                statutory
     capital          sentence.                                                                                                                                          little    bit




21          A.        I    understand                         that.                                                                                                21    questions.                    First          one whether                             there          is     a   probability that


22                    You understand                                    that                                                                                       22    the Defendant                           would           commit                                           acts         of violence               that
                                                                                                            you were a                                                                                                                                      criminal
            Q.                                                                               But   if




23                                                                                                                    be the type of                               23    would           constitute                    a continuing                           threat         to society.
     legislator for                     a     day         I   take               it    you would

24                                                and say                               make        this              a                                            24             A.        Yes.
                          to   go                                       lets                                              --
     person                             in



25          A.        Thats                  correct.                                                                                                              25              Q.       You probably                         seen                 that      too       many               times already.



                                                                                                                                                              81                                                                                                                                                                  83

                                                   crime           where the person could receive                                                        a               You understand                               that
 1          Q.        --
                               capital
                                                                                                                                                                    1




2    death penalty                           if   convicted                                                                                                         2             A.        Yes         sir.



                                                                                                                                                                                            And what                   Im going                               do          and thats how the
3           A.        Yes           I    would.                                                                                                                     3              Q.                                                                 to             --




4           Q.                 that                                                                                                                                 4    process             works.                   In    order            to       answer yes you must be
                          Is                 right

5           A.        Thats                  right.
                                                                                                                                                                    5    convinced                 by that high standard                                             of      proof.


6           Q.            Have                                                   way               a long time as                         well                      6              A.
                                        you        felt        that                          for                                                                                            Right.


 7          A.            Yes.                                                                                                                                      7              Q.       A    no              answer only requires 10 jurors                                                         to    agree      to



 8          Q.            Now           when we look                                   at this     offense                     capital                              8    that.          And they need not agree                                                 on the              particular                evidence


 9   murder only two possible punishments and                                                                                       that      is   the              9    to       support          the negative                            answer                  for    those              who would do

                                                                                                                                                   of              10                   Here                     broken               down whether                            theres a
10   death            penalty                or    life       in    prison without                              the        possibility                                   that.                         its


                                                                                                                                                                   11    probability which                                 is   more than the                             possibility                    of
11   parole.

                                                                                                                                                                   12                                                                                   commit criminal                             acts.          Those
12          A.            Okay.                                                                                                                                          course              that       this           person               will



                                                                                                                                                                                    must be                                                                             constitute                  a
                                                                                               proceeding you would
13          Q.            And       at that                                      of    the                                                                         13    acts                                violent            acts             that         will
                                                        stage

14   have found                   that that                   person                    is   a convicted                       murderer.                           14    continuing                    threat          to       society.                    Now           you think                 thats a


                                                                                                                                                                   15    good question                            to    be posed                      to      the       jurors right off                      the bat
15          A.            Okay.

              Q.          And                                                           had done so                                 the extent                     16    after         --   at    the            end       of   the          Punishment                        Phase                or    trial
16                                  that that                  person                                                      to                            it




                                                                                                                                                                                   A.       Yeah.
                                              you beyond any and
17   was proven                     to                                                                      all       reasonable                  doubt.           17


18          A.                                                                                                                                                      18             Q.       And what                    makes you say that Mr. Buckner
                          Right.


19            Q.                                                    Texas.                     You follow me so far                                                 19             A.       Well          its          what you have                               to     answer              to    determine
                          By the State                        of


20            A.          Yes           sir.                                                                                                                       20    the punishment.


                          And                                                we have whats                                called                  call             21              Q.       Yes.                 mean                  guess heres what                                       Im        getting       at
21            Q.                    at this point                                                                                        --                                                                  I                    I
                                                                                                                                              I




22    it   a narrowing                       process                    if       you      will     kind of                 like      a                             22    and you                tell    me where you                                  fall.




23   funnel.                                                                                                                                                       23              A.       All    right.


24            A.          Right.
                                                                                                                                                                   24              Q.       Some                 people           think                you know                     I   need            to    know

25            Q.          That you look                            at        matters            and then you begin                                  to              25   whether                that         person              is    a         future            danger               that        summary
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1
     question                that       --     that   question             asked you so                    that     I   can        --             1    doubt                 as        you          understood.


2    it   can help me make a decision                                             down the road as                      to    death               2           A.              Uh-huh.




--11
3    or    life.                                                                                                                                  3           Q.             Again                   that       funneling            process

4            A.                                                                                                                                   4           A.              Right.
                        Right.


5            Q.         Is       that      how you feel                                                                                           5           Q.             You would                         agree with               that

6                       Yes.                                                                                                                      6           A.             Yes              sir.




--16
             A.


7            Q.         Okay.               So you see               that       its     talking      about         that                           7           Q.              Now               do you               think       thats something                            that just         as


                                        criminal acts                      violence                                                               8    that                        question                         important                                           the       second
8    probability                   of                                of                                                                                        first                                           is                         to   you         that



9            A.                                                                                                                                   9    one         is
                                                                                                                                                                             just        as important or equally                                 so or less so or                         how
                        Right.


10           Q.         And                                    --   and those              violent         acts         must                      10   does             it   fall        within
                                      constituting


     constitute                  a continuing                 threat.                                                                             11          A.              I    would say                    all     of   them are equally                           --    should          be

12           A.                                                                                                                                   12   equally weighed.
                        Right.


13           Q.         When we                   say    continuing                     wouldnt you agree                           that          13          Q.              Okay.                  And again                   that     same         scenario                    in   order       to



14    means kind                      of     an ongoing constant                           kind of         threat                                 14   answer                     yes          it    must be unanimous no only 10 and they

15           A.         Yeah.                                                                                                                     15   dont have                         to         agree           on a     particular


             Q.         And           is   that     the type          of    question            you        think        you                       16          A.              Yes.


17   can answer                                                                                                                                   17          Q.                       evidence.                     That question                  on the parties you
                                                                                                                                                                              --




18           A.         Yes.                                                                                                                      18   see over here                                 that       first      instance            we     talked            about

19           Q.         If
                             given             enough         evidence                                                                            19          A.              Yes              sir.




20           A.         Yes.                                                                                                                      20          Q.              And             that        is    what                      went over a few minutes
                                                                                                                                                                                                                             Ijust


21            Q.        And           of     course          that    enough evidence                          must be                             21   ago.             This             is     not the conspiracy                             part   of    it.         This       is    the


22    beyond a reasonable                                  doubt.                                                                                 22   law     of parties                           under            our Penal            Code.            One way                  in    which          a


23           A.         Right.                                                                                                                    23   person can be convicted                                                as a party              to   an offense                    in   which

24            Q.        You understand                         that        is   that      right                                                   24   he solicited encourages                                                   aids      in    other       words he has                          to


25           A.         I    understand.                                                                                                          25   be active                         if
                                                                                                                                                                                              you         will        in   the    commission                 of         a     capital




                                                                                                                                             85                                                                                                                                                              87

1             Q.        Now             at this       juncture             if
                                                                                you answer yes                     that                            1   murder.


2     this     person                 not only          is   a convicted                capital        murderer                this                2          A.                  Okay.


       person has now been deemed                                                     be a                                                                                        And then you are confronted
3                                                                                                                              beyond              3          Q.                                                                                       with        that           question
                                                                                to             future         danger

4     any and                all      reasonable              doubt then you would                                move on               to         4   whether                     the Defendant                           actually            caused         the death of the


5     that     next question.                         Okay            You understand                         that                                  5   deceased                          or         did   not        actually        cause the death but intended

6             A.        Yes.                                                                                                                       6   to   kill         the           deceased                     or     another or anticipated                                 that    a


7             Q.        And           that      next question                   is --    deals with the laws                                       7   human                      life        would         be taken.                Okay.            Now          if       you have found

8     of                              And again here we have                               that      first    law        of                        8   a person                        to     have committed                         an offense                   under            this   law of
            parties.


                                                                                                                                                       parties which                                 hes encouraged                            and so forth you see that
9      parties          that          you were talked                     to    about      earlier           that       is                         9

10                                    the                                                                    the                                  10                              aids                                             aid                                  cetera            the
      acting        with                       intent    to    promote or                assist in                                                     directs                                  or       attempts            to            solicits           et


11    commission of the offense and                                               that     offense           is
                                                                                                                  capital                         11   other              person                    to    commit the offense and then you are

12     murder               in   this        instance           he    solicits           encourages                     directs                   12   confronted                             here        and you found                    that       beyond                  a reasonable

13     aids        or   attempts                 to aid       the other person                    to   commit                that                 13   doubt do you see where                                                 again        you are looking                          at    the      same

14     capital          murder                 that     offense.                                                                                  14   type         of            mental              state          on    that      persons part what                               role      he

15            A.        Yes.                                                                                                                      15   or   she may have played

16            Q.        And thats the conspiracy                                      which       is   a   second             or                  16          A.                  Yes.


                             type of way a person can be
17     different                                                                                           as a party               to            17          Q.                  Is     that        right
                                                                                               guilty


18     an offense where here                                        that    person         should            have                                 18          A.                  Yes          sir.




19     anticipated                    the      result.        Now          when we look                    at that       second                   19           Q.                 Okay.              And here when we look                                  at that               type of

20     question                  of   law      of   parties          you have             to    determine                whether                  20   question you                                  would            at this      stage         --   oh     to         the       third



21     the person                     actually        caused the death                         did     not actually                               21   question.                         Okay.                 Now         here      it   talks       about             mitigation.


22     cause but intended                             to     kill   the     deceased              or   another                in                  22   And          I     want                to    ask you                Mr.     Buckner             whats your

23     other        words               another            human           life      would be taken.                                              23   understanding                                     of or idea           of   mitigation              or     mitigating


24            A.        Yes             sir.
                                                                                                                                                  24   circumstances

                        And                                                                                                                       25                              To me                                                                      me
                                                again must be proven beyond a reasonable
25            Q.                       that                                                                                                                    A.                                    that       --    well        mitigation           to                    is
                                                                                                                                                                                                                                                                                  deferring
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1    the       risk to             something                   else.                                                                                                1    people            who         are very conservative                                            they         have some very

2              Q.                              Under our law                                    talks           about       where                                   2    strong            core        beliefs                 and values.
                          Okay.                                                        it                                                     it




3    reduces                   a   persons moral culpable                                                 --    or moral                                            3           A.         Yes         sir.




4                                                 Thats what                          really              gets        to where                                      4           Q.         That they                       dont normally compromise or surrender
     responsibility.                                                            it                                                           it




5    reduces                   a   sentence okay.                                 And               it   reduces            it   for                                5    because                its    part               of    them who                    they         are         their            makeup.                Is



6    instance                      in   a    capital          case from a death sentence                                                     to     life            6    that    you
7    without              parole                  sentence.                                                                                                         7           A.         Im --            I       have some very deep convictions                                                              yes.

8              A.         Right.
                                                                                                                                                                    8    Um       in       a    case                like      this        when the question                                is
                                                                                                                                                                                                                                                                                                     part    of the


9              Q.         All      right.              Mitigating               circumstance                           or                                           9    consideration                          I    have            to    make             if    that    is
                                                                                                                                                                                                                                                                                    part        of     it   then


10   circumstances.                                And thats what                                   that        implies.                                            10   Ill    make            that        consideration.


11             A.         Okay..                                                                                                                                    11          Q.         Well             I
                                                                                                                                                                                                                    want        to    talk       to    you about                    that             because




--20
12             Q.         Okay.                Now           at this            point               you would                have found a                           12   see      this mitigation                               question               comes from a Supreme Court

13                                           of capital             murder found him                                        to   be a        --    this             13   decision               a     few years back.
     person               guilty


                                                                                                                        beyond any and
14   convicted                     murderer                        be      a                                                                                        14          A.         Yeah.
                                                          to                      future                 danger

15   all      reasonable                          doubt found him                                   to    have         killed           intended                    15           Q.        Which                    is   mandated                  that this             mitigation                     be

16   to       kill   anticipation                        of   a murder taking place beyond a                                                                        16   considered.


                                        doubt.                                                                                                                      17          A.




--25
17   reasonable                                                                                                                                                                            Right.


18                                  And heres asking you                                                 to this third                                              18           Q.        And when you                               tell      me          that        for    instance                     that       war

19                                 Youve                told       us                                                                                    a          19   hero or            whatever
                                                                                     your questionnaire                                 that       --
     question.                                                             in



                                                  And obviously                                 take your              word         at this              and        20          A.         Yeah                 whatever.
     couple               things.                                                       I




21   I
             want     to       ask           you about               it.                                                                                            21           Q.        --    comes                   in     and you know you                                    --    that         doesnt

22             A.                                                                                                                                                   22   concern                you as much as the                                     fact         that       you want                     to    look       at
                          Okay.

23                                                                                                                                                  and             23   what the crime was and circumstances                                                                       surrounding the
               Q.         That           you dont                  feel      that           a            persons character

24   background                         for        a convicted                       murderer                    is   relevant            in                        24   crime             is   that



     punishment.                             Do        you     remember that                                                                                        25           A.        Yeah.



                                                                                                                                                               89                                                                                                                                                                 91

1              A.         Yes.                                                                                                                                       1           Q.        --    what                you       just        stated                 And      I   take             it   from        that



                                                               you mean by that
                          And what                                                                                                                                   2                                                                                                  convicted                     of
2               Q.                                                                                                                                                       that    you believe                             that        the person                   is                                        capital
                                                        did


3              A.         Well               regardless                 of      what a person                           has been                        like         3   murder                 future               danger               that     party            charge                 intended                   to



                                                                           hero                                                                                                                                                                                         heinous                 crime
4        I

             say     if    theyre a                    military                             I

                                                                                                    mean          thats great                                        4   kill    did        kill       anticipated                        to    kill        that



5                              but                       come back and they commit a                                                                                 5   that    tells          you a                         in     and       of itself           about            that             person
     in       itself                    if    they                                                                                                                                                                   lot




6    heinous                   crime              of    some sort                     to        me         it   doesnt matter                                        6   does         it    not

7    what they                     did        in    the past                its       what they                       did    in this                                 7           A.         Right.


8                                  instance.                                                                                                                         8           Q.        And         it       telling              you a       lot        about        that            person then
         particular


9               Q.                                And there are some other questions                                                               too               9   youre             the type                  of    person               as           read        this        and look                    at
                          Okay.                                                                                                                                                                                                                                                                                        it
                                                                                                                                                                                                                                                        I




10                   the           same             lines.         You were asked about                                                  a    child          was    10   examine                       that              that        upbringing                   abused                 childhood                    or
     along                                                                                                                         if                                                            it




11   abused.                                                                                                                                                        11   character                    and background                              is    not a consideration                                      of    yours

12              A.        Yeah.                                                                                                                                     12   to     the extent                      that       youre going                      to     give        it   fair



13              Q.        And was                                                                                           said        no as                       13   consideration                              because                of   how you                 feel        about              this      type of
                                                       that    relevant.                        I   think        you

14   well        to that                as        far   as    --                                                                                                    14   case and what you                                      believe            even the death penalty                                             is




15              A.                                                                                                                                                  15   imposed too seldom.                                              Is that       a        fair   statement
                          Right.


16              Q.                 that                                              responsible                      for his or              her                   16           A.         Thats a                      fair    statement                       yes.
                          --
                                              person           being

17                                                                                                                                                                  17           Q.         You have a chance                                                           work                         and     in
     own conduct.                                                                                                                                                                                                                                           your                                                      your
                                                                                                                                                                                                                                                   in                                    life




18              A.        Thats                correct.                                                                                                             18   support                of the              ministries                 over the years                        to build               up these

19              Q.         I   take          it    thats kind                of       a core                   belief that         you                              19   core        beliefs            and value systems                                         that    you hold near and

20       have        --                                                                                                                                             20   dear.             Is   that            a    fair       statement as                       well

21              A.        Thats                right.                                                                                                               21           A.         Yes             sir.




22              Q.        --       Mr.       Buckner                    And youve                              indicated           in    your                       22           Q.         And when we look at honestly                                                            and         fairly           inside


23                                                                                                                                      person                      23   the heart                  and soul                          Mr.       Buckner                 that        consideration                           of
                                                         you are a very conservative
                                                  that                                                                                                                                                                          of
         questionnaire

24              A.        Yes.                                                                                                                                      24    character                   background                            abused                childhood                     or things of that


25              Q.        And            I   know         in   situations                           when Ive talked                          to                     25    nature               upbringing                       --
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1            A.    Yes         yes.
                                                                                                                                                           1          A.   Yes.


2            Q.    --   is     something                 that         is     not important                         to    you from                          2          Q.   At         that           point           in      which           you found the person

3    the standpoint                    if    a person            is    convicted                        of this         heinous                            3    guilty of capital                        murder and                          in   looking              at     these


4    crime        of capital                murder                                                                                                        4     considerations                           we were                  talking          about the                   first
                                                                                                                                                                                                                                                                                         question


5                            MS.            JACK And                   Judge                      Im        going        to      object        to          5    and the second                            question                     youve indicated                            that    the best


6    the form           of   the question.                      The Juror has already said                                                that             6    argument              --
                                                                                                                                                                                               again Im quoting from your questionnaire.

7    thats the           law hed consider                              it.                                                                                 7          A.    Okay.

8                            MR.            HEISKELL                   No          Im asking the question                                                  8          Q.   Against the death penalty                                                    is   that        the       new

9    Judge.
                                                                                                                                                           9    evidence              would               find       that          the person                 is    innocent.                  Now Im

10                           THE COURT                          Well              okay              Ill      overrule             the                     10    not sure         if   that               goes back                     to    what       that       life       without


11   objection.              You can answer the question.                                                                                                 11    parole     question                       is   or        not.          I    want       to    ask       you about               that.



12           A.    Outside                  of this     context yes.                                                                                      12    Let   me show                   it       to    you.

13           Q.    BY          MR.           HEISKELL What do you mean outside                                                                      of.   13          A.    What was the question

14   this    context                                                                                                                                      14          Q.    Yes                sir.           What            is
                                                                                                                                                                                                                                       the best             argument against the

15           A.    Well youre saying                                this          is   the         third       question                                   15    death      penalty                   in   your           opinion

16   that     has       to   be considered.                                                                                                               16          A.    Oh             okay against                                the death penalty yeah.


                   Yes                                                                                                                                                      Yes




 --5
17           Q.                sir.                                                                                                                       17          Q.                       sir.




18           A.    If   thats           part       of   the consideration                                    then        I   would                        18          A.    Right.


19   think        you would have                        to     consider                it.                                                                19          Q.    Can you kind                                 of       elaborate             on     that           answer           for   me
20           Q.    Well           sure.            But you. Mr.                    Buckner                    --                                          20          A.    If    I    understood                            the question                    correctly the best

21           A.    Yeah.                                                                                                                                  21    argument              that           I    could           think             of   against           the death               penalty

22                                                                                                                                                        22    would                            somebodywas                                     convicted                          was innocent            and
             Q.    --
                        you         are saying those                              considerations                             I
                                                                                                                                  mean                                     be         that                                                                              that



23   it   has     to    be a       fair       consideration.                                                                                              23    so you would be sentencing                                                   an innocent                     person        to    death.


24           A.    Right.                                                                                                                                 24          Q.    Okay.                    And heres what                                I   wanted                to   ask you

25           Q.    Okay.               And a        fair        consideration                               you know                is                    25    because what                         that        causes me                        to think             about from               my


                                                                                                                                                     93                                                                                                                                                     95

 1   not     --   were not                  talking       a    fleeting                consideration                             okay                      1
                                                                                                                                                                standpoint                 me and                    Mr. Westfalls                       standpoint                      when we

2    oh yeah             Ill   look           at   that.         It    has             to        be a       fair                                           2    defend      Mark Soliz                          in       a    case           like      this       is   that        you perhaps

3    consideration.                                                                                                                                        3    would      expect                that          we produce some                                type of evidence                       to    show

4            A.                                                                                                                                            4    his   innocence.                         Thats               --   that           was my           initial
                    Right.


             Q.     Here          in        that   funneling                 process                        see you as                   that              5          A.    No             I   would             expect                    the Prosecution                        to     prove




--15
                                                                                                        I




6                                                                                                                                                          6    beyond a reasonable                                       doubt                        he was
     person given                      this    answer from the questionnaire                                                       this        is                                                                                           that                             guilty.


 7   what you gave a few minutes ago                                                             that       that    character              and             7          Q.    Okay.                    And when we                             talk      here about                   --   here    its



 8   background                and upbringing                          is     not a               fair      consideration                      in          8    asking      you about the death penalty                                                       of       course as opposed

 9                                                                                                                                                         9         the   argument against                                                you     talk      about innocence                         and
     your mind.
                                                                                                                                                                to                                                                it




10                           MS. JACK                        Same            objection.                                                                   10    thats a concern                               with       you when youre looking                                          at that



11           Q.     BY         MR.           HEISKELL                        Is   that            right                                                   11    death      penalty                   versus              lifeisentence                       is    that           right

12           A.    Well           it    certainly              wouldnt hold the weight                                            that                    12          A.    Uh-huh.


13   everything              else would.                                                                                                                  13                               MR.            HEISKELL                           Okay.           Let       me         talk    to   my

.1           Q.     Okay.              All    right.           So     in     other               words             its       down                         14    co-counsel                 fora               second Mister

                                                                             And                                      be using the                                                     Thats                                 have Judge.
     the totem               pole so           to       speak                                I

                                                                                                  may        not                                           15                                                  all   I




16    correct term.                                                                                                                                        16                              Thank you Mr. Buckner.

17           A.     Well          that        makes sense yeah.                                                                                            17                              THE COURT                                       Mr.    Buckner               if
                                                                                                                                                                                                                                                                              youll step

                                       And                                                                                                                                                                     minute
                                                               your main considerations
18           Q.     Yeah.                          that                                                                             if   you               18   outside      for just                    a


19   will     would          be        more so the                  facts          of        the        case and the                                       19                              VENIREPERSON                                           All    right.


20    circumstances                                                    the offense                                           Is that       a              20                               Venireperson                                    Buckner           not present.
                                            surrounding                                                     itself.




21    fair   statement                                                                                                                                    21                               THE COURT                                       Okay.        Does State have any

22           A.     Yeah               thats a          fair     statement.                                                                               22    challenges

23           Q.     And especially                                                                                                                        23                               MS.            JACK No                           Your Honor.
                                                          if
                                                               you already found the person

24    to   be a        future          danger           in     answering                         this       second               question                 24                               THE COURT                                       Does Defense                       have        any
25    yes                                                                                                                                                  25                              MR.            HEISKELL                           Yes Your                  Honor.             Under 35.16
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1    a9        and       c2             we         challenge              Mr.      Buckner                in    that       he     cannot                1                            Venireperson                      Buckner           not present.


2    give      fair      consideration                     to       the Question                    No.        3 regarding                              2                            Recess               taken.

3    consideration                      of a       persons                character                and background                        as             3                            Venireperson                      Hatch       present.


4    part of         the      --     all      of   the evidence                    in
                                                                                          assessing or                                                  4                            THE COURT                         Come on up                     Mr.       Hatch.        If
                                                                                                                                                                                                                                                                                    youll


5    answering                that         question                 either        yes or           no.        His     answers                           5    raise   your            right   hand.


6    that      he stated                on the record                       his    answers                    that    he                                6                            Juror sworn.

7    confirmed                in     his      questionnaire                       indicates              hes unable                to                   7                            THE COURT                         Thank you                   sir.    If     youll      have a

8                                                       consideration                                                                                   8    seat         the                box.          In     the    second           chair                    there
     give       any type                of fair                                           to       any type           of                                             in              jury                                                                 right


9    mitigation               because                of his          concern              that      a     persons                                       9    would        be good.

10                                                                  character                      not                                                  10                                                             state                  name.
     upbringing                    background                                                 is          that       important                                                       Okay.                youll                  your
                                                                                                                                                                                                     If




11   and hes only concerned                                         with     the        facts        of       the offense               and             11                           VENIREPERSON                               Thomas                Monroe            Hatch.


12   this      is   a deeply                  held       and strong                belief           of    his.       And we                             12                           THE COURT                         Mr.     Hatch           you        filled       out a       juror


13   challenge                for that             reason.                                                                                              13   questionnaire               a while             back.            Were       the         answers            you put on

14                            THE COURT                               Okay.             Ill    deny the challenge                                       14   there      true     and correct

15   for      cause.            Go ahead and                          bring        Mr.         Buckner               back.                              15                           VENIREPERSON                               Yes           sir.




16                            Venireperson                            Buckner                 present.                                                  16                           THE COURT                          Its    been a couple three weeks.

17                            THE COURT                               Mr.       Buckner              come on back up                           a        17   Has anything                changed                  in   your     life    that         would         change any              of



18                       Im going                                                                        a second.                                      18   the    answers            on the questionnaire
     little     bit.                                to talk          to   you      for just


19   Youre not on the Jury yet but you are on the panel the                                                                                             19                           VENIREPERSON                                No       sir.




20   Jury       is
                       going         to       be selected                  from.                                                                        20                           THE COURT                          My name               is   Phillip         Vick.      Im     the


21                            VENIREPERSON                                        Okay.                                                                 21   Judge presiding                   at this            proceeding.                 When              this    case goes

22                            THE COURT                               Whats              going           to    happen youre                             22   to trial        Judge       William                Bosworth Judge of the 413th

23                                                  from the coordinator                                      from the                                  23                   Court of         Johnson                  County                  be the one
                         get a                                                                                                                               District                                                                  will                                 trying
     going          to                     call                                                      --




                                                    you have                                                                       day                  24
24   Administrator                      that                               to     be      here       on a        certain                                     the case.


25   and you             will      have            to    be     here.                                                                                   25                           The attorneys                     representing                  the State are



                                                                                                                                                   97                                                                                                                                       99

 1                            VENIREPERSON                                        Okay.                                                                  1   Mr.    Dale       Hanna who                     has stepped                 out         right      now.         Mr. Larry


2                             THE COURT                               Youll        be here with about 50                                                 2   Chambless                 Mr.     Martin             Strahan.


3    other people.                                                                                                                                       3                           MR.      STRAHAN                         Morning.


4                               VENIREPERSON                                      Okay.                                                                  4                           THE COURT                          Ms. Christy Jack.


5                               THE COURT                             That        day youll be                   told       youre on                     5                           MS.      JACK                Good morning.

6    the Jury            and         told          when the               trial    is     going          to    start        that                         6                           THE COURT                          The attorneys                     representing              the


7    kind       of     thing            or youll          be released.                                                                                   7   Defendant               are Mr. Michael                         Heiskell.



8                               VENIREPERSON                                      Okay.                                                                  8                           MR.      HEISKELL                        Morning.


9                               THE COURT                             Before you leave today were                                                        9                           VENIREPERSON                                Morning.

10   going          to   get a             picture        of        you.        This lady                is    going       to     take                  10                           THE COURT                          Mr.     Greg Westfall.

11   a     picture        against                  the   back         wall        over there                   because            this                  11                            MR.     WESTFALL                         Morning.

12   process             is   going            to       last        about a month.                                                                      12                           THE COURT                          Seated with them                          at   the counsel


13                              In      the meantime dont look up anything                                                        about                 13   table      is   the      Defendant Mark Anthony                                       Soliz.



14   the case.                Dont             start      asking            anybody                 at    work        if   theyve                       14                           THE DEFENDANT                                Morning                  sir.




15   ever heard                    of   it.                                                                                                             15                           THE COURT                          And      theyll         have questions                      for



16                              VENIREPERSON                                      Okay.                                                                 16   you but           Ill    ask     first.         Is    there anything                    we     should           know

17                              THE COURT                             There            may very                well        be something                 17   about        you        that    we       didnt ask               on the questionnaire

18    in      the    newspaper                     or    on TV about the case.                                   Dont watch                   it        18                            VENIREPERSON                               Not      to       my      knowledge.                Your

19    dont          listen         dont read                  it.                                                                                       19   questionnaire                   was very thorough.

20                              VENIREPERSON                                      Okay.                                                                 20                            THE COURT                         Okay.          Youre going                     to    be asked           a


21                              THE COURT                             Whatever                     you do dont get on the                               21   lot   of questions.                 I    will      tell
                                                                                                                                                                                                                        you itsnot a                 test.



22    Internet            start         researching                   this        case.                                                                 22   Theres no                right    or         wrong         answers           to       anything.            We         only


23                              VENIREPERSON                                      Okay.                                                                 23   require         that      you be             truthful.



24                              THE COURT                             All    right.            Thank you                   sir.    If                   24                            VENIREPERSON                               Yes          sir.




25    youll         pose back there shell get your                                                  picture.                                            25                            THE COURT                         If
                                                                                                                                                                                                                              you can answer a question
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                                                                                                                                                                   100                                                                                                                                                                          102

1    yes      or     no                  it    will       save time because                                         if    you dont                                           1       distinction                        or a difference                                 between                murder and                capital



2    answer        it   yes                    or     no             theyll            want you                     to        explain           why                          2       murder.                       I   dont know                            if
                                                                                                                                                                                                                                                                 you knew                 that        before        today.            Did


3    you     did   answer.                                                                                                                                                   3       you
4                         VENIREPERSON                                                      Yes        sir.                                                                  4               A.            Not              specifically                          no         sir.




5                         THE COURT                                            And dont answer                                      a question                               5               Q.           Well get                          into           that     in
                                                                                                                                                                                                                                                                             just    a    minute because                          a


                                                                                                                         not get them                                        6       murder                            not a type                                case                     a     intentional
                   youre sure you understand                                                                                                                                                                                                               of                   just                                    killing
6    unless                                                                                         it.        If                                                                                          is



                                                                                                                                                                                                                                                                                                                           and
7    to   rephrase             it         or        explain              it.     We         think          trial          is    going           to                           7       of     another unless theres something additional

8    start                                    the                  week              in   February best guess                                                                8       well get                      into      that            in        a minute.                    This        is   a    capital
              probably                                   last                                                                                          right


9                 When                        does                             we     think                              last       about                                    9       murder case.                                     If   a person                     is    found           guilty        of   capital
     now.                           it                        start                               it      will




10   three weeks.                             Theres even a chance                                          that              a Jury could                   be              10      murder there                                     are only two                       punishments possible one                                          is




                                                                                                                                         And the                                                                                                                                                                           The
11   sequestered                      part           or       all    of        those         three weeks.                                                                    11      life    without                        parole the other                                   is   a death               penalty.


                                          theres anything                                                                     in                                             12                  decision                        is        whether                 or not           that       crime         was committed
12   question           is     if                                                           happening                               your        life                                 first



                                                                                                                                                                             13      and whether                              a        defendant a                                                    defendant                committed
13   right    now       that                  would            interfere               with       you being                          a   juror                                                                                                                                particular



14                 that      period                       of time.                                                                                                           14      that        crime                      the Guilt/Innocence                                      decision.
     during

15                        VENIREPERSON                                                      No      sir.                                                                     15                                             The law envisions                                     that     these            are the

                                                                                                                                                                                                                                                                                    would
16                        THE COURT                                             Good enough.                              Thank you                      sir.                16      beginning                          rules              that            each         juror                        begin        the process


                                                                                                                                                                             17      with        an open mind neither                                                    for        nor against                  the State
17                           Ill              recognize                  the         State.

                                                                                                                                                                                                                                                                                                                           one way
18                           MR.                   CHAMBLESS                                Thank you Your Honor.                                                            18      neither               for              nor against a                          defendant not leaning

19                                                                 THOMAS                   HATCH                                                                            19      or the               other.                 Heres four                         rules to              look        at.       One      the


20                                                                             No.    59      testified                   as follows                                         20      indictment                             the            fact        that        a person               is     charged            with       a piece
                          Venireperson

                                                                                                                                                                                            paper thats what                                               an indictment                        is a piece              of paper.
21                                                   VOIR DIRE EXAMINATION                                                                                                   21      of



22   BY MR.        CHAMBLESS                                                                                                                                                 22      The         fact              that          were              in       court            this    morning the                    fact       that



23           Q.    Mr.       Hatch                        Im Larry Chambless one                                                     of    the                               23      there            are lawyers                                here none of                        that        should           indicate            in



                                                                                                  You and                                                                    24                   mind                           the thinking                           of     a jurors              mind        that    thats
24   Assistant           District                    Attorneys                       here.                                      I   will                                             your                                   in


                                                                                                                                                                             25                                                                            shouldnt                 cause you                     be swayed one
25   have a chance                                 to visit         here approximately                                         45 minutes                                            evidence                          or    any            --    it                                                         to




                                                                                                                                                                       101                                                                                                                                                                      103

     then     the       Defense                                                              have a chance                                 to    do                              1
                                                                                                                                                                                     way or the                             other.               Do you see that
 1                                                        attorneys                  will




2    the     same.           We                    have the questionnaire.                                               Weve              read your                          2                  A.            I       follow              you yes                  sir.




                                                                                                                                                                              3                  Q.        Just simply a piece                                                                               indicate          what
3    answers and appreciate                                                    the time           that           youre spending                                                                                                                                              of     paper        that


                                                                                                                                                                              4      the charge                                   and what the State has                                             to                    Do you
4    with     us.                                                                                                                                                                                                           is                                                                              prove.

                                                                                                                                                                              5      think            you could follow                                           that    rule
 5           A.     Okay.

6            Q.    You indicated                                    in    the questionnaire                                    that        you were                           6                  A.        Yes               sir.



                                                                                                                                                                                                                                                                                                                               Each
 7   willing       to serve.                         Or       is    that        what you answered                                                                                7               Q.        The second presumption of innocence.

                                                                                                                                                                                                                             the law envisions                                                 each                  would
 8           A.    Yes               sir.
                                                                                                                                                                                 8   juror            I    think                                                                    that                    juror



 9           Q.    Tell        us              what prompted                                you     to      say           that.            Some say                              9    begin there                            in
                                                                                                                                                                                                                                      your mind                     that          you      --
                                                                                                                                                                                                                                                                                                 any every defendant

                                                                                                                                                                              10      in     a    criminal                       case                      presumed                  to       be innocent.               And          that
10   yes some say                                  no.                                                                                                                                                                                            is



                                                                                                                                                                                                                                                           indictment                         no evidence.
                                                                                                                                                                                                      along with
                                                                                                                                                                                                                                                                                                                               think
                                                                                                                                                                                      goes                                                  this                                     is
11           A.     Well                      think           its     a        civic                                                                                          11                                                                                                                                           I


                                          I
                                                                                            duty.

                                                                                                                                                                              12     the mindset                             of        a                         would be I dont                            think    one way
12           Q.     Okay.                                                                                                                                                                                                                    juror


13           A.     Something                              thats               requested                  of     all      of us.            Someone                           13      or the              other.                  I    have no thoughts                                   on that.               Just    because

                                                                                                                                                                                      were                                                         because                     a defendant                   has lawyers
14    has     to   make up a Jury                                     to        decide           issues                   and        I    have no                             14                          in       court               just


                                                          one                   those                                                                                         15      around                   him or her doesnt mean anything.                                                                   The State has
15    objection          to          being                            of                     people.

                                                                                                                                                                                                                                                                              the State                                 the
                                               Thank you very much.                                                                                                           16             prove the case.
                                                                                                                                                                                      to                                                                                                              to    prove
16           Q.     Okay.                                                                                        Appreciate                      your
                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                           expect

                                                                                                                                                                                                                                                                                                                                  The
17    answer.           This                  is     --   were going                        to   go through                          some              slides                 17      case.                Put              no burden                           on a defendant                       whatsoever.

                                                                                                                                                                                                                                                                    case                                    the   burden
18    PowerPoint                    slides.                   It    will        be     actually             on           this thing               in                          18      only            person                  in       a     criminal                               is    --    with



                                          Were                                                   about              what the law                                              19             the          State.                  If       the State                doesnt prove                          its    case
19    front   of you.                                         going             to talk                                                                 is                            is



                                                                                                                                                                              20                                                                           innocence                alone                 enough         to     acquit
                                                                                                                                    you could                                         the presumption                                        of                                                      is
20    with    regard               to this                 process whether                                 or not

                                                                                                                                                                                                                                                                             Do you                         you could follow
                                                          and keep an open mind                                                          each point                                                                                    defendant.                                              think
21    follow       those              rules                                                                                     at                                of          21      a hypothetical


22    the process.                                                                                                                                                            22      that        rule

23                            There                       are       potentially                  up       to     four separate                                                23                 A.            Yes               sir.



                                                                                                                                                                              24                               The                           burden                                       goes along with that
                                                                         you might have                                        make                     case
24                                            decisions                                                                  to                        a                                             Q.                          third                                  of       proof
      independent                                                                                                                           in




25    such as           this.                 It    is    a    capital               murder case.                              Theres a                                       25      not only                         is   a defendant                            presumed innocent as you                                       start
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                                                                                                                                                                           104                                                                                                                                                                        106.

     the                                        the complete                         and                    burden                   on us the                                         death.               had that conscious
            process                                                                             total                          is                                                 1                                                                                       objective.
1
                                                                                                                                                                                                        I




                                                                                                                                                                                                                                                                                                     Theres                      a
                                                                                                                      any time on a
2    State           of           Texas.                There             is    no burden                   at                                                                   2                                    I
                                                                                                                                                                                                                          just        say       that            to        say        this.                              just




--14
3    defendant                        to        prove anything                              so     if   youd keep                    that          in                            3     lot    of    variations                       in   the evidence.                                   Do you see                    that



4    mind.                    Could             you hold us                     to        our burden                   and require us                             to             4     possibility

                                                                                                                                                                                 5             A.       Yes.
5    prove what were required                                                        to     prove           which             in   the    first




6               as            to this             first       decision                    are the elements                          of   a                                       6             Q.       And               its        important                   at       each phase of
     part


                                  Would you hold us                                                     burden                                                                    7                                                         a criminal                         case          to       wait           and not make
7    crime                                                                                to that                                                                                      decision-making                                 in



                                                                                                                                                                                                                                                                                                whatever
                                                                                                                                                                                       up your mind                                   advance
                                                                                                                                                                                  8                                                                              wait               until                               the evidence
8           A.                Yes.                                                                                                                                                                                             in




                                                     Have                                                                     Amendment                                           9           comes          before                   you and then                                         the appropriate time                                make
                                                                   you heard                            the                                                       or                                                                                                                at
9           Q.                Okay.                                                             of                Fifth                                                                is




10   the    right                 to      remain              silent                                                                                                             10    the decision.                            Do you see how                                      that     works

11          A.                Yes               sir.                                                                                                                             11            A.       Yes                   sir.



                                                                                                                                                                                                                                 The range                                                                            murder
12          Q.                In      a    criminal                case a defendant                                    may testify                  or                           12            Q.       Okay.                                                    of       punishment                            for                       this


                                                                                                                 defendants choice.                                                                                            murder were making                                                     were gonna
     may choose                                 not                                      That           a                                                                        13           not                                                                                               --
13                                                         to testify.                             is                                                                                  is           capital


     The application                                                      and heres the                               rule.          a                                           14    building             this distinction                                here.              If     its   just           murder as
                                                        is    this                                                             If




15   defendant                            in     a     criminal            case chooses                               not    to testify                 then                     15    if    that    was not serious enough                                                          if   its    murder the range

                                                                                                                               would               need                                                                       99 years or                                      And                              sentence a
                as a juror along with your other jurors                                                                                                                          16           5 years            to                                                                         in this
16   you
                                                                                                                                                                                       is                                                                       life.




17                                                                                              or consider                                                                      17            sentence                        would            have a parole                                                          unlike
                                                that not hold                                                                 that       in       any                                  life                                                                                                 eligibility
     to    disregard                                                                 that


18                                              a defendant.                                other        words you would                                     have                18                     murder which                                  is    life      without                parole.                  Here this
     way against                                                                     In                                                                                                capital




--8
                                                                                                                                                                                             you were seated as a juror
                                                                                                                                                                                 19                                                                                            in         order           to    serve        as a
19   to    --    Ive heard                             the term                used compartmentalize                                                this                               if




                                                                                                                                                                                 20                 you would                         have                      keep an open mind and give
                                      you would have
20   from            that                                                           to     look at               what evidence                          is                             juror                                                           to                                                                                      fair



21   before                   you and decide                                   did        the State prove                      its    case                                       21    consideration                            to    the low                 end              5     years                all   the     way up            to



22                                    reasonable                     doubt                      not and not speculate                                        on                  22    99 years or                        life        depending                         on what the                            facts    were.             In
     beyond                       a                                                        or


     what might have been said or could have you know                                                                                                                            23    other        words going                             in              would                   be you know                         the
23                                                                                                                                                           that                                                                                      it




24                            Do you see                       that        difference                                                                                            24    postulate              would                   be    that            you would                       have                to    give   fair
     thing.


25              A.            Yes               sir.                                                                                                                             25    consideration you would                                                   be able                   to    think           about           talk




                                                                                                                                                                           105                                                                                                                                                                        107

                              How do                                           about            that                                                                                   about with your                                fellow                              the             whole range of
 1              Q.                                     you         feel                                                                                                           1                                                                    jurors


2               A.            I   think              its     appropriate.                                                                                                         2    punishment.                              Do you                think          you could do that

3               Q.            Okay.                  Could          you             follow         that          law                                                              3            A.       Yes                   sir.




4                                                                                                                                                                                 4                         The same
                A.            Yes               sir.                                                                                                                                           Q.                                          is   true            for       aggravated                            robbery.


5               Q.            All         right.             This    is        where we begin.                                Murder               is                             5    Whats that                               Aggravated                         robbery                  is       --    would         be      for



                     Take a minute                                                                                                                                                6    example                                chose                    go        into          a     7-Eleven and                            had a
                                                                          you would                                   read                                                                                                                      to
6    this.                                                                                              just                   that.                                                                             if                                                                                                      I

                                                                    if                                                                                                                                                    I




7                                          So a murder                          is
                                                                                         anytime            a person                intentionally                                 7    weapon                a deadly                       weapon                   with             me         a        gun and            I   stole



                                                                                                                                   and by                                         8                                                                                                                  property            by
                                                                                                                                                                                                                                                                          --         stole
     causes the death                                         of   another any                          allegation                                      --   it                        robbery              is     stealing                 property                            I




                                                                                                                                                                                                                                                weapon                                                                       That would
9    might                    be by             hitting        with a               tire    iron.           It    might        be                                                 9    displaying a deadly                                                                     using            that           threat.


                                                                                             be stabbing                      with a                                              10   be aggravated                                 robbery.                   Again                 there           could            be a      lot of
10   shooting                         with a gun.                    It        might                                                              knife.


                                                                                                                                                                                                                                                                                                                type of offense
                                                                                                                  my mind                         cause                                                      contextual                         backgrounds                                to that
11    But       if        I   have a conscious                                      objective               in                           to                                       11   different



12   the death of another                                            and             I
                                                                                          complete                that       action               then                            12   and         the law envisions                                   that          if
                                                                                                                                                                                                                                                                          you were a juror you could

                                                                                           could take a                                  forms                                    13               fair      consideration                                 to    both the low                             end and the high
13   that        is           murder.                   It    might            --    it                                     zillion                                                    give

14   factually.
                                                                                                                                                                                  14   end          5   to    99 years                      or        life.          If
                                                                                                                                                                                                                                                                          you were                        --    served       as a


15                                         It    might         be         something Im on the road                                                 this                           15   juror         do you                    think        you could keep an open mind as                                                                to that



16   afternoon                            and          its    been a long day                               in    court            and        I    look                           16    range           of   punishment

17   over            and somebody                                   cuts            me      off.        So        I
                                                                                                                      pull    up beside them                                      17           A.           Yes               sir.



                                                                                                                                                                                                            The point is                                                   the process                                such       that
      and                                                          And                                                              mind                                          18            Q.                                                                   --                                          is
18               pull              out a gun.                                   with        that        thought               in                    I
                                                                                                                                                                                                                                                 it    just


19    shoot them.                                That might                     be one             fact          scenario.               Another                                  19    it    envisions                       that    you        would wait and not                                             make up           your          mind

20   fact        scenario                            might         be      I   think         about shooting                          someone                           I
                                                                                                                                                                                  20    or     make any                        decision                until          youve heard the evidence.                                                  And

21    plan           it       out over a period                                 of        time much more you know                                                                 21    its    unfair for                      us     to    say what would you do. The point


22    intense a thing                                      like    that             premeditated                       thing.         Another                                     22    is     youve got                         to    keep an open                                  mind            at    each point                in    the


                                                be two                                                                                                                            23                              Do you                                    you           could            do that
                                                                                         people one                          dying of              cancer                                                                                 think
23    thing            might                                   elderly                                                 is                                                               process.


24    the other the                                  husband                   or wife             chooses               to    give the dying                                     24            A.          Yes               sir.




                                                                                                                                                                                  25               Q.       This                     a death                                         case.            And when you
                                                              cause the death                                                                     cause            the                                                                                      penalty                                                                        first
25                                enough                                                                                                                                                                                      is
                                                        to                                                       intentionally
      patient
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                                                                                                                                                                    108                                                                                                                                                                    110

                                                      what were your thoughts                                                     about that                               1           A.            Yes.
1    recognized                       that                                                                                                             if   I




                                                                                                                                                                                                                                      missed on any one                                          those            elements
                      ask                                                                                                                                                                                  the State                                                                        of
2    could                                                                                                                                                                2            Q.            If




3            A.        This                is   a     new experience                                         for      me     having        never                          3     we     did       not prove                       that         we had                    the   wrong              county                for



                                                                                       understand                           the seriousness of                            4     example or a                             different                 mental               state       as      what the evidence
4    served on                    a Jury                   before.                I




                                                                                                                                                                                                                                                                                           be                we
                                                                                                                                                                                suggests do you see                                                would have
                                                                                                                                                                           5                                                                                                     to               --                   didnt
                                                    hand.
                                                                                                                                                                                                                                                                                                        if

5    the question
                                                                                                                                                                                                                                              it
                                            at


6                Q.                                                                                                                                                       6     meet our proof what would you have                                                                         to   do
                       Okay.

7                A.     Its       gonna be                           potentially                        difficult            to   do     but     I                         7           A.            Find           that         person                 non-guilty.


                                                                                                                                                                           8           Q.            Not
8    still       see       it    as something                                   that           I   could              do.                                                                                          guilty.


9                Q.                             Well well                        talk              about your feelings                           and                       9           A.            Yes.
                        Okay.

10   your thoughts                              as         we        go through                          this.             Here we go.                Were                10           Q.            Thats exactly                            right.              Are     you holding                        us   to    our


                                                                                       murder                              whatever                                       11    burden and                           either           we got there or we didnt
11   making the                        transition                     from                                        to                      capital


12   murder                is.        Okay                                                                                                                                12           A.            Yes             sir.




13               A.                                                                                                                                                       13           Q.            If    we        didnt             we want                     to    do the            right       thing.           Do
                        Okay.

14               Q.     And here                           it
                                                                says            capital                 murder.                  This    different                        14    you agree with that

15   offense               is     murder committed                                                 during              the course          of the                         15           A.            Yes             sir.




                                                                                      commission                                                                          16           Q.                                        This                a statement                     about             what        this
16   commission or attempted                                                                                                of either      robbery or                                                All        right.                        is




17                                So the added                                  fact           is       murder during the course                                          17    intent          means.                      Its       having             a conscious                       objective               or
     burglary.


18   of      a   --    either               a robbery                      or a            burglary.                       That elevates                                  18    desire           to        cause the                        result.               Its    having            a thought


                                                                 other                                  where the only                                                    19    process however                                              doesnt have                       to     be premeditated.
19   that takes                                     this                          level                                                                                                                                                it
                                      it    to


                                                                                                                                                                          20    Murder                         a                        murder can occur                                                                     but
20   punishment                            options                   are        life       without                    parole          or death                                                            in        capital                                                                intentionally


                                                                                                                                                                          21          does not require                                that              be thought                   out         in    advance.
21   sentence.
                                                                                                                                                                                                                                                   it
                                                                                                                                                                                it




                                      And                                                                                                                                 22          can be                   intentional                  even though                       its                     then        and
22                                                    if    a person                      is       found              guilty      of capital                                    It                                                                                                    right


                                                                                                                                                                                                                                                                                                       or desire
                                                                                                        go back there and decide
23    murder the Jury does not                                                         just                                                                               23    there            as long                 as       its        a conscious                      objective


24    life       or death.                      There                are a series                            of       up    to    three                                   24    to    cause the                       result.               How do you                        feel     about             that

25    additional                  questions                          that        you would                             independently                 and                  25               A.         I

                                                                                                                                                                                                           agree.



                                                                                                                                                                    109                                                                                                                                                                    111

                                      consider                                                                         So remember theres                                  1               Q.         Are you okay with that
 1    separately                                                     in
                                                                           punishment.

2     up     to       four questions                                 potentially                         in       a   case        like   this.                             2               A.         Yes            sir.




                                                           Guilt/Innocence.                                       Did the person                     commit                3               Q.         All                        This introduces                              an additional                       feature
 3    First           question                   is                                                                                                                                                             right.


                                                                                                                      Then we go                                           4    to     a                            murder                                               Those are                    all    the
 4    that.           Did the State                              prove                its          case.                                     into                                          capital                                         allegation.


 5    Punishment.                                                                                                                                                          5    elements                       that      we       looked                 at       before.            Do you                 recall      that

 6                                     Now                 here            this           is       one        classification               of                              6               A.         Yes            sir.




                        murder.                        A             an                                               murder committed                                     7               Q.             But      at    the      bottom                           adds or            is        a party           to
 7                                                                              intentional                                                                                                                                                                  it
                                                                --
      capital


 8                      the course                                                                                                 There       are other                   8                          murder.                     This                  Dale            Hanna.              Im        Larry
                                                                      robbery or
                                                                                                                                                                                                                                                is
                                                                of                                                                                                              capital
      during                                                                                             burglary.

                                                                                                                                                                                Chambless. Suppose                                                                                                    who         are
                                                                                           example murder of a peace
 9                     of capital                     murder                    for                                                                                        9                                                                       theres two people
      types

                                                                          element                             a                                  or   two                  10                                                a    crime                 and we are the two people.                                                 Just
10    officer              the          additional                                                      of            peace        officer                                      participating                         in




11                                     the          same              transaction.                                They are             different.                          11   imagine                    in      your       mind            that           scenario.                We          become                --    if   Im
      persons                    in


                                                                                                                                                      of                   12   the                             in   a robbery                     using a               gun                Im the one with
      Here the                                                                                          occurs                    the course                                                     say
                                                                                                                                                                                           --                                                                                         if

12                                additional                         factor               is       it                       in

                                                                                                                                                                                                                                                                                       Do you see how that
13    robbery                   or     burglary.                      Do you                       think          thats an             appropriate                         13   the        gun and he could be my                                                   helper.


14    classification                            to     bump                it
                                                                                 up from murder                                  to   capital                              14    could           work

15    murder                     in   your             mind                                                                                                                15              A.             Certainly.


                                                                                                                                                                           16              Q.                               Well            talk        more about                    that.            There           are
16               A.        Yes.                                                                                                                                                                           Okay.


17               Q.        Okay.                 These are the elements.                                                          Elements             is       a          17    ways            in       which             a party                he         as        my helper                 could also


      word simply                                                                                                                            has                                 become                                                                 murder under                        certain               statements
18                                          to       mean                 or     indicate                    what           the State                  to                  18                              guilty of capital


19    prove.               And these are the pieces                                                           of       information           that      we                  19    of    the           law.           And were going                                  to   get     in        to that           here.


                                                                                       murder case.                               Have you had a                           20    This                     one way                      which             he could                become                 responsible                  for
20     have           to        prove            in        a    capital
                                                                                                                                                                                                is                               in




21     chance                to       look           at         those                                                                                                      21    my        conduct.                      Take              a minute                 to   read        that.


                                                                                                                                                                           22                                            other              words suppose                            Im                           with        my
22               A.        Yes              sir.
                                                                                                                                                                                                                    In                                                                          talking


23                               the State                       were                                         each           of    those     elements                      23    friend               Mr.          Hanna here and we                                      talk       about going                       in    to    that
                 Q.         If                                                   to        prove

24                                                                        doubt then under the law you                                                                     24        7-Eleven.                     And you see                          in    the        third      paragraph one example
       beyond a reasonable

25     would            --       can you vote                             for         a     verdict                   of   guilty                                          25        might be he says
                                                                                                                                                                                                                                      --    he       solicits            me.         He says                  Why            dont
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                                      and                                                 and be the lookout.                                          Do                                       Q.               Under the                                       scenario                   both       sides are
                                                      stay out here
                                                                                                                                                                                 1                                                                    first                                                                       fully
1
        you        go        in                Ill


                                                                                                                                                                                                                                                     Under the second                                 scenario                   dont
2       you        see how                   that         works                                                                                                                  2       in   to   everything.

                                                                                                                                                                                 3                      have a conversation                                                     about        the       murder                but
3                            Yes                                                                                                                                                         really                                                                                                                                      if      it
               A.                           sir.



                                                                                                                                                                                                             have been                                                                    then the helper the other
4              Q.            He might                     --   he        was not only there be                                        soliciting                                 4       should                                                           anticipated


                                                                              and aids me by being the lookout.                                                                  5       party can                        become                          liable.               Do you       feel          thats appropriate
5       but    he also encourages

6       So    if    hes               fully     in        for   the robbery                 and he                        solicits         and                                   6       or   not

7       aids       me             he could be responsible                                           for        what             I   did    in                                    7              A.           Yes                     sir         I   do.


                                                                                                                                                                                                                                                                                                                                 what we
8       stealing                 the        money even                            though            he didnt go                        in.       How do                          8              Q.               Do            you                   Okay.            This           is   just        a recap of


9                                about             that                                                                                                                          9       just said.                        Those                     are the elements                            in    order            for      a party               to
        you        feel


                                                                                                                                                                                 10      become                       also                                                  for capital               murder.                This         is      an
10             A.                                                                                                                                                                                                                        responsible
                             I

                                 agree.

11             Q.            You agree with that                                                                                                                                 11      observation.                                    Whats                  not required                  is      --    are these               things.


                                                                                                                                                                                 12      Might           be               surprising                        to   you.                dont know.                       You know                    if

12             A.                think         thats appropriate.
                                                                                                                                                                                                                                                                                 I


                             I




13             Q.            Okay.              All        right.             Theres a               different                      scenario                                     13      you look                         at        a    lot         of   TV          do you see a                     --       watch a            lot       of


14      here.            And            this         is    a    lot      of   words            but take a minute                                     to                          14      TV
                                                                                                                                                                                 15             A.               Not too                      much.
15      read        that.


                                        A                                                                                           but                                          16                Q.            Good                    for                     All
16                                            lot     of       words a              lot    of       legalese                                                                                                                                         you.                   right.


                                                                                                                                were                                                                             Most
17      basically                     let    me       illustrate.                  Suppose                     again                         talking                             17             A.                                       of     it   is    boring.


18      about            this           robbery                of    a 7-Eleven.                     Same                     illustration.                                      18                Q.            All           right.                Whats             not required                        --
                                                                                                                                                                                                                                                                                                                you remember

                                                                                            do the robbery the                                                                   19      we have                                                      the elements.                          What                    not required
                                                          Im going                                                                                                                                                        to                                                                                    is
19             decided                                                                                                                                                                                                              prove
                                                                                                                                                                                                                                                                                                                                                        it
        Its                                 that                                  in to


                                                                             Hes                                    be the                                                       20      doesnt say anything                                                     about premeditation or motive                                                    or
20      stealing                  of    the        money.                            going            to                             helper.              It




                                                                                                                                                                                         even                        doesnt even require                                             scientific             evidence.                As long
21      might            be a lookout                          or        a    getaway           driver                    whatever                form          it               21                     --




22      takes                or       he might be the person whatever                                                                form       it   takes.                      22      as     we           convince                                you beyond                      a reasonable                      doubt then thats

                                                                                                                                                                                 23      what we have                                                do.         Sometimes there may be a murder
23      Now             if       you can imagine here                                     is        a conspiracy.                            Conspiracy                                                                                       to


                                                                         Thats                                            can be look                                            24      weapon sometimes                                                       not.            Sometimes there may be a
24      is    just           an       agreement.                                      all      it    is.            It




25      you can imagine you can                                                    find    an agreement                                by     conduct by                         25      eyewitness sometimes                                                          not.




                                                                                                                                                                        113                                                                                                                                                                                      115

    1   words by whatever                                        you choose.
                                                                                                                                                                                     1                                              We          do have an                       obligation                to        prove our               case

 2                                          But      lets        suppose we have                                         this   hypothetical                                      2      beyond a reasonable                                                     doubt.               Now             beyond               a reasonable doubt


        conversation.                              And yes yes Im going                                                                                        the                3                                        not            be a            definition                 given       to    you            of   that
                                                                                                                         to     go in        steal                                       will      --    will
 3

                                                                                                                                                                                                                                                                      would                                                      doesnt
 4      money.                    I    have my gun.                               He knows                 I    have a gun.                          He knows                I    4      what           that               means.                         But     I
                                                                                                                                                                                                                                                                                          suggest               this.       It




                                                                                                                                    We     dont                                          mean beyond                                                  doubt.                     doesnt mean beyond                                      a    shadow              of
 5      always                   have a loaded gun on my person.                                                                                          talk                    5                                                           all                          It




                                                                                                                         have a loaded gun.                                       6      doubt.                                     had                   be beyond                         doubt                then       probably
                                             anybody but he knows                                                                                                                                                                                to                                   all
 6      about                                                                                                                                                                                                        If   it

                             killing
                                                                                                                I




                                                                                                                                                                                         each                                   would                 have                       would           want                  feel
        Now                                                                   that what becomes                                                                                      7                                                                            to        --                                   to              like
    7                   as a Jury looks                                  at                                                           critical         is                                               juror


    8   this       last           phrase              down here.                     Even though                                he    --   we         didnt                          8   Well                I
                                                                                                                                                                                                                     didnt                   see          it.    You know                     all
                                                                                                                                                                                                                                                                                                      cases                all




    9   talk       about the                       murder even though                                          Mr.         Hanna had no                          intent              9    criminal                    cases whether                                    it       be from           traffic            up    to     capital


                                                                                                                                                                                          murder                      are                                       over the country                           based on the
10      that        I
                        commit                 it     was the murder                            inside                    in    furtherance                    of                 10                                                     tried        all




                                                                                                                                                                do                                                                       witnesses.                        And so            its                to    the Jury               to
11      the unlawful                         purpose.                        In   other     words our decision                                         to                         11      testimony                            of                                                                     up

                                                                                                                                                               one                12                         and consider                                              kind of evidence                               and decide
                                             and was the murder one                                                                 the                                                   listen                                                            that                                                                                   if

12      the robbery                                                                                                      that              killing


                                                                                                                                                               be                 13      the      case                              that                                       feature          that           youre
13                  should                   have been                                                         Well             that       would                                                                                                     particular
                                                                                                                                                                                                                               if
        that                                                                 anticipated.


                                                                         Do you see how                                                         work                              14      interested                                in   or          need        to    know has been proven beyond                                                           a
14      for        a Jury               to   decide.                                                                     that       might

                                                                                                                                                                                          reasonable                                    doubt.              Do you see how                             that          works
15                 A.            Yes         sir.                                                                                                                                 15


16                 Q.            In    other          words                  a Jury would                       have            to    look           at that                      16               A.                Yes                 sir.




17      and         think              about              and decide whether                                        or     not       Mr.     Hanna               should           17               Q.                Okay.                    Any           of this             bother       you           any Do                 you have

18      have thought                            about               it       should       have anticipated                                   that         a                       18      any concern about that
                                                                                                                                                                                                                     No.
        murder would have occurred                                                                                         have anticipated                                       19               A.
19                                                                                        or should                                                                   that


                                                                                                                                                               And                20               Q.                Okay.                    All         kinds        of       witnesses                  in    a criminal
20       it   could               have occurred                              in   the course                        of that          robbery.

                                                                                                    have anticipated                                                              21      case.                  This                         an observation                          that            could            vary
                                                      yeah he should                                                                                 that                                                                               is                                                       it

21       if   the Jury says

                                                                                                                                                                                  22                                                                              officers criminals                                                              and
                                      accomplice the helper can be also                                                                                                                   anywhere                              from                                                                                  preachers
22      then the                                                                                                                          guilty       of                                                                                            police


                                                                                                                Do you see how                                                    23                                                    what a pairing what                                  a coupling                    of types.
 23      capital                 murder under                            this      scenario.                                                                   that                       prostitutes


 24      works                                                                                                                                                                    24      The           --       I

                                                                                                                                                                                                                      guess                      the        point           of this slide                  is    that      you as a

                                                                                                                                                                                  25                     need                       to       evaluate                           youre       to     serve each witness
 25                              Yes
                                                                                                                                                                                                                                                                      if

                   A.                         sir.                                                                                                                                        juror
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                                                                                                                                                                                                                                                                                                                                           118
                                                                                                                                                               116
                                                                                                                                                                                  whatever                       other           evidence                          any              there.                 Sometimes
               and openly as you see                                                                                                                                         at                                                                                               is
                                                                                  not                              anyone                                            1                                                                                   if
1                                                                                             giving
     fairly                                                                 it



                                                                   For                                                                                               2       there      may                  not be.             There            may be                     other       evidence sometimes
2    automatic            believability.                                   example                  police           officers                   are


3    not    entitled           to    be believed                         just    because                 they           come               in    with                3       there      might not be.                               Some            might                   feel    that         You know                         I




                         The same by the same token a person might                                                                                                   4       dont know about that                                          that          could you know do that.
4    a badge.
                                                                                                                                                                                                                                                     I




5    have a         criminal                history             and theyre not                           to    --
                                                                                                                    they dont                                        5       But as a juror could                                    you do that

6    deserve            being automatically                                disbelieved                    just          because                   of                 6             A.          I       think          so yes               sir.



                                                                                                                                                                                                                     so




--15
                                                                   determine the                                                       of                            7             Q.          Think
7    that.        Its    a jurors                 role to                                                credibility


8    each witness.                     Do you                think         you could                 do that                                                         8             A.          Yes                sir.



                                                                                                                                                                                                                                                                   from            that
9           A.      Yes         sir.                                                                                                                                 9             Q.          All           right.          Separate               this



10           Q.                                                    Sometimes theres testimony by                                                                     10            A.          Yes.
                    Okay.            All          right.


                                            Remember                                  same                           where we talked                                 11            Q.          All                           Do you            recall              at        the beginning                      we
11   an accomplice.                                                        this                      thing                                                                                                   right.


12   about parties accomplice.                                             Sometimes a deal                               is       made                   in         12      said there                      are       potentially                how many decisions                                         that       would

13   criminal           cases          if        there are two or                       more people involved.                                                        13      be made                        in   a    case        like        this            I    dont know                     if
                                                                                                                                                                                                                                                                                                       you

14   Has      that       ever        --     has          that      crossed              your         mind                                                            14      remember up                                to



             A.                                                                                                                                                      15            A.          Capital                      murder
                    Certainly.


                    Yeah.             Youve                  heard                           Plea bargains                             have                          16            Q.              In       a                     murder case.
16           Q.                                                            that.                                                                                                                                 capital


17   you heard             that        term                                                                                                                          17            A.          Two.

18           A.     Yes         sir.                                                                                                                                 18            Q.              Okay.               Actually               four.




 --8
                                                                                             we had                 committed                                        19            A.              Or four yeah four questions.
19           Q.     Sometimes                          for     example                  if                                                        this


20                                                      and the Prosecutor                                approached                            the                  20            Q.              One            in    the      first        part       and the decision                                  is   as      to
     aggravated                robbery

21                  for Mr.           Hanna there and said If you                                                       testify             and                      21      guilty or                 not        guilty.
     lawyer

22   tell    the truth              this          is   the      punishment                     we recommend.                                         It              22            A.              Yes.


                                                                                                    occurred                               case                      23            Q.                                  And thats the                          --    on the           left        side of           this
23   would         be     something                         like    that.        If   that                                in           a                                                           Okay.

24                         know                                         had occurred.                                                                                24      slide.        You see                          that.        Evidence                      presented                      the lawyers get
     you would                                   that       that


25                             And so there might be accomplice                                                           testimony                                  25      up and make an argument then you go back and decide                                                                                                          is   he


                                                                                                                                                               117                                                                                                                                                                         119

                                                                                                                                                                                  she                                or not                         And                      you decide                    not
     sometime                   a                               case.            This               an observation                              about                 1      or                                                     guilty.                            if
 1                         in          criminal                                               is                                                                                               guilty


 2                                                                 event you cant use                                                                                 2                    that                  ends the process                                 of        course.         If
                                                                                                                                                                                                                                                                                                      you decide
     that.         Says        that         if    in   that                                                              just                                                guilty


 3   accomplice                testimony                     to convict.                     There has                  to        be other                            3      guilty        then                  we go on                to this          other part the                              punishment

 4   evidence.                 And thats common                                   sense                                                                               4      part.                 you can envision                               that             as two separate                           parts.
                                                                                                         guess.
                                                                                                                                                                                          If
                                                                                                     I




                                                                                                                                                                                                                 And             the       second                              there are
 5            A.        Yes     sir.                                                                                                                                  5                                                     in                                     part                                    potentially



 6            Q.        Thats         --     must be other evidence                                           that       tends              to                        6      three decisions                                that     you would                         have         to   make each
                                                                                                                                                                                                                                                     Each you need
 7    connect            the    one on                  trial       it    would          be        me         if    he    testifies                                   7      independent                             of     the     other.                                                            to   take         just      a


                                                                                                                                                                                                                     you make one decision                                         doesnt
                                                                                                                                                                      8      the   fact                that                                                                                                dictate           the
      as    an accomplice.

                                                                          feature                   the                                a                                 9   other.                Its          taking        a look           at    whatever                      evidence                  there           is
 9                             This          is    another                                   of               law.        In


                                                                                                                                                                                                                     not leaning                  towards                    one punishment
                         case sometimes a defendant                                                                                                                  10
10    criminal                                                                                           may         give a statement                                        at that           point

                                                                                                                                                                                                                                                                                    your decision                            on
11    to    the    police.             It   would             be up         to        each          juror to follow                         the                      11      automatically.                                 Its just          simply basing


                                                             And these are some features                                                        of                   12      the     evidence                          whatever                there               is       at that time.                   Do you see
12    Judges             instructions.                                                                                                                it.




13                        the        Judge would                          instruct            you unless                          was a                              13       how     that                  works
      Basically
                                                                                                                             it




14    knowing             intelligent                   and voluntary                        statement                    unless the                                 14            A.              Yes               sir.




15                        were properly                                                      that    sort of             thing              you                      15              Q.            So as you go                          into       this            do you           think             you would
      warnings                                                     given          all




16    must disregard                        it.                                                                                                                      16       be leaning towards                                    life       or death                     or could        you base your

                                                                                                                                                                     17       decision                      on the evidence                         as              comes            up according                            to
              A.        Yes
                                                                                                                                                                                                                                                              it

17                              sir.



18            Q.        And     if   you were                      to    serve as a juror                           do you                  feel                     18       these        questions

                           that                                                                                                                                      19              A.                                     would          have          to        wait        to   hear the
              you could do
                                                                                                                                                                                                        think
19    like                                                                                                                                                                                         I                    I




20            A.        Yes         sir.
                                                                                                                                                                     20       evidence.


21            Q.                       And                  could          be as serious as                             this.              For                       21              Q.            Okay.                    Very good.                   And here they                           are.           These
                        Okay.                          it




                                                                                                                                                                     22                        the shorthand                             version              of        these                                        Take             a
22    example             if   --    and again goes back                                           to that          thought                  of                               this    is                                                                                             questions.


23    compartmentalizing                                    this    from         that.         If   the evidence                            came                     23       minute                   if
                                                                                                                                                                                                             you would                   to    read that


                                                                                             should                be                                                24                                          So again                 in   the       second                    part     of        the       trial    -
24    in      but   you looking                         at    it    felt    like        it




                                                                                                                                                                      25                                                                      Guilt/innocence.                                        doesnt
25    disregarded then                                 you would                have          to    disregard                     it       and look                           remember                           first       part        is                                                 It
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                                                                                                                                                                  automatic.
     determine              your answer                  to    these          questions.
1                                                                                                                                                         1



                                                                                                                                                          2                  A.         Yes.
2            A.     Right.


                                      There                                                                                                                                             Each needs a separate                                              look                               time          based            on
                                                      may be                                                                                              3                  Q.                                                                                          at that
3            Q.     Okay.                                              additional                     evidence                   in   the


4    second          part.        The only side with any burden                                                       of   proving                        4       whatever                    the evidence                          is.     If
                                                                                                                                                                                                                                                 you remember nothing else

5    anything and presenting                                  evidence                 is    who                                                          5       if
                                                                                                                                                                        you could remember that I need                                                                   to    hear the evidence


6            A.     Prosecution.                                                                                                                          6       and         its       not automatic.                                Okay

7            Q.     Prosecution.                      Never          in    either                Guilt/Innocence                            or            7                  A.         Right.


8    Punishment any never any                                        responsibility                              on the                                   8                  Q.         All   right.              Now               heres some observations some

9    Defendant.                                                                                                                                           9       key         words            in       here.            Do you              find          from the evidence                                      beyond

10           A.     Yes.                                                                                                                                  10      a reasonable                              doubt          that           means as                      to this             question              we

                                                                                                                                                                  have                                                                                                                           doubt
                                                                                                                                                                                         prove again beyond a reasonable                                                                                         that
11           Q.     So the             first     question           is the shorthand                                   version                            11                      to


12          the Defendant                    a   future                                The second                                three                    12      there                  a    --   heres a key word                                        Probability.                                   would
                                                               danger.                                                     is                                                      is
                                                                                                                                                                                                                                                                                                 I


     is



13                              Did the Defendant                                      the       victim               or intend             to            13      suggest                to        you           that     means more than                                     just          a    possibility
     questions                                                             kill



14           the victim                          a                                      from the                                                          14      but less than                             a certainty                   that     there                is    a       probability
     kill                             or in           different           twist


15   Guilt/Innocence                                    about                                                         anticipate                          15      that        the Defendant                              will       commit criminal acts of violence
                                             thing                   parties                actually


16   instead         of     should             have      anticipated.                       And Issue No.                             3                   16      that        would            constitute                     a continuing                          threat             to society.



17   does the Defendant                              deserve           a    life        sentence                      rather than                         17      Now              going           in to          this          you know                   that          there              are only two


18   the death                                      Now        these        are the                   full       this       is   the                      18      punishments.                               Do you remember what                                                 they           were
                           penalty.


19   full    version.            Theres a                lot   of    words              there.                                                            19                  A.        Yes         sir.




20           A.     Yes.                                                                                                                                  20                  Q.        What were they
                                                                                                                                                                                                   without                                 or the death
21           Q.     Yes          sir.                                                                                                                     21                  A.        Life                             parole                                                       penalty.


22           A.     If     in   fact           that     did    occur              then there                     is    a                                  22                  Q.        Okay.                Now           very good.                          Thank you.                            Now          you

                                                                                                                                                          23      would             look           at              of    the evidence                          from Guilt/Innocence                                       and
23                                                         threat                                                                                                                                           all
     possibility of              continuing                                to      society yes.

24           Q.     Well          I
                                       see where youre                            thinking.                      But       heres an                       24       all       of the evidence                             in     Punishment whatever                                                  it
                                                                                                                                                                                                                                                                                                          may be and

25   observation.                     The        fact   that        a person                 has been found                                guilty         25       then        make                a decision.



                                                                                                                                                    121                                                                                                                                                                            123

 1   of                    murder does not determine necessarily the                                                                                          1                                    A        person            might          have              --       for   example                       let   me
            capital


                                             no.                                                                                                                                               another                  scenario                 out here.                    A        defendant
                        yes                                                                                                                                2                   throw                                                                                                                              kills
2    answer                           or                                                                                                                          just


                                                                                                                                                                                                                                           And                                about                           And Im
3            A.     Thats              true.                                                                                                               3       my wife                   shoots               my      wife.                        I   think                                 that.



4            Q.                                  on what the evidence                                                                                      4       not patient                     enough                to               the criminal                                               system take
                           depends                                                                         is.                                                                                                                  let                                           justice
                     It




5            A.                                                                                                                                               5        its   duty what needs                                  to     be done.                   And so                  I    enter the             home
                     Right.

                                                                                                                                                           6                                                 who shot my                                                                                    and sanely
                                                         words even                                                                                                                                                                              wife.                  consciously
6            Q.      Okay.              In     other                                        if
                                                                                                  you found a person                                               of that              person                                                                      I




 7                 of                       murder would                    you automatically say yes                                                         7    do that and                          I

                                                                                                                                                                                                            go     in    with the                intent                 and       I   commit the
     guilty               capital

                                                                                                                                                                                                                                     Thats a                                          murder.                Suppose
                                                         danger                   And                                  you know                               8        murder            of that
 8   that     person            is     a     future                                              it   --    if   --                                                                                          person.                                           capital



 9   you wouldnt know.                               You dont know the                                     facts       yet do              you                9        in    that       hypothetical                       that           person me                          or       someone                 else

                                                      Thats                                                                                               10           doesnt have any                                              criminal                                          You know a Jury
10           A.      Thats             right.                       correct.                                                                                                                                        prior                                  history.


                                                                                                                                                                                                                    and they might decide on                                                                              one
11            Q.     Now              let    me      throw      out a             --                                                                      11           might look                  at that                                                                                           this    issue


                     Your car accident                                                                                                                    12                                                              dont know how they would                                                         decide.            Do
12           A.                                                 thing        a minute                      ago         is   a     good                                 way or the                  other.           I




                                                                                                                                                                                                                                                                              facts
13    example.                                                                                                                                            13           you see how there might be                                                 different



14            Q.                        The road rage                                                                                                     14                  A.         Yes.
                     Okay.

15            A.     Yes.             That       doesnt         tell       us      that           he would                  be apt                        15                  Q.         And        it      would             all
                                                                                                                                                                                                                                     depend                on whatever                                evidence


                                                                                                                                                          16                   heard.               There                might be a case where there
                                                                                                                                                                                                                                                                                                            is
16    to    do     that     again            at all      or she.                                                                                                       you                                                                                                                                        prior


                                                                                                                                                                                                                                    be a case where
                                                                                                 process heres
                                               At    each point                        the                                                                17           criminal history                            might                                                               there              isnt
17            Q.     All
                             right.                                         in



                                                                                                                                                                                                                                    You would                                 have               to       wait
18    the key             thing.        You have               to   wait          until          the evidence                         is                   18          prior criminal                        history.                                           just


                                                                                                                                                           19          and see what the evidence                                                           Do you agree with that
19    before        you.
                                                                                                                                                                                                                                                 is.




20            A.                                                                                                                                          20                  A.         Yes            sir.
                     Right.

                                                                                                                                                          21                   Q.                                                    here                  a   word thats                                  there
                                 would be                                  the evidence                                                                                                  Okay.               Society                              is                                                 in
21            Q.     That                                after      all                                               in




22    Guilt/Innocence                        and whatever                   evidence                       there           is    in                       22           and     it   would                   be    any place                 that           a defendant                           finds        himself.



                                                                                                                                                          23           And                                                might be                                                                                be
23    Punishment.                      Just         because          you found a person                                                      of                                for        example                                                  free             society                      might
                                                                                                                                                                                                                                                                                            it
                                                                                                                                                                                                                    it
                                                                                                                                guilty


24    capital        murder does not necessarily                                                 determine your                            answer          24          prison           society.                  Now           do you think can you envision                                                           in




25    to     any one            of     these         three questions.                                 None            of   them            are             25          your minds eye                              that         in    prison the prison                                     world there
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1    are those            who work                in       a prison other                                 inmates also                             family             1     actually              anticipated                               now youre                     here.            What            the law


2    who     is   visiting                 Do you            think               that         those                 deserve             to         be    in           2     envisions                   is   that         you would                             come           into      this part                 of the


3    a                    of                                                                                                                                          3                          willing to                   give                         consideration                          to    life   as
                                safety                                                                                                                                      trial       still
         position                                                                                                                                                                                                                               fair


4           A.     Yes.                                                                                                                                               4     well        as death.                    Do you                     think             you could                  do that

5           Q.     Okay.             Can you consider                                       all    of that               as    you base                               5             A.          Yes          sir.




6                                                                           on the evidence                                                                           6             Q.          And                envisions                         that         you         would                you look
     your decision whatever                                           is
                                                                                                                                                                                                                                                                                              if
                                                                                                                                                                                                             it
                                                             it




                                                                                                                                                                                                             you would
                                                                                                                                                                      7           this          that                                            take            into      consideration                        all    of
7           A.     Yes.                                                                                                                                                     at


8           Q.     Can you go                    in    to    this           with            an open mind and                                                          8     the         evidence everything                                                just         kind of step                   back

9    answer         it    either          yes          or    no              depending                              on what the                     facts             9     including               the circumstances                                              of    the offense                      Defendants

                                                                                                                                                                                                        and background                                          and the personal                           moral
10   are                                                                                                                                                              10    character

                                                                                                                                                                      11    culpability of                        the Defendant.                                       And here                    asks do
                   Yes.
                                                                                                                                                                                                                                                                                             it
11          A.


12          Q.     Okay.             The second issue                                       is     also the                                                           12    you         find      that            there            is       a    sufficient                   mitigating


                                           the                         Thats                                                              Do                          13    circumstance                            or circumstances                                      to     warrant                that       a sentence
13   responsibility of                            State.                                      that            gold         part.


                         from the evidence                                                                                                doubt.              And     14                     rather than                      death                  be imposed.                              asks you                to
14   you                                                               beyond a reasonable                                                                                  of    life                                                                                                  It
            find


15   in this      case you would answer you would                                                                         look       at        the                    15    step back.                       Do you                 think                 you could do                     that         and give

                                                                                                                                                                                                                                            each point                                                     or
                                                      are and decide                                                                                                  16                consideration                                                                         to either
     facts whatever                                                                                           there                       you                               fair                                              to                                                                   life
16                                        they                                                           if                   is   --




17   know         this         would                       come up                          there                    more than one                                    17    death depending                                    on what the                               facts        are
                                            only                                   if                          is



18   person         involved.                   Did    that           person                  actually                   cause            the                         18                A.       Yes          sir.




19                                                                                                            the        deceased or                                  19                Q.       And even                           you reach                           this third           point             because
     death or             did       that        person            intend                to        kill                                                                                                                        if




                                                                                                                                                                            you wouldnt have reached
                                                                                                                                                                      20                                                                                                                                unless            you
20   the    last    piece here                   is    at    the        bottom                       actually               anticipated
                                                                                                                                                                                                                                                                this      third        point


21   that    a    human             life    would            be taken.                                                                                                21    had found                    guilty capital                              murder yes                       to     1      yes        to    2.



22                             Go back            to this              example.                           Remember we                               talked            22    Do you see that

23   about        were committing                            the robbery                             of       the 7-Eleven.                          He               23                A.       Yes          sir.




24   knew         that     I
                               had a gun.                    Do you remember                                             that      example                            24                Q.       Do you                  think              you could give                            fair    consideration


25          A.     Yes.                                                                                                                                               25    to      both         life        as     well           as death                       if
                                                                                                                                                                                                                                                                        you were on                     this       Jury


                                                                                                                                                                125                                                                                                                                                                  127

 1          Q.     Okay.              Imagine               just        a hypothetical                                   just      in
                                                                                                                                          your
                                                                                                                                                                       1                A.       Yes              sir.




                                                                                             had a gun                                             was                                  Q.                           And                    dont want                          ask         you          this to        be
2    mind not only                    did       he         know         that            I                                     that        it                           2                         Okay.                              I                                     to


                                                       had a gun but we talked                                                                          and            3    morbid or anything                                      or                    but          need       to    ask you                this.
     loaded                                                                                                                                                                                                                                     --
3                    that       I

                                    always                                                                                         further                                                                                                                         I




                                                                                                                                                                                                                                   what we had needed
                                                                                                                    amongst us we                                      4                                                                                                                                                        a
     there were some words and agreement                                                                                                                      leave               the State                                                                                                        to     prove
4                                                                                                                                                                           If                               proved                                                                                                        in




5    no witnesses.                    And we                high-five.                        In         that        situation                 I                       5    capital              murder case                                could               you       sign a             verdict           that


6    dont know what a Jury would                                                  decide but a Jury might                                                              6    resulted               in        a death                sentence

7    decide        that         that       person Mr. Hanna                                              actually             anticipated.                             7                A.       Yes              sir.




8    Do you see even                            though            he wasnt the                                     trigger         man              he was             8                Q.       By the same token                                               if    the evidence                     as presented


 9           the                                                                                                                                                       9    in      a                        murder case                                        you       felt    even as you reached
                     helper                                                                                                                                                              capital                                                           if

     just


10          A.      Yes.                                                                                                                                              10    Special               Issue No. 3                               that          there          was a          --    and         this       is    a key


                                                                                                                         wouldnt it                                         word                                                                                circumstance                                                    do
11          Q.      It    would            depend on the evidence                                                                                                     11                        sufficient               mitigating                                                                sufficient




--23
                                                                                                                                                                      12                                                                                               consideration                           a
                                                                                                                                                                                                        you could give                                    fair                                          to
                                                                                                                                                                            you          think                                                                                                                      life
12          A.      Yes.

13          Q.      Cant decide any                               of this in                     advance.                                                             13     sentence

14          A.      No.                                                                                                                                               14                A.       Yes              sir.



                                                                                                                                                                                                                                                                                                           She always
15          Q.      Okay.             And        this        is       the        third             and             final    question                                  15                Q.       My mother was ah                                               unusual           person.


16   that    a Jury            would            reach                                              in     a         capital         murder                            16     thought              that            when she saw                                   life         everything                was
                                                                 potentially

                                                                                                                                                                      17     wonderful                       and              a glass                      was          half     full        she thought
17   case.         Its     a    lot       of words.                   Mitigation                         mitigating
                                                                                                                                                                                                                         if




                                                                                                                                               be                     18          was overflowing.                                           see                and           think          its       nearly
18   circumstance.                        Mitigation                  Ill
                                                                                 represent                          to   you       will                                      it                                                                            it             I
                                                                                                                                                                                                                                        I




                                                                                                                          Defendants                                   19                         Everybody                             looks                                                             Do you
                               you                                                          reduces                  a                                                       empty.                                                                        at     life
19   defined             for               something                    that                                                                                                                                                                                              differently.


20   moral        blameworthiness.                                I   dont know                               if    that      helps or                                20     agree

21   hurts but thats                       --   that        is    a    thing.                 And              it    says          here                               21                A.       Yes              sir.




22   its    a opportunity                   for       --    even            if    you found a person                                                                  22                Q.       Okay.               Some                    people                    think     that        theres always


     guilty       of capital               murder and you struggled                                                        through                                    23     and         this      may be                     very              well            be      true     --    theres always


24                       Issue             and said yes                           future                 danger and you got                                           24     something                       good             that           can be                    said.      Here the law puts a
     Special                          1




25   to    Question             2     yes         did        intend               to        kill         or        killed     or                                      25     key         word           in        here.            And               it
                                                                                                                                                                                                                                                           says you know there may be
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1
        mitigating                 circumstance.                    What         --
                                                                                       you know                  let   me      just             1       its   only                done               in   death            penalty              cases.


                                                                          some people one                                                      2              A.                      see.
2       throw            out       some        ideas.           For                                                juror       might                                          I




3       think you                  know         youth another                       person          might         think        poor             3             Q.              So you know                                 your      first        experience you went

4       education                   another                              might        think        drug        abuse another                   4        right to              the              top.
                                                         person

                                                                    the drug           abuse or the youth.                                      5             A.                          suppose.
5                    might           disagree             with                                                                                                                I



        juror


                                               What                                                                                             6             Q.              You work                         at         whats the name of the place you
                                                                                                                 you give           to                                                                               --
6       It
              just       depends.                             weight           or   significance

7       a                            feature                        to    you       and your other                                              7       work
              particular                                 is
                                                              up                                                       jurors.


8       And do you see how                                that      works                                                                       8             A.              AutoZone.


9               A.        Yes         sir.                                                                                                      9               Q.            AutoZone.                             What do you                    do
10              Q.        So there may be a                                                   circumstance                     but             10             A.              Im the commercial sales manager                                                           for    that store
                                                                         mitigating


                                                                      So thats the question.                                                   11       here     in           town.
11      it
              might not be                    sufficient.


                                                                                                                                               12             Q.              And what                              that
12      And         it   envisions              you step              back          look      at    everything.                                                                                                is




13      Can you consider                            and give              fair   consideration                    to    all   of               13             A.              My               job    entails pretty                       much             conversation             on the

14      the      evidence                                                                                                                      14       telephone                              with the             different              garages            and shops across

                                                                                                                                                                                                                orders over the                         phone look up parts
15              A.        Yes          sir.
                                                                                                                                               15       town.             I       take           their


                                                   the circumstances                               the offense                 would           16       on the computer generate                                                       invoicing              for that         customer
16                  Q.    Including                                                           of


17                                            do that                                                                                          17       have the parts pulled and my drivers                                                                   deliver.         My
        you be able                   to


                                                                                                                                                                                                                 encompasses going out and
                                                                                                                                                                                                     also                                                                                      on
18              A.        Yes          sir.                                                                                                    18       responsibility                                                                                                               calling


                                                                                                                                                                                                                                                        town                   and
19              Q.        Would you give                        fair      consideration                   to     the                           19       the     different                        garages                  thatlopen              in              to try



                                                               and background                                                                  20                                          business open accounts                                             maintain         accounts so on
20      Defendants                     character                                                                                                        generate


21               A.       Yes          sir.                                                                                                    21       and so                    forth.



22               Q.                         And the            third       aspect            that          talks       about                   22               Q.                Okay.
                          Okay.
                                                                                                     it




23      is     the personal                    moral          culpability             of     the Defendant.                    Do              23               A.                Sales.

                                                                                                                                               24               Q.                So youre                                                                      with     like    the
        you see that
                                                                                                                                                                                                               in direct           competition
24

25               A.       Yes.                                                                                                                 25        dealerships


                                                                                                                                                                                                                                                                                                     131
                                                                                                                                         129
                                            one observation                      here              there               nothing                                  A.                More the                     retail      aftermarkets                       the    OReilly the
    1               Q.    I       think                                                       is                 is                                 1




2        automatic.                   Even         if
                                                         you       find    a person            guilty            youve got                      2        Napa                 that sort                   of    thing.



3        to                               and independently                           consider             each         of    these             3               Q.                Okay.
               separately

                                    because                                                        And do you have any                          4               A.                And we do compete                                        with the dealers                    too    because       of
4        decisions                                       theyre important.

                                                                                                                                                                                                                                                                        cheaper          than
    5    questions                  as you          --   weve            covered             an awful            lot   of     ground            5        our    pricing.                         Aftermarket                      pricing              is   usually


6        here.                                                                                                                                  6        dealer               price.


                              No.                                                                                                                   7           Q.                Right right                        and the O.E.M.
    7               A.


    8                                MR.       CHAMBLESS                            Okay.           Pass the             Juror.                     8           A.                Yes.


    9                                THE COURT                                                recognize                the                          9           Q.                You enjoy doing that
                                                                         Okay.         Ill



                                                                                                                                                10              A.                Sure.                Ive       been with AutoZone                              a    little    over     10
10           Defense.

11                                   MR.       WESTFALL                        Thank you Your Honor.                                            11       years.                   I
                                                                                                                                                                                          was        at    Chief          Auto Parts                    for   about ten years


                                                    VOIR DIRE EXAMINATION                                                                       12       before                   that.
12

13           BY MR. WESTFALL                                                                                                                    13              Q.                Kind            of      doing           the     same thing

                    Q.                      Mr. Hatch.                Im Greg                Westfall.                                          14              A.                About               20 years               in   the car parts business.
14                            Hello

                                                                                                                                                15              Q.                Excellent.                        You dont                like       to    watch TV.           Do you
15                  A.        Good afternoon.

16                  Q.        Good afternoon.                        Would            you give me                  just       one               16       like    to           read

                                                         off                                                                                    17              A.                        do.
17           second               to turn     this                                                                                                                                I




                              Sure.                                                                                                             18               Q.               What do you                             like    to       read
18                  A.


                                                                                                                 far                            19              A.                                         of                              subscribe            to    Sports
19                  Q.        What do you                     think       of   the process                 so                                                                     All          sorts                things.            I




20                  A.        Its    not exactly what                      I
                                                                               expected              but         Im not too                     20       Afield                   Outdoor                  Life           several           different           magazines              like



                                                                                                                                                21       that.                    like          to   hunt           and fish               to   go along             with the
21
                                                                                                                                                                      I



             surprised.


22                            What                                                                                                              22                                              like      to    ride       a motorcycle.
                    Q.                     did     you expect                                                                                            reading.                          I




23                  A.        I    had no idea having                          never          done         this       before.                   23               Q.               What               kind           of    motorcycle

                                                                                                                                                24               A.                       own two motorcycles.                                          have a Kawasaki                  Vulcan
24                  Q.        Well        there               no other kind                  of jury        selection                                                                                                                              I


                                                         is
                                                                                                                                                                                      I




                                                                      The                                                                       25       and a Honda Goldwing.
25           like    this.          This      is   unique.                       individual               voir    dire
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1             Q.        Those are both                                  street              bikes                                                                             1           Q.        Yeah.                    How was                  your                childhood

                                                                                                                                                                              2           A.                                         had as pleasant                                  a childhood                            as    anyone
2             A.        Yes              sir.
                                                                                                                                                                                                    I
                                                                                                                                                                                                            probably


3             Q.        So you                  like     to           do the long distance                                                                                    3    could           ask       for.            Both parents                             I   have a sibling one

                                                                                                                                                                                                                                            months                    older than                       am.                  And growing
4             A.        Oh              yes            love                                                                                                                   4    sibling              a brother                   11                                                             I


                                                   I                  it.




                        Good.                                                                                                                                                 5                a small                  town was                            you could ask for
                                                                                           good winter                          be doing                                           up     in                                                                                                                                guess.
5             Q.                              Well           this                     a                                   to                                                                                                                      all.                                                              I


                                                                             is



6                                  it                                                                                                                                         6           Q.        Yeah.                    How manyacres                                       is
                                                                                                                                                                                                                                                                                      your        farm
     that          isnt


7             A.        It     has been.                         It   has been.                                                                                               7           A.        Started                   out      36 when                    I       was a child and my dad

                                                                                      hunt                                                                                    8    sold                                      so              have about                           17 acres.
8             Q.        What do you                              like to                                                                                                                       half         of    it               still




9             A.        Deer mostly.                                                                                                                                          9           Q.        Okay.                    Did       yall       run           cattle            while           you were

10             Q.        Deer                                                                                                                                                 10   growing                  up
11            A.        We              have turkey                         on the deer lease.                                 Weve                    been on                11          A.        Yes                sir.



                                                                                                                                                                                                    So you got                                  do              that
12   the       same                deer lease                     for        about 16 years consecutively                                                          so         12          Q.                                           to             all




13   were           pretty               much entrenched.                                                                                                                     13          A.        Oh            yeah.


14             Q.       And you                    like      to        shoot               a     lot                                                                          14          Q.            Did       you have horses too

15             A.       Yes              sir.
                                                                                                                                                                              15          A.            No my father                            wouldnt                    let        us   have horses because

                        What               do you                                      shoot                                                                                  16   they eat the grass too close                                                   to            the ground                   was             his      theory
16             Q.                                                like            to


17             A.             used            to                            practice                            a             with                                            17   but        we    rode the neighbors                                          horses                 whenever                         we had             that
                         I

                                                       target                                     quite                 bit




18   friends.                 Dont do                  that           too            much anymore.                             But        when we go                          18   urge.

19        the deer lease                                we                                  22 or 22                                                                          19              Q.        Okay.                Okay.              Well             good.                How much                              thought         have
     to                                                               carry a                                       rifle      something

20   like                                                                    out                             Its    lots       of    fun                                      20   you                        given               to   the death                          penalty
               that            target            practice                                 there.                                                                                              really


21   pass           time.                                                                                                                                                     21              A.        Oh        I

                                                                                                                                                                                                                       guess during                             life       it    comes             up        in



22             Q.        Yeah.                You ever                       tried          ARs                                                                               22   conversations                             with people                        as        to     what they know of an

23             A.            No.                                                                                                                                              23   incident                  and         I
                                                                                                                                                                                                                              guess everyone                                    ponders                what they might

                                                                                                                                                                              24   have done under the circumstances                                                                         based on what they
24             Q.        Theyre a                      lot       of fun.


                             Never had any                                                                                                                                    25   know             which               may                 may          not              be the                       story                of   course.
25                                                                                                                                                                                                                                     or                                                  full
               A.                                                       interest                 in     --




                                                                                                                                                                        133                                                                                                                                                                            135

                                                                                                      and whatnot those are                                                                    course have never been put                                                             in that                                             was
               Q.            Yeah             for target                    practice
                                                                                                                                                                               1   I     of                                                                                                                position.                  I


 1



 2   a    lot       of fun.                                                                                                                                                    2   in    the        military for                    about             10        years but never was                                              in   a


 3             A.            Yeah.                                                                                                                                             3   combat circumstance                                            soy       I
                                                                                                                                                                                                                                                                never had firsthand exposure                                                      to



 4             Q.            Well very                   nice.               Well Im gonna speak                                            to         you                     4   the danger.


                                          about the                     same amount                                      time but                      want                    5              Q.        Uh-huh.                    You know thats something                                                                 forgot         to
 5                                                                                                                 of
                                                                                                                                                                                                                                                                                                                        I



     for       probably
                                                                                                                                                   I




                                                                                                                                                                               6   ask you.                       see your son                                  in        the Army.
 6                  my questions gonna                                               be     a                       different.                                                                                                                        is
     to       --                                                                                 little       bit
                                                                                                                                                                                                              I
                                                                                                                                               I




 7   want           to        --    I
                                        mean             its          going               to    seem probably                         kind of                                  7              A.        Yes he                is       now.


 8   philosophical.                             Are you okay                                with          that                                                                 8              Q.        Is    he here                  in    the United                         States            or       is   he           away

 9             A.             Sure.                                                                                                                                            9              A.        Hes            presently                 in      the United                        States               yes              sir.




10                 Q.         Excellent.                 You moved                               in     to    Johnson                County                   at   6          10    He        did       Afghanistan.

                                                                                                                                                                                                              he
11             A.            Yes          sir.                                                                                                                                11              Q.        Is              all       right


12                 Q.         Did you              move               to         Alvarado                    at that          time                                            12              A.        Yes hes                     fine.         Unwounded.

13                 A.         Yes. Yes when                                      I
                                                                                     was        6 my            parents             bought                a farm              13              Q.        Is    he going                     to   have             to       go back

14   south                     Alvarado.                                                                                                    Alvarado                          14              A.             dont know.                         He doesnt know                                    at this time.
                        of                                            grew up there                            graduated                                                                                I
                                                             I




15    High School.                            Still      own the farm. My mother                                                     is     still                             15              Q.        What does                          he    doiin            the           Army
                                                                                                                                                                                                             dont know                                                                      this           moment.
16   alive              but         Im the executor                                   of    the estate                    so    I   still      see                            16              A.        I
                                                                                                                                                                                                                                            specifically                         right


17   about              it.                                                                                                                                                   17    He        started             out         in    the         Air      Force.                   He       did         a    partial              hitch



18                 Q.         So        did     your father                           die       recently
                                                                                                                                                                              18    in   the        Air       Force was discharged and then                                                                     re-enlisted


                                                                                                                                                                                                                                                                                      hes had various                                 and
19                 A.         No        about            15 years                         ago.
                                                                                                                                                                              19    and went back                             into          the      Army                  so


20                 Q.                                                 So the estate                            has                  been               left                   20    sundry              jobs.                He     started              out as a nuclear                                   missile
                              Okay.             Okay.                                                                     just


                                                                                                                                                                              21    electrician                   in         Minot North Dakota                                        of    all
                                                                                                                                                                                                                                                                                                       places but
21    open              right

                                                                                                                          She                                                 22    hes                 the                                now                  the        Army             so         its      a
                              Well shes                                                                                                                                                        in                                                     in                                                                totally
22                 A.                                            like        I
                                                                                     say        still        alive.                  lived                                                                        infantry


                                                                                                                                                                              23
                                                                                                        ago when she had a
23    on the farm                        until         about                six                                                                                                     different                scenario.
                                                                                      years

24    stroke.                 Shes              in     a nursing                       home               here       in       town        now.            So we               24              Q.        That            is    --    that        is    not a tech                       job.



25    still        have cows and so on and so                                                             forth         over        there.                                    25              A.            No.
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                                                         Page 89 of 112 PageID 4334
                                                                            STATF                                   vs.                         MARK                           ANTHONY                  SO       TZ                  JANUARY                                    31                  2012
                                                                                                                                                                                                 136                                                                                                                                                                        138

1          Q.         You were                                   in       the        military.                          Were you drafted                                                                1       committed                   that           level          of     crime.


2          A.         No.                                                                                                                                                                               2               Q.      Uh-huh.                        Okay.                When you                           picture       prison                 I

                                                                                                                                                                                                                                                                                                                                                                mean

                                                                                                                  guess                                                                                 3       have you ever been                                              a        prison
3          Q.         Did                 you           join              the        Navy             I
                                                                                                                                                                                                                                                                          to



4          A.         I
                                   received                      a        draft        notice                       I   should                      --                                                  4               A.      Yes.


5          Q.         And joined the                                            Navy                                                                                                                    5               Q.      Did             you go see the rodeo

                                                                                                                                                                                                        6               A.      Ive             been                     the Huntsville                        State               Rodeo.               And
6          A.         --            I    should                   state              that           correctly.                              I
                                                                                                                                                 joined the                                                                                                        to


                                                                                                                                                                                                                                                                                                                        went                 Oklahoma
                                                                                                                                                                                                                years ago when                                      was a teenager
                                                                 1969 and was                                                          1975 was out 14                                                  7                                                                                                                           to                                  State
7    Naval         Aviation                            in                                                           in
                                                                                                                                                                                                                                                                                                                   I

                                                                                                                             till                                                                                                                              I




                back                                                            1994 and stayed                                                              2008                                       8       Prison          one                                 My         father          was a           contractor.
     years went
                                                                                                                                                                                                                                                time.
8                                                                in        in                                                                    till




9    thereabouts.                                                                                                                                                                                       9               Q.      Uh-huh.


                                                                                     or                                                                                                                                         And he                                                                                       he took me along as
10         Q.         In                the Reserves                                                                                                                                                    10              A.                              did floor                    coatings                  so


           A.         Reserves.                                                                                                                                                                         11      a     visit     and             went                inside           the prison                    with            him on a single
11
                                                                                                                                                                                                                                            I




                      Or active                                                                                                                                                                         12      visit      to   Oklahoma                            State            Penitentiary.
12         Q.

           A.             Reserves.                                                                                                             or       fulfilled                  about               13              Q.      All                                And what                   did    you think
13                                                                    I
                                                                           only accomplished                                                                                                                                                right.


                                                                                                                                                                                                        14              A.                                          was                                       wasnt an unpleasant
                                                                                                                                                                                                                                 Everyone                                       nice.               --
14   three years                              of active                     duty             all    told.                                                                                                                                                                                       I        it




15         Q.         And were you                                              at    E4 when you retired                                                                                               15      experience.                          Its       different                     obviously.


16         A.                                                                                                                         10 years.                                                         16              Q.                             And was                       this       a   maximum                         security               prison
                      Well                        I    didnt               retire.              I

                                                                                                    just did                                                               I                                                     Right.


17   had a 14-year break.                                                                                                                                                                               17              A.       I        have no                   idea.


                                                                                                                                                                                                        18              Q.       Okay.                 Well                     Huntsville                             guess         they              dont
18         Q.             Okay.
                                                                                                                                                                                                                                                                          in                                   I




19         A.             Six years the                                     first       time                      little            over four years                                                     19      have          that         rodeo               anymore.                       Where                do you go see the rodeo                                      in



20   the      second                         time.                                                                                                                                                      20      Huntsville

                                                                                                                                                                                                        21              A.                was                                   was           within          the perimeter of the
                                                                          was                                           14 years the                                                                                                                                --
21         Q.                                                                                                                                                                                                                                         just                it

                                   got you.                                                                                                                           first                                                          It
                                                                                     thinking
                                                                  I
                          I




22   time.                                                                                                                                                                                              22      prison          grounds.


23         A.             No no                         14-year                      break.                                                                                                             23              Q.       The Walls                           Unit right


24            Q.          All            right.              Well very good.                                                 Well                   I   was            sitting                          24              A.       Yes yes                            there        in          Huntsville yeah.                                It   was a

25   over there                                                                         And                       joined                   the          Army 28 years                                   25      very       good             rodeo.
                                          figuring                          up.
                                                                      it                                  I




                                                                                                                                                                                                  137                                                                                                                                                                       139

 1
     ago.       Time does                                    fly            doesnt it                                                                                                                       1            Q.          Oh         yeah                before               I

                                                                                                                                                                                                                                                                                             forget           you             looked              at   the       list




2             A.              It    does.                   It    does.                 I    look                 back                 I    wish                 I   had                                 2      of     witnesses

 3   stayed                   in        the           military                  long         enough                           to retire.                                                                 3              A.           Yes         I    did.



4             Q.              Uh-huh.                                                                                                                                                                    4               Q.          Did        you see any on there you recognized

 5            A.              That                was my                    intent             when                      I   went back                                in       the      second           5               A.          No         sir        I       did not.


                                                                                                                                                                                                                                                       Back
 6   time but Desert Storm had                                                                      just                ended and the                                          military     was          6               Q.          Okay.                                to     philosophical                               questions.


 7   going through                                     a    cutback                          so      even though                                         I       took the                                   7            A.          Okay.


 8   advancement                                       exam every                             six             months successfully                                                    and                    8            Q.          You know                           as     far       as     I   know                in    fact       I        checked

                                                                                                                                                                                                                                                                                                     and                                      There
                                                                                                                                                                                                                                                                   you said this
                                                                                                                                                                                                                                                                                                                       its
                                                                                and so forth there were                                                                                                     9   the                             after                                                                         true.                             is
 9   attended                           all       the       drills                                                                                                     just                                              statute


                                                                                                                                                                                                                 no                                                                                                    whatever                   you believe
                          no                                     move into so                                           was pass but not                                                                10              definition                   of society.                         Society              is
10   simply                              slot to                                                                   it




                                                                                                                             So there                                went.                                                                      And                 you believe society                                       is    prison             fine
     advance                                               but not advance.                                                                                                                             11       society              is.
11                                                                                                                                                                                                                                                             if

                                        pass
                                                                                                                                                             I




12            Q.              On             the death                          penalty                   first              of all                 which               do you                          12       if
                                                                                                                                                                                                                      you dont                   then               fine.        Could              you be open                          to       the


13   think         is             worse                 life          in        prison              without                         possibility of                                                      13       possibility that                          prison               society              quote unquote would                                             not


                                        death                                                                                                                                                           14       be the same as society                                              out        here
14   parole               or

15            A.                   would                                                                                                          worse simply                                          15               A.          Absolutely.
                                                           say the death penalty
                              I
                                                                                                                                            is



                                                                                                                                                             no more.                    When            16              Q.          And                           folks                                 know how                    to control
     because                                                                                                                 there                                                                                                               that                                prison
                                                                                                                                                                                                                                                                                in
16                                      in    taking                  a     persons                       life                                    is



                                               without                                                                                                                                                   17      people and know how                                            to           lock    people                   down
17   you are                       life
                                                                           parole               you are                             still        a       person you

                                                                                                have an opportunity                                                                                      18              A.          Yes.
18   are      still                functional                             you        still                                                                                     to


                                                                                                                                                                                                         19              Q.          And the reason                                          mean             so        much         of this               is   kind
19
                                                                                                                                                                                                                                                                                     I


      live.



                                                                                                                                                                                                                                                 you as a juror and the reason
                                                                                                                                                                                                        20                                                                                                                               for       that          and
20            Q.                  Uh-huh.                        And what do you                                              think                is        the       role of           the                     of     left
                                                                                                                                                                                                                                up         to



21    death penalty                                              our                                                                                                                                    21       the       statute              says this                      its       a moral decision.                                        is   a
                                                                            society
                                                                                                                                                                                                                                                                                                                                             It
                                                       in



                                                                                                                                                                                                        22          moral decision                             what you decide                                         sufficient
22                                                                                                                 would                    say the death
                                                                                                                                                                                                                                                                                                              is                                  mitigation.
              A.              That                is    philosophical.                                        I




23                                 as                 relates               to   what were                                                               about                      a                    23      And no one else has                                           to    agree with                        it.     In   fact           no one
      penalty                                it                                                                               talking                                          is



24    deterrent                         to        crime the                          final                                    deterrent.                              And           in                   24         else      has         to     even know.                              You        see
                                                                                                    major

25    addition                          obviously                          to    being               punishment                                          for          having                             25                A.        Yes             sir.
     Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                    Page 90 of 112 PageID 4335
                                                            STATE                       VS.              mAgK ANTHONY                                     SOLIZ
                                                                                                                                                    140                                                                                                                                                   142

                                                                                                                                                                Johnson                                                                    caused          the death                      of   an
1            Q.     And you know                                  heres the                  --    the    elements and                                    1                           County             intentionally


2                                 know beyond a reasonable                                                doubt youre                                     2     individual            by a firearm                  in      the course               of       committing a
     you already

                                                                                                                                                          3                       or a         burglary            of    somebodys house.                                        And by
3    familiar with that                        phrase                                                                                                           robbery

4                                                                                                                                                         4                                                                  beyond any                   reasonable                       doubt
             A.     Yes            sir.                                                                                                                         finding      that          person            guilty


                                                                                                                                                                                                                                                                                                    You
                                                                                                                                                                youve necessarily done away with                                                           the defenses.
                                                                law              the                           law                                        5                                                                                         all
5            Q.     In       the       --     in    the                     in           criminal


6    particularly                 theres several                                different-burdens                       of                                6     see that

7    proof.        And they go you know                                                from        low    to       high                                   7           A.     Yes               sir.




                                                                                                                    what                                  8            Q.    At                                a person                         convicted              of
                                 Reasonable                                                   which                                                                                   that        point                                    is                                    capital
8    generally.                                                   suspicion                                   is              it




9    takes        for        a   police            officer            to pull          you        over.            Probable                               9     murder.               Now         when we                   start      with the Special                           Issue           1

                                                                                                                                                          10                                                                     the       Defendant                             commit
                                              what               takes                                                                                          this         that       probability that                                                            will
10   cause which                        is                  it                    for    a    police          officer        to                                        is



                                                                                                                                                                criminal acts                          violence             that       would constitute                               a
11   arrest        you or              for     the         Grand Jury                   to indict             a case.                                     11                                    of



12   And then preponderance                                                of   the     evidence                   which      is    the                   12    continuing              threat          to    society.               You see these words here

13   civil    standard you                           know                  51    percent.               After that           is                           13    do     you        find         the evidence                      beyond            a reasonable                           doubt

                                                      and convincing                                                    And you                           14                time           you see that                                means theres a presumption
                                                                                                                                                                                                                            that
14   whats          called             clear                                                      evidence.                                                     every

15   knew         that           the State                could take                   away someones children                                             15    at   work.


16   if
          they     think          theyre a                  bad parent                                                                                    16           A.     Innocence.


17           A.     Yes            sir.                                                                                                                   17           Q.     Right well                     in this         case the presumption                                          that



18           Q.     Thats the standard                                          that                use       for    that          for                    18    the person                 wouldnt be a future danger.
                                                                                        they

                                                                                      And                                                                              A.
                   away someones
19                                                                 kids.                          its                    defined                          19                  Right.
     taking                                                                                             actually


20   firm     conviction                     or belief                that        the person                  is   an   unfit                             20           Q.     You see that

21                          So the Jury has                            to       have a            firm   conviction                or                     21           A.     Yes.
     parent.

22                          make                          decision.               Proof                             a reasonable                          22           Q.     And the State can only overcome                                                       that          with proof
     belief to                              that                                                   beyond

23   doubt                                                                                                    conviction            or                    23    beyond any reasonable                                       doubt.
                   is       beyond             that.             Its       beyond a                firm


24   belief.        How do you                            feel     about              that                                                                24           A.     Yes              sir.




                                                                                              more serious the                                            25           Q.     There                    a probability                       and      lets      say you found
25           A.         I   think        its       appropriate                        the                                                                                                         is




                                                                                                                                                    141                                                                                                                                                   143
                                                                                                                                                                             be true okay.                         Further                 once again heres those
1    crime the more                            difficult              it   is    to    determine               a    guilt    or                            1    that    to


2    innocence.                                                                                                                                            2    words         that         you have found beyond any reasonable doubt

                                                                                                                                                                        the Defendant                         intended                              the       deceased                     or
3            Q.         Okay.               And what goes along with the burden                                                          of                3    that                                                                 to     kill



                                                                                                                                                           4                                           the    deceased                     would          be       killed.                Okay.
4    proof         is       whats            called             the presumption                          of    innocence.                                       anticipated                that



5    And you know youve studied                                                        history           you know about the                                5    So are you                 there with              me
6    reasons                 why we                left    England.                                                                                        6           A.     Yes              sir.




7            A.         Certainly.
                                                                                                                                                           7           Q.     It      is   at that        point             that    you would                   get      this



8            Q.         And the court system was one                                                     of    them.                                       8    instruction.                   Now       what           I   want           to    know         is    once you have

9            A.             Right.
                                                                                                                                                           9    found        those             things         to    your mind could there ever be a

                                                                                                                                                                                                                                                                        sentence
10           Q.         We        sort         of         when we got                    started              here we              sort of                10    sufficient             mitigating             circumstance                          for   a     life




11                                       the best                 of       the English                  law        and made                   our         11           A.             think       so.
     cherry-picked
                                                                                                                                         it                                   I




12                                                                                                                  instead                               12           Q.                                     defined               as anything                    a                      might
     law                                 a presumption                                   innocence                                   of       a                                                          is                                                            juror
                  including                                                       of                                                                                          Mitigation


13                                                                              trials       instead           of star                                    13    think       reduces               the    Defendants moral                                 responsibility.                         Did
     presumption                       of guilt              public

14   chambers                    and                       know                                                    instead         of    the               14   you hear              that        last   word
                                              you                           impartial              juries


15   king         making               the decision.                                                                                                       15          A.     Yes               sir.




16           A.                                                                                                                                            16          Q.     Moral               responsibility.                      I
                                                                                                                                                                                                                                           heard      the cough.                           When
                            Right.


17           Q.         And so the presumption                                           of       innocence              springs from                      17   you make a decision                                like      this          where do you                          go         Where do

18   that.         Well                             were          to find             a Defendant                   guilty of                              18   you     go for                  guess         the        wisdom
                                        you
                                                                                                                                                                                           I

                                  if




                                                                                  here you would have                                                      19          A.                         you have                  to    consider           your           life
19   capital            murder as                    it    is    stated                                                                                                           I   think



20   overcome                    that                                            of    innocence.                                                         20     experiences                      you have              to       look       in     your heart                    you have to
                                              presumption

21           A.             Yes        sir.                                                                                                                21    um     weigh              in
                                                                                                                                                                                                 your        mind           carefully              the issues                    at   hand        to



                                                                                                                                                           22    reach a decision.                                  not a                  its     not a simple process
                            Do you see that                                                                                                                                                                  Its                    --
22            Q.

23                                                                                                                                                         23          any means.                                                  an       issue         for   a                of       people
                            Yes                                                                                                                                                                         Religion             is                                        lot
             A.                        sir.                                                                                                                      by

24            Q.            And you would                         have            found           beyond any                 reasonable                    24    including             myself the value                            of      human           life.




                                                                                                                                                           25          Q.         Thank you.                   Thank you very much.                                              cant
25    doubt the                  Defendant                       on        or about the date specified                                        in                                                                                                                             I
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                                                                    STATE                      VS.            MARK                ANTHONY                        SS0T7                 JANUARY                                31                           2012
                                                                                                                                                          144                                                                                     1
                                                                                                                                                                                                                                                                                                                                 146

1    remember how you answered                                                         this       on your questionnaire but                                      1    is   --   is    the correction                         when they go astray a                                                 little      bit


2    do you        --     first              of all              do you          think          anyone        is         born     bad                            2    either         verbally or by taking                                            away some                     privilege                  or you

3           A.      No.                                                                                                                                          3    know whatever                               corporal                        punishment depends                                           on the

4           Q.     Tell          me                tell          me     more.                                                                                    4    parent.           Its       a combination                                       of   things.


5           A.      Im a believer                                  that      no matter              what your                                                    5              Q.     Thats         --       I

                                                                                                                                                                                                                  agree.                      I

                                                                                                                                                                                                                                                      agree.             And what                   I        hear   you

6    circumstances                                are as you                     are raised              up were                 all       given                 6    saying           in   all    of that              is    time.



7    an opportunity                               to   see          right        from wrong.                                                                     7              A.     Oh         absolutely.                         Its              a hourly                moment-by-moment

8           Q.      Uh-huh.                                                                                                                                      8    process yes.                       Children are always                                              --    our children                        no

9           A.      We           make conscious                                       choices           every        day each one                         of     9    matter          what         their          age and                             hopefully                theyre              still




                                                  and wrong.                      You can see as an                                                              10                         and                                   when they reach young                                                       adulthood         to
10   us     about              right                                                                                           individual                             watching                       listening


11   the    result             of       making the wrong decision.                                             We          all    make                           11   see       that    mom              and dad you know halfway                                                                 knew what they


                                                       periodically and we                                                                      So we                 were
12                 decisions                                                                                             by them.                                12                                about.
     wrong                                                                                              learn                                                                        talking


13   have an opportunity                                           to   mold our                lives    in   the        right                                   13             Q.     Excellent.                   Thank you so much                                               for that.



14   direction            if   we see                       fit.        There         are circumstances                                                          14             A.     Youre welcome.

15   sometimes                          mitigating                      circumstances                    that      we      talked               about            15             Q.     You        think           life       in   prison                    is   a       --    without                  parole

16   that    could             have an impact on doing the                                                    right thing                  or   not              16   that that             is    a hard            punishment

17   but by        and large we are conscious                                                      individuals                   we do make                      17             A.     Absolutely.                       To take away a persons freedom

18   conscious                 choice.                       We         do the          right      thing       because we know                                   18   to    literally        turn        their lives                          upside             down and                         to control



19   its    the     right thing                         to do.                                                                                                   19   their      every            moment                 by incarceration                                      is   --    I       dont see how

20          Q.      Uh-huh.                            Is   there            a   --   is   there        an age            at   which                             20   anyone            could consider                            that                 less than                   severe.


21   we have                                                                                                                                                     21             Q.     Uh-huh.                    Could                   have                           one second
                          that               knowledge                                                                                                                                                                                                      just
                                                                                                                                                                                                                                  I




22          A.      Oh              I    think               I
                                                                   hope we             get      better        at    it   as    we                                22             A.     Sure.


23                                                     more mature.                             dont                     theres                                  23             Q.     Whats              a       favorite                    book youve ever read
     get a       little        older                                                       I             think


                                                                                                                                                                 24                    Thats                                                               see           have the
24   a   magic age.                           I   think            even as a               child        we    teach            our                                              A.                   difficult.                   Lets                               I




                                                                                                                                                                 25                                Mark Twain                                          home.                                      read         Mark
25                                           from wrong.                                                 you know                          the
     children                                                                                                                                                         collection             of                                               at                               like      to
                          right                                                  Discipline                                           is                                                                                                                                  I




                                                                                                                                                           145                                                                                                                                                                   147
                                                                                                                                                                                                                                                                 read a great                           deal so
1
     purpose              of that                      no matter how                       it   comes          in        whatever               form.             1   Twain.            Several               books.                      I       like     to


                                                                                                 from infancy                                                     2   Ive       read                     a        few        different                                             But            like        Mark
2    But    its     a learning                            process                     think                                    all                                                          quite                                                           things.                           I

                                                                                  I




3    the    way through                                our         lives.         Sometimes we do                           better              than              3   Twain.


4    others.                                                                                                                                                      4             Q.     Mark Twain                        is   fantastic.                         He           wrote           some             of the


5           Q.      We              ourselves                           for sure.               You mentioned                     something                       5   funniest              stuff    out          there.



6                         our children                                                                                                                            6             A.     Absolutely.
     teaching

7           A.       Uh-huh.                                                                                                                                      7             Q.     You know what                                  I           love      talking             with          you             but Ive


8           Q.       Isnt teaching                                  our children                 that     discipline                  and                         8    kind      of    run out            of material.



9    those        boundaries                              one           of   the greatest                expressions                       of    love             9             A.     Thats             fine.



10   that    we can give                                                                                                                                         10             Q.     Do you have any                                        questions                       of   me
11          A.      Absolutely.                                                                                                                                  11             A.     No         sir.




12          Q.       Because                           that         means             that      were spending                          time with                 12                               MR.         WESTFALL                                      Okay.               Thank you so much.

13   our    kids                                                                                                                                                 13                               VENIREPERSON                                                  Thank you.

14          A.                                                                                                                                                   14                               MR.         WESTFALL                                      Youre extremely thoughtful
                     Absolutely.

15          Q.       And                if   they           dont have that were hurting                                               them                       15    and you went through                                       the                 effort     to      articulate                     it   and     I




16          A.       Absolutely.                                                                                                                                 16    really         appreciate                  it.




17          Q.       How do you show                                             kids that         you love               them                                   17                               VENIREPERSON                                                  Okay.


18          A.       By word and deed and example.                                                                 The example                       is   as     18                               MR.         WESTFALL                                      Your Honor well pass the

19                             as the                                                                                                                            19
                                                                                               you give them.                          you
                                                                                  that                                                                                 Juror.
     important                                         discipline                                                                If




20   live                                in       a positive                     straightforward                   manner you                                    20                               THE COURT                                           Okay.          Mr.           Hatch                if   youll       step
             your         life



21   set    the example.                                  You know                     they       talk    about           how children                           21    outside          for just             a minute.


22                                                                                                                                              and              22                               VENIREPERSON                                                  Yes.
     may         not say anything                                       but they are always                         watching

23                        whats going on around them.                                                                                                            23                               Venireperson                                        Hatch      not present.
     listening


24          Q.        Uh-huh.                                                                                                                                    24                               THE COURT                                           Does State have any challenges

25          A.       And then                             of       course the                   discipline           portion               of   it               25                               MR.         CHAMBLESS No                                                    Your Honor.
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                                                     STaTF                         VS.               MARK                       ANTHONY              SO    TZ                  JANUARY              2012        311
                                                                                                                                               148                                                                                                                                                    .15
                                                                                                                                                                                                                                                                    Would
1                                 THE COURT                       Does Defense                           have          any                            1    a seat         in     the        second            seat          on the           jury     box.                        you

2                                 MR.    WESTFALL                        No             Your Honor.                                                  2     state     your              name.

3                                 THE COURT                       Will       you ask him                        to    come          in.              3                                 VENIREPERSON                                     Carolyn               Strom.


4                                                                 Hatch                                                                              4                                 THE COURT                            Ms.         Strom you                  filled   out a       juror
                                  Venireperson                                     present.

5                                 THE COURT                       Mr.    Hatch                I
                                                                                                    just    need            to talk       to          5    questionnaire                     a while            back.              Were         the       answers           you         put   on

                                                                                                                                                     6     there      true         and correct
6       you a minute.

7                                 VENIREPERSON                               Yes          sir.                                                        7                                VENIREPERSON                                     Yes.


8                                 THE COURT                       Youre not on the Jury yet but                                                       8                                THE COURT                            Okay.             And        its    been about three

                                                                                                         be selected                                  9    weeks           since            you        did    that.          Has anything                       happened            in      your
9       you are on the panel the Jury                                    is        going            to


        from.                                                                                                                                        10           that         would          change             any         of     those           answers
10                                                                                                                                                         life




11                                VENIREPERSON                               Yes          sir.                                                       11                                VENIREPERSON                                     No.


12                                THE COURT                       Whats                 going        to     happen youre                             12                                THE COURT                            My name                 is    Phillip      Vick.        Im        the


13                                             from the Jury Administrator                                                                           13    Judge           presiding                   in this       proceeding.                      When          this    case goes
        going     to    get a           call                                                                           that       you

14      have     to    be         in   court        on a     certain              day.            We      dont know                   that           14    to trial            Judge William Bosworth Judge                                                    of the 413th


                                                                                                                            we can                   15                        Court         of        Johnson              County                       be                 the
                            somewhere                                                    February                                                          District                                                                            will             trying
15      date yet                                         latter     part           of                                all




16                      Well give you as much notice as we can.                                                                                      16    case.
        tell
               you.

                                  VENIREPERSON                               Thats good.                                                             17                                The attorneys                        representing                      the State          are
17

18                                THE COURT                       When you come                                 that        day      youll           18    Mr. Dale              Hanna.

19      come      with            about       50 other people.                           And         that        day youll be                        19                                MR.        HANNA                     Good morn                    --
                                                                                                                                                                                                                                                               good afternoon                     I




20                                             on the Jury or youll be excused.                                                                      20    should              say.
        told    youre             either


                                                                                                                                                                                       THE COURT                            Mr. Larry               Chambless Mr. Martin
                                               today were going
21      Before                                                                                       get a                           of              21
                       you leave                                                              to                     picture


22               This lady                                   to   take              in that              back corner                                 22    Strahan.
        you.                             is
                                               going                          it




23      and were doing                     that      because                 this        is
                                                                                              going             to    last       about     a         23                                MR.         STRAHAN                         Hi        there.



24      month.                                                                                                                                       24                                THE COURT                            And Ms. Christy Jack.

25                                VENIREPERSON                                Okay.
                                                                                                                                                     25                                MS.        JACK Good                         afternoon.



                                                                                                                                               149                                                                                                                                                     151

 1                                THE COURT                       In    the meantime dont go                                         to   work        1                                THE COURT                            The attorneys                       representing the

                                                                                                                                                           Defendant                   are Mr.              Greg Westfall.
                                                    they know anything
 2      and ask anybody                        if                                                        about         this       case.               2


 3      Dont      --   it     could very             well         be    in   the         newspaper                         or    even on              3                                MR.         WESTFALL                             Hello.



 4      TV when              it   gets    closer.             Dont watch                      it.        Dont          listen       to                4                                THE COURT                             Mr. Michael                      Heiskell.      And seated

                                                                                                                                                                     them                   the counsel                     table             the     Defendant Mark
                                                              you what was
 5             Dont                                                                                                        you                        5    with                        at                                               is
        it.                 let    anybody            tell                                           said.            If




 6      hear     anybody                start       to talk       about            it    make them be                             quiet or            6    Anthony               Soliz.



    7                                                                                                                                                 7                                THE DEFENDANT                                         How you doing
        go away             or     you    go away.

 8                                VENIREPERSON                                Yes             sir.                                                    8                                THE COURT                            And         theyll           have questions                     for



                                  THE COURT                       Also whatever                                                                                                                                       there anything                          we    should        know
                                                                                                           you do dont get                            9    you       but                ask                    Is
 9                                                                                                                                                                               Ill              first.




10      on the         Internet          and        start     looking               up anything                       about the                       10   about          you          that       we        didnt       ask on the questionnaire

11      case.                                                                                                                                         11                                VENIREPERSON                                     I   dont        think        so.



12                                VENIREPERSON                                Okay.                                                                   12                                THE COURT                            Okay.             Youre going                  to    be asked             a

                                                                                                                                                                                                                                 Theres no
13                                THE COURT                       Well             --   thanks             for       coming.                          13    lot     of questions                       I
                                                                                                                                                                                                           suspect.                                           right    or   wrong

14      Well see you back                           in    that     back corner and well see you                                                       14    answers.                   Its    not a           test.         The only            thing          we     require          of



15       in    about a month.                                                                                                                         15    you      is        that     you be              truthful.            Answer             yes            and      no     if
                                                                                                                                                                                                                                                                                        you

16                                VENIREPERSON                                All        right           sir.                                         16    can.          If
                                                                                                                                                                                you say things                       like     I     think       so        or    maybe
17                                THE COURT                        Thank you.                        Were             in        recess     until      17    youre going                      to    get about four other questions                                           explaining


18       130.                                                                                                                                         18    that     answer.


19                                Recess             taken.                                                                                           19                                VENIREPERSON                                     Okay.


20                                THE COURT                        Carolyn               Strom.                                                       20                                THE COURT                            And dont answer a question

                                                                   Strom present.                                                                     21    unless             you understand                                 If   you        dont understand                      it
21                                Venireperson
                                                                                                                                                                                                                      it.




22                                THE COURT                        Hi.       If    youll            raise        your            right                22    make them                       rephrase            it    or explain               it   somehow.                We          think


23       hand..                                                                                                                                       23    trial    is        expected                to     begin we think the                               last   week        in


                                                                                                                                                      24    February our best guess                                                          now.        And when                 does
24                                              sworn.                                                                                                                                                                       right                                           it

                                   Juror

                                                                                                                                                                          we                                                                                           There
25                                THE COURT                        Thank you maam.                                         If    youll    have        25    start                  think          it   will    last         up     to   three weeks.
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                                                               STATE                                    VS.              MARK                       ANTHONY                     SSOTZ                JANUARY                                31.             2012
                                                                                                                                                                          152                                                                                                                                                    154
1    is   a   chance                 that        the Jury could                                        be sequestered                              for   all                     1
                                                                                                                                                                                     you spent a                lot        of   time you were very thoughtful                                             in       your

2    or part            of that time.                     And my question                                              is     is   there                                        2    answers              is   that         right

3    anything                 happening                    in    your         life                     that       would            interfere                                    3           A.   Yes.

4    with you being a                             juror         during             that                     time                                                                4           Q.   Okay.                If    its      okay with you                      I   would        like       to


5                                  VENIREPERSON                                                    No            no.                                                            5    go through                some             of   the     answers                 that        you have            in
                                                                                                                                                                                                                                                                                                           your

6                                  THE COURT                             Okay.                              Good enough.                            Now        I    have        6    questionnaire                       and then go over some of the law on

7    to turn            you over                to       the     State.                                                                                                         7    capital     murder okay and other laws                                                   that      are going                      to


8                                  Ill
                                           recognize                  the         State.                                                                                        8    be important.                    First          of all       you are             --
                                                                                                                                                                                                                                                                            you       live    in



9                                  MR.          STRAHAN                           Thank you Your Honor.                                                                         9    Venus           is   that        right

10                                                          CAROLYN                                    STROM                                                                    10          A.   Yes            sir.



11                                 Venireperson                         No.        60                   testified             as follows                                        11          Q.   And you teach                              school          in   Waxahachie

12                                                VOIR DIRE EXAMINATION                                                                                                         12          A.   Yes.

13   BY MR.                  STRAHAN                                                                                                                                            13          Q.   And youre a Spanish                                       teacher

14            Q.         My name                  is      Martin.             How                       are       you doing today                                               14          A.   Yes.

15            A.         Good.                 Thank you.                                                                                                                       15          Q.   Okay.                Well           tell    me        a    little     bit    about          that.


16            Q.         Now             youre a               little    bit       soft-spoken which                                                                            16   Where       --       where did you go                         to       school            and how               did    you decide

17   is   okay but                   this        nice lady               right                         here       is   taking          down                                     17   to   be a Spanish                     teacher

18   everything                    we say                you       know                for future                           records.                 And                        18          A.   I    went          to      school           in   Ohio           for    two years.                  And            I




19   so    for     every                 answer we can give                                                 if
                                                                                                                 you could speak up                                             19   transferred               to   Dallas            Baptist              University              here.        I   was

20   a    little        bit    so everyone                       in     the       room can hear you.                                                                            20   originally           an English teacher but my parents                                                    were

21   Okay                                                                                                                                                                       21   missionaries so                        I
                                                                                                                                                                                                                                grew up           in       South America where                                 I




22            A.         Okay.                                                                                                                                                  22   learned         Spanish.                   Then a job opened                                in   Waxahachie                            so

23            Q.         Can you do                      that       for     me                                                                                                  23   I   decided          to    teach            Spanish.

24            A.         Yes.                                                                                                                                                   24          Q.   Wow.                Now             where         in      South            America were yall

25            Q.         Let       me          ask       you      this.           What was the                                      first          thought                      25          A.   Columbia.



                                                                                                                                                                          153                                                                                                                                                    155
1    in   your           head             first      of all         when you got your notice                                                            just                    1           Q.   Columbia.                        Okay.           All      right.           Wow         thats         really


2    to    show up                  in     Johnson                County                               for       Jury                                                           2    interesting.               And how                 old       were you during those times of

3             A.         Urn         I     just          okay well                     I               havent            been         called                                    3    your    life

4    before             so     I

                                   guess             I   didnt          really                         know what                   to think.                                    4           A.   I    was           11     to     18.


5             Q.         Okay.                 And you could                               I

                                                                                                       guess imagine                           that                             5           Q.   Okay.               Wow.               Okay.              So you are                 fluent in           both

6    theres a                 huge              wide       variety                of               possible              cases           that            a                      6    languages                 so     much            so     that       you can teach                    others.

7    person                  could be             called          for jury                             service          on         everything                                   7           A.   Yes.

8    from a             traffic          ticket          all   the      way up                              to capital              murder                                      8           Q.   Wow.                Okay.              Thats           great.              And are you               --
                                                                                                                                                                                                                                                                                                           youre

9             A.         Uh-huh.                                                                                                                                                9    a married            person

10            Q.         Does            that      make sense                                                                                                                   10          A.   Yes.

11            A.         Yes.                                                                                                                                                   11          Q.   Okay.               And what does your husband                                               do
12            Q.         Okay.                 And how              did     you react what was your                                                                             12          A.   He        is   a        calibration              technician                 in Irving.


13   thought                 process when you                                 I
                                                                                   guess                          started           to      fill    out the                     13          Q.   Okay.               All        right.       Now            does he seem                      to     enjoy

14   questionnaire                          and          realized           this                       is    a   capital           murder death                                 14   that   kind      of       work

15   penalty                 case                                                                                                                                               15          A.   Urn yes.                       He was            in   the Marines                    also          so thats

16            A.         I   took         it
                                               very seriously                                  I
                                                                                                       mean and                    kind            of                           16   what they trained                          him     to do.             And now hes looking                                 into


17   think         really          hard about the questions                                                        and the answers                                 that         17   other options                  also.


18   I
         was       putting               down.                                                                                                                                  18          Q.   So        I

                                                                                                                                                                                                               guess when                     yall         get       up     in    the   morning

19            Q.         Right.                So you could automatically                                                      figure               out the                     19   yall   go two completely                               separate                 directions

20   gravity            of     the situation                      and so                           I
                                                                                                        guess what youre                                                        20          A.   Yes.

21   telling            me     is        you knew                that       even as you were                                             filling             out                21          Q.   And then meet up sometime                                                   in   the    evening

22   this     questionnaire                                                                                                                                                     22          A.   Uh-huh.

23            A.        Yes.                                                                                                                                                    23          Q.   And do you have any children yet

24            Q.         Okay.                 And so you took                                         quite       a    bit    of time.                  I                      24          A.   No.

25   know          it    was kind                 of     long not a whole                                          lot      of     fun but                                      25          Q.   Okay.                Good           for     you.          All       right.       Now         you also
      Case 3:14-cv-04556-K Document 24-19 Filed 08/02/16                                                                                                                                                              Page 94 of 112 PageID 4339
                                                                  STATE                      VS.               MARK                       ANTHON                               SSOLTZ                      JAN UARY                                       31                     2012
                                                                                                                                                                         156                                                                                                                                                                                                                    158

                  here                                                                                             had worked                                                                                     You also said                                    that            life            without                     the
                                                  somebody                      in    your family
                                                                                                                                                                               1
1    listed                     that                                                                                                                      I




2                               the           D/FW                                    P.D.              that       right                                                       2                                  of parole                     could                   also          be appropriate                                                   in       some
     guess                for                                                                    is                                                                                    possibility
                                                                 Airport

                                                                                                                                                                                                      and inappropriate                                                                                                        So as you
                          No my husband                                                                 but        he was never                                                3       cases                                                                       in    other                     cases.                                                                    sit
3            A.                                                          applied             to    it




                                                                                                                                                                               4       here      today without                                           guess                                           knowing                            all            the law
4    working               there.                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                 really


5            Q.                                                         And you have strong Christian                                                                          5       based           on this do you                                     think           youre                         the type of person                                                           who
                          Okay.               All         right.


6    beliefs              is    that          correct                                                                                                                          6       could          fairly          consider                           given           the           right               evidence could

                                                                                                                                                                               7       consider evidence                                                      would                lead                  you                    make                           a     permanent
7            A.           Yes            sir.
                                                                                                                                                                                                                                            that                                                                      to



8            Q.           Raised                                                       folks       in       Columbia and doing                                                 8       decision                 on whether                               someone                      gets                life        without                                  parole
                                                by missionary

9    that     kind             of   work.                  Good.               Good.             Now          whenever                     we      get              to          9      versus          the death                        penalty

10   the death                                                                 questions you can imagine                                                                       10             A.       With             the           right              evidence yes                                                could                  decide.
                                penalty
                                                                                                                                                                                                                                                                                                            I



                                                           specific


                          would                                                                                                     have a                                                     Q.                           Because                                guess                   the            one thing                                   that                   want
                                              imagine both sides                                  are going                   to                              lot              11                          Okay.
                                                                                                                                                                                                                                                                                                                                                                        I



11   that    --
                                                                                                                                                                                                                                                               I

                      I




12   of     questions                        regarding                 that.          Because                a     lot    of       people             will                     12      to     impress              upon you which again obviously                                                                                                youre taking

13   have         their         own opinions which                                          is    great about                       the death                                  13      this    very very seriously                                                 is    that              its           very             real.                       In



14                         how               its          used and                                everyday                                                                     14      the State                 of   Texas                     if
                                                                                                                                                                                                                                                         somebody gets the death penalty
     penalty                                                                     just       in



                                                                                                                                                                                                                                                                                  death..                       And so                                         and
                                                          may not come up you know every single
15   conversations.                                It                                                                                                                          15      they      will          eventually                       get put                  to                                                                      --




                                                                        have considered                                            before          on a                        16                                  is    based on the analysis the evidence and
16   day         but a          lot          of       people                                                        that                                                               everything


17   lot    of                                issues you                       know whether                         theyre ever                                                17      theres a long                       way              to           go.        And one thing                                          is       we dont
                  political


     faced        with those                              conditions                                    own                                would                               18                     --       were not entitled were not allowed                                                                                                to            discuss
18                                                                                    in their                     life       they                                                     really


19   have considered                                      them.          Are you a person                                that        prior to                                  19      specifics                of    this            case.                   We         have                      to    get your basic


20                                                                                                                                                                             20                              and                                        an understanding                                                     of that.                             But
                                                                        already had feelings                                   about the                                                                                              to
     coming                     that            day         had                                                                                                                        feelings                         try                 get
                                                                                                                                                                                                                                                                                                                                                                                     I


                           in



21   death penalty                            and           its       use                                                                                                      21      will    tell
                                                                                                                                                                                                           you        that            anybody who                                     is       put on a Jury                                           in       a


22           A.           Yes.                                                                                                                                                 22      capital             murder case where                                             the State                              is
                                                                                                                                                                                                                                                                                                                      seeking                                   the death


23           Q.           Okay.               What               --    tell     me what shaped                                your personal
                                                                                                                                                                               23      penalty                 like   this            one may be faced with a very                                                                                             real


                                                                                                                                                                               24                               based on                        facts              and evidence                                       where                            they are
24   opinions                  about               the death                   penalty.
                                                                                                                                                                                       situation



25                        Urn                                                                                                                                                  25                                          off         on a piece                            of                                       theyre presiding
             A.                              guess                        my          belief       in   justice                    guess                                               going          to        sign                                                                  paper                     if

                                                                 just
                                         I                                                                                     I




                                                                                                                                                                         157                                                                                                                                                                                                                      159

1    and the idea                            of    fairness               in     what        is                                                                                    1   juror that                literally              ends someones                                                   life.         And thats a
                                                                                                   right.

                                                                                                                                                                                2                     kind of                               about                   this                   very real                                does that
                                                                         Well               guess one question                                                                         lot to                           think                                                      is
2            Q.           Okay.               All          right.                       I                                                        is




3    being         that             you have the                          religious              background                         that       you                              3      make sense

4    have do you see any problem                                                            --   and         let    me make one                                thing            4              A.          Yes.         Absolutely.

                                                           Im never ever going                                                                                                     5           Q.          And how do you                                                        whenever                                  say                   something                                 like
                                                                                                                         try to                                                                                                                                    feel
5                                   clear.                                                                       to                       get
                                                                                                                                                                                                                                                                                                                      I




     absolutely

6    you      to          answer                  a       certain        way or             try    to       change whatever                                                     6      that     to     you
                                                                                      Im                                                                                                                        mean                                                                                            somewhere on
                                                                                                        asking because
7                                                                     have.                                                                                                        7           A.                                     its       just          --         think                      put
     opinions                  you already
                                                                                                                                                                                                                                                                                               I



                                                                                             just
                                                                                                                                                                                                           I                                                        I
                                                                                                                                                      I




                                                                                                                                                                                   8   there                                                    thats a                                            dont know
     want                                         Do you see any                                                 with your Christian                                                                  like        its                      --                             lot.                                                                   if

8                          know.                                                            conflict                                                                                                                    just
                                                                                                                                                                                                                                                                                                                                                           I



                  to
                                                                                                                                                                                                                                                                                           I




                                                                                                                                                                                                           you know be able
                                                                                                      on a Jury                                                                    9   would                                                                            to       say                to      decide                          if        someone can
9    beliefs              versus                maybe having                           to    sit                                   that    signs

10   someones death warrant                                                                                                                                                     10     live     or     not but                I
                                                                                                                                                                                                                                      mean                    if        again given                                   the           right


                                                                                                                                                                                                                                                              could but                                   would                     be
             A.            No                dont                                     would            be    an       issue.                                                    11     evidence yes                                    think                                                                                                          definitely
                                                                                                                                                                                                                                                                                                    it

11                                                          think        that                                                                                                                                                     I                       I

                                     I




12           Q.            Okay.                All        right.        And you say you would                                            never                                 12     very scary decision                                           at       the       same                       time.



                                                                                                                                                  has                           13             Q.          You understand                                          how                 would                     be the one thing
13                                                a death penalty                           decision                     a person                                                                                                                                                it

     lightly              support                                                                                   if




                                                                                                              and              dont                                             14     about           a person                             serve                  on a                                         murder case                                                      that
                                                             crimes                   Id favor                                                                                                                                        to                                              capital                                                                               is
14   committed                      horrible                                                            it                I




                                                                                                                                                                                       you know you think Well
                                                                                 should            be allowed                             reside               in               15                                                                                                dont know                                    if           could or
15                a        dangerous                                                                                               to
                                                                                                                                                                                                                                                                                                                                    I                                            I



     think                                                  person
                                                                                                                                                                                                                                                                             I




16                        where                                                   be harmful                          others.                                                   16     couldnt                  do this.                    And                                                    going              to try to                                pin          you
      prison                                  they can                 still                                  to                           I   tell                                                                                                           definitely


                                                                                                   And youll see a                                                              17     down            to       an answer                        because                         ultimately                               --        and                        want you                     to
17   you          thats a                                    good answer.                                                                       little
                                                                                                                                                                                                                                                                                                                                                       I



                                             really

                                                                                                                                                                                18                    about           this for                  a second.                              This                          the State of                                       Texas
                                                                  one of the considerations                                                                                            think                                                                                                              is
18    bit    that          thats              kind          of                                                                          that


                           make whenever                                                                            on a death penalty.                                         19     versus              Mark Anthony                                   Soliz.                 And hes the guy                                                           sitting                       over
19    people                                                              theyre deciding

20                                  And                                                                      what the law                                                       20     there          in        the     chair.                  And so the State                                            is
                                                                                                                                                                                                                                                                                                                      seeking                                  the death
                                                      I   will    just         tell    you       that


21                         after             someone                   has been found                                              of     capital                               21      penalty.                 And so you know                                                 at     some                         point              we would be
      says        is                                                                                               guilty


22    murder                theres                    actually            a three-question                               analysis              that                             22      asking             you        to    make                         a decision                        after            sitting                     in            here                  today

23    has        to       be done                     after that.                There            is    no     check               life    or                                   23      in    the      same room                            with              him and maybe                                                sitting                             in   a       two or

24    check death box and theres an analysis                                                                                                                                    24      three         week                              breathing                        the           same                     air        as               him making                                      a
                                                                                                                                    goes with
                                                                                                                      that                                                                                            trial


                                                                                                                                                                                25      decision                 that                                              ends               his           life.            And                         guess what
25                                                                                                                                                                                                                         effectively                                                                                                  I



      it.    Okay.
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                                                                              STATE                                 VS.               mAgK ANTHoNy                                              SO        TZ                       JANUARY                                31               2012
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1    Im       getting               at              is are you capable                                              of         doing           that           if   the                          1                   Q.             Do you have any                              question               in
                                                                                                                                                                                                                                                                                                             your           mind about

2    evidence                     supports                              it     Im not asking what youre going                                                                       to          2     that                I
                                                                                                                                                                                                                                   mean now                     is       the time          to   tell        us.



3    do.                                                                                                                                                                                        3                   A.             No.


4             A.                                                                                                                                                                                4                   Q.             Okay.            One          of       the things            you also said                              is    that
                         Right.

                                                                                                                                                                                                                                    some --                                                            and her husband                                         were
                                                                                                                           says you know                                                        5              guess                                                     sister-in-law
5             Q.         But           if
                                                you are a person                                               that                                                                                   I
                                                                                                                                                                                                                                                          your

                                            Im                                              cant do that then we                                                                                6                                        with crimes                           which your                                                       was
                                                                                                                                                                                                                                                                                                            sister-in-law
6    thats          just
                                  --                      not            in   it    I                                                                                                                 charged                                                        for



7    would              need                to           know                that       as        well.                  Can you                    think          about        that            7     innocent                           and her case was dismissed. Can you                                                                      tell         me        a


8    for just            a     second                           and           let       me know how you feel                                                                                    8     little         bit           about           that

9             A.         I     think                 I
                                                          --    well yes.                             I
                                                                                                              was going               to           say         I
                                                                                                                                                                                                9                   A.             It    was a           --    he was involved                          in       some        child



10   think          I   could.                       Given the                      right                     evidence                yes                I   could.                             10    pornography                               things and had kind                               of         roped           her           into           it




                                                                                                                                                                                                                                                                                And hes
11            Q.         Okay.                           Now                 theres also                            --    one     of           the questions                                    11    without                      her knowledge.                                                  still         --   theyre                still




                    was What                                                                                                                                        the death                   12                                             on               and her case but her side                                              of
12   here                                                       is      the best                          argument                in       favor              of                                      waiting                      trial                 his                                                                                    it




                                                                                                                                                                                         and          has been dismissed.
13   penalty                        And you said                                        Many                        murders are unrepentant                                                     13

                                                                                                                                                                                                14                  Q.             What                                  did    that      occur         in
14   would              kill      again                    if
                                                                   given the opportunity                                               it      is        best       to                                                                           county


15   rid     the world                          of        evil           people.                              And the second                                 thing        is                    15                  A.             That        was            in Ellis          County.


16   which              is     What                           is        the best             argument against                                                the death                          16                  Q.             Oh          in Ellis         County.                 Okay.           All        right.             And            I




17   penalty                 in
                                  your                    opinion                           is            We             as     humans do                               not    have             17    think              --
                                                                                                                                                                                                                                   you         think          that        was a complicated                                case            but           you

18   the       right           to      judge                       if   a person                          should               live    or           die       and take                          18    believe                       it   was handled                          very well          is     that          right


19   the       sanctity                         of       life       into       our           own hands.                                                                                         19                  A.             Uh-huh.


20                                                       And             I
                                                                              guess               I
                                                                                                              need        to    know how do you                                                 20                  Q.             Okay.             Lets            try to         go over some of the law and

21   feel       about               --
                                                youre making                                     arguments                        for              it    which            is                    21        Im        going                 to   have            to    go kind              of quickly.                 But         I   will           see

22   what the question                                                  asks.                                                                                                                   22        if   we can go                        over           some            of   this       and get your feelings about

23             A.            Right.
                                                                                                                                                                                                23        certain                  things.               First of all                theres            some            constitutional



24             Q.            But       again are you a person                                                                  that        really             leans                             24        principles that                                we have               to   consider.


25   towards                   or      do you                           feel       that          maybe the death penalty                                                       is   a           25                                           Number one an indictment                                                 is    no evidence


                                                                                                                                                                                          161                                                                                                                                                                                163

                                                out there                      but                                                                            someone                                                                   someone.                 The way somebody                                     gets            to    a felony                 trial
 1   right          verdict                                                                 maybe                        its    better                  for                                      1        against

2    else           to       do                 The example                                  that              I
                                                                                                                    can give you is you know                                                     2        is    a    Grand Jury has                                  to find         that       there            is
                                                                                                                                                                                                                                                                                                                      enough                    evidence


                                                                                                                                                                                                 3                have a                                 Doesnt mean theyre                                      guilty of
                                                                                                                    grade theres a                                                                        to
3    fifth      grade theres a                                                bully.             Fifth                                                                                                                                    trial.




                                                                                            He runs around                                                                     the               4                                                             The indictment                               never           offered                      into
4                   on         the playground.                                                                                                     making                                                 anything.                        Okay.
                                                                                                                                                                        all                                                                                                                       is
     bully

                                                                                                                                                               second                                                                        And                          the State proves                                  case or                            does
 5   second                                                                                                                                                                                      5        evidence.                                       either                                                      its                                it

                               graders                          lives          feel          guilty.                     Every single

6                                                                                                                               take                                          down               6        not but the indictment                                               itself          no evidence                        of guilt.
                                                                somebody                                                                       that                                                                                                                                       is
                             feels              like                                                  ought               to
     grader                                                                                                                                                   bully


     hes a                                                                                                                                          hand                 do                      7
                                       grader but nobody                                                           raises        their                             to                                     Okay.
 7                       fifth



                                                                                                                                                                                                                                             Theres a presumption                                       of innocence.                                As he
 8   it.      You know                                   everybody                          can agree                          that        its          the        right                         8


 9   thing              but       some people                                           for       whatever                       reasons                                                         9        sits       over there                          right       now            Mr.    Soliz        is       not       guilty           of

                                                                                                                                                                                                                                                    such time as the State proves                                                                        he
10   philosophically                                       says               that          may be the                           right             thing           to    do                     10        anything                       until                                                                                        that                      is




11   I
           just         cant do                          that.               And        I
                                                                                            guess Im wondering                                                     how do                       11        guilty.                  Okay.             The burden                      of proof               is   beyond a reasonable

                                                                                                                                                                                                          doubt.                    That         burden                                    on the State                     of        Texas which
12   you            feel       about                      that                                                                                                                                  12                                                                       is    solely


                                                                                                              know                             could               stand                        13        means the only people responsible                                                                  for putting                   on            this
13             A.            With                   --
                                                          again                that          --           I                    that    I




                                                                                                                                                                                                                                                                                                                                            The
                                                         know there are cases                                                                      have heard of                                14        evidence                        are people                                 at this table.                    Okay.
14   up        because                          I                                                                              that        I                                                                                                                             right


                                                                                                                                                                               and                         Defense                       has no burden                          whatsoever.                        And                     beyond                    a
                                       or you know                                                                                                                                               15                                                                                                                                   is
15                                                                                          you see                       hear        experiences                                                                                                                                                                            it

     personally

16   you            think         if        I       had a choice on that                                                   I
                                                                                                                               think           I    would                                        16        reasonable                          doubt.                Now            can you imagine a                                 situation                    that



     have decided                                                                           and maybe                           that                                should                       17       you would                          know something                               beyond             all
                                                                                                                                                                                                                                                                                                                      possible                   doubt
17                                                       differently                                                                           person

18   have received                                        a     different                   verdict                  or punishment.                                                              18                 A.                  Im     not sure              I    understand               exactly.



19              Q.                                                                      So                                             so                          Im                            19                  Q.             What                 you had                actually         --     okay.               Im         going                  to
                             Okay.                       All                                                  guess            just                     that                                                                                        if
                                                                    right.                            I




20   clear              and                                     off          this           what youre saying                                                  based                            20         tell     you                 that    her           shirt       is   pink.
                                    Ill
                                                    get                                                                                                  is




21   on the evidence                                               whatever                      that               happens                    to       be you                could             21                  A.                  Okay.

22                      and                               consider                                                 him a death sentence                                        or                22                  Q.                 Okay.            You see                that      her    shirt           is
                                                                                                                                                                                                                                                                                                                      pink.            I   could
     fairly                       truly                                                 giving


23                      sentence                           without                                                  thats        what the evidence                                               23        either testify                          that        her        shirt      is
                                                                                                                                                                                                                                                                                          pink without                      you having
         a   life                                                                   parole                     if




24       said       that          you should                                  do                                                                                                                 24        seen               it        and you could say okay                                     I    believe              his


                                                                                                                                                                                                 25                                          what             hes saying.                      Okay.             You could believe
25              A.           Yes.                                                                                                                                                                          credibility
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                                                                                                                                                                                   164                                                                                                                                                                                   166

                                    a reasonable                                   doubt                 you           believe                   my                                                    Q.         Okay.                    All                    Well the law says thats
     that    beyond
1                                                                                                   if                                                                                    1                                                          right.


2                              correct                                                                                                                                                   2     something                     that           you cannot consider                                                  as a juror                       but   some
     testimony

3           A.      Uh-huh.                                                                                                                                                              3     people              Hey                    you know                     I   would.                          And         if        its       an honest

                                                                                                                                                                                                                                                           And so                                                                    need               know
4           Q.      Now             that             youre                                    here           and you see                                                                 4     answer                  thats               fine.                                        guess what                                                 to
                                                                                                                                                                                                                                                                                                                                 I



                                                                             sitting                                                                   it
                                                                                                                                                                                                                                                                                I




5    youre a hundred                                 percent                    sure correct                                                                                              5    is   how do you                             feel       really       about                     that.               The law says a

6           A.      Yes.                                                                                                                                                                 6     person             has        that            right          and            that              you           should                    set     it   aside


7           Q.                                 And                                                                                                                                        7    and not consider                                  that        for       any purpose.                                     If
                                                                                                                                                                                                                                                                                                                                     you     feel
                    Okay.                                    if     in
                                                                             any     criminal                     case            if
                                                                                                                                        somebody

8    were a hundred                                 percent                   sure they would                                    probably                     be                          8    differently                   thats               okay.            We            just             need             to        know.


                                                                                                                                       chair                as a                          9                       You                        have            to   look                  at       the other evidence                                     and
9    sitting       in      that       chair as a witness                                           versus               this                                                                           A.                        just


10   juror.
                                                                                                                                                                                         10    everything                    else            thats            presented.                               I
                                                                                                                                                                                                                                                                                                           mean                      its     the    law.



11          A.      Right.                                                                                                                                                               11            Q.         Okay.                    So where does                                     that          --    where                 does         that



12          Q.      Okay.                      So        its        beyond a reasonable                                                doubt not                                         12    leave         you on the issue

13                                                                                                                                                                                       13            A.                    Im not going                              to      change                             personally
     beyond                                                        doubt.                                                                                                                                               --                                                                                  it

                                possible
                                                                                                                                                                                                                  It
                        all



                                                                                                                                                                                         14                       cant obviously                                  but                   think              thats                             --
                                                                                                                                                                                                                                                                                                                                                  you
14          A.      Okay.                                                                                                                                                                      just     --    I                                                                     I
                                                                                                                                                                                                                                                                                                                             just


15          Q.       Do you                     agree                with that                law                                                                                        15    have          to    work               around                that.



16          A.      Yes.                                                                                                                                                                 16            Q.         Okay.


17          Q.       Can you hold us                                          to that          standard                                                                                  17            A.         And judge on what                                            you can.


18          A.      Yes.                                                                                                                                                                 18            Q.         Okay.                    All       right.       Now                        murder you cant                                       really


                                                                                                                                                                                                                                 what                              murder                                  without
19          Q.       Nothing                        more                 but nothing                     less.              Okay.                  Also the                              19    understand                                            capital                                      is                                  understanding


                                   has a                                 Amendment                                                                                       he              20    what murder                                       And very simply a person commits the
20   Defendant                                                                                                              not                                                                                                   is.
                                                         Fifth                                               right                          to testify              if




21                                     And                                                                                                                                               21    offense                 of    murder                        he                                                   causes the death
     so chooses.                                              think                  your questionnaire                                          you                                                                                                              intentionally
                                                                                                                                                                                                                                                      if
                                                         I                     in



                                                                                                                                                                                         22            an individual and                                                                                          understand.                           And
22   disagreed                 with the idea                                  of    a person                      having               the        ability           to                         of                                                           pretty             simple                      to


23   remain                                         that            correct                   See                      can         find                                                  23         could be as many possible ways as the human                                                                                                      mind can
                     silent                    is                                                            if   I                              it.                                           it




                                                                                                                                                                                                                                                                                                                                                  another
24   Well         tell        me how                     you            feel        about               that.          In     a        --    a                                           24    think         of        are unfortunately                                   possible                        ways             to        kill




25   defendant                  in    a         criminal                     case has the                             right       to        remain                                       25    person.                  Have you                           ever heard of                              that        show A Thousand


                                                                                                                                                                                   165                                                                                                                                                                                   167

 1   silent        and you put you disagree.                                                             Can you explain                                          that to                 1    Ways To Die
                                                                                                                                                                                                                  Yeah.
2    me     a     little       bit                                                                                                                                                        2             A.


 3          A.                                                                                                                                                                            3             Q.        Okay.                    And thats usually people doing dumb
                     Well              I       think               for       anybody                    to   judge            properly

4                             of   evidence                          or experience                                or   viewpoint                        should                be          4    things             to    hurt              themselves                           isnt              it
     every         bit



                                thats                                               And                  the Defendant                                  isnt                              5             A.         Uh-huh.
 5   presented                                       possible.                                     if




6    giving        their           viewpoint                             I    think      it    might be                     --
                                                                                                                                   just                                                   6             Q.         But you                   can say thats called A Thousand                                                                            Ways To

                                                                                                                                                                                                Die and its                                                                                                                 because
     doesnt seem                                                                                                                                                                                                                                              kind             of interesting                                                        things
 7                                             like          everything                   is       presented.                                                                             7                                           I

                                                                                                                                                                                                                                           guess

                                               And would there be some                                                                                                                                                                                                                  But           also                            with the
                                                                                                                                                       your mind                          8                        get themselves                                                                                                                        way
                                                                                                                                                                                                                                                                  into.
 8          Q.       Okay.                                                                                                    part            in                                                people                                                                                                                 just


 9   where you would                                     hold                that                            the Defendant                                        they                    9     life    is based on                              that       definition                       of       murder theres an
                                                                                     against                                                                 if




10   didnt               If
                              you wanted                                 to    know and thats the person who                                                                              10    unlimited                   possibility                     of   ways                   that          people                 could                commit a

11   knew           is        that         how you would                                 feel            about it                                                                         11    murder.                 Okay
12          A.                                                                                                                                                                            12            A.         Uh-huh.
                        Possibly                         possibly.


13           Q.      Possibly                                is     a    terrible             answer.                                                                                     13            Q.         And            I
                                                                                                                                                                                                                                           mean             theres                      --   I
                                                                                                                                                                                                                                                                                                 can give you a                                   million


                                                                                                                                                                                          14                                     One example might be you know what                                                                                              Ive   had a
14          A.          Im         sorry.                                                                                                                                                       examples.

                                                                                                                                                                                                                                                                           dont                                                                   The
                                                                             you because you know
15           Q.      And             Ill        just          tell                                                                                     and Im                             15    really            bad day                   in court.              I                             feel       very good.


16   not saying                    that             to       be ugly                to   you.                                                                                             16    Judge             ruled           against                   me     all          day and                          its   just horrible.


17          A.                                                                                                                                                                            17     Im     driving              home.                     Somebody                              cuts          me          off           in traffic.             I



                        Right.


18           Q.      Thats one                               of      those                                   where we                                       have         to               18             out           my gun                         blast       them                   just         because                         Im          not a very
                                                                                     things                                                 just                                                 pull                                            I




                                                                                                                                                                                          19     nice        person                         thats the case.                                      Okay.                               do that
     know how you                                                                                                                                                                                                                                                                                                      If
19                                              really feel.
                                                                                                                                                                                                                                      if                                                                                     I




                                                mean                                                                                                                                      20   what          have                 done                      Have                                                                              someone
                                                                             youre asked a question
20           A.         Well               I                            if                                                                             in     court                                                          I                                             I
                                                                                                                                                                                                                                                                               intentionally                                killed



21    and you dont want                                            to    answer               it        youre            either                  going             to    be               21     else             Yes            right


22   trying        to         hide something                                   or theres                     some                other reason                            why              22            A.         Yes.


23                                                                   And without knowing what                                                                                             23            Q.             Other                                                             be a married couple                                            in
      you wont answer                                                                                                                                               reason
                                                                                                                                                       that                                                                                situation              might
                                                             it.




                                                                                                                                             doesnt seem                                  24                                               been married                                 for      50 years 60 years whole
24    is you            know                   or    why you wont speak or                                                    --       it                                                        their       eighties

                                                                                                                                                                                          25                 have been spent together.                                                                And the husband                                    and the
25    really       fair.
                                                                                                                                                                                                 lives
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                 one              them                                      from a                                                                           1     off.    Could              still       be an aggravated                            robbery but very
1    wife                 of                   is    suffering                            really debilitating


2                                                      And say                      the wife thats doing                                                     2     different.                Does          that       make sense
     cancer very                   painful.                                  its


3    that.       The husband                        decides             that      hes going                to       end her                                  3            A.            Yes.

                                                                                                                                                             4                          For the           same reasons                             the State          of    Texas               has the
4    life    not out              of    meanness                 or     mean-spirited                    like        the           first                                  Q.


5    example but                       really        as     an    act       of   love       and mercy.                        If    he                       5     exact        same punishment                                range               from 5       to    99 years or                     life.




6    puts an        end            to    her        life     again has he                   intentionally                                                    6     And     I
                                                                                                                                                                                guess the question                                  for       you is because                         you dont

     caused the death                                 another              individual                                                                        7     know what evidence                                 would              be        in that     case could you                             fairly
7                                               of


                   Yes.                                                                                                                                      8     consider                        the     way        from 5             to    99 years or                 life       for    an
8           A.                                                                                                                                                                              all




9           Q.     Okay.                And so theres a big wide range.                                                                                      9     aggravated                      robbery            case

10                                                                                     And so one of the                                                     10           A.            Yes.
     Anything             is      theoretically                  possible.


11   things       that         you have                to       do as a juror               if
                                                                                                  you can                 is                                 11           Q.            Okay.            Now          capital            murder           is   --    now            that     you

12   keep your mind open                                   to   all
                                                                        possibilities until                    youve                                         12    know             I

                                                                                                                                                                                        guess what murder is what                                            capital                murder is

13   heard        all    of the evidence.                                                                                                                    13    what takes                     it   to that        next      level           is   what we              call        murder

14                                Now         the      punishment                  range           in   the State of                                         14    plus.        Murder committed during the course of the

                              murder                  between 5 years and 99 years or                                                                        15    commission or attempted                                          commission of robbery or
15   Texas        for                           is                                                                                          life.




16   Okay.         And thats a huge wide range                                               of        punishment.                          Would            16    burglary.                 Now           do you          think          that        thats the type                        of   an

                                             that                                                                                                            17    offense              that                          punishment                     the death                 penalty              should
17   you agree                with                                                                                                                                                                     capital


18          A.     Yes.                                                                                                                                      18    be available                        under the law for

19           Q.                          And you can also see how there would                                                                   be a         19                                   You can give                  that          some         thought                  because
                    Okay.

                                                                                                                                                             20                                                                                                                     defines
20   enormous                  range           of possibilities for                    someone                      having                                         again theres a ton of ways                                             that       the     statute



21   committed                    murder.                               And so the question                                       have          for          21                         murder.               Could        be                        a   child       under                10 years
                                                      Okay.                                                               I                                        capital                                                          killing


22                                                                                 based on evidence                                                         22    old multiple homicides                                      in   the        same        criminal action                           you
     you is could you                          fairly        consider                                                                      if




23   murder was proved                                                                                                                                       23    know                                                    Theres other ways.                                       Do you
                                                             you beyond a reasonable                                          doubt could                                                               like   that.
                                                     to                                                                                                                             things

24                        consider                  a sentence               from         5 years                     the                                    24    think       that          a     murder committed during the commission or
     you     fairly                                                                                            all
                                                                                                                                    way

25                99 years or life                                                                                                                           25    even attempted                             commission                      of    a burglary             or        robbery           is
     up     to




                                                                                                                                                       169                                                                                                                                                            171

 1           A.     Yes.                                                                                                                                      1    something                      that     we     ought             to   have the death penalty

                                                                                                                                                                                             for
2            Q.     And            that       would          be based on evidence                                    you havent                               2    available


     even heard                                                                                                                                                           A.            Yes.
3                                  yet.        Is    that       fair to      say                                                                              3


4            A.     Yes.                                                                                                                                      4            Q.           Okay.             Now         what the                --    what we would                          be

                                                     also                                                                                                     5    required                 to    prove         in    a                       murder case                   is       that       a
5            Q.     Okay.                I   will                tell
                                                                         you       that for            aggravated                                                                                                         capital


6    robbery             in    the State               of    Texas           I    dont have a                   slide for                                     6    Defendant on or about a                                          certain              day    in    Johnson                    County

 7   it     but aggravated                          robbery             theres also the exact                                     same                        7    Texas                intentionally                 caused              the death             of an               individual             by


                                                                                                        99 years or                                           8    manner and means which                                                                how        that                            did          in
                          punishment from 5 years up                                                                                                                                                                                                                           person
                                                                                                                                                                                                                                         is
 8   range         of                                                                            to                                        life.                                                                                              just                                                         it



                                                                                                                                                                   the course                     of committing or attempting                                        to    commit robbery
 9   And as many                        possibilities                 as    you can              think         of    for          somebody                    9


10                 someone                    else         there would                 be as           many for somebody                                     10    or     burglary.                    And one            of   the things                 that      the law                says       is
     killing

                                                                                                                                                                                                                                    case beyond                                                        doubt
11   committing                   a robbery.                    Does        that       make sense                                                            11    the State                 has         to    prove       its                                       a reasonable


12           A.     Uh-huh.                                                                                                                                  12    on each and every one                                       of    those           elements.                      Now         looking          at



                                                                                                                                                                                            glance you may see some
                                                                                                  where                                                      13                         a                                                                      of   these             elements may
13           Q.     It    could              be the          classic         situation                               somebody                                      that        at



14                            a    bank puts a gun                          right to        the face                 of       a    teller                     14    have more importance                                   in       your own mind than others.                                             For
     goes         into


15   and says Give                            me       all
                                                                your       money          or     Ill    kill    you.                That                      15    instance                 if    we     got the Defendant                              wrong            that            would      be a

16               there            is   an aggravated                       robbery          with a handgun.                                                   16    big    deal wouldnt it
      right


17           A.     Uh-huh.                                                                                                                                   17           A.           Yeah.


18           Q.     Does               that     make sense                                                                                                    18           Q.           Okay.             But    if   we       got something                        that        seems a               lot



19           A.     Yes.                                                                                                                                      19    more minor                          like   Johnson               County you know maybe                                             its


                                                                                                                                                             20                                                                                    or you know whatever                                         you
                                         way down
20           Q.     All        the                                to    a   possibility                where you                                                    across              the Tarrant               County                 line


                                                                                                                                                                                                       the law        would                        require us                                    that
21    know         a teenage                   kid         17 years              old   is   orphaned                  and caring                              21    understand                                                       still                                to        prove


22    for    three brothers                         and sisters                  living     on the             street.               And                      22    beyond                  a reasonable                  doubt.               And so even                     if    it   were you

23    he could go                      into    a convenience                       store         and      steal           some you                            23    know what we proved up our                                                  entire         case and youre

24                                     and some peanut butter and he could have an                                                                            24    absolutely sure                            beyond a reasonable                              doubt               that     the State
      know         bread

                                                                                                                                                                                                                                                                      we messed up we
25    old    gun         that          he shows                 Hey          Im taking this and takes                                                         25    has proved                         every single              element                 except
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                                                                                                                                                                                    somebody could be held accountable                                                                                                                    murder
     got sloppy and didnt prove Johnson                                                                County what would you                                                   1                                                                                                                      for    a        capital
1



2    have        to       do as a juror                                                                                                                                        2    even though they were not the                                                               trigger               man             the       killer.




3           A.        I   would          have         to        not     um           say         that           they            were                                           3    Okay.            And so these are                                              all   the exact                    same elements                             that



4    guilty      if       thats everything                        you have                 to          prove.                                                                  4    we    just         talked                 about                      but the only                   added one                       is      all    these


5           Q.                                                                             on           that                    was                                            5    are true or                           a person                            is   a party             to     capital             murder
                                             every single                                                             list                                                                                          if
                      Right.            If                                  thing


                                                                                            him not                                          And                               6    which           means they may                                             not       have pulled the                              trigger at
            proved you would have
                                                                                                                                                                                                                                                                                                                                               all
6    not                                                                   to find                                     guilty.


                                                                                 me                                                                                     You         but they could                                         be held accountable                                          for capital
7            may be                           annoyed                  with                about that                            you know.                                     7                                              still
     you                          very

8    had one other                                    to                    and you didnt do                                             and                                   8    murder depending                                       on the                   facts         and how a Jury answers
                                        thing                   prove                                                             it                       I




                                                                                                                                  someone                                      9                                          the                                            the death
9    believed              everything                 else            so   now Ive got                           to      let                                        I

                                                                                                                                                                                    questions                   all
                                                                                                                                                                                                                                      way up                       to                                 penalty.


10   feel    pretty             confident             is        a murderer                 go          free           because                     I
                                                                                                                                                                               10                                   Now             would                      you agree                    with that                 law       just       based

11   messed                                                                                                                                                                    11   on having                   just          heard                      it
                           up.


12          A.            Uh-huh.                                                                                                                                              12              A.      Yes.


13          Q.            Okay.         Question                 is would              you              still        hold us                to                                 13              Q.      Okay.                  What do you                                 think         it    means               to    be a party

14   that     burden                   Could          you         do that                                                                                                      14   to   a     crime

15          A.        Yes.                                                                                                                                                     15              A.      That              you were there                                    obviously                    you contributed

16          Q.            Okay.         Now           one         thing         is    that             these things have                                                       16   to   it.




17   to    be    done                                                 Intent      can be formed                                   in     an                                    17              Q.      Contributed.                                      Good word.                         State agrees                        with           you
                                 intentionally.


18   instant.              It   can     be     inferred                from actions                         and            it   does not                                       18   the State                  of        Texas does.                                A     person                 is   responsible                      for      an

19   have        to       be planned                  or premeditated.                                  A    lot       of       people                 think                   19   offense                   committed by another                                           if        acting           with          intent           to



                                                                  murder because                                                                                               20                              or assist the                              commission                                  the offense                     he
20   capital              murder         is   capital                                                                somebody thought                                               promote                                                                                                  of



21        out    and planned                          and prepared                                      That                            has                                    21   solicits              or    encourages                                    or    directs            or aids or attempts                                     to
                                                                                                                       really
                                                                                           it.
     it                                          it




                                                           The                                                                                                                                                                                                 commit the offense.                                                          And
                                                                                      you have                                                                                 22
22                               do with                              fact                                            to        intend                to                            aid        the other person                                      to                                                                Okay.
     nothing              to                    it.                              is



23   do some action and were going                                                     to        get        into           other            ways                               23   so    that            can be               --     if
                                                                                                                                                                                                                                           you are helping                                   someone                       if
                                                                                                                                                                                                                                                                                                                                you are

                                                                                                                                                                               24                                                   you can be                                               of the exact                    same
                people can be found                                                                                     murder
24                                                                                         a                                                                                        the helper then
                                                                      guilty of
     that                                                                                            capital                                                                                                                                                              guilty


25   without              even         killing        anyone.                   But    you have                        to       intend                                         25   crime           that        theyre                     doing.                   Does          that           make sense                          to    you

                                                                                                                                                                         173                                                                                                                                                                               175

1    that.                                                                                                                                                                      1              A.         Yes.


2                                And one example would                                               be     --       the        intent            can be                        2              Q.         And            in   the State                            of    Texas a person who                                       is       a


3    just     immediate as long as                                      its      formed.                    When you walked                                                     3   party           to capital                  murder can be held accountable                                                                       all    the


4    in    this       room             did    you know which chair you were going                                                                              to               4   way         to     the death                      penalty.                           And again youve                                   said            you

5    sit    in                                                                                                                                                                  5   agree            with that                      and              I

                                                                                                                                                                                                                                                          guess you had some                                          hesitation.



6           A.            No.                                                                                                                                                   6   You had                    to   give            some                      thought           whether                 you were a person

7           Q.            Okay.         You saw                  this      man         sitting               up there                       hes                                 7   who         could               actually                --
                                                                                                                                                                                                                                                         given the basis                              for   all       of the

                                                                                                                                                                                                                and considering                                                                        would
            Judge and you                                       hes                                    you and you listened
8    the                                              --                talking            to                                                                                   8   evidence                                                                             everything                                    this           give


9    for    direction right                           He said                   Can         you             sit       in     the        second                                  9   you even more pause or do you                                                                      think          that        you           could


10   chair.               How          long    did         it   take       you        to       decide                   Im going                           to                  10   follow           that           law as                 well

11   sit    in   the            second        chair                                                                                                                            11              A.         I    could follow                              that       law.          Definitely                would               think



12          A.            Not very                                                                                                                                             12   about            it
                                                                                                                                                                                                              heavily but                                 could           follow.
                                              long.
                                                                                                                                                                                                                                                 I




13           Q.           Just a second                         after      he said               it.      That             seemed                      like                    13              Q.         You should                        think                  about          it
                                                                                                                                                                                                                                                                                        heavily.              This              is    not


14   a reasonable                      thing          to    do.        And there was some                                              sort           of                       14   something you know                                                    --       but    you          believe              that       you            could


15                                                                     He says                            Im going                                                             15   follow                          law                    that           correct
                                                Okay.                                                                                  to                  in                                        that
                                                                                                                                                 sit                                                                            is
     thought               process.                                                            it.




                                                                                                                                                                                               A.         Yes.
16   the chair.                   That        long.             But     you decided you intended                                                                               16


17   once you made up your mind you intended                                                                                 to    sit       in that                           17              Q.         Okay.                Now               conspiracy                            is    a    different             step.              So

18                    And              can be the same way with murder.                                                                                                        18        you         take a look                           at capital                     murder what about the
     chair.                                                                                                                                 If
                                                                                                                                                  you                               if
                                  it




19   decide               Im on the road and somebody                                                     cuts             me          off       and                           19   person                who            --    and well                        just       say          its       a shooting.                     A

20   immediately                       you know                   I   start      shooting                        I    didnt plan                       on                      20   person                    who        shoots                 someone                     in         the course                     of    a robbery or


21                                                                              was                       mad.                  And guess                                      21                               guilty of capital                                   murder.                                 easy right
      shooting anybody                                                                                                                                                              burglary
                                                 that                                                                                                                                                                                                                                        Pretty
                                                                day.        I
                                                                                           just


22                                                                                     So you see how                                                           can            22                                   The person who says You know hey Im
     what somebody                            got          in    my     way.                                                                 intent


23    be formed                  immediately                                                                                                                                   23   gonna                 --   Im gonna                         help               you     in
                                                                                                                                                                                                                                                                                   any way shape or form                                               I




24                                Another             thing about                     capital               murder and                                                         24   dont            pull        the           trigger.                    I
                                                                                                                                                                                                                                                               can give you the gun and say

25    again we were                          just talking                  about a               situation                      where                                          25   Go          ahead do                        it.         I        havent shot anyone.                                          I
                                                                                                                                                                                                                                                                                                                       encouraged
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                                                                                                                                                                       176                                                                                                                                                            178

     and    solicited                               do           or          someone                        to      do                    Does         that                    1    anticipated.                  Should               have anticipated                                because               theres
1                                     you     to           it                                                                 it.




2    make sense                            And Im         just           as        guilty.                  Thats the actual                                                   2    another       distinction                     thats              coming               later.        I
                                                                                                                                                                                                                                                                                            mean             should


3    person       and then a party the helper person.                                                                                                                          3    have known                    does            that             make sense                     to   you
4                               The law also contemplates                                                         another                  situation                           4           A.    Yes.


5    where somebody                           could             be held accountable                                                      for capital                           5           Q.    And do you                        think            thats             a   good law

6    murder even                      if    they    had no                   intent          to         commit the offense                                                     6           A.    Yes.


7    itself.      Because what weve                                          talked              about              is
                                                                                                                              somebody                      who                7           Q.    Okay.                  So he could                         still     be held accountable                                all




8                                                                                                                  who was helping                                             8    the    way               a                         murder conviction                               based on                   that
     actually         did        it    having            intent.                 Somebody                                                                                                         to             capital


9    them        or   encouraging                        them also intending                                              that            it   be done.                        9    amount        of help                potentially.                          Okay              Does           that        make sense

10   But a       third          category             is   if
                                                                somebody                          is          involved                     in   one                            10   to   you
11   felony       and theyre                       all    on board with one felony and                                                                                         11          A.     Uh-huh.


12   their     coconspirator another                                         person                    actually                     commits the                                12          Q.    All    right.                Do you                think            thats        a    good law

13   murder           in        the course               of that             felony                    if   they should                          have                          13          A.    Yes.


                                            and                                                                    on the                                                      14          Q.                           And                 those              situations              where               you get        to
14   known        better               --           this        is       a       lot.       Its         all                                                                                       Okay.                            in


                                                                                                                                                                                                                              someone                               found
                                            you a chance
15   board.                                                                       to        read                    But                   they                                 15   that    point then                   if                                    is
                                                                                                                                                                                                                                                                                  guilty of            capital
                      Ill
                                give                                                                        it.                     if




                                                                                                                                                                                                                                  new consideration.                                   And depending                            on
16   should have known better                                            that           last           part             it   was one                   that                    16   murder there                        is    a


17   should       have been anticipated that the murder                                                                                        just                            17   how you answer                            the questions                           from there                  that       same            person

18   should       have known better they could be held accountable                                                                                                             18   who was            in    for        the robbery                         could ultimately                          if   the     right


19   too.                                                                                                                                                                      19   things are proved                             to   you            could              actually           be given the

20                               Let        me     give        you an example.                                            Me and my good                                       20   death        penalty.                Now                how do you                     feel        about          that

21   friend       Larry here decide                             were going                                  to     go commit a                                                 21                            See             the       way          the law               works someone                            without


                       because you know                                                                                                                                                                                                                    were going
                                                                                            County doesnt pay                                                                  22   even having intended
22                                                                               the                                                                                                                                                          to    --                                 to       get        into    the
     robbery                                                                                                                                             all




23   that      well.            Prosecutors                are           like           teachers                        underpaid.                                             23   specific       law on                that          in just             a    second                but   I   want you                to



24   County doesnt pay                              all    that           well.              Were                  going                  to    go                             24   think       about            that for          a        second because                              its       one thing              for



25   commit a robbery.                             Larry         says                   Hey                 you know what                                   Ill                25   the shooter                  one thing                     for         a party         who         is
                                                                                                                                                                                                                                                                                            encouraging                      him


                                                                                                                                                                         177                                                                                                                                                          179

                                                                                             So would he be                                            he                           but the law also contemplates                                                    a    situation             where             someone
 1   be your getaway                          driver.                Okay.                                                                       if            --               1




2    he drives me over                             there.            I

                                                                         get            out.           He          waits                 for    me.                             2   didnt        even intend that and                                          if   everything              is
                                                                                                                                                                                                                                                                                                      proved        a


3    He looks around you know.                                                    If    I

                                                                                            go         in         there             and commit                                  3   certain       way and the Jury believes                                                 it    beyond              a reasonable


4    a robbery                   you could               see how he didnt commit a robbery                                                                                      4   doubt person could                                     still    get the death                      penalty.


5    but he would                          be a party because                                hes helping                                  me          right                     5                            MR.             WESTFALL                               Your Honor                    that       really        is




6           A.        Uh-huh.                                                                                                                                                   6   kind    of    a misstatement of the                                              law.        Special              Issue 2 says


 7          Q.        If    he also knew                       that          I     you know                         I

                                                                                                                             carry a            gun                             7   they have            to       know or                    anticipate.


 8   and you know what                                  just     the nature                            of         an armed                      robbery he                      8                            THE COURT                                     Okay.           Im gonna ask you                              to



 9   knows        I        have a gun                with        bullets                    in   it.          He should have                                                    9   rephrase           it.        Ill    sustain                   objection.


10   hes smart he should                                  have anticipated                                         that             something                     real         10                            MR.             STRAHAN                                Okay.        Well           Ill   just        move on

11   bad could happen                              in    there.                  Okay.                 He didnt agree                                  to    a                 11   to    the    next.


12   capital          murder.                 He didnt say thats a good thing                                                                   for      you                   12                            THE COURT                                     Okay.


13   to    do.    He didnt even want me                                                 to       do         it     but          he jumps                    in                 13          Q.     BY             MR.          STRAHAN                               So . conspiracy                         then     would

14                                            Hes                                                                        and he                 should                         14   be     agreement                          commit robbery or burglary a murder                                                               is
     on the       burglary.                               in     for         the burglary                                                                                                                               to


15   have known                       better       on the                capital             murder because                                           its   a                  15   committed the murder was committed                                                                  in      furtherance                    of   the


16   possibility                and he should have                                          should                 have anticipated                                            16   unlawful          purpose                     and was one                         that       should               have been

17   it.                                                                                                                                                                       17   anticipated                  equals                a     capital                murder.            Does           that        make

18          A.        Uh-huh.                                                                                                                                                  18   sense        to    you
19          Q.        Thats a                lot   to     soak in but does                                         that             make sense                                 19          A.     Uh-huh.


20   to    you                                                                                                                                                                 20           Q.    Do         you understand                                    that

21          A.        Yes.                                                                                                                                                     21          A.     Yes.


22          Q.                              Do you see how he                                     could                                  be held                               22           Q.    You understand                                    how thats the person who jumps
                      Okay.                                                                                             still



                                                                                                                  murder because                                  he           23         on one                             and then something                                   bad happens                       but        he
23   accountable                      for    the offense                         of     capital                                                                                     in                  thing


                                                                                                                                                                               24                 have anticipated                                             And do you see how
24   jumped                in   with        me on         the            one felony robbery and should                                                                              should                                                           it.                                                          that


                                                                                                                                                                               25                                       be held accountable                                      and be found
25   have known better                                   Or you know                                   should                   have                                                person        could                                                                                                           guilty
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1    of   a    capital          murder                                                                                                                 1       you ever heard of somebody turning States evidence

                                                                                                                                                       2       You ever heard                      that            phrase              used before where                                one of the
2             A.     Yes.

3             Q.                         What                not required                         premeditation                                        3       coconspirators                      or    somebody who                                could                be a party              to    a
                         Okay.                          is                                 is



                                                                             These things the State does                                               4       crime                          testifies                 for    the           State                  And a        lot of
4    motive              scientific            evidence.                                                                                                                   actually


5    not      have        to                       They are not                      in that                 You might                                 5       those cases they have got some                                                        sort of              a deal        for       maybe
                                prove.                                                             list.



                                                                                                                          but the State                6       a lesser          sentence                    or    something                              order           to    have them
                                              why somebody                                 something                                                                                                                                            in
6    be curious                as     to                                             did


7    has no              burden           to                      that to                    Okay.          May or may not                             7       testify.      Do you                understand                          that     you would                       have       to     also
                                                prove                           you.

8    be       scientific             evidence                in   any case.                Do you           watch           CSI                        8       weigh       their credibility                        and decide whether                                      theyre

                                                                                                                                                                                       the                        or not as              well
9             A.         Not very             much            a     little    bit.                                                                     9       telling      you               truth



10            Q.         Okay.           Have           you seen those                       shows                                                     10             A.    Yes.


11            A.         Yes.                                                                                                                          11             Q.    And         just       one example                               may be where you                                --   if
                                                                                                                                                                                                                                                                                                       you

12            Q.         Where they miraculously                                     find       this incredible                                        12      had somebody who was charged                                                          with a drug                      case         bottom         of


13   scientific            evidence                that          no one has ever even heard about                                                      13      the line lowest                     possible                  level           drug case and the State

                                                                                                                                                                           wanted                   know where                           he got                his        drugs from              because
14   before.              The reason no one has ever heard about                                                               it   before             14      really                        to


                                                                                        So                                                                     the higher                                          a bigger dealer.                                 And you would
15   is   because               it   doesnt              exist.              Okay.                its    not       in     the                          15                              person                is



                                                                                                                                                                           want                                                              because                       does the world
16                              So there may be and there may not be but the                                                                           16      really                   to   get        that            person                                       it
     real world.


17   State          does        not       have          to    do       that.         Okay                                                              17      more good.                   And         if
                                                                                                                                                                                                                  you got              to that            person you may want

18            A.                                                                                                                                       18      to    know who got the                              really big quantities.                                      You ever see
                         Okay.

19            Q.         Also        a.
                                          murder weapon.                             Do you             think      criminals                           19      those       shows where                            some guy who was                                        busted        says            Okay
                                                                                                                                                       20                                                                    Theres a                               shipment coming
20   you       know            in    a    lot      of   cases you go                       kill    someone you                                                 Ill   give    you something.                                                               big                                                in


                                                                                                                           the                         21      on Thursday.                        Thats kind of what                                     Im                          about.            So
21   wouldnt maybe throw your gun or your                                                           knife          into                                                                                                                                             talking


22   lake                                                             make sense                         me                                            22                  was always                                                                     the people                  who were
                     I
                          mean            that      would                                          to              is     get       rid   of                   there                                         a    possibility that


                                                                                                                                                                                                                                                           do                   could
                                                                                                prove you know                                         23      less involved
                                          doesnt even have                                                                                                                                   or less                               or didnt                         this
23   it    right           State                                                        to                                                                                                                         guilty


                                                                                                                                                       24                         be asked                                             against a                    defendant                and
24   has       to    show you a murder weapon.                                                  Okay.                                                          possibly                                       to testify


25                                                                                                                                  one                25                may be              cut a                                      not something                           Im
                                May or may not be eyewitnesses.                                                           its                                                                                deal.            Its                                                      crazy
                                                                                                                     If                                        they



                                                                                                                                                 181                                                                                                                                                              183

                                         another             one         the other                person                dead                               1   about but you know                                       in   order             to   get the                big   fish
 1   person              killing                                                                                is




2                        No eyewitness                       for     that correct                  but other                                            2      sometimes                that        happens                   in       life.        How do you                        feel    about
     right

3    evidence              could substantiate                                 that    persons              guilt.          You                          3      that

4                    with                that                                                                                                           4             A.          think       it   --        if   its    needed                on a            --    based you
     agree                      all
                                                                                                                                                                             I




 5             A.        Yes.                                                                                                                           5      know         case-to-case                           basis           I    think        thats a               good         tool.



6              Q.                         Theres                     types         of   witnesses                  that     you                         6             Q.     Okay.            Also there                      is       the accomplice                            testimony
                         Okay.                                all



 7   can       encounter                                                       case everything                            from police                      7   which              somebody who could                                           actually              be held accountable
                                                any          criminal
                                          in                                                                                                                                is




 8   officers             criminals                 lawyers                  preachers              prostitutes.                    And                    8   for    the    same crime                            could           come             in     and        testify         as     well.



 9        think          the                  is         that                                      witness your                                            9   And what the law says                                     is   if       its     the accomplice                          testimony
     I
                               point                is                every          single


10                                                 determine                                                              on                           10            has got           to   be corroborated                               by evidence                          that    tends           to
     job as a                            is   to                              their credibility                 all                                            it
                          juror

                                                                                                                                                                                  the Defendant                                the crime.                                         And so               its
                                                means that you know                                        do you                                              connect                                                   to                                         Okay.
11   your          own         which                                                                --                      think                      11


12   theres                                             and bad police                                                                                 12       not              one persons word period and we have a
                         good         police                                                                                                                          just


                                                                                                                                                       13       conviction.                 You would                    also           have         to        have something else
13             A.        Yes.

14             Q.        Do you               think      there         are                                                                             14       in   addition           to that.



15             A.        Yes.                                                                                                                          15             A.     Okay.

                                          And so you would                              have to                      because                           16             Q.         Okay.             Something                       more.             You could take                          that       into
16             Q.        Okay.                                                                             just


                                                             a                                                          have                           17       consideration                      you            could believe                            a    hundred               percent but
17   somebody                                                     badge you would                          still                     to                                                                                                              it
                                is
                                      wearing
                                                                                                                                                                                                                                                          the evidence                                 tends
18   listen         to    what they say determine                                       their credibility                           and                 18      there       better           be something                          else         in                                       that


                                                                                                                                                                     connect            the Defendant                                    the crime.                                     Does            that
     you know                   base                     on everything
19                                             that                                        else         youre hearing too                               19      to                                                                 to                                     Okay.


20   correct                                                                                                                                           20       make sense                   to    you
21             A.        Yes.                                                                                                                          21             A.         Yes.


22             Q.         Can you do that                                                                                                              22              Q.        All    right.          Now             theres also                        situations                 where

23             A.        Yes.                                                                                                                          23       there       may be            a statement                          given by a defendant                                      in   any

                                                                                                                                                       24                   And what the law says is                                                                      the    Miranda
24             Q.         Okay.           And one type                        of   witness          that      you may hear                                      case.                                                                                is    that


                                                                                                                                                        25      Warnings you have a                                                            an attorney
                                                        testimony. You may even hear                                                      have                                                                                          to                                             that
25   from           is    accomplice
                                                                                                                                     --                                                                                  right                                                  all
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1    that       has         to    be given                    to that               person and they have                                        to                        1     right        who             did    it        intend            to       kill     the victim                   or


                                                                                    and voluntary                                               And                       2                                          the            victim              would             be       killed.
2    make a knowing                                    intelligent                                                                waiver.                                       anticipate                that



3    if    that      stuff        is       not    done by the police and you dont                                                                                         3                                  Now              this       is     anticipate.                        The        first




                                                                                                                                                                          4                                                   someone                        could             be held accountable                                 like
4    find       that        it   was done then youre                                                 to        disregard                that                                    Guilt/innocence


5    statement                   and not consider                                    it   for        any purpose.                                                         5     we were             talking               about                as a coconspirator                                    if   they         should


6                                 Okay.                 Now              one          thing           that              is   --
                                                                                                                                   you have                               6     have anticipated                              it.        Should                 have known                      better.                Okay

7    a     little     bit        of    trouble                and            I   dont want                         to    put       words                                  7             A.     Uh-huh.

                                                                                                                                                                                               This                                                     with the question                                 where
                       mouth but you know                                                                                                                                 8             Q.                           a        situation
                                                                                          somebody                           not       testifying for
                                                                                                                                                                                                               is
8    in     your

9    themselves.                           You know                          that         bothers                  you.           And     this   is      a                9     theres         two or more people involved                                                              did     that             person


                             where somebody                                                                                                                                                         know                                      Did they                                                                      So
                                                                                    may have                                            statement              but        10                                        better.                                                                               Okay.
10   situation                                                                                                     given a                                                      actually                                                                                 anticipate.


                                                                                                                                                                                                                               more knowledge                                      on     that       persons
     you know what on some technicality                                                                                   was not you
11                                                                                                                  it                                                    11    it    requires a               little



                                                                                                                             have                                                                             would                                               them                          of
12   know             obtained                   exactly                 right.           You would                                      to    set                        12    part     than           it
                                                                                                                                                                                                                                just to find                                       guilty                 capital


                                                                                                                                                                                murder.                                       Because                                         where the                           and death
                                  and base your decision                                                  on                 the other                                    13                        Okay.                                                this                                             life
13   that           aside                                                                                           all                                                                                                                                              is




14   evidence.                                          Does             that             make sense                          to    you                                   14    decisions are                       made                 in    these              three            questions.
                                  Okay.

                                                                                                                                                                          15                                 And then the                               third        issue           is       does the
15             A.      Yes.

16             Q.      Is        that        something                           you      think            you can                 do                                     16     Defendant                   deserve                 a        life      sentence                    rather than a death


17             A.      Yes.                                                                                                                                               17     penalty           after           youve already answered                                                     the other two


18             Q.                                                            intoxication                                not a defense                                    18    questions.
                       Okay.                    Voluntary                                                          is



                                                                                                                    can get drunk as                                      19                                  So Special                        Issue No.                                and again                          you
                                      Very simple statement.
                                                                                                                                                                                                                                                                               1   --
19          a crime.
                                                                                                                                                                                                                                                                                                                       if
     to                                                                                                        I




20    Cooter Brown over there and                                                          it    doesnt mean                             that    Im not                   20     see anywhere                            you see                     do         you           find      from the evidence


                                                                        werent the case everybody                                                    who                  21     beyond a reasonable                                          doubt                 tells          you    that            the State               has a
21    guilty.          Because                    if     that


                                                                                                                   what                                                   22     burden.                                      And                    our        burden               to       prove          that.           So you
22   was charged                             with a crime would                                      say                                                                                            Okay.                                its


                                                                                                                                                                          23    see how thats                            different                   at least                 in this         example                  from
23             A.      Yeah.


24              Q.          was drunk                                                                                                                                     24     Guilt/innocence                                    A burden                    in       Guilt/Innocence                           is
                                                                                                                                                                                                                                                                                                                            beyond        a




--10
                        I




25              A.     Yeah.                                                                                                                                              25     reasonable                   doubt                 to   prove               to      you he              did    it        the     way we says


                                                                                                                                                                    185                                                                                                                                                                        187

                Q.                              So      that                     not the case.                           There          are two                            1      he    did    --   the            way we say he                                did.           Okay.            You              at this
 1                      Okay.                                           is




 2        phases            to    a        criminal                case.             Theres the Guilt/Innocence                                                            2      point       would                have said                         Yeah                 I   believe           hes              guilty      of


 3        Phase.            And            in    the         guilt           phase              if    --       a Jury decides                    that                      3     the offense.


 4                                                                                                                                                                         4                                  Then you go to                                             Punishment Special                                   Issue
                                                                         person do                                           they not
                                                                                                                                                                                                                                                                in
          one question.                         Did          that                                         it       did


 5                                                                     doubt              has the State                                                                    5      No.              State           has          to       prove               beyond                a reasonable                        doubt         that
          beyond a reasonable                                                                                                      proved       their                                    1.




                                                                                                                                        case                               6      there             a                                                    the Defendant                                       commit
                      And thats                                         you say not                                           the                                                                            probability that                                                                   will
 6        case.                                        it.        If                                       guilty                               is                                            is




                                                       walks                                                                                                               7      criminal acts                     of        violence                  that         would              constitute                a
 7        over.       Everybody                                              away.

 8                                                                                   on a                                    murder case                                   8      continuing                  threat            to       society.                   Future              dangerous.                          Okay.
                                      If
                                           you say                     guilty                        capital


 9        then you                              the          Punishment                         Phase.                       And that again                                9      And can you see                                   situations                  where thats not necessarily
                                 go        to                                                                                                                  is




          where you may hear                                           additional               evidence.                          And the State                          10      its    not necessarily                             an automatic                              jump             And theres a

                                                                                                                                                                          11                                                        again               that             could probably                           show you
11                          has            more              to        prove        to     you            at that                point which             is                       million          scenarios                                                         I



          actually


                                                 consideration                            from the Guilt/Innocence.                                                        12     where        somebody                             could               be      guilty of               capital           murder you
12        a independent

13        And thats kind                         of     where we get                                 into          what was              that                              13     know some                        of these                   people                who are helpers and                                      in   the

                                                                                                                                                                                                                                                                          made                bad decision.                        And
                                                                                                          you know where were
14                                                                                                                                                                         14     wrong                            at    the         wrong                  time                          a
          persons involvement                                          specifically                                                                                                            place

                                                                                                                                                                                     maybe thats somebody who no other
                                                                                 and conspirators what was                                                                 15                                                                                                                 situation                would        ever           do
15        talking       about the                      parties                                                                                           his


16        actual       involvement.                                                                                                                                        16     that   again.                You know                            something                       for    a Jury             to    decide.


                                                                                                                                                                           17        Does                    make sense                            to       you
17                                    Anyway                      theres three                            Special                 Issues       that                                           that


18                                    have                   answer before you                                          could          render                              18            A.        Yes.
          you would                               to                                                                                                 a

                                                                                                                                                                           19            Q.        So you can see how                                             that         would           be an independent
19        verdict.           And depending                                       on your answers                                  to   those

                                                       how a                                                                                                               20        consideration.                                                     you were                   to    answer                  that       question
20                                                                                   or death sentence                                         done.                                                                      Okay.                    If
          questions thats                                                    life                                                        is




21                                    So how does the Jury decide                                                                  There        are three                  21        yes you would                            have            to        move on                to       the    second                  question.              If




                                                                                                                                                                           22                                                                                                                                          the
                                                                                                                                                                                     you answered                              no                       a                without                                 for
22        questions.                   No.        1          is    the Defendant                               a    future             danger.           And                                                             it              it    is            life                         parole


23        these       are kind                   of    the shortened                                 version                 of that.          Okay.                       23        Defendant.                    Okay.


24        So         that                               a     future                                           No.           2    did   the                                24                                 If
                                                                                                                                                                                                                    you answered                                that          yes you move on                                to    the
                is                person                                            danger.

                                                                                                                         actual                                            25        next one-Special                                Issue No.                      2.        And again you see                               that
25        Defendant                   kill      the victim                       which               is   that                          person
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                                                                                                                                                                   188                                                                                                                                                         190

                                                                                                                                                                                                                      imprisonment rather than a death                                                 sentence
      same language do you                                                       from the evidence                                      beyond a                                  sentence            of     life
1                                                                    find                                                                                                   1



                                                                                                                                   caused                                         be imposed.                     And thats a                             bunch            of stuff        but       do you
2     reasonable                        doubt           that    the Defendant                         actually                                           the                2                                                                 big


3     death                  the                                                                                      cause the                                             3     see what            thats asking                    you          to   do               consider          the actual
                                         deceased or                                  not                                                                                                                                                                        is
                   of                                                       did               actually


                                                                                                                                       deceased                             4                                        of the offense                       Defendants character                                   and
4     death        of        the         deceased                    but intended                    to   kill        the                                                         circumstances


5     or   another                      or   anticipated                   that       a     human            life           would                 be                        5     background                    and the Defendants personal                                               moral


6     taken.        Can you see how                                        that       --    and again                       its        kind        of                       6     culpability              is     there        sufficient               mitigating                circumstances


                                 but      do you see how                                   the Guilt/Innocence                                         Phase                7     to    warrant           that       a sentence                 of      life        in   prison          be imposed
7     abstract                                                                        in


                                                                                                                                                                            8     instead        of       death.              What        that       means                     sufficient             because
                                         you would                   ask                   a coconspirator                               this                                                                                                                             is
8     the question                                                               for                                                                   is




9     someone                     who         is     not the           killer          not the shooter.                                 The                                 9     you can imagine nobody has had the perfect childhood.

                                                                                           he have anticipated                                                                                             has had                         own issues.                         Some                          have
                                 you answer
10    question                                                 is    should                                                                        that                     10    Everybody                                     their                                                      people


11    should        he             have known                        better.                                                                                                11    criminal        records                 some          people             dont.               Some        capital



12                                    This         is   a step             further that              says now hes
                                                                                                                                                                            12    murderers you know have                                          this particular                       set    of   facts


                                                                            And the question                                 would                be                        13    some would have                             this.     And so                 all    of   that      would           be    all
13    guilty       as a coconspirator.

                                                                                            human                                              be                           14                                                                      case.                And thats something
14    did   he     actually                    anticipate                  that       a                      life           would                                                 independent                   in    every          single


15                                                                    evaluation.                                                                                           15    you     would           have           to    look     at.
      taken so                    its     a    different


                                                                                                                                                                            16                             The question                    is      not     whether                there are
16          A.      Okay.

                                                                                                                                                                                                                                                The question                                                be
17          Q.      Does                  that          make sense                     to    you                                                                            17    mitigating              circumstances.                                                            is    going       to



18          A.      Yes.                                                                                                                                                    18    at that        point          are there             sufficient               mitigating


            Q.                                And so                                                                         and you                                        19    circumstances                      based            on everything                        else      to   warrant a                life
19.                 Okay.                                       if
                                                                      you go through                         that


                                                                                                                                                                                                                                                                           Does                  make sense
                                                               yes then you would
20    answer                that         question                                                                      move on                     to       the             20    sentence             versus             a death             sentence.                                  that



21    third    question.                        Again even                       to this         point           if
                                                                                                                       youve                                                21    to    you
22    answered                     the        first      one yes and move on                                      to        the         second                              22           A.      Yes.


23                                                                                                                                                                          23                   And theres no burden on anyone                                                      and theres no
      one answer                          the        second one no                           still    life       without                    parole                                       Q.


24    for   the Defendant.                                Does             all   this       make sense                             to    you                                24    burden         on the State theres                                 --
                                                                                                                                                                                                                                                           you know thats                            just


25          A.          Uh-huh.                                                                                                                                             25    something                that       you          look   at       as a Jury                and you decide.


                                                                                                                                                                   189                                                                                                                                                         191

 1            Q.        I        know were moving                                fast.                                                                                       I    Okay
2             A.        No.                                                                                                                                                  2           A.      Uh-huh.


 3            Q.        It        makes sense                        to     you.           Okay.           So          if    its        a     no                             3           Q.      Do you               understand                   everything                  that       Ive    kind of


 4    answer                     life    without          parole.                If   its     a yes          answer you                                                      4    talked         to   you about

 5    would         move                  to    --                                                                                                                           5           A.      Yes.


 6                                      Interruption                   in    proceedings.                                                                                    6           Q.      Sometimes Im not                                  that        clear           and but youre okay

                                             answer                                                                                                                                              that
                                                                           you answer
 7            Q.            If    that                         --     if                                  that         question                                              7    with    all




 8    yes then you would                                     move on                  to     Special              Issue                 No.        3.                        8           A.      Yes            yes.

                                                                                                                                                                                                 And so                                       you answer those questions
                                                         3                                                                       no burden                                   9            Q.                                                                                                                            is
 9    Special                Issue No.                         you         notice           that     there             is                                                                                             ultimately


10    of proof there                          on the           State.            This         is     exactly                what             it                             10    the Defendant                      a    future        danger.                  No        life     without          parole.



11    says         which                 is
                                               taking          into         consideration                     all           of         the                                  11    Yes we move on                              to     Question             2.         Did the Defendant                           kill     or

                                                                                                                                                                                                                                              the                          would          be    killed.
                                                                            you had
12    evidence                                                 that                              to that              point                 including                       12    intend         to   kill      or    anticipate                          victim
                                      everything

13    the circumstances                                  of the offense                       itself.            The             first        thing                         13    No      life    without             parole.             And again thats the

14    listed       there the                         Defendants                   character                  and background                                                 14    coconspirator                      question.             Thats               --    the question                is   not


                                                                                                                                                                                  even given                                   unless theres two people                                        involved.
                                                                you have on that because                                                                    have
15    whatever                     information                                                                                                 you                     to    15                              to     you

16    understand                         that        usually           the Guilt/Innocence                                       phase              is      about            16   Because              at       the      point        you.    have             to     really        make        a decision


17    an event.                       Thats about                     did        this       happen            or            did this not.                                    17   on what             that        persons actual                        role         was.


18    You get                           the    Punishment                                                 not only about the                                                 18           A.      Uh-huh.
                                 to                                              stage          its


19    event        but             its       also        about the person                            who              did        it.     Right                               19           Q.      Okay.              And        if   you answer                      that      question          yes and

20    And so                all         of that         information would                            be available                             to    you                     20     in   a coconspirator                        case yes they anticipated then you

21    to    consider                     this.                                                                                                                              21    would          go       to that         Question                 3    and          really       does the Defendant

22                                                       So based                 on the Defendants                                          character                       22    deserve            a    life      sentence             rather than                      the death            penalty
                                        Okay.

                                                                                                                                                                             23    based on                                          And                             answer               no     then
23     and background                                   and the personal                           moral                                               of the                                                     of that.                          your
                                                                                                                                                                                                          all                                 if                                     is                      it
                                                                                                                      culpability


24                                       do you                                                                                                                              24         a death penalty                        and     this        Defendant                   is    put   to    death.
       Defendant                                                                 there               a    sufficient                                                               is
                                                          find        that                     is




25     mitigating                     circumstance                         or circumstances                                 to     warrant                  that   a         25    Okay.          Do you have any                            questions about                             any    of    that
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1            A.        No.                                                                                                                                           1     rephrase the question.                                           Okay
2            Q.        And the                                           its      a          to       throw         at                                               2                A.    Uh-huh.
                                                    point          is                 lot                                 you.

3    All     these            questions                       are without                   any       specific            facts            and you                   3                Q.    When                 I    first   saw your questionnaire my face kind

4    dont you know you cant make                                                                 a determination.                           You         just         4     of   lit    up when                   I
                                                                                                                                                                                                                      saw      that          you worked                  in   Blooming              Grove

5    have         to         be able                to    consider understand                                      all   the law             and                     5     Independent                       School                District.



6    follow         all       the         law.           Okay.               So weve                  talked         about            it    for                      6                A.    Yes.


7    quite         a     bit   of       time             and youve                    sat        and       listened             to      how                          7                Q.    Navarro                    County

                                                                                                      are what the                                                                    A.    Uh-huh.
8    its     --
                  you          know what                           the questions                                                                                     8


9    considerations                                 are.                                                                                                             9                Q.    I
                                                                                                                                                                                                    went         to     Frost High School.


10           A.          Uh-huh.                                                                                                                                     10               A.    Oh             okay.

             Q.          So                                the        final       real                             that          have                                11               Q.    Frost Polar                       Bears.               Back       in    the       old     days we used
11                                      guess                                                question                       I
                                   I




12   for     you         is       as      you            sit    here          today based on your own                                            life                12    to   beat            up on Blooming                               Grove each and every year.

13                                                                             beliefs your personal                                       beliefs                   13    Blooming                       Grove            Lions            right
     experience your                                  religious


14   and understanding                                        what the law                       of capital              murder is                if                 14               A.    Um-hum.

15   the evidence                         and the                  facts          support             it   can        you        if
                                                                                                                                           you                       15               Q.        How         long           were you there

16   think         its       the        right thing                     to    do      are you a person                           that                                16               A.    Two             years.

17   can          actually              say yes                    and vote             for       the death               penalty                                    17               Q.        How         did         you        like pit



18           A.          Yes.                                                                                                                                        18               A.        I   liked        it    a    lot.       It    was a good place                         just        too


19           Q.          Okay.                 And you understand                                     that     this       is     a     real                          19    far.




--9
20   life    case and a                             real       life     person.              Youre going                    to        be                             20               Q.        Did        you         live    in      Blooming               Grove

21   sitting           there              if    youre on                     this     Jury breathing                       the         same                          21               A.        No.


22   air     as him.                    Okay.              And           at    some          point          you          could very                well              22               Q.    Where                     did     you live

23   be asked by the State                                              to   sign      off       or    vote with others                          and                 23               A.        We         were from                   --    commuting                   from Venus.


24   agree             that            the      right thing                  to   do        is   to actually              end              his                       24               Q.        Oh         you         did.        Okay.            And what                  grade did            you teach

25   life.        Can you do                          that         if   thats         what the evidence                                calls                         25    in   Blooming                    Grove I.S.D.


                                                                                                                                                               193                                                                                                                                                    195

1    for                                                                                                                                                              1               A.        High school.

2             A.         Yes.                                                                                                                                         2               Q.        Just high                  school                 And        did   you teach Spanish

3             Q.         Or                    without                                      thats          what the                                                   3               A.        English                and Spanish.
                                   life
                                                                   parole              if




4     evidence                 calls                for                                                                                                               4               Q.        English                and Spanish.                      And        if
                                                                                                                                                                                                                                                                         you had your

5             A.         Uh-huh.                                                                                                                                      5    druthers                   I
                                                                                                                                                                                                          guess you would                           say would                      you    still    be

6             Q.         Do you have any questions                                                    of   me                                                         6    there                    Is that           right    or      not

7             A.             No.                                                                                                                                      7               A.            Um      Im glad                I   made         the       move            to    Waxahachie.

8                                      MR.           STRAHAN                          Ive        gone over a                lot        of    stuff.                   8               Q.        Okay.                 And     in       Blooming               Grove            I
                                                                                                                                                                                                                                                                                    mean          thats


                                                                                       and                                                                            9    community                                 about 5 or               600 people                           that   right
                                                               your time                                                              pass                                                                                                                                is
                                                                                                   attention.                                                                                              is
      Okay.              I

                             appreciate                                                                                    Ill



10    the     Juror.                                                                                                                                                 10               A.            Uh-huh.


11                                     THE COURT                               Recognize                   the Defense.                                              11               Q.            High school                    kind       of   small

12                                     MR.           HEISKELL                         Thank you Your Honor.                                            May     it    12               A.            Venireperson                        nods
                                                                                                                                                                     13               Q.        The community                                     a small community.                              Most
13    please             the Court.                                                                                                                                                                                                          is




14                                                       VOIR DIRE EXAMINATION                                                                                       14    everyone                       knows one another                              is   that        right


15    BY MR.                 HEISKELL                                                                                                                                15               A.            Yes.


16            Q.             Ms.        Strom                 is   that       correct                                                                                16               Q.            And you have                       all       sorts   of different                students           that



17            A.         Yes.                                                                                                                                        17    you taught                       is       that     correct

18            Q.             My name                     is    Mike           Heiskell.               Along          with        Greg                                 18              A.            Yes.

                                                                                                                                                                                                                                                                                                           and
                                                                                            gonna help me put
19    Westfall the gentleman                                                 thats                                                          this                      19              Q.            From every background                                      I

                                                                                                                                                                                                                                                                   guess imaginable

20    PowerPoint                                                                                 Mark Soliz the person                                   at          20    different                 races            and cultures                      et   cetera            is    that     right
                                        together represent

21    the     end            of        the      table          there.             Ive got             some           questions                   for                 21               A.            Yes.


22    you and                  quite                frankly Im going                             to   tread over                 some             of                 22                Q.           Okay.             Now          I   want        to   back up before we                           talk   some

                                                                                                                                                                     23     more            about           Blooming                    Grove and                                   You were                     in
23    the     same grounds                                    Mr.       Strahan              did but from a                      different                                                                                                                         Frost.                               living


24    perspective.                             If   at    any time                I   ask you something                                 you                          24     Columbia from age 11                                            to    18
25    dont understand please stop me and                                                                     Ill     start       over            or                  25               A.            Yes.
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1             Q.        And your parents were missionaries                                                                                                           1          Q.         Are             all   of     your family                    all      of          you         fluent            in



2             A.        Yes.                                                                                                                                        2     Spanish

3             Q.         What denomination                                      was that                                                                            3           A.         Yes              yes.

4             A.                                                                                                                                                    4           Q.         All            right.        You indicated                           that         your parents very
                         Baptist.

                                                                                                                                                                                                                                                                                                         and helped
5                 Q.     And both your parents are missionaries                                                                         or just                      5    helpful          to        you         they         helped              form your                           beliefs



6    one or                                                                                                                                                         6     show you the                           right        way
7             A.               was               like    a        team     effort                                                                                    7          A.         Uh-huh.
                         It                                                                        yes.

8                 Q.     A     team.                And do you have any siblings any                                                                                 8             Q.      Can you expound on                                       that                a   little         bit       more

9    brothers                 or      sisters with                      you                                                                                          9    Ms.      Strom

10                A.     I    have an older                             sister       and a younger                             brother.                             10          A.         They were                      just        always                   constantly                       active         in    our


                  Q.     And were they                                              there               as   well                                                   11    in   my        childhood.                      And whenever                               I   had questions about
                                                                       living


12                A.     Yes.                                                                                                                                       12    anything                   or    was you know                            trying               to find                 answers on my

13                Q.     At the time you were.                                        And where                         do you           fit      in                13    own they would                                encourage                  me           to          find        my own answers and

                                                                                                                                                                          you know not                                                            me what
     Were you                       the oldest                                                                                                                      14                                                  guess              tell                                       had           to    believe         or
14                                                                --
                                                                                                                                                                                                                   I                                                              I




15                A.     Im the middle                                 child.                                                                                       15    why and                    just        kind        of   encourage                         me.               And they were always

16                Q.     Middle                   child.                                                                                                            16    there          for         me          no matter what                        I       did.



17                A.     Yes.                                                                                                                                       17             Q.       Sounds                     like   you came                         from a very loving                                   home.

18                Q.     Where                     in   Columbia were                                  you                                                          18             A.      Yes.


19                                                                                                                                                                  19             Q.      And a                                  home            is            think the best of                               all
                  A.     In        Bogota the                          capital.                                                                                                                                  loving                                    I




20                Q.                                And                                                                            the                              20    the      worlds                  everyone               would            have a                                           home.           Would      you
                                                                          you also go out                               into                                                                                                                                                 loving
                         Bogota.                                   did


21   countryside                                                                                                                                                    21    agree

22                A.     A         little         bit    not too           much.                                                                                    22             A.      Yes.


23                Q.     And was                        this       area        in
                                                                                    Bogota was                           it   more of a                             23             Q.       I        want        to     ask       you now about                              that              situation            with


                                                                                                                                                 class              24                        and your                                                          was
24                                                                        more lower class                                    middle                                      your brother-in-law                                                                                         your
                                                                                                                                                                                                                                                       --
                                                        area or
                                                                                                                                                                                                                                                                             it

     poverty-stricken

25   How           would                            describe               it                                                                                       25    brother-in-law                                 that         right
                                         you                                                                                                                                                                       is




                                                                                                                                                              197                                                                                                                                                                199

1                 A.         Lower-middle                          probably.                       I
                                                                                                        mean we would                            visit               1             A.       My            sister-in-law                    and her husband.

2    it.      I   was          in     all         the    different              areas                  and been               to   all       the                     2             Q.       Sister-in-law                         Im        sorry               charged                    with           this child



3    different                 areas but where we                                     lived               was probably                                               3    porn       in Ellis                County

4    lower-middle.                                                                                                                                                   4             A.           Uh-huh.


                             And                                                                                                                                                            You said the case was                                                                     he    was                     charged
                                                                          you saw
5                 Q.                         I   take        it   that                                 all   sorts of different                                      5             Q.                                                                          just
                                                                                                                                                                                                                                                                            --
                                                                                                                                                                                                                                                                                                          just



6                            and backgrounds.                                   That experience                               that       you had         in          6    with            recently                 or how long ago was that
     people
                                                                                                                                                                                    it




                                                                                                                                                                                                           he was charged
7    Columbia was a good one                                                    for   you                                                                            7             A.           It   --                                            maybe a                            little        over       a year

                                                                                                                                                                                                                                                    And her case was
8                 A.         Absolutely.
                                                                                                                                                                     8    ago        almost two years now.                                                                                                     just   recently


                                                                                                                      you the most
                             And what                                                                                                                                9    dismissed about                                a    month ago.                        And hes                          still    waiting         on
9                 Q.                                     did       you     think              it       taught

10                A.         Just the view                         --
                                                                        my      view               on everything                    is       a                       10   trial.




11   little        wider                 I
                                                 think than a               lot      of        people             who havent                                         11            Q.           Okay.             And do you have an idea                                                      if   its    going      to


                                                                                                                                                                     12                                                          later
12   seen              life    in            different            avenues                 I

                                                                                                   guess.             People            kind of                           go    to       trial         this      year or anytime

13                                                      one view on                                     and           was able                                       13            A.           Im not sure.                          know he said something about
     get stuck                      in       their                                    life                        I                          to                                                                                   I




14   see you know                                   different             countries                      and          different          people.                     14   him taking                       some          sort         of    plea so Im not sure exactly

15                Q.         Okay.                 And you               think       your other                        siblings          also                        15   what.


16   share your                          view           that       they were able                            to       experience                  that               16            Q.           If   it
                                                                                                                                                                                                           goes         to trial            is    there a plan                             for      you and

                                                                                                                                                                                                                                                                                                                    all
     and gain from that                                                                                                                                                   the                             the family                       attend                       offer                                  at
17                                                                                                                                                                   17            rest of                                        to                           to                       support


18                A.                                                                                                                                                 18            A.           Probably.
                             Absolutely.

19                Q.         Youve                 also           indicated           that              your father                is    a                           19            Q.           Probably.

20                                                                                                                                                                   20            A.       Just            for                            reasons.
      person you admire                                           is    that    right                                                                                                                                  support

21                A.         Yes.                                                                                                                                    21            Q.           Support.

22                Q.         And what does he do                                      now                                                                            22            A.           Uh-huh.


23                A.         Hes                                        a church                   in    Miami                      now.                             23            Q.           And how long have you known your brother-in-law
                                                 pastoring                                                              right


24                Q.          In    Miami                                                                                                                            24   now
25                A.         Uh-huh.                                                                                                                                 25            A.           Five years.
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1          Q.     Okay.               Now             your          husband where                                is   he from                        1    how they            interact                         with others              you can                   tell    a difference


                                                                                                                                                    2     on how theyve been taught                                                to    --       how they                    interact             and how
2    originally

3          A.     He was born                          in       Columbia                  actually.                                                  3    they    feel       they                 have           to     interact        usually.


4          Q.     Oh         really.
                                                                                                                                                    4            Q.    A      lot           of        those           kids    also Ms. Strom were they

5          A.     His family                    is    from the              Chicago                   area.                                          5    ADHD          have                to         take           medications                  daily           a     lot       of   those          kids

6          Q.     So hes a Columbian native                                                     --    Columbian native                               6           A.    Some                       of       them.


7    if
          you will                                                                                                                                   7           Q.    Some                       of       them.         What percentage                                 would               you       say
8          A.     Yeah you                      could            say    that.              I
                                                                                                mean he was raised                                   8           A.     Im        not                 --   I   dont know.-               I    couldnt answer.

                                                                                                                                                                                                                                                             was foreign
                            American you could say but he was born there                                                                                                                              But thats
     you know
9                                                                                                                                                    9           Q.    Okay.                                               nothing             that                                           to



10   and     lived         most         of his             childhood                 there            would           go back and                   10    you.        You saw                         this       on a routine basis

11   forth.                                                                                                                                         11           A.    Yes.


12          Q.    Is       that       where            you met              him                                                                     12           Q.     I   take                 it   that        you intend on making                                    this          a career


13          A.    Yes.                                                                                                                              13    and doing               it        until              you    retire


14          Q.                                        Columbia                                                                                      14           A.     Most                                     yes.
                  Originally in                                                                                                                                                             likely


15          A.    Yes.                                                                                                                              15           Q.     Now                  youre                fluent      in    Spanish.                       You see Mark

16          Q.    Okay.                And what type                        of       work does he do                          now                   16    Soliz        Spanish                        surname. And                       if   youre selected                                 as a Juror

17                                                               kind                           electronic                                          17         this    case                 there                may very          well           be evidence                       of       --   in
                                      guess            its                  of       like                                                                 in
            A.    Its       --    I




                                      Thats the closest                                  can get without you                                        18                                                                                                  which             there          could very
                                                                                                                                                          Spanish the Spanish                                           language                  in
18   engineering.                                                                    I




19   know.                                                                                                                                          19    well    be translators                                 to    be sworn               in   and you know

20          Q.                         And           for    what company again                                              that                    20    interpreters                                you        will    to   translate from English                                         to
                  Okay.                                                                                                is                                                                   if




                  Calibration Specialty                                                                                                             21                       --    Im sorry Spanish                                     to     English.                   Excuse me.                        My
21          A.                                                              Incorporated.                                                                 Spanish

22          Q.    And            is   that       in        Venus area or Waxahachie                                                Where            22    apology.            And with your background                                                       and experience                            in



23   is   that                                                                                                                                      23    Spanish             of            course you                    would              probably                  have an advantage

24          A.    Its        in       Irving.                                                                                                       24    over    most                 if    not           all    other       jurors.              But        I    think           you would

25          Q.    In        Irving.             So     yall          kind    of          go opposite                  ways                          25    understand                        that           you would have                         to    follow            the       translation




                                                                                                                                              201                                                                                                                                                                 203

 1   then                                                                                                                                            1    that    is   given                to         all      the other          jurors              as     opposed                   to    what

2           A.    Yes.                                                                                                                               2    you may hear and detect                                             from the                  translation.                     Do you

3           Q.    Plans               to   have children                         I       take it                                                     3    follow       what                 Im saying

4           A.    Eventually.                                                                                                                        4           A.         Yes             yes.

                                                                                                                                                                                                                                                                                        do
                                                                                                                              want                               Q.                                                           you would                      be able                                   you
                                                                                                                                                                                                                                                                                   to
5           Q.    And obviously                                       would having                           a child                                 5                      Is that                   something                                                                                   if

                                                            you

6    that     child         to    grow up                  in   a    loving          home                                                            6    were selected                               as a member of the Jury                                            to    follow             along

 7          A.    Yes.                                                                                                                               7    with    the translator                                 to     put   words interpreted                                    by   him or

 8          Q.    Try        to       provide               everything                   you can             for      the     baby                   8    her

 9          A.    Yes             absolutely.                                                                                                        9           A.         Yes             yes.

10          Q.    Those formative                                   years        as a child                  you        of    course                 10          Q.         Okay.                     All      right.     Okay.               Were                going            to talk



11    have grown from                           that        and plus youve taught                                      kids high                     11   about        some                 law now.                    All   right

12    schoolers.                 Did                                                                                                                 12          A.
                                           you teach any other grades                                                 other than         high                               Okay.

13    school                                                                                                                                         13          Q.         And what we have here                                             is       a PowerPoint                          similar to



14          A.             did    a    little        bit    in                                                                                       14   what the State has.                                         And you           will       take            an oath              if
                                                                                                                                                                                                                                                                                             youre
                  I
                                                                    junior high.


15          Q.    Junior               high.           There           youre               talking           about          13                       15   sworn        in     as a Juror                          to    render a              true       verdict               according                    to



16                                    for       the        most part                                                                                 16   the law           and the evidence.                                      And        that           is    something                      that      you
      14-year-olds

17          A.        Uh-huh.                                                                                                                        17   would        have                 to follow.                  And when we                          look         at that            term true

                                                                                                                                                                            you would
18           Q.   And                                       could                                    a difference             for                    18   verdict                                                              look          at    the            law the evidence
                                  did      you                          you
                                                       --                                tell                                                                                                                    strictly


19    kids    who came from a good home versus                                                                   a poor           home   as   to     19   as presented                             to      you from the witness                                   stand            right          here

20    how those kids were developed                                                      and how they                       did                      20   because             a witness                           stand       is   closer               to        the    jury       box so             that


                                                                        nature                                                                       21                                                                                                  determine the
21    academically things                                  of that                                                                                        you can look                            at       those        witnesses                  to



22          A.    Yes             for      the        most           part.                                                                           22   credibility              whether                        you believe some                                 all    or       none           of   what

23           Q.   Was             there          a     marked difference                                    or   slight                              23   that    person                    or        persons             may say and thats why youre

24    difference             or       how would you describe                                           it   overall                                  24   close        to    them.                         And also you would have a chance                                                            to



25                                                                  on the student.                                                                  25   examine the exhibits photographs                                                               listen               to   videos              or
             A.       It   really          depends                                                           Usually          just
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     watch                                                 audios things                                                                                              reasons              the Prosecutor                     was                            to-you about                      them
1                 videos            listen            to                                              of that         nature.                                    1                                                                       talking


     Thats the way                                                   a                               case.           Thats                                      2     both.           But      for   purposes                 of   our discussion                            were going
2                                     it   will
                                                      go    in             criminal


3    something               you said                 you can do                       is   that           right                                                3     to stick            strictly     to    robbery and                      this          must be proven

4           A.     Yes         sir.                                                                                                                             4     beyond              a reasonable                   doubt.


5           Q.         Now      when we                    talk       about the Constitution                                            some         of         5                               Now          when we                talk      about               right      now          I   think



6    these        constitutional                      privileges                    you see                 that     iconic                                     6     you understand                        --    let   me back               up        a second.                   If
                                                                                                                                                                                                                                                                                         you have

7    lithograph.              Youve               probably                 seen             this           at   a   lot     of                                  7     to    vote      right         now how would                            you vote

                                                                                    who                                                                         8             A.           would        have                 say not                                    dont have any
8    schools.            Our founding                       fathers                              drafted             our                                                                                                to                        guilty.          I
                                                                                                                                                                                      I




9    Constitution               passed                 our       Constitution.                             And       that                                        9    evidence.


10                              of         innocence                           one         of        those                                                      10            Q.      Okay.                              And theres a burden                                   of        proof       that
     presumption                                                      is                                            founding                                                                           Right.


                                                                                                                                                                                                                                                                   want
                                                                                                          you have a
                                                                                           said                                                                 11    the Prosecutor                    talked           to    you        about.                              to talk           to     you
11                           that   you           think         --    at       first
     principles
                                                                                                                                                                                                                                                              I




12   bit    of difficulty           in      because                  you         said           if    a person               is                                 12    a    bit    more about                 that       so     you can have a understanding as

13   charged            with a         crime               that       you want                       to    hear the                whole                        13    to    how       high          this    burden            of    proof              is   that       they     must

                                                                                                                                                                14    shoulder                 in this      case.            And because                      they           have the burden
14   story.


15          A.         Uh-huh.                                                                                                                                  15    if
                                                                                                                                                                           theyre doing                 the        accusing they must do the proving.

                                                                                                                                                                      And                                          beyond a reasonable                                    doubt.              And
                                                                           now what the Prosecutor                                                              16                             burden                                                                                                  that
16           Q.        And you understand                                                                                                                                        that                        is



                                                                                                                                                                17    burden                                                                  here from a reasonable
             you which was correct
                                                                                                                                                                                               stair   step           illustrated
17   told                                                                  entirely                  correct          that                                                                is



                                                                                                                                                                                                                              cause                                                                     clear
                                                            you and
18            of   what he said                       to                               that           is   that      the burden                                 18    suspicion                to    a probable                                   to    a    preponderance                        to
     part


19   of                rests        with          this table                               here these four                                                      19    and convincing                        to    beyond            a reasonable                        doubt.
           proof                                                           right


20   Prosecutors.                   Okay                                                                                                                        20                               Now         reasonable                   suspicion                    is    for     instance


             A.                                                                                                                                                 21         youre driving                    a police               officer         sees you weaving                              down
21                     Okay.
                                                                                                                                                                      if




22           Q.        Now       in        that       connection                       I   want            to   ask         you                                 22    the road he has                        that        reasonable                     suspicion              to        stop     you       to



23                            thats kind                   of   a                   off     the beaten                      path                                23    investigate                further          and may issue a                             citation         or        not     just
     something                                                        little




24   here.         Weve             got four Prosecutors                                        right       here including                      a               24    depends                  on what           he     finds       out.



25   special           Prosecutor.                    Some                people                may         think         that          you know                25                               Probable               cause           is    that          standard               for




                                                                                                                                                          205                                                                                                                                                     207

 1   with these               Prosecutors                       that this                  many             that      there             must                     1    instance when a Grand Jury returns an indictment.                                                                                Has       to


                                                                                                                                                                      be by probable cause                                         an indictment                              be returned.
2    be a        lot   of    evidence                 that       exists             against                 the Defendant.                                       2                                                           for                                        to


                                                                                                                                                                      And you have probable                                   cause                                            or search
                                                                                                may be a
3    So     that                                                innocence                                                                                        3                                                                                for       warrants
                       presumption                     of                                                                 little    bit




4                  shrunken                                                because you see those                                                                 4    warrants                  arrest      warrants                so       forth          as     well.
     lower                                   if
                                                  you       will


5    folks       right       over here.                    What            do you                think          about          that                              5                               Preponderance                          is   --
                                                                                                                                                                                                                                                   you see               that       in    a    civil




                       Hadnt                                                                                                                                                               dont                                     sat      on a Jury before
6            A.                       really           crossed                 my          mind.                                                                 6    case.           I
                                                                                                                                                                                                      think        youve                                                                      right


 7           Q.        Okay.          You understand                                that             when we               talk         about                    7               A.       No.


 8   these         laws       and          rules           and       instructions                          that     the Court                                    8               Q.       And you should                      know           that           that       only    applies            in    a


 9   will    give       you         that      has          to    be a            living              breathing                                                   9    civil      case dealing                    with        monetary                  damages                 car        wrecks

10   principle           here        that         you have                     to   be guided                       by.      You                                 10   things          of that          nature people suing each                                           other.



11   understand                that                                                                                                                              11              A.       Okay.

12           A.        Yes.                                                                                                                                      12              Q.       Its    called          the 51        percent                 rule        which           is    the


13           Q.        And are you able                              to    look            at    Mark           Soliz        and         tell                    13    greater weight                    and degree                     of credible                    evidence.


     him                                                    him           innocent                                                                               14                              Then youve got                         that           clear       and convincing
14            that      you presume

             A.        Yes.                                                                                                                                      15    standard.                Thats defined                      in    our law as                    measure or degree
15

                                                                                                                                                                                                                                                   mind                                  of
                                             Now                                                                                                                                                                                        the                             a                      fact
16           Q.        All    right.                        this          is   what the indictment                                                               16    of    proof         that      will
                                                                                                                                                                                                             produce               in                             of         trier



17                                                                                  Mark Soliz                             Johnson                               17    a    firm belief              or conviction                  as       to   the        truth        of the
     says Ms. Strom.                              That is             that                                           in


                                                                                                                                                                                                                        be established.                           That applies
     County Texas on or about June 29th of 2010
                                                                                                                                                                                                                                                                                                in
18                                                                                                                                 did                           18    allegation               sought           to



19                                  which                  a conscious                                                    and desire                             19    cases          of       termination              of    parental                 rights           when you seek
     intentionally                                    is                                        objective

20   cause the death                                                                                                                                             20                            those                     and take the                       child       away from the
                                                      Nancy Weatherly by shooting                                                        her
                                             of                                                                                                 with                   to    sever                       rights


21   a deadly            weapon                   a   firearm.                  And         this third               or      sixth        or                     21    parent.              Now        you        can        understand                      why the burden                       will      be

                                                                                                                                                                 22                             those                                              because youre dealing
22   seventh            bullet        point            the       last          one          in        the course                   of                                  so high             in                type        situations


                                                                                                                                        Theres                   23                        with                                         childrens lives                        the
23   committing                or     attempting                     to        commit the robbery.                                                                     literally                     peoples             lives

                                                                                                                                                                                                                                    So you              understand                   that
24   another            count         that         says          exactly               the           same           thing except                it               24    parents             even of course.

25    has burglary                  as                                                                     Thats one                      the                    25              A.       Yes.
                                            opposed                  to        robbery.                                             of
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1            Q.      And beyond a reasonable                                                  doubt              is    more than having                                 1    correct

                                                                                                                                                                                           Yes.
2    the     firm belief.                      Its   more than clear and convincing                                                           so                        2           A.


3    thats          how strong and high                                   that         is   when you look                            at      a                          3           Q.     And thats something you can do                                                                      maam
4    criminal              case.           And           in   a   capital              murder case                           it    has       to                         4           A.     Yes.


5    apply          to     those           elements including                                  that          intentional                                                5           Q.     Now we                       have              to    talk    to    you about                            this         next


                                                                                                                                                                        6                 because we dont know whats going                                                                                                        Our
6    element.                                                                                                                                                                phase                                                                                                                       to     happen.


7                                   The Prosecutor                            asked you a minute ago about                                                              7    position             is     that          is    me and                  Mr. Westfall                        is         that        no

                                                                                                                                                                                                                                               murder and therefore                                             the death
     well the Judge had you come and                                                                        down                                                             hes not
8                                                                                                                                                                       8                                          of
                                                                                                 sit                         told    you              to                                          guilty                capital

                                                                                                                                                                                                                                                                                                                        the
                               second chair and you                                                                                 an                                                                            an appropriate sentence.                                               But              this
                                                                                                 so kind                                                                9                               not                                                                                                       is
9    sit   in     the                                                                  did                             of in                                                 penalty          is




10   instant.                  Remember                   that                                                                                                         10    only time                  we can           talk.             Okay.            So thats why we have                                             to



11           A.       Yes.                                                                                                                                             11    talk   about               that       because                     we cant             stop a            trial               in     the


12             Q.        In     a    --   when we                 talk        about           an       intentional                  murder                             12    middle you know say Judge time out we want                                                                                           to talk



13   conscious                                            or desire                      cause death can you see                                                       13    to   them now about death penalty.                                                         We          cant do that so
                                    objective                                     to


     how                                       be a                                                                                                                                       the time                           do
                                                                                                            process than                                               14    this                                  to
14              that           would                      different               thought                                                    simply                                 is                                              it.




15   taking          a seat               in   the chair            when you decide                                    to      murder                                  15           A.     Okay.

                                                                                                                                                                       16           Q.                                  Your thoughts                             of    death penalty                                 you
16   somebody                                                                                                                                                                              All          right.


                                                                                                                                                                       17    said    that           death              penalty                 you     could            do                         would          be
17                    Yes.                                                                                                                                                                                                                                                     it        it
               A.


                      You see a difference                                                                                                                             18    hard.        And                think           thats             what the law intended                                            that         be
18             Q.
                                                                                                                                                                                                                                                                                                                        it
                                                                                                                                                                                                         I




                      Yes.                                                                                                                                             19    hard.        Its           not a                     thingor               easy            thing.                      has          to    be
19             A.                                                                                                                                                                                                      light                                                                  It




20             Q.     And so when we                               talk           about          that            intentional                 see                       20    hard.


21   intentional                     was the highest                          mental             state            in   our         law.          It                    21           A.     Uh-huh.


22         followed                                                                                               defined                                              22           Q.     Because                           you look                  at          when you                         talk         about
                                     by other mental                          states
     is                                                                                       that          --                          in   our                                                                        if                                   it




                                                                                                                                                                       23                                          Issues                 those        three questions                                    he showed
23   law from a knowing                                   mental              state           to    a       criminal                                                         those        Special

                                                                                                                                                                       24                                                                                               as          the                          two
24                                                                                                                             reckless.                                     you up there the burden                                             of proof                     to                        first
     negligence.                          At the very bottom                             is   knowing                   --



25   Excuse me. At the very bottom                                                       is    criminal                 negligence                         but         25    the State                  has       to    shoulder                     because                 there                 is    a      presumption



                                                                                                                                                                 209                                                                                                                                                                211

 1   intentional                     is   the highest                    and thats even more focused                                                                    1    of   life    until          and unless they remove                                              that        presumption


 2   in    a    capital               murder case even more                                            strictly              defined             as                     2    with those                  answers                  to      the       first    two questions.                                     Okay.

 3   conscious                       objective            or desire                 to      cause the                   result.           And                           3    You     indicated                     that       a     life        sentence                is    something                          in    which

                                                                                                                                                                        4                               who             an unrepentive                            murderer                          in       other      words
     you can understand
 4                                                        why            in   a   --     the highest                     crime           in      our                         a person                              is




 5   law        that           would           apply          because                  here         youre              talking            about                         5    a person                   who        could          possibly do                      it
                                                                                                                                                                                                                                                                        again and again                                  and

 6   a crime                   in   which          a person               intends              to      cause death thought                                              6    again thats a concern                                             as    well     as         I   think                 as you put

 7   about                     on                                                             do             knew                  was wrong                            7         Ms.      Strom                   that      a                 of resources spent                                   on housing
                                      purpose intended
                                                                                                                                                                                                                                  lot
                     it                                                                to              it                    it                                              it



                                                                                                                                                                                                                                          sentence
                                                                     Okay                                                                                               8                                          the
                                                                                                                                                                             that                                                                                  is   that        right
 8   but       did        it    anyway death.                                                                                                                                        person                  in              life




 9             A.         Uh-huh.                                                                                                                                       9           A.     Yes.


10             Q.         And so when we look                                       at   that           you have                   to    hold                           10          Q.        What were you                                    thinking           there        when you                           talk



11   the State                      to that      high burden                      of proof                  to    make sure                   that                      11   about        a       lot        of resources being                               expended

12   all    of      these             factors            are      proved these elements excuse                                                                          12          A.        I    think           with       just         a     lot of      money                  for            some
                                                                                                                                                                                                                                                                                              much
13   me         are proven                      because                  theyve got                    to        prove            100 percent                           13   people you know                                   life        in    prison isnt                  that                               of a


                                                          showed you there before Johnson                                                                               14   punishment                       for certain                      individuals                   and youre spending
14   of    those                elements             I




                                                                                                                                                                                                                                 them and feeding them and you know
15   County Texas on or about June 29th                                                                          intentionally                   and                    15   money on housing

16   knowingly                       intentionally                  excuse                  me         causing                    the death                of           16   giving        them some comforts                                          that        really           is        --        theres         no

17   Nancy Weatherly shooting                                                  her          killing          her        with        a firearm                           17   point       to       it.




18   in    the course of the                              commission                        of     a robbery.                                                           18           Q.           Is that          something                        that    you glean from having                                            read


19                                                   Now           these               are things                     that        must be                               19   something                       or heard             from other                      people            or you know watched
                                      Okay.

20    proven               in       the court            that      you         --      when you take                              that    oath                          20   some         special                  on        TV
                                have               render          a                                         and thats the                                              21           A.       Just            in
                                                                                                                                                                                                                    general                discussion.
21   that        you                       to                             true         verdict

22                                    a                  And as the Prosecutor                                         said         told                                22           Q.           General               discussion
     first       part of                  trial.



23                                                                                                                                                                      23           A.           Uh-huh.
     you which was correct                                                                                   they ever so
                                                                                       find      that
                                                                    if
                                                                          you

24    slightly             failed          in that            burden              of   proof then                      its        your
                                                                                                                                                                        24           Q.           Have you ever been                                    to.a        prison                maam
25                                    a person                not                           You understand                               that                           25           A.           No.
      duty          to find                                              guilty.
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                          Have                                                                                                                                                                                    and thats something                                                       would            have
                                            you been
1           Q.                                                                    to    a    jail
                                                                                                      --                                                                          1   decisions                                                                      that         you                                    to   go

2           A.            Yes.                                                                                                                                                   2    back once you get these questions                                                          and look           at       the evidence


3           Q.            --       to    visit                 Okay.                    Was           that          involving                    your                            3    and examine and                                 I   want           to talk       to    you        now about some of

4    brother-in-laws                                  situation                        or    someone                       something                        else                 4    these        issues.                And as                I   scroll      through                that     because              the


5           A.            Something                             else.                                                                                                            5    things        that          the Prosecutor                           covered               with       you    on accomplice

6           Q.            What              --        when was that                                        How long ago was that                                                 6    testimony                   for     instance and party                                 that        is   in   fact        the


7           A.             It      was          quite               a while ago.                                                                                                 7    correct           application                       of   the law          in     many respects                         except           for


8           Q.            Was              that           here                in       Texas or Columbia or some                                                   other         8    that    one time when my partner objected.                                                              And you heard

9    place                                                                                                                                                                       9    that    objection                  being             sustained.                  In    other          words the Judge

10          A.            That             was            in        Florida.                                                                                                     10   thought            we were                    right.


11          Q.             In       Florida.                    Was                that          a    friend          or relative                                                11                               But       let      me        take        you       to this           next     phase              real


12          A.            A        friend.                                                                                                                                       12   quickly            that          first    question.                   A     probability that                  the


13          Q.             Friend.                    Okay.                       What was                     that        experience                       like                 13   Defendant                   would commit criminal acts of violence                                                            that


14          A.             It      was a              little            unnerving.                         I
                                                                                                               mean                 I
                                                                                                                                        hadnt                                    14   would         constitute                  a continuing                      threat          to    society.              Here

15   been         in           a    jail
                                            for           any reason but                                       I    mean...                                                      15   the Jury               has       to      answer               it   unanimously before                             it   can be

16          Q.            Okay.                  It       was           just            a county                   jail    it       was not a                                    16   yes.

17   prison               itself                                                                                                                                                 17          A.         Okay.

18          A.             Right                right.                                                                                                                           18          Q.         If   its       going          to       be answered                       no    only       10 jurors


19          Q.             Excuse me. Well                                               let     me ask you what do you                                                          19   are required                     to   do so without                       having            to     give      a reason               as


20   think       is            worse              life          without                  the          possibility of                          parole         --                  20   to you know what                                    they based               that          upon.        Thats the way

21   because                       thats          what                  it    means.                   Everyone                         will
                                                                                                                                                   agree          that           21   the law            is.       When you                     look       at     that      question               its       really


22   a person                      who would                            receive                  such a sentence                                      would        have    to    22   broken            down            into        whether                there       is    a probability                    and

23   serve the                      rest         of       his           or her natural                             born         life          in      prison                     23   thats         of       course not a                           possibility.             Its       more than

24   and come out                                in       a box.                                                                                                                 24   that.        Its       a    probability.                      You see that

25          A.             Uh-huh.                                                                                                                                               25          A.         Yes.



                                                                                                                                                                           213                                                                                                                                                      215
1           Q.             Whats                  the harshest                                 penalty               to    you                 life    without                    1           Q.        That the Defendant                                 will      commit criminal acts                                 and

2    parole               or       the death                            penalty                                                                                                   2   these        criminal                 acts           not      just     general              criminal          acts they

3           A.             I    think           the death                          penalty                 is      harsher.                                                       3   have         to    be       violent            criminal              acts.        So you see you have                                   to


4           Q.             Okay.                 And why do you say that Ms. Strom                                                                                                4   look     at       whether                they            produced            enough                evidence              to    determine


5           A.             Because                        I    think              as        people we                      all
                                                                                                                                        just       want       to                  5   you     --   for        you        to    determine                   sufficiently                whether               theres a

6    live    just that                      common                            desire             to     live              so    I       think          knowing                    6   probability that                      these              criminal           acts       would be committed on

7                                                                            be put                                                                                               7                                                                      basis         be a threat
             you are going                                                                            death                                                       youve               a ongoing
     that                                                       to                             to                         for                                                                                                                                     to                               to
                                                                                                                                    something                                                                     or    continuing                                                                           society.




--15
8    done             I    think            is        a       lot       harsher than                               saying well your                                               8   All   right.            So do you                    think          thats      an appropriate                          inquiry

9    life   is
                  going                    to    change dramatically                                                  but       you            still    have a                    9   question               to    be       made




--21
10   chance                    to    live.                                                                                                                                       10          A.         Yes.

11          Q.             Okay.                 All          right.               So        that       our          instinct                 to live                            11           Q.        And the fact you kind                                     of hit         on    it
                                                                                                                                                                                                                                                                                            during           your

12   and want                       to     live           is    a strong                     enough                  desire               that         you think                 12   questionnaire about                                      a person            being          in        prison           that


13   that    taking                     that          away by                          killing        the person                         is     more                             13   unrepentive                      person              who           could     potentially                do harm               to


14   harsher                    punishment                                   is   that        right                                                                              14   others

            A.            Yes.                                                                                                                                                   15          A.         Yes.

16          Q.            The reason                                I   ask that some people                                                   think        that                 16           Q.        --    I   think        is    what you said                          is   that       right

17   well        if
                          you           lock          them up                          for    the       rest          of   their               life    in                        17          A.         Yes.

                                                                                                                                                                                                                                                                                       And you would                      want




--25
18   prison                theyre going                                  to       be        in   these               more               horrid                                   18           Q.        You would want                              to     know        that.


19   conditions                          could                be subject                         to                                      themselves                  and         19   to    see evidence                       of that.                  You understand                       you have              to    be
                                                                                                       assaulting

20   other        folks                 and having                                to    live     with              what you                    did     and so                    20   able     to       be convinced                           of that       by the              State            Otherwise


     forth        and others who                                             feel        like         you do               that               termination                        21                               THE COURT                               You need                to    answer               out    loud.


22   of that              life       is    more harsher.                                       So thats why                               I   asked that                         22           A.        Yes.


23   question.                       Do you see that                                                                                                                             23                               THE COURT                               Youre shaking                       your head.                  This


24          A.            Yes.                                                                                                                                                   24   lady

            Q.             Okay.                 A        --    when you                         --    we          talk        about these                        hard           25           Q.        All       right.        I    shouldve reminded                                 you.        The Judge
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                                                                      STATE                            VS.                  MARK                      ANTHONY                          SSO.TZ                      JANUARY           2012                      31
                                                                                                                                                                                216                                                                                                                                                                 218
1    is
                                                                                                                                                                                       1            A.     And you have those circumstances                                                               to     prove               that.
              right.


2                                       So when you answer that                                                    if
                                                                                                                            you        answer                       it                 2            Q.     Okay.                         Well         mitigating              circumstances                      talks              about


3    yes and you move                                           on.        If
                                                                                  you answer                       it       no        then                its        a                 3    lessening                   in      other               words          that       persons                moral


                                                                                                            you dont
4                  sentence                                without                                                                     find                                            4    responsibility                               if
                                                                                                                                                                                                                                              you     will       or    the lack           to   --    of to       --       to
     life                                      life
                                                                                parole                 if




5    that          --                                                                                                                                                                  5    at least               reduce                     their   punishment                    mitigate              to     lessen.


6                  A.    Okay.                                                                                                                                                         6         -A.       Okay.

7                  Q.    --
                               beyond a reasonable                                                doubt.                Okay.                   Now                 this               7            Q.     Okay.                         And         that       is looking           at    all      those        factors


8    second question law                                              of     parties                   and youve gone                                         --    weve               8    and     facts.              I   think                  youve indicated                   in    your questionnaire

9    gone over that and                                          I    have a                 limited             amount                of       time so                   Im           9    that     a   persons upbringing                                           or character               and background                                is




10   just          gonna                glide         through                   this         pretty           quickly                 because what                                     10   relevant               in
                                                                                                                                                                                                                        determining the                                persons punishment                                      is   that


11   I
         want            to    do         is
                                                get         to this third                     question.                      Because                           if                      11   right

12   you answer                          that         second one yes now youre confronted                                                                                   with       12           A.     Yes.

                                                                                                                                                                                                           And you also
                                                 you have                               make                                based upon your
13   a decision                         that                                    to                          really                                                                     13           Q.                                                 told       us    in    this   questionnaire                             that


14   own moral judgment look                                                         within            yourself               to       make                    that       very         14   you     felt       that             any type of testimony from mental health

15   difficult                harddetermination                                          as       to    whether                   a person                          lives              15   professionals                             is
                                                                                                                                                                                                                                               very    good would be                       useful           to      you
16   or       dies.           Okay                                                                                                                                                     16           A.     Yes.


17                 A.     Right.                                                                                                                                                       17           Q.     Is       that              right            And why do you say that

18                 Q.    You are a                         pretty            --      still    a        pretty           religious                                                      18           A.     Well                 I
                                                                                                                                                                                                                                         mean          its       another           experts view                     on

19   person                   is    that        right                Ms.        Strom                                                                                                  19   things         I       think              is       helpful.


20                 A.    Yes              you could say                                so.                                                                                             20           Q.     And you understand                                           that       other experts view                                on

21                 Q.    And do you                             --    are         you guided by                              in       addition                       to                21   things         I
                                                                                                                                                                                                                   take             it     that      you        would        respect           those           views                in


22   your family                        who have helped                                      to    form           you            your            beliefs                  and          22   whatever                degree                         because they are an expert

23   where you go                              in     life           are        you also guided by your                                                                                23           A.     Yes.


24   religious                 or        spiritual                   beliefs            as    well                                                                                     24           Q.     Okay.                         Before            I

                                                                                                                                                                                                                                                               wrap up Ive got some more

25                 A.    Yes.                                                                                                                                                          25   questions                   for         you             but        here theres no burden                                of proof.




                                                                                                                                                                                 217                                                                                                                                                                219
1                  Q.     Is       it   more so now or                                   less          so than               in       the        past                                   1   Again          you look                            at within         yourself           to    make         that


2        How        would               you         say                                                                                                                                2    determination                                or decision                  because             you understand                             the


3                  A.     Its           about the                    same.                                                                                                              3   certainty what                                    happens the consequences                                         of that


4                  Q.     About the                        same                                                                                                                        4    decision                life        or death.


5                  A.     Yes.                                                                                                                                                          5                               Now                     theres          no requirement                       that      the Jury


6                  Q.     And do you                            think           in     making                    a decision                     such as                                6    return         a       verdict                    in    the Guilt/innocence                        stage           of the


7    whether                                                                                                                                                                                         and there                                                                                            answer                    those
                              you look                                                                 the                                                                              7                                                          no requirement as
                                                                                              at                  third                                                                                                                                                                   well       to
                                                           --    in
                                                                       looking                                                   question                           let                     trial                                          is




8        me                                            to that             third             question.                      This                sort                of                  8   questions                   but the law would                                  expect         you        to try         to     work           to
                   skip through                                                                                                            is



9        a    --   youll           be given an                         instruction                      like      this before                             I                             9   the best               of   your                   ability         without       violating           your conscience

10       get       to    the       third         question.                        You         shall              consider                  all                                         10   to   make              these                  hard decisions                     and answer                   these            questions

11       evidence                  in     deliberating                          on Questions                            1    and           2.        Okay.                             11   including               the         verdict.


12   And when you look                                          at     Question                        3    it    talks          about               that                              12                               Weve                        talked       about this these                      things              that


13       Defendants                           background                          and character                             and circumstances                                          13   youve probably                                      seen before or heard people make such

14       of   the offense                      to          warrant              that         a sentence                       of       life      rather                                14   arguments                       about the death                            penalty.            That        eye          for        an eye

15   than               death           be imaosed.                                                                                                                                    15   especially                      a   lot            of   people        who         talked           about that                  you

16                                                                    circumstances                                what                                                                16   know you                    take                  one     life      your        life   should            be taken kind of
                                        Mitigating                                                                                    is
                                                                                                                                           your

17       understanding                           of        that         Ms.            Strom                                                                                           17   thing

18                 A.     Just            I    think            the     --      if    the         Defendant                       I
                                                                                                                                       mean                                            18           A.         Right.


19   just           looking              at     the character                                and background                                     kind of                                19           Q.         How do you                             feel      about        that

20   that           same idea                         if
                                                            theyre going                          to        be     repentive                         if       that                     20           A.         I   dont               think          its       always        appropriate                  in   --     I




21       you know                       life   without                 parole                is
                                                                                                  actually                  going               to        be a                         21   mean           in       some cases yes                                     in    some         others            no.


22                                        for     them                 that                                                 to        be you know                                      22           Q.         Okay.                     And here we                   talk        about       these           type of
         punishment                                                                  theyre going

23       I shouldnt have done                                           this           and         I    know            I   shouldnt                          have                     23   arguments                       thats not a                         part    of    the law          we were                    talking


24       done this you know.                                                                                                                                                           24   about        because                              you have            to   answer             those        questions                     in   a


25                 Q.                           All                                                                                                                                    25   manner and be convinced                                                   in   Question              1   and 2 by the State.
                          Okay.                            right.
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                                                             STATE                     VS.                    MARK             ANTHONY                     SSOLTZ                 JANUARY                                31                    2012
                                                                                                                                                     220                                                                                                                                                            222

1    You understand                           that                                                                                                          1   even though                   she was the one who was completely innocent

2           A.      Yes.                                                                                                                                   2    and unaware                   of        what was                         really         happening.                  So     in that


3           Q.      And my                last           PowerPoint                   is     right            here.          And   just                    3    case you know                            if    they       had not looked                                at   that        you know

4    take a         moment                to           look    at that.                                                                                    4    thoroughly she would                                     have been convicted                                       for    something

5           A.      Do you want                              me      to    answer                                                                          5    that    he    did.


6           Q.      Yes.            Would                                                   on                     Jury                                    6           Q.
                                                         you take you                                this                                                                     Okay.

7                                         not knowing                          what other options                             you have                     7           A.     So which                    again you know                                                      system           did
            A.      I

                             guess                                                                                                                                                                                                                            justice


8    um     yes.
                                                                                                                                                           8    right in that                case.


9           Q.      Okay.             Now                you         had some very                             interesting                                 9           Q.     Okay.                You describe                            yourself as a kind                            person

10   comments                     about our                  justice            system.               I       dont know            if
                                                                                                                                          you              10   a fun        person an emotional person

11   remember what you                                       said.                                                                                         11          A.     Yes.


12          A.      Not completely.                                                                                                                        12          Q.     When             I       read      that              kind             I    think          of


13          Q.      You said there were some loopholes                                                                  and power                          13   compassionate.                            Would                    you describe                      yourself as a

14   plays       that         can corrupt                      our system.                    What                 do you mean by                          14   compassionate                           person
15   that                                                                                                                                                  15          A.     Yes.

16          A.          I

                             mean         I    think           in
                                                                     any system theres going                                                               16          Q.     And have you                           --        I   take        it   when you                  --
                                                                                                                                                                                                                                                                                    you know

17   to   be     people             who                are    more powerful                          or       can arrange                 things           17   when people say                               that   youve been described                                            as    such kind

18   maybe how they want                                        or        people           who            are      guilty     who         find             18   emotional                compassionate maybe theyve seen you operate

19   the                                      to talk           to     or the                        plea or bargain                                       19   and     exhibit          those                type       of        qualities
            right            person                                                    right


20   or   anything                 like       that       and get away with something                                               that                    20          A.     Yes.


21                                have done.                      Or sometimes you know                                            evidence                21          Q.     Is       that        a    fair    statement
     they might

22   is    um       confusing                          or people               are convicted                       of   things          they               22          A.     Yes.


23   havent                                                                                                                                                23          Q.                          Working                with             kids               a noble                       and
                                                                     they didnt do.                                                                                           Okay.                                                                                                thing
                                                                                                                                                                                                                                                        is
                            completely                  --   or                                                                                                                                                                                                                                          I




24          Q.          But       you said                   earlier that             powerful                     people      can                         24   believe           a    lot    of       people             if       snot     everyone would                               agree       with


25   kind      of                                                                           mind              to   get a desired                           25   that.        And you probably dont get paid enough but thats
                    manipulate                          things            in
                                                                               your



                                                                                                                                                     221                                                                                                                                                            223

1    outcome.                  Is   that               one way                 part        of that            too                                           1   something                for       another               day and                    time.          But       do you see that

2           A.          Possibly                   yes yes.                                                                                                 2   as   part     of       your        everyday                        work        to       be kind considerate

3           Q.      And then the power                                         --   the loopholes                       is   something                      3   compassionate                           in    working                    with       kids

4    that      a person              can get away with crime by                                                    exploiting             a                 4          A.     Yes.


5    loophole                 is   that        what you meant by that                                                                                       5           Q.    Have you seen others perhaps                                                               even other parents

6           A.          Yeah         yes.
                                                                                                                                                            6   or   maybe even other teachers                                                  who dont                     exhibit       those             same

7           Q.          Okay.                                                                                                                               7   qualities that                you have                    that            you exhibit

8           A.          I
                             mean Im                    not completely                       familiar               with a      lot       of                8          A.     Yes.

9    law rules                and theres a                           lot   of       language                  and laws and                    --            9           Q.    How do you                        think               it    affects             those          kids    when         they

10          Q.          Sure.                                                                                                                              10   go through               that

11          A.          You know                       circumstances                        that          I   think      can be used                       11           A.    I       dont think                --   I
                                                                                                                                                                                                                          mean                 theyre              not going              to   be

                                                                                                                                                                                                                                                                             and
                                                                                           they understand                         the                     12   as                           as a teacher                                               student                      that
12   to   certain             peoples advantages                                      if                                                       ins                   effective                                                      to that


13   and outs                of    law.                                                                                                                    13   student           may just                not worry about                                it   or     may       not learn            from


14          Q.          Do you                               about                                                 cases      or                           14   them as much                             they know                        that      that        teacher                  not
                                          think                            any                                                                                                                                                                                                      is
                                                                                      particular                                                                                                   if




15   instances                --                                                                                                                           15   approachable                       or going               to        help        them            in
                                                                                                                                                                                                                                                                        any way            that     they

16          A.          No         just       --                                                                                                           16   could.


17          Q.          --   when you gave                             that         answer                                                                 17                            MR.            HEISKELL                           Okay.               Let       me have            just         a


18          A.          No         just       in       general.                                                                                            18   second                Ms. Strom.

19          Q.          Again         let              me    ask       you          this.     Is          that     a    result      of                     19                            Pause                  in   proceeding.

20   just   general                 conversation                          with       people               about         their      life                    20                            MR.            HEISKELL                           Thank you Ms. Strom.                                      I
                                                                                                                                                                                                                                                                                                             pass

21   experiences                    and what they may have read or heard or                                                                                21   the Juror              Your Honor.

22   experienced                    themselves                                                                                                             22                            THE COURT                                       Ms.    Strom              if   youll step             outside


23          A.          Yes and                    I
                                                       mean somewhat                             I

                                                                                                      guess             referring to                       23   for just      a minute.


24          case                                                       and                                                                                 24                            Venireperson                                    Strom not present.
     the                     with     my               brother                      sister-in-law


25   brother-in-law.                          He        set     it
                                                                      up       to    make her look                       guilty                            25                            THE COURT                                       Okay.           State          have any challenges
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                                                                                                                                         224
1    for    cause

2                             MR.           STRAHAN                  No     sir.



3                             THE COURT                       Defense              have            any
4                             MR. HEISKELL                           No     Your           Honor.

5                             THE COURT                       Ask her            to       come           back         in.



6                             Venireperson Strom present.

7                             THE COURT                       Come up                 a   little        bit.    Ill    talk


8    to     you        just   a minute.              Youre not on the Jury                                yet.


9                             VENIREPERSON                                 Okay.

10                            THE COURT                       But     you are on the panel the Jury

11   is
            gonna be selected                        from.       Whats             going           to     happen youre

12   going        to     get a          call   from the Jury Administrator                                     that          you

13   have         to    be    in      court      on a       certain        day.           We       dont know

14   exactly            when          that     is.   Well give you as much notice as we

15   can.         That        day wont take more than a couple                                                 hours          at   the


16   most          I   dont        think.        And     that        day youll be                   told       youre

17   either        on       the Jury or              be released one or the two.

18                            Before           you leave today were going                                         to       get a

19   picture           of   you against                that    back         wall      with         --    this     lady        is



20   going        to     take         it.    Were       doing        that        because                 this    process

21   is
            going       to    last          about a month.

22                            VENIREPERSON                                 Okay.

23                            THE COURT                       Also          in   the       meantime dont

24   talk to           anybody about the case.                               Dont go               to     school             and

25   ask     anybody               if       they know anything                     or heard               of    it.     It    may

                                                                                                                                         225
1    be      in   the       newspapers                 as    trial   gets closer                    even on TV.

2    Dont watch                 it.         Dont     listen     to   it.     Dont           let    anybody

3    tell
             you what was                      said.     And whatever                      you do dont get

4    on Internet               start         trying     to    do any research                           on     this.


5                             VENIREPERSON                                 Okay.

6                             THE COURT                       Thank you                    maam.
7                             VENIREPERSON                                 Thank you.

8                             THE COURT                       Well take about a 10-minute

9    break.

10                            Venireperson                    Strom not present.

11                            Recess taken from 307                                   to     323 p.m.

12                            Proceedings                    continue            in   Volume 22                       of     the

13                            Reporters                Record.

14


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24

25
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                                                                                                                             226



 1   THE    STATE          OF     TEXAS


 2   COUNTY        OF      JOHNSON


 3                                 I     Pamela          K.    Waits        Official           Court     Reporter

 4   in    and     for       the        413th       District          Court       of    Johnson        County

 5   State       of     Texas           do     hereby          certify       that       the     above    and


 6   foregoing             contains            a    true       and    correct          transcription             of    all


 7   portions           of       evidence           and       other    proceedings              requested         in


 8   writing          by     counsel           for      the     parties          to    be    included       in    the


 9   volume        of      the      Reporters                 Record        in    the       above-styled          and


10   numbered           cause            all       of   which        occurred          in    open    court       or    in


11   chambers           and       were       reported           by    me.


12                                 I    further          certify        that      this        Reporters          Record

13   of    the     proceedings                 truly          and    correctly          reflects        the


14   exhibits               if     any       admitted           by    the    respective             parties.


                                   WITNESS          MY     OFFICIAL HAND                this    the     3             day
15


            /                             2012.
16   of
                        --       ---
17


18
                                             ------
                                                        Waits Texas CSR 4991
                                             -------------------------Pamela
                                                     K.

19                                           Expiration Date      12/31/13
                                             Official Court Reporter
20                                           413th Judicial District
                                             Johnson County Texas
21                                           204  S. Buffalo Avenue
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23


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